                    Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 1 of 257

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OKLAHOMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                AusTex Oil Limited

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  Level 5, 126 Phillip Street
                                  Sydney
                                  NSW 2000 AUSTRALIA
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Australian Entity                                               Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 2 of 257
Debtor    AusTex Oil Limited                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   AusTex Oil Limited                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    AusTex Oil Limited                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 3, 2019
                                                  MM / DD / YYYY


                             X   /s/ Richard A. Adrey                                                     Richard A. Adrey
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Director




18. Signature of attorney    X   /s/ Gary M. McDonald                                                      Date June 3, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Gary M. McDonald 5960
                                 Printed name

                                 McDonald & Metcalf, LLP
                                 Firm name

                                 15 E. 5th Street, Suite 1400
                                 Tulsa, OK 74103
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     918.430.3700                  Email address      gmcdonald@mmmsk.com

                                 5960 OK
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                    Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 5 of 257
Debtor     AusTex Oil Limited                                                               Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OKLAHOMA

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     AusTex HoldCo, LLC                                                      Relationship to you               Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Energy Company, LLC                                       Relationship to you               Indirect Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Energy Corporation                                        Relationship to you               Indirect Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Energy Holding Co., LLC                                   Relationship to you               Indirect Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Energy, LLC                                               Relationship to you               Indirect Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Oil & Gas, LLC                                            Relationship to you               Indirect Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known
Debtor     International Properties Partners, LLC                                  Relationship to you               Indirect Subsidiary
District   Northern District of Oklahoma              When     6/03/19             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
                  Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 6 of 257




 Fill in this information to identify the case:

 Debtor name         AusTex Oil Limited

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 3, 2019                            X /s/ Richard A. Adrey
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard A. Adrey
                                                                       Printed name

                                                                       Managing Director
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                       Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 7 of 257


 Fill in this information to identify the case:
 Debtor name AusTex Oil Limited
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                OKLAHOMA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Austrailian                                                                                                                                                                $1,303.00
 Securities &                    http://www.asic.go
 Investment Comm                 v.au/invoices
 Locked Bag 5000                 1300 300 630
 Gippsland Mail
 Centre Victoria 3841
 Australia
 Boardroom Pty                                                   Trade Debt                                                                                                 $1,240.15
 Limited                         accounts@boardro
 Level 12, 225                   omlimited.com.au
 George Street                   +61 (2) 9290 9600
 Sydney, NSW 2000
 Austrailia
 Eureka                                                          Trade Debt                                                                                                     $66.88
 Teleconferencing                accounts@teleconf
 Pty Ltd                         erence.com.au
 Level 29, Chifley               +61 (2) 9009 0854
 Plaza
 Chifley Tower 2 Sq
 Sydney NSW 2000
 Australia
 Gilbert & Tobin                                                 Professional Fees                                                                                              $54.31
 Attorneys at Law                gtinvoice@gtlaw.c
 200 Barangaroo                  om.au
 Avenue                          +61 (2) 9009 0854
 Barangaroo NSW
 2000 Australia
 OTC Markets Group,                                              Trade Debt                                                                                               $28,865.40
 Inc.                            otcmarketsgroupbil
 304 Hudson Street               ling@otcmarkets.c
 2nd Floor                       om
 New York, NY                    212-896-4405
 10013-1015




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    AusTex Oil Limited                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Puglisi & Asociates                                             Professional Fees                                                                                          $1,731.92
 Attn: Gregory                   glavelle@puglisias
 Lavelle                         soc.com
 850 Library Avenue,             302-738-6680
 Suite 204
 Newark, DE 19711
 Servcorp Sydney                                                 Trade Debt                                                                                                   $480.83
 Virtual Pty LTD                 http://www.servcor
 MLC Centre Suite 1              p.com.au
 Level 19                        +61 (2) 9238 7611
 19-29 Martin Pl
 Sydney NSW 2000
 Australia




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                    Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 9 of 257
 Fill in this information to identify the case:

 Debtor name            AusTex Oil Limited

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       56,116,157.65

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       56,116,157.65


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       33,179,085.66


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         33,179,085.66




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                  Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 10 of 257
 Fill in this information to identify the case:

 Debtor name         AusTex Oil Limited

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    ANZ Banking Corporation
           3.1.     $403.45 AU = $278.38 US                                 Checking Account                8851                                       $278.38



                    ANZ Banking Corporation
           3.2.     $7,419.04 AU = $5,119.14 US                             Checking Account                2842                                     $5,119.14



                    ANZ Banking Corporation
           3.3.     $2,591.26 AU = $1,787.97 US                             Online Saver                    5435                                     $1,787.97



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $7,185.49
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Pre-Payment Deposits
           7.1.     $2,400.00 AUS = $1,656.00 US                                                                                                     $1,656.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         AusTex Oil Limited                                                           Case number (If known)
                Name




 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                          $1,656.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Direct & Indirect Ownership of Various
                     Entites Listed on Form 201, including:
                     AusTex HoldCo, LLC
                     International Energy Holding Company, LLC
                     International Energy, LLC
                     International Energy Company, LLC
                     International Energy Corporation
                     International Properties Partners, LLC
                     International Oil & Gas, LLC

                     Value Unknown. All entities filing Chapter
           15.1.     11 Bankruptcy simultaneous with this filing.                   100%      %                                          Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                               $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 12 of 257

 Debtor         AusTex Oil Limited                                                           Case number (If known)
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                   Current value of
                                                                                                                                   debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Loans to US Subsidiaries -                                   56,107,316.16 -                                  0.00 =
            81,314,950.91 AU                                          Total face amount    doubtful or uncollectible amount
            [Approx $56,107,316.16 in US Dollars
            based on 06/02/2019 exhange rate]
            7 US subsidiaries being placed in
            Chapter 11 Bankruptcy simultaneous
            with this filing, making this debt
            likely uncollectible. See Petition for
            list of affiliated entities.                                                                                                $56,107,316.16



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 13 of 257

 Debtor         AusTex Oil Limited                                                           Case number (If known)
                Name

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                          $56,107,316.16
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 4
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 Debtor          AusTex Oil Limited                                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $7,185.49

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $1,656.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +            $56,107,316.16

 91. Total. Add lines 80 through 90 for each column                                                       $56,116,157.65             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $56,116,157.65




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 5
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 15 of 257
 Fill in this information to identify the case:

 Debtor name         AusTex Oil Limited

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 16 of 257
 Fill in this information to identify the case:

 Debtor name         AusTex Oil Limited

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,303.00
           Austrailian Securities & Investment Comm                             Contingent
           Locked Bag 5000                                                      Unliquidated
           Gippsland Mail Centre Victoria 3841                                  Disputed
           Australia
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,240.15
           Boardroom Pty Limited                                                Contingent
           Level 12, 225 George Street                                          Unliquidated
           Sydney, NSW 2000 Austrailia                                          Disputed
           Date(s) debt was incurred 03/31/2019
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number 8254
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $239,373.30
           Bruce Forman                                                         Contingent
           17847 Porto Merihe Way
                                                                                Unliquidated
           Pacific Palisades, CA 90272
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Preferred Shares - Class A Stock
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $377,370.60
           Bruce Forman                                                         Contingent
           17847 Porto Merihe Way
                                                                                Unliquidated
           Pacific Palisades, CA 90272
                                                                                Disputed
           Date(s) debt was incurred
           Last 4 digits of account number                                   Basis for the claim:    Preferred Shares - Class B Stock
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 4
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 17 of 257
 Debtor       AusTex Oil Limited                                                                      Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $66.88
          Eureka Teleconferencing Pty Ltd                                       Contingent
          Level 29, Chifley Plaza                                               Unliquidated
          Chifley Tower 2 Sq                                                    Disputed
          Sydney NSW 2000 Australia
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $54.31
          Gilbert & Tobin                                                       Contingent
          Attorneys at Law                                                      Unliquidated
          200 Barangaroo Avenue                                                 Disputed
          Barangaroo NSW 2000 Australia
                                                                             Basis for the claim:    Professional Fees
          Date(s) debt was incurred 07/01/2016
          Last 4 digits of account number 9013                               Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $98,075.27
          Michael Stone                                                         Contingent
          1250 Prospect Road, Suite 200                                         Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred 06/30/2014
                                                                             Basis for the claim:    Director's Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $24,000.00
          Nicholas J. Stone                                                     Contingent
          1250 Prospect Street, Suite 200                                       Unliquidated
          La Jolla, CA 92037                                                    Disputed
          Date(s) debt was incurred 06/2014 - 09/2014
                                                                             Basis for the claim:    Director's Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $4,400.00
          NT Recruitment Pty Ltd                                                Contingent
          24 Golf Hill Avenue                                                   Unliquidated
          Doncaster, Victoria 31008 Australia                                   Disputed
          Date(s) debt was incurred 05/10/2019
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number 4216
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $28,865.40
          OTC Markets Group, Inc.                                               Contingent
          304 Hudson Street                                                     Unliquidated
          2nd Floor                                                             Disputed
          New York, NY 10013-1015
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred 12/2017
          Last 4 digits of account number 4548                               Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $14,715,632.25
          Ptolemy Energy Holdings, LLC                                          Contingent
          Michael J. Stone, Manager
                                                                                Unliquidated
          1250 Prospect St. Suite 200
          La Jolla, CA 92037                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Preferred Shares - Class A Stock
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 4
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 18 of 257
 Debtor       AusTex Oil Limited                                                                      Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $13,237,201.05
          Ptolemy Energy Holdings, LLC                                          Contingent
          Michael J. Stone, Manager
                                                                                Unliquidated
          1250 Prospect Street, Suite 200
          La Jolla, CA 92037                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Preferred Shares - Class B Stock
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,731.92
          Puglisi & Asociates                                                   Contingent
          Attn: Gregory Lavelle                                                 Unliquidated
          850 Library Avenue, Suite 204                                         Disputed
          Newark, DE 19711
                                                                             Basis for the claim:    Professional Fees
          Date(s) debt was incurred 11/30/2017
          Last 4 digits of account number 17C5                               Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $480.83
          Servcorp Sydney Virtual Pty LTD
          MLC Centre Suite 1                                                    Contingent
          Level 19                                                              Unliquidated
          19-29 Martin Pl                                                       Disputed
          Sydney NSW 2000 Australia
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred 12/01/2016
          Last 4 digits of account number 0770                               Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $1,146,434.10
          Weider Health & Fitness                                               Contingent
          20750 Ventura Blvd, Suite 310
                                                                                Unliquidated
          Woodland Hills, CA 91367
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Preferred Shares - Class A Stock
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $1,807,346.10
          Weider Health & Fitness                                               Contingent
          20750 Ventura Blvd, Suite 310
                                                                                Unliquidated
          Woodland Hills, CA 91367
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Preferred Shares - Class B Stock
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $580,444.05
          Young Capital Partners                                                Contingent
          Josh Young, Manager
                                                                                Unliquidated
          280 Neilson Way # 503
          Santa Monica, CA 90405                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Preferred Shares - Class A Stock
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $915,066.45
          Young Capital Partners                                                Contingent
          Josh Young, Manager
                                                                                Unliquidated
          280 Neilson Way # 503
          Santa Monica, CA 90405                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Preferred Shares - Class B Stock
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 4
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 19 of 257
 Debtor       AusTex Oil Limited                                                                   Case number (if known)
              Name

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1       Benjamin Fischer, Esq.
           Morvillo Abramowitz Grand Iason & Anello                                               Line     3.17
           565 5th Avenue
                                                                                                         Not listed. Explain
           New York, NY 10017-4000

 4.2       Benjamin Fischer, Esq.
           Morvillo Abramowitz Grand Iason & Anello                                               Line     3.18
           565 5th Avenue
                                                                                                         Not listed. Explain
           New York, NY 10017-4000

 4.3       Martin Eisenberg, Esq.
           Law Offices of Martin Eisenberg                                                        Line     3.15
           100 Park Avenue, Suite 1600
                                                                                                         Not listed. Explain
           New York, NY 10017

 4.4       Martin Eisenberg, Esq.
           Law Offices of Martin Eisenberg                                                        Line     3.3
           100 Park Avenue, Suite 1600
                                                                                                         Not listed. Explain
           New York, NY 10017

 4.5       Martin Eisenberg, Esq.
           Law Offices of Martin Eisenberg                                                        Line     3.16
           100 Park Avenue, Suite 1600
                                                                                                         Not listed. Explain
           New York, NY 10017

 4.6       Martin Eisenberg, Esq.
           Law Offices of Martin Eisenberg                                                        Line     3.4
           100 Park Avenue, Suite 1600
                                                                                                         Not listed. Explain
           New York, NY 10017

 4.7       Neil Tomlins, Esq.
           Tomlins & Peters, PLLC                                                                 Line     3.11
           2431 E. 61st Street
                                                                                                         Not listed. Explain
           Tulsa, OK 74136

 4.8       Neil Tomlins, Esq.
           Tomlins & Peters, PLLC                                                                 Line     3.12
           2431 E. 61st Street
                                                                                                         Not listed. Explain
           Tulsa, OK 74136


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                         0.00
 5b. Total claims from Part 2                                                                        5b.    +     $                33,179,085.66

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                   33,179,085.66




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 4
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 20 of 257
 Fill in this information to identify the case:

 Debtor name         AusTex Oil Limited

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 21 of 257
 Fill in this information to identify the case:

 Debtor name         AusTex Oil Limited

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      AusTex HoldCo,                    1801 E. 71st Street                               Ptolemy Energy                     D
             LLC                               Tulsa, OK 74136                                   Holdings, LLC                      E/F       3.11
                                               Co-Debtor for Claims to the Following
                                                                                                                                    G
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




    2.2      International                     1801 E. 71st Street                               Ptolemy Energy                     D
             Energy                            Tulsa, OK 74136                                   Holdings, LLC                      E/F       3.11
             Company, LLC                      Co-Debtor for Claims to the Following
                                                                                                                                    G
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




    2.3      International                     1801 E. 71st Street                               Ptolemy Energy                     D
             Energy                            Tulsa, OK 74136                                   Holdings, LLC                      E/F       3.11
             Corporation                       Co-Debtor for Claims to the Following
                                                                                                                                    G
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 2
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                 Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 22 of 257

 Debtor       AusTex Oil Limited                                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.4      International                     1801 E. 71st Street                          Ptolemy Energy                  D
             Energy Holding                    Tulsa, OK 74136                              Holdings, LLC                   E/F       3.11
             Company LLC                       Co-Debtor for Claims to the Following
                                                                                                                            G
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




    2.5      International                     1801 E. 71st Street                          Ptolemy Energy                  D
             Energy, LLC                       Tulsa, OK 74136                              Holdings, LLC                   E/F       3.11
                                               Co-Debtor for Claims to the Following
                                                                                                                            G
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness




    2.6      International Oil                 1801 E. 71st Street                          Ptolemy Energy                  D
             & Gas, LLC                        Tulsa, OK 74136                              Holdings, LLC                   E/F       3.11
                                               Co-Debtor for Claims to the Following
                                                                                                                            G
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




    2.7      International                     1801 E. 71st Street                          Ptolemy Energy                  D
             Properties                        Tulsa, OK 74136                              Holdings, LLC                   E/F       3.11
             Partners, LLC                     Co-Debtor for Claims to the Following
                                                                                                                            G
                                               Creditors:
                                               Ptolemy Energy Holdings, LLC
                                               Weider Health & Fitness
                                               Bruce Forman
                                               Young Capital Partners




Official Form 206H                                                      Schedule H: Your Codebtors                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         AusTex Oil Limited

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See Exhibit A Attached Hereto                                                                $59,290.69           Secured debt
               Payment Details Broken Down by                                                                                    Unsecured loan repayments
               Account                                                                                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Vendor Payments
                                                                                                                               $4,577.53 paid from ANZ
                                                                                                                               Cheque Account # 8851
                                                                                                                               $54,713.16 paid from ANZ
                                                                                                                               Cheque Account # 2842
                                                                                                                               TOTAL PAYMENTS =
                                                                                                                               $59.290.69


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                  Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 24 of 257
 Debtor       AusTex Oil Limited                                                                        Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Weider Health & Fitness and                       Breach of                  U.S.D.C., Southern District                  Pending
               Bruce Forman vs. AusTex Oil                       Contract                   of New York                                  On appeal
               Limited, International Energy
                                                                                                                                         Concluded
               Corporation, International                        ** In this action,
               Corporation of Northern                           an order was
               Oklahoma and International                        entered in this
               Energy Corporation                                action compelling
               17-CV-02089                                       debtors to deposit
                                                                 $7,309,276 into a
                                                                 third-party escrow
                                                                 account. Debtors
                                                                 opposed the
                                                                 order, sought its
                                                                 reconsideration,
                                                                 and have
                                                                 appealed to the
                                                                 Second Circuit.
                                                                 Sale funds were
                                                                 the source of the
                                                                 escrow deposit.
                                                                 These escrowed
                                                                 funds constitute
                                                                 property of the
                                                                 bankruptcy estate
                                                                 and/is subject to
                                                                 avoidance under
                                                                 the Bankruptcy
                                                                 Code.

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 Debtor      AusTex Oil Limited                                                                             Case number (if known)




8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                  Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates         Total amount or
                the transfer?                                                                                                                         value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers     Total amount or
                                                                                                                         were made                    value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer    Total amount or
               Address                                           payments received or debts paid in exchange                was made                  value

 Part 7:      Previous Locations

14. Previous addresses
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 Debtor      AusTex Oil Limited                                                                         Case number (if known)



    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.



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 Debtor      AusTex Oil Limited                                                                         Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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 Debtor      AusTex Oil Limited                                                                         Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    AusTex HoldCo, LLC                               100% Ownership                                   EIN:         XX-XXXXXXX
             1801 E. 71st Street
             Tulsa, OK 74136                                                                                   From-To      09/18/2014 - Current

    25.2.    International Energy Holding                     Debtor owns a 100% Interest in                   EIN:         XX-XXXXXXX
             Company LLC                                      AusTex HoldCo, LLC which is the
             1801 E. 71st Street                              100% shareholder of International                From-To      07/16/2014 - Current
             Tulsa, OK 74136                                  Energy Holding Company, LLC,
                                                              making International Energy
                                                              Holding Company LLC an indirect
                                                              subsidiary of Debtor
    25.3.    International Energy, LLC                        Debtor owns a 100% Interest in                   EIN:         XX-XXXXXXX
             1801 E. 71st Street                              AusTex HoldCo, LLC which is the
             Tulsa, OK 74136                                  100% shareholder of International                From-To      12/12/2013 - Current
                                                              Energy Holding Company, LLC.
                                                              International Energy Holding
                                                              Company, LLC is the 100%
                                                              shareholder of International
                                                              Energy, LLC, making International
                                                              Energy, LLC an indirect subsidiary
    25.4.    International Energy                             Debtor owns a 100% Interest in                   EIN:         XX-XXXXXXX
             Company, LLC                                     AusTex HoldCo, LLC which is the
             1801 E. 71st Street                              100% shareholder of International                From-To      06/03/2014 - Current
             Tulsa, OK 74136                                  Energy Holding Company, LLC.
                                                              International Energy Holding
                                                              Company, LLC is the 100%
                                                              shareholder of International
                                                              Energy Company, LLC, making
                                                              International Energy Company,
                                                              LLC an indirect subsidiary of
                                                              Debtor
    25.5.    International Energy                             Debtor owns a 100% Interest in                   EIN:         XX-XXXXXXX
             Corporation                                      AusTex HoldCo, LLC which is the
             1801 E. 71st Street                              100% shareholder of International                From-To      03/01/2006 - Current
             Tulsa, OK 74136                                  Energy Holding Company, LLC.
                                                              International Energy Holding
                                                              Company, LLC is the 100%
                                                              shareholder of International
                                                              Energy Corporation making
                                                              International Energy Corporation
                                                              an indirect subsidiary of Debtor
    25.6.    International Properties                         Debtor owns a 100% Interest in                   EIN:         XX-XXXXXXX
             Partners                                         AusTex HoldCo, LLC which is the
             1801 E. 71st Strett                              100% shareholder of International                From-To      11/10/2016 - Current
             Tulsa, OK 74136                                  Energy Holding Company, LLC.
                                                              International Energy Holding
                                                              Company, LLC is the 100%
                                                              shareholder of International
                                                              Energy, LLC and International
                                                              Energy, LLC is the 100%
                                                              shareholder of International
                                                              Properties Partners, LLC




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 Debtor      AusTex Oil Limited                                                                         Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.7.    International Oil & Gas, LLC                     Debtor owns a 100% Interest in                   EIN:         XX-XXXXXXX
             1801 E. 71st Street                              AusTex HoldCo, LLC which is the
             Tulsa, OK 74136                                  100% shareholder of International                From-To      11/11/2016 - Current
                                                              Energy Holding Company, LLC.
                                                              International Energy Holding
                                                              Company, LLC is the 100%
                                                              shareholder of International
                                                              Energy, LLC and International
                                                              Energy, LLC is the 100%
                                                              shareholder of International Oil &
                                                              Gas, LLC

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Automic Pty Ltd
                    Level 5, 126 Phillip Street
                    Sydney NSW 2000 Australia

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       BDO EastCoast Partnership
                    Level 11, 1 Marcaret Street
                    Sydney NSW 2000 Australia

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Automic Pty Ltd
                    Level 5, 126 Phillip Street
                    Sydney NSW 2000 Australia

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
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 Debtor      AusTex Oil Limited                                                                         Case number (if known)



    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Russell Krause                                 GPO Box 4147                                        Board Chairman
                                                      Melbourne Victoria 3001 Australia

       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Andrew Bursill                                 Level 5, 126 Phillip Street                         Company Secretary
                                                      Sydney NSW 2000 Australia

       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Richard A. Adrey                               1726 Mission Springs Drive                          Managing Director            0%
                                                      Katy, TX 77450

       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Nicholas J. Stone                              1250 Prospect Street, Suite 200                     Director
                                                      La Jolla, CA 92037

       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Mark Paton                                     24 Golf Hill Avenue                                 Director
                                                      Doncaster, Victoria 31008 Australia

       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Ptolemy Energy Holdings,                       Michael J. Stone, Manager                           Class A - Preferred          98,104,082
       LLC                                            1250 Prospect St. Suite 200                         Shareholder                  Redeemable
                                                      LaJolla, CA 93027                                                                Convertible
                                                                                                                                       Preference
                                                                                                                                       Shares
       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Weider Health & Fitness                        20750 Ventura Blvd, Suite 310                       Class A - Preferred          13,108,476
                                                      Woodland Hills, CA 91367                            Shareholder                  Redeemable
                                                                                                                                       Convertible
                                                                                                                                       Preference
                                                                                                                                       Shares
       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Ptolemy Energy Holdings,                       Michael J. Stone, Manager                           Class B - Preferred          88,248,007
       LLC                                            1250 Prospect St. Suite 200                         Shareholder                  Redeemable
                                                      LaJolla, CA 93027                                                                Convertible
                                                                                                                                       Preference
                                                                                                                                       Shares
       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Weider Health & Fitness                        20750 Ventura Blvd, Suite 310                       Class B - Preferred          12,048, 974
                                                      Woodland Hills, CA 91367                            Shareholder                  Redeemable
                                                                                                                                       Convertible
                                                                                                                                       Preference
                                                                                                                                       Shares
       Name                                           Address                                             Position and nature of any   % of interest, if
                                                                                                          interest                     any
       Young Capital Partners                         Josh Young, Manager                                 Class B - Preferred          6,100,433
                                                      280 Neilson Way # 503                               Shareholder                  Redeemable
                                                      Santa Monica, CA 90405                                                           Convertible
                                                                                                                                       Preference
                                                                                                                                       Shares

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 Debtor      AusTex Oil Limited                                                                         Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Bruce Forman                                   17847 Porto Merihe Way                              Class B - Preferred                   2,515,804
                                                      Pacific Palisades, CA 90272                         Shareholder                           Redeemable
                                                                                                                                                Convertible
                                                                                                                                                Preference
                                                                                                                                                Shares


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Andrew Bursill (Franks &
       .    Associates Pty)
               Mark Paton (NT Recruitment
               Pty)                                                                                                      05/2018 -
               Russell Krause (Penause Pty)                      See Details on Exhibit B Attached Hereto                04/2019           Director's Fees

               Relationship to debtor
               Company Secretary and
               Company Directors


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      AusTex Oil Limited                                                                         Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 3, 2019

 /s/ Richard A. Adrey                                                   Richard A. Adrey
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Director

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                                                  Exhibit A to Statement of Financial Affairs
                                                                  Creditor Payments Within 90 Days of Filing


Account Transactions
Austex Oil Limited
For the period 1 February 2019 to 30 April 2019
                                                                                                                                                                                                             RUNNING
                                                                                                                                                               DEBIT        CREDIT       DEBIT    CREDIT
DATE                SOURCE                               DESCRIPTION                          REFERENCE                            CURRENCY                                                                  BALANCE
                                                                                                                                                            (SOURCE)      (SOURCE)       (AUD)     (AUD)
                                                                                                                                                                                                                (AUD)

ANZ Cheque Account 487118851
Opening Balance                                                                                                                                             4,980.68             -    4,980.68          -    4,980.68
1 Feb 2019          Spend Money                          ANZ                                                                              AUD                         -   4,000.00           -   4,000.00      980.68
                                                         Payment: ASX Settlement Pty
28 Feb 2019         Payable Payment                                                           CH0532423                                   AUD                         -      18.10           -      18.10      962.58
                                                         Ltd - DD
28 Feb 2019         Receive Money                        ANZ                                                                              AUD                      0.77          -        0.77          -      963.35
29 Mar 2019         Receive Money                        ANZ                                                                              AUD                      0.69          -        0.69          -      964.04
                                                         Payment: ASX Settlement Pty
29 Mar 2019         Payable Payment                                                           CH0534906                                   AUD                         -      14.91           -      14.91      949.13
                                                         Ltd - DD
                                                         Payment: Franks & Associates
29 Apr 2019         Payable Payment                                                           20140247                                    AUD                         -     300.00           -    300.00       649.13
                                                         Pty Ltd - Automic Group
29 Apr 2019         Payable Payment                      Payment: BAKER & MCKENZIE            9040099821                                  AUD                         -     232.20           -    232.20       416.93
30 Apr 2019         Receive Money                        ANZ                                                                              AUD                      0.74          -        0.74          -      417.67
                                                         Payment: ASX Settlement Pty
30 Apr 2019         Payable Payment                                                           CH0537386                                   AUD                         -      14.52           -      14.52      403.15
                                                         Ltd - DD
Total ANZ Cheque Account 487118851                                                                                                                                                        2.20   4,579.73     403.15
Closing Balance                                                                                                                                               403.15             -     403.15           -     403.15

ANZ Cheque Account 495202842
Opening Balance                                                                                                                                           54,765.99              -   54,765.99          -   54,765.99
1 Feb 2019          Spend Money                          ANZ                                                                              AUD                         -      22.00           -      22.00   54,743.99
1 Feb 2019          Payable Payment                      Payment: IRM Pty Ltd                 INV-10756                                   AUD                         -   3,366.00           -   3,366.00   51,377.99
                                                         Payment: Boardroom Pty
1 Feb 2019          Payable Payment                                                           10115923                                    AUD                         -   1,266.95           -   1,266.95   50,111.04
                                                         Limited
                                                         Payment: NT Recruitment Pty
1 Feb 2019          Payable Payment                                                           NTR INV 038/16                              AUD                         -   4,400.00           -   4,400.00   45,711.04
                                                         Ltd
1 Feb 2019          Payable Payment                      Payment: Penause Pty Ltd             DF-January2019                              AUD                         -   7,000.00           -   7,000.00   38,711.04


This report uses the most up-to-date exchange rate data available from XE.com to convert foreign currency to base currency, unless you've entered your own rate.




Account Transactions     Austex Oil Limited
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Account Transactions
                                                                                                                                                                                                            RUNNING
                                                                                                                                                               DEBIT        CREDIT      DEBIT     CREDIT
DATE                SOURCE                               DESCRIPTION                          REFERENCE                            CURRENCY                                                                 BALANCE
                                                                                                                                                            (SOURCE)      (SOURCE)      (AUD)      (AUD)
                                                                                                                                                                                                               (AUD)

                                                         Payment: Franks & Associates
1 Feb 2019          Payable Payment                                                           AustexOil                                   AUD                         -   8,415.00           -   8,415.00   30,296.04
                                                         Pty Ltd - Automic Group
                                                         Payment: Australian Taxation
6 Feb 2019          Payable Credit Note Refund                                                BASDec18QTR                                 AUD               4,597.00             -    4,597.00          -   34,893.04
                                                         Office
11 Feb 2019         Receive Money                        International Energy Solutions                                                   AUD              50,000.00             -   50,000.00          -   84,893.04
25 Feb 2019         Payable Payment                      Payment: Penause Pty Ltd             Austex Oil                                  AUD                         -   7,000.00           -   7,000.00   77,893.04
25 Feb 2019         Spend Money                          ANZ                                                                              AUD                         -   4,000.00           -   4,000.00   73,893.04
                                                         Payment: Boardroom Pty
25 Feb 2019         Payable Payment                                                           10116699                                    AUD                         -   1,236.24           -   1,236.24   72,656.80
                                                         Limited
                                                         Payment: Franks & Associates
25 Feb 2019         Payable Payment                                                           AustexOil                                   AUD                         -   8,415.00           -   8,415.00   64,241.80
                                                         Pty Ltd - Automic Group
                                                         Payment: NT Recruitment Pty
25 Feb 2019         Payable Payment                                                           NTR INV 039/16                              AUD                         -   4,400.00           -   4,400.00   59,841.80
                                                         Ltd
1 Mar 2019          Receive Money                        ANZ                                                                              AUD                      9.93          -        9.93          -   59,851.73
1 Mar 2019          Spend Money                          ANZ                                                                              AUD                         -      22.00           -     22.00    59,829.73
                                                         Payment: Australian Securities
26 Mar 2019         Payable Payment                      & Investment Commission -      672973564280                                      AUD                         -   4,137.00           -   4,137.00   55,692.73
                                                         BPAY
                                                         Payment: Boardroom Pty
26 Mar 2019         Payable Payment                                                     10117536                                          AUD                         -   2,538.15           -   2,538.15   53,154.58
                                                         Limited
                                                         Payment: NT Recruitment Pty
26 Mar 2019         Payable Payment                                                     NTR INV 040/16                                    AUD                         -   4,400.00           -   4,400.00   48,754.58
                                                         Ltd
26 Mar 2019         Payable Payment                      Payment: IRM Pty Ltd                 INV-11060                                   AUD                         -   3,366.00           -   3,366.00   45,388.58
26 Mar 2019         Spend Money                          ANZ                                                                              AUD                         -   5,000.00           -   5,000.00   40,388.58
                                                         Payment: Franks & Associates
26 Mar 2019         Payable Payment                                                           20139594                                    AUD                         -   8,415.00           -   8,415.00   31,973.58
                                                         Pty Ltd - Automic Group
26 Mar 2019         Payable Payment                      Payment: Penause Pty Ltd             Awaiting Invoice                            AUD                         -   7,000.00           -   7,000.00   24,973.58
2 Apr 2019          Spend Money                          ANZ                                                                              AUD                         -      22.00           -     22.00    24,951.58
5 Apr 2019          Payable Payment                      Payment: BAKER & MCKENZIE            9040099821                                  AUD                         -   2,322.00           -   2,322.00   22,629.58
10 Apr 2019         Spend Money                          ANZ                                                                              AUD                         -   3,000.00           -   3,000.00   19,629.58
                                                         Payment: NT Recruitment Pty
29 Apr 2019         Payable Payment                                                           NTR INV 041/16                              AUD                         -   4,400.00           -   4,400.00   15,229.58
                                                         Ltd
29 Apr 2019         Payable Payment                      Payment: Penause Pty Ltd             DF-April 2019                               AUD                         -   7,000.00           -   7,000.00    8,229.58
                                                         Payment: Franks & Associates
29 Apr 2019         Payable Payment                                                           20140247                                    AUD                         -   8,115.00           -   8,115.00     114.58
                                                         Pty Ltd - Automic Group




This report uses the most up-to-date exchange rate data available from XE.com to convert foreign currency to base currency, unless you've entered your own rate.




Account Transactions     Austex Oil Limited
                                                Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 35 of 257
Account Transactions
                                                                                                                                                                                                             RUNNING
                                                                                                                                                               DEBIT     CREDIT       DEBIT       CREDIT
DATE                SOURCE                               DESCRIPTION                          REFERENCE                            CURRENCY                                                                  BALANCE
                                                                                                                                                            (SOURCE)   (SOURCE)       (AUD)        (AUD)
                                                                                                                                                                                                                (AUD)

                                                         Payment: Franks & Associates
29 Apr 2019         Payable Payment                                                           20139594                                    AUD                      -      61.75           -        61.75        52.83
                                                         Pty Ltd - Automic Group
Total ANZ Cheque Account 495202842                                                                                                                                                54,606.93   109,320.09        52.83
Closing Balance                                                                                                                                                52.83          -      52.83             -        52.83
Total                                                                                                                                                                             54,609.13   113,899.82   (59,290.69)




This report uses the most up-to-date exchange rate data available from XE.com to convert foreign currency to base currency, unless you've entered your own rate.




Account Transactions     Austex Oil Limited
                                         Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 36 of 257



                                                                Exhibit B to Statement of Financial Affairs - Insider Payments
                                                                                        Austex Oil Limited
                                                                                 From 01 May 2018 to 30 April 2019

Reference                       From                           Date          Due Date        Paid Date       Invoice Total        Paid                Due           Insider
OPE 30-Apr-18                   Franks & Associates Pty Ltd     5/1/18       5/1/18         7/2/18                       $30.75   $           30.75         $0.00   Andrew Bursill - Company Secretary
4030A                           Franks & Associates Pty Ltd     7/31/18      7/31/18        8/3/18                    $8,529.00   $        8,529.00         $0.00   Andrew Bursill - Company Secretary
3997A                           Franks & Associates Pty Ltd     6/30/18      6/30/18        7/2/18                    $8,415.00   $        8,415.00         $0.00   Andrew Bursill - Company Secretary
3955A                           Franks & Associates Pty Ltd     5/31/18      5/31/18        7/2/18                    $8,415.00   $        8,415.00         $0.00   Andrew Bursill - Company Secretary
3935                            Franks & Associates Pty Ltd     5/1/18       5/30/18        7/2/18                    $8,472.00   $        8,472.00         $0.00   Andrew Bursill - Company Secretary
3933                            Franks & Associates Pty Ltd     5/1/18                      5/1/18                   -$8,415.00   $             -           $0.00   Andrew Bursill - Company Secretary
3904 Duplicate Invoice          Franks & Associates Pty Ltd     5/1/18                      5/1/18                   -$8,415.00   $             -           $0.00   Andrew Bursill - Company Secretary
3904                            Franks & Associates Pty Ltd     5/1/18       5/1/18         7/2/18                    $8,517.00   $          102.00         $0.00   Andrew Bursill - Company Secretary
SEP2018                         Franks & Associates Pty Ltd - Au9/26/18      10/31/18       9/28/18                   $8,415.00   $        8,415.00         $0.00   Andrew Bursill - Company Secretary
OCT2018                         Franks & Associates Pty Ltd - Au10/31/18     10/31/18       10/29/18                  $8,415.00   $        8,415.00         $0.00   Andrew Bursill - Company Secretary
NOV2018                         Franks & Associates Pty Ltd - Au11/30/18     11/30/18       11/30/18                  $8,415.00   $        8,415.00         $0.00   Andrew Bursill - Company Secretary
JAN2019 Awaiting Invoice Copy   Franks & Associates Pty Ltd - Au1/31/19      1/31/19        2/1/19                    $8,415.00   $        8,415.00         $0.00   Andrew Bursill - Company Secretary
FEB2019 Awaiting Invoice Copy   Franks & Associates Pty Ltd - Au2/22/19      2/22/19        2/25/19                   $8,415.00   $        8,415.00         $0.00   Andrew Bursill - Company Secretary
20139594                        Franks & Associates Pty Ltd - Au3/31/19      4/30/19        4/29/19                   $8,476.75   $        8,476.75         $0.00   Andrew Bursill - Company Secretary
20138308                        Franks & Associates Pty Ltd - Au12/13/18     1/12/19        12/21/18                  $8,476.74   $        8,476.74         $0.00   Andrew Bursill - Company Secretary
20137311 OPE SEPT 18            Franks & Associates Pty Ltd - Au10/1/18      10/30/18       10/29/18                     $57.00   $           57.00         $0.00   Andrew Bursill - Company Secretary
20136934                        Franks & Associates Pty Ltd - Au8/31/18      8/31/18        9/28/18                   $8,472.00   $        8,472.00         $0.00   Andrew Bursill - Company Secretary
NTR INV 041/16                  NT Recruitment Pty Ltd          4/15/19      4/30/19        4/29/19                   $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 040/16                  NT Recruitment Pty Ltd          3/18/19      4/2/19         3/26/19                   $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 039/16                  NT Recruitment Pty Ltd          2/15/19      3/2/19         2/25/19                   $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 038/16                  NT Recruitment Pty Ltd          1/10/19      1/25/19        2/1/19                    $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 037/16                  NT Recruitment Pty Ltd          12/12/18     12/27/18       12/21/18                  $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 036/16                  NT Recruitment Pty Ltd          11/14/18     11/29/18       11/30/18                  $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 035/16                  NT Recruitment Pty Ltd          10/18/18     11/2/18        10/29/18                  $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 034/16                  NT Recruitment Pty Ltd          9/14/18      9/29/18        9/28/18                   $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 033/16                  NT Recruitment Pty Ltd          8/18/18      8/18/18        9/28/18                   $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 032/16                  NT Recruitment Pty Ltd          7/20/18      8/4/18         8/7/18                    $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 031/16                  NT Recruitment Pty Ltd          6/20/18      7/5/18         7/2/18                    $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
NTR INV 030/16                  NT Recruitment Pty Ltd          5/20/18      6/4/18         6/4/18                    $4,400.00   $        4,400.00         $0.00   Mark Paton - Director
DF-September2018                Penause Pty Ltd                 9/30/18      9/30/18        9/28/18                   $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
DF-October2018                  Penause Pty Ltd                 10/26/18     10/26/18       10/29/18                  $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
DF-November2018                 Penause Pty Ltd                 11/30/18     11/30/18       11/30/18                  $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
DF-May2018                      Penause Pty Ltd                 5/25/18      5/31/18        6/4/18                    $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
DF-June2018                     Penause Pty Ltd                 6/26/18      6/30/18        7/2/18                    $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
DF-July2018                     Penause Pty Ltd                 7/31/18      7/31/18        8/3/18                    $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
DF-January2019                  Penause Pty Ltd                 1/27/19      1/27/19        2/1/19                    $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
DF-December2018                 Penause Pty Ltd                 12/30/18     12/30/18       12/21/18                  $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
DF-August2018                   Penause Pty Ltd                 8/31/18      8/31/18        8/31/18                   $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
DF-April 2019                   Penause Pty Ltd                 4/17/19      4/17/19        4/29/19                   $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
Awaiting Invoice                Penause Pty Ltd                 3/26/19      3/26/19        3/26/19                   $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
Awaiting Invoice                Penause Pty Ltd                 2/22/19      2/22/19        2/25/19                   $7,000.00   $        7,000.00         $0.00   Russell Krause - Director
TOTAL                                                                                                                             $      238,321.24
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re       AusTex Oil Limited                                                                               Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $           Post-Petition fees approved by
                                                                                                                                   Bankruptcy Court
             Prior to the filing of this statement I have received                                        $                        $300,000.00 Retainer
             Balance Due                                                                                  $               None, as of filing of Petition

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify): $50,000.00 Retainer Paid by International Energy Company, LLC; $250,000.00
                                                              Retainer Paid by International Energy, LLC (Subsidiaries of Debtor)

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify): Debtor and affiliate of Debtor, as approved by the Bankruptcy Court

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with creditors; exemption planning

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service: None

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 3, 2019                                                                /s/ Gary M. McDonald
     Date                                                                        Gary M. McDonald 5960
                                                                                 Signature of Attorney
                                                                                 McDonald & Metcalf, LLP
                                                                                 15 E. 5th Street, Suite 1400
                                                                                 Tulsa, OK 74103
                                                                                 918.430.3700
                                                                                 gmcdonald@mmmsk.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      AusTex Oil Limited                                                                                        Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 _Common Stock Shareholders                                          Common Class See Exhibit A



 Bruce Forman                                                        Preferred -      2,515,804
 17847 Porto Merihe Way                                              Class B
 Pacific Palisades, CA 90272

 Ptolemy Energy Holdings, LLC                                        Preferred -      98,104,082
 Michael J. Stone, Manager                                           Class A
 1250 Prospect St. Suite 200
 LaJolla, CA 93027

 Ptolemy Energy Holdings, LLC                                        Preferred -      88,248,007
 Michael J. Stone, Manager                                           Class B
 1250 Prospect St. Suite 200
 LaJolla, CA 93027

 Weider Health & Fitness                                             Preferred -      13,108,476
 20750 Ventura Blvd, Suite 310                                       Class A
 Woodland Hills, CA 91367

 Weider Health & Fitness                                             Preferred -      12,048,974
 20750 Ventura Blvd, Suite 310                                       Class B
 Woodland Hills, CA 91367

 Young Capital Partners                                              Preferred -      6,100,443
 Josh Young, Manager                                                 Class B
 280 Neilson Way # 503
 Santa Monica, CA 90405


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Director of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date June 3, 2019                                                             Signature /s/ Richard A. Adrey
                                                                                            Richard A. Adrey

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                            Case 19-11138 Document     1 Filed in USBC ND/OK on 06/03/19 Page 39 of 257
                                                                                                              Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                                 Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                                  Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                   Name/Address 3                   Name/Address 4               Name/Address 5                Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares         Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Freddy Sze Hua Lee            15 Dugan Street                  DEAKIN ACT 2600                                                                                                        AUS        2600                             100,000                               0                    0                                        0                                           0
Dr Peter John Quach              93 Hopetoun Circuit              YARRALUMLA ACT 2600                                                                                                    AUS        2600                             350,000                               0                    0                                        0                                           0
Mr Manoj Kumar Jha &             Mrs Padmaja Jha                  <Jha Family Super Fund A/C>      GPO Box 1712                 CANBERRA ACT 2601                                        AUS        2601                             500,000                               0                    0                                        0                                           0
Mr William Barlin                PO Box 5116                      LYNEHAM ACT 2602                                                                                                       AUS        2602                              15,000                               0                    0                                        0                                           0
Mr Graeme William Hutton         PO Box 5212                      LYNEHAM ACT 2602                                                                                                       AUS        2602                              20,000                               0                    0                                        0                                           0
Mr Lechek Luksza &               Mrs Martha Mary Luksza           <Luksza Superannuation A/C>      PO Box 3013                  MANUKA ACT 2603                                          AUS        2603                             275,000                               0                    0                                        0                                           0
Mr Paul Flynn                    Unit 79 29 Dawes Street          KINGSTON ACT 2604                                                                                                      AUS        2604                               5,000                               0                    0                                        0                                           0
Mr Clinton Harley Moore          Locked Bag 40                    KINGSTON ACT 2604                                                                                                      AUS        2604                             200,000                               0                    0                                        0                                           0
Mr Julian Henry Twyman-Heaven    8 Kootara Cres                   NARRABUNDAH ACT 2604                                                                                                   AUS        2604                               3,125                               0                    0                                        0                                           0
Mr Vincent Padgham &             Ms Ching Chan                    6 Moodie Street                  FARRER ACT 2607                                                                       AUS        2607                              27,000                               0                    0                                        0                                           0
Mr Albert Saekow &               Mr Evan Saekow                   20 Maclagan Street               ISAACS ACT 2607                                                                       AUS        2607                               7,000                               0                    0                                        0                                           0
Mr Milton James Cottee           Unit 76                          177 Badimara Street              FISHER ACT 2611                                                                       AUS        2611                              73,000                               0                    0                                        0                                           0
Mr Dennis Noel McGilvery &       Mrs Kerrylyne Margaret           McGilvery                        <McGilvery Super Fund A/C>   8 Bangalay Cres               RIVETT ACT 2611            AUS        2611                              10,000                               0                    0                                        0                                           0
Mr Bruce Edward Neale            5 Rolfe Place                    CHAPMAN ACT 2611                                                                                                       AUS        2611                              10,000                               0                    0                                        0                                           0
SP50 Pty Ltd                     <NMPST A/C>                      4 Titheradge Place               CHAPMAN ACT 2611                                                                      AUS        2611                              40,000                               0                    0                                        0                                           0
Mr Leslie Phillips               42 Euree Street                  REID ACT 2612                                                                                                          AUS        2612                                    900                            0                    0                                        0                                           0
Mr Luis Virgil Teran &           Mrs Elaine Joy Teran             PO Box 662                       JAMISON CENTRE ACT 2614                                                               AUS        2614                              12,000                               0                    0                                        0                                           0
Mr Daniel Andrzejewski           2 Davidson Street                HIGGINS ACT 2615                                                                                                       AUS        2615                             250,000                               0                    0                                        0                                           0
Aprinall Pty Ltd                 <Aprinall Super Fund A/C>        PO Box 111                       BELCONNEN ACT 2616                                                                    AUS        2616                             200,000                               0                    0                                        0                                           0
Mr Chee Chin                     Unit 35                          31 Disney Court                  BELCONNEN ACT 2617                                                                    AUS        2617                                    100                            0                    0                                        0                                           0
Mr Brian David Crowe             Unit 15 112 Baldwin Dr           KALEEN ACT 2617                                                                                                        AUS        2617                               1,225                               0                    0                                        0                                           0
Mrs Aree Hardy                   7 Burnett Street                 KALEEN ACT 2617                                                                                                        AUS        2617                              40,000                               0                    0                                        0                                           0
Mr Paul Gerard Street            26 Warring Place                 GIRALANG ACT 2617                                                                                                      AUS        2617                              15,000                               0                    0                                        0                                           0
Ms Georgina Elizabeth Urry       58 McGill St                     EVATT ACT 2617                                                                                                         AUS        2617                              70,000                               0                    0                                        0                                           0
Miss Yangyang Wu                 Unit 12 21 Battye St             BRUCE ACT 2617                                                                                                         AUS        2617                              16,000                               0                    0                                        0                                           0
Sayers Investments (ACT)         Pty Ltd                          5 Palmer Street                  HALL ACT 2618                                                                         AUS        2618                             353,000                               0                    0                                        0                                           0
Mr Jeffrey Raymond Gallagher     11 Rounsevell Street             KAMBAH ACT 2902                                                                                                        AUS        2902                               8,000                               0                    0                                        0                                           0
Mr Terrence Leo Gallagher        11 Rounsevell Street             KAMBAH ACT 2902                                                                                                        AUS        2902                               4,000                               0                    0                                        0                                           0
Mr Norman Leslie Swanwick        PO Box 476                       ERINDALE CENTRE ACT 2903                                                                                               AUS        2903                               2,200                               0                    0                                        0                                           0
Mr Brendan John Dale             21 Balsillie Crescent            MONASH ACT 2904                                                                                                        AUS        2904                            1,000,000                              0                    0                                        0                                           0
Mr Robert William Wallace &      Mrs Marilyn Wallace              4 Kingsbury Street               GOWRIE ACT 2904                                                                       AUS        2904                               3,250                               0                    0                                        0                                           0
Mr Henry Laurence Morrison       PO Box 4975                      CHISHOLM ACT 2905                                                                                                      AUS        2905                              10,000                               0                    0                                        0                                           0
Mr Shu Chun Wong &               Mr Quinson Matthew Wong          <Shu Chun Wong SMSF A/C>         5 Mayfield Hill              BONYTHON ACT 2905                                        AUS        2905                             100,000                               0                    0                                        0                                           0
Mrs Kit Yap &                    Mr Sook Kim Yap                  <Yap Sook Kim & Sons S/F A/C>    2 Parrabel Place             ISABELLA PLAINS ACT 2905                                 AUS        2905                             150,000                               0                    0                                        0                                           0
Mr Tho Man Yap                   2 Parrabel Place                 ISABELLA PLAINS ACT 2905                                                                                               AUS        2905                             173,000                               0                    0                                        0                                           0
Mr Roy Zacharias                 19 Barangaroo Street             CHISHOLM ACT 2905                                                                                                      AUS        2905                              15,300                               0                    0                                        0                                           0
Mr Wiput Thamsongsana            21 Sturrock Pl                   GORDON ACT 2906                                                                                                        AUS        2906                              23,324                               0                    0                                        0                                           0
Mrs Zebunnissa Khan              13 David Walsh Ave               FORDE ACT 2914                                                                                                         AUS        2914                              11,525                               0                    0                                        0                                           0
Rna No 1 Pty Ltd                 <Anderson Super Fund A/C>        C/O Multiport Pty Ltd            PO Box N316                  GROSVENOR PLACE NSW 1220                                 AUS        1220                              90,000                               0                    0                                        0                                           0
BNP Paribas Nominees Pty Ltd     <KCG Prop DRP A/C>               PO Box R209                      ROYAL EXCHANGE NSW 1225                                                               AUS        1225                                    965                            0                    0                                        0                                           0
BNP Paribas Nominees Pty Ltd     <Ib Au Noms Retailclient DRP>    PO Box R209                      ROYAL EXCHANGE NSW 1225                                                               AUS        1225                          23,588,279                               0                    0                                        0                                           0
BNP Paribas Nominees Pty Ltd     HUB24 Custodial Serv Ltd DRP     PO Box R209                      ROYAL EXCHANGE NSW 1225                                                               AUS        1225                             604,111                               0                    0                                        0                                           0
BNP Paribas Noms Pty Ltd         <DRP>                            PO Box R209                      ROYAL EXCHANGE NSW 1225                                                               AUS        1225                             248,866                               0                    0                                        0                                           0
BNP Paribas Noms Pty Ltd         <Uob Kay Hian Priv Ltd DRP>      PO Box R209                      ROYAL EXCHANGE NSW 1225                                                               AUS        1225                            1,480,916                              0                    0                                        0                                           0
Oxford Hudson Equities Pty Ltd   <Oxford Hudson Eq No1 A/C>       C/- Ips                          PO Box R226                  ROYAL EXCHANGE NSW 1225                                  AUS        1225                            1,100,000                              0                    0                                        0                                           0
J & J SMSF Pty Ltd               <J & J SMSF A/C>                 QVB Post Shop                    PO Box Q693                  Queen Victoria Building NSW   1230                       AUS        1230                             500,000                               0                    0                                        0                                           0
Mr Benjamin Harkham              PO Box A769                      SYDNEY SOUTH NSW 1235                                                                                                  AUS        1235                               5,000                               0                    0                                        0                                           0
Xiang Zhou                       PO Box K1080                     HAYMARKET NSW 1240                                                                                                     AUS        1240                                    500                            0                    0                                        0                                           0
Mr Tony Holmwood                 PO Box 1009                      POTTS POINT NSW 1335                                                                                                   AUS        1335                             525,000                               0                    0                                        0                                           0
Competi Pty Ltd                  PO Box 746                       MASCOT NSW 1460                                                                                                        AUS        1460                             500,000                               0                    0                                        0                                           0
Engineering &                    Finance Co Pty Limited           PO Box 746                       MASCOT NSW 1460                                                                       AUS        1460                            1,000,000                              0                    0                                        0                                           0
Firefish Investments Pty Ltd     <Super Fund A/C>                 PO Box 746                       MASCOT NSW 1460                                                                       AUS        1460                             120,000                               0                    0                                        0                                           0
Firefish Investments Pty Ltd     <Super Fund A/C>                 PO Box 746                       MASCOT NSW 1460                                                                       AUS        1460                             100,000                               0                    0                                        0                                           0
Lenakat Pty Ltd                  <Cambridge S/Fund A/C>           PO Box 354                       MASCOT NSW 1460                                                                       AUS        1460                             450,000                               0                    0                                        0                                           0
Mr Clive Thomas                  PO Box 88                        MASCOT NSW 1460                                                                                                        AUS        1460                             900,000                               0                    0                                        0                                           0
Ms Fiona Maree Kennedy           PO Box 590                       MARRICKVILLE NSW 1475                                                                                                  AUS        1475                              32,250                               0                    0                                        0                                           0
Wenjun Wang                      PO Box 492                       HURSTVILLE BC NSW 1481                                                                                                 AUS        1481                              25,000                               0                    0                                        0                                           0
Mr Joseph Gentile &              Mrs Monique Gentile              <Cumberland S/F A/C>             PO Box 194                   CARINGBAH NSW 1495                                       AUS        1495                             100,000                               0                    0                                        0                                           0
Mrs Anne Therese Smith           PO Box 5162                      WEST CHATSWOOD NSW 1515                                                                                                AUS        1515                             146,000                               0                    0                                        0                                           0
Mr John Edward Byrne             PO Box 545                       MILSONS POINT NSW 1565                                                                                                 AUS        1565                               7,000                               0                    0                                        0                                           0
Kamjac Services Pty Ltd          <Chase Family Super Fund A/C>    PO Box 87                        ARTARMON NSW 1570                                                                     AUS        1570                             450,000                               0                    0                                        0                                           0
Mr Kerry Cameron Adams &         Mrs Moyra Christine Adams        <Eastpoint Con Pl SF No 2 A/C>   PO Box 29                    CROWS NEST NSW 1585                                      AUS        1585                              66,000                               0                    0                                        0                                           0
The Omnia Group (Australia)      Pty Ltd                          <Omnia Group Super Fund A/C>     PO Box 354                   FRENCHS FOREST NSW 1640                                  AUS        1640                            1,250,000                              0                    0                                        0                                           0
Dekadia Family Pty Ltd           <Dekadia Superfund A/C>          PO Box 1075                      MANLY NSW 1655                                                                        AUS        1655                             112,000                               0                    0                                        0                                           0
One Design & Skiff Sails Pty     Ltd                              <I W Brown Superannuation A/C>   PO Box 1454                  MANLY NSW 1655                                           AUS        1655                             950,000                               0                    0                                        0                                           0
Fraser Trade Pty Ltd             <Fraser Trade Super Fund A/C>    PO Box 143                       EPPING NSW 1710                                                                       AUS        1710                              20,000                               0                    0                                        0                                           0
Success Investments              Pty Limited                      PO Box 852                       EPPING NSW 1710                                                                       AUS        1710                              20,000                               0                    0                                        0                                           0
Mrs Jing Xu                      PO Box 999                       ASHFIELD NSW 1800                                                                                                      AUS        1800                              50,000                               0                    0                                        0                                           0
Mr Bounma Sengmany               PO Box 663                       MOOREBANK NSW 1875                                                                                                     AUS        1875                              25,000                               0                    0                                        0                                           0
Dr Andrew Alexander Chang        Level 13 Park House              187 Macquarie Street             SYDNEY NSW 2000                                                                       AUS        2000                            1,000,000                              0                    0                                        0                                           0
Fen Chen                         209/155 King Street              SYDNEY NSW 2000                                                                                                        AUS        2000                              25,000                               0                    0                                        0                                           0
Ms Gillian Clohessy              Level 7                          20 Hunter Street                 SYDNEY NSW 2000                                                                       AUS        2000                               5,128                               0                    0                                        0                                           0
Ms Yi Li                         Unit 618                         2 York Street                    SYDNEY NSW 2000                                                                       AUS        2000                              12,000                               0                    0                                        0                                           0
Mr Kym Livesley                  Level 17                         77 Castlereagh Street            SYDNEY NSW 2000                                                                       AUS        2000                              10,000                               0                    0                                        0                                           0
Mr John Thomas Magnifico         Unit 110 222-228 Sussex Street   SYDNEY NSW 2000                                                                                                        AUS        2000                             275,000                               0                    0                                        0                                           0
Mr Michael Frederick Mangan      Unit 1612                        183 Kent Street                  SYDNEY NSW 2000                                                                       AUS        2000                             100,000                               0                    0                                        0                                           0
Marchant Capital Pty Ltd         Level 24                         66 Goulburn Street               SYDNEY NSW 2000                                                                       AUS        2000                             500,000                               0                    0                                        0                                           0
Mr Simon Richard De Meyrick &    Mr Richard John Spoehr           <Simondm Super Fund A/C>         24 Lower Fort Street         DAWES POINT NSW 2000                                     AUS        2000                             285,989                               0                    0                                        0                                           0
Ms Janice Lata Nand              103/222-228 Sussex Street        SYDNEY NSW 2000                                                                                                        AUS        2000                              13,000                               0                    0                                        0                                           0
Mr Mamun Faiz Rashid             Level 6                          33 York Street                   SYDNEY NSW 2000                                                                       AUS        2000                               2,950                               0                    0                                        0                                           0
Sovori Pty Ltd                   <The Sovori A/C>                 Level 63 19-29 Martin Place      SYDNEY NSW 2000                                                                       AUS        2000                             150,000                               0                    0                                        0                                           0
Mr Trent Michael Stephens        2304/129 Harrington Street       THE ROCKS NSW 2000                                                                                                     AUS        2000                              30,000                               0                    0                                        0                                           0
Vertigo Holdings Pty Ltd         <Vertigo Super Fund A/C>         Suite 311 2 York Street          SYDNEY NSW 2000                                                                       AUS        2000                             330,000                               0                    0                                        0                                           0
Victor Wan                       Room 20 Level 3                  72 Pitt Street                   SYDNEY NSW 2000                                                                       AUS        2000                             741,300                               0                    0                                        0                                           0
Manhua Xu                        1504/199 Castlereagh Street      SYDNEY NSW 2000                                                                                                        AUS        2000                               5,000                               0                    0                                        0                                           0
0581 Pty Ltd                     <0581 Investment A/C>            GPO Box 5382                     SYDNEY NSW 2001                                                                       AUS        2001                                     1                             0                    0                                        0                                           0
31 May Pty Ltd                   PO Box 5382                      SYDNEY NSW 2001                                                                                                        AUS        2001                                     1                             0                    0                                        0                                           0




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                                                                                                                                                                                                                                         Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                  Name/Address 3                  Name/Address 4                  Name/Address 5      Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares         Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
31 May Pty Ltd                   GPO Box 5382                    SYDNEY NSW 2001                                                                                                AUS        2001                                     1                             0                    0                                        0                                           0
789 Pty Ltd                      GPO Box 5382                    SYDNEY NSW 2001                                                                                                AUS        2001                                     1                             0                    0                                        0                                           0
789 Pty Ltd                      GPO Box 5382                    SYDNEY NSW 2001                                                                                                AUS        2001                                     1                             0                    0                                        0                                           0
Activitas Investment Group       Ltd                             GPO Box 4246                    SYDNEY NSW 2001                                                                AUS        2001                              81,000                               0                    0                                        0                                           0
Activitas Investment             Group Ltd                       GPO Box 4246                    SYDNEY NSW 2001                                                                AUS        2001                             150,000                               0                    0                                        0                                           0
Asc Resources Pty Ltd            GPO Box 5188                    SYDNEY NSW 2001                                                                                                AUS        2001                             125,000                               0                    0                                        0                                           0
Australian Securities Company    (International) Pty Ltd         GPO Box 5188                    SYDNEY NSW 2001                                                                AUS        2001                            1,201,084                              0                    0                                        0                                           0
Australian Securities Company    (International) Pty Ltd         GPO Box 5188                    SYDNEY NSW 2001                                                                AUS        2001                             117,062                               0                    0                                        0                                           0
Bainpro Nominees Pty Limited     GPO Box 7033                    SYDNEY NSW 2001                                                                                                AUS        2001                               1,646                               0                    0                                        0                                           0
Blue Frog Company Pty Ltd        <Blue Frog Super Fund A/C>      GPO Box 5382                    SYDNEY NSW 2001                                                                AUS        2001                                     1                             0                    0                                        0                                           0
Blue Frog Company Pty Ltd        GPO Box 5382                    SYDNEY NSW 2001                                                                                                AUS        2001                                     1                             0                    0                                        0                                           0
Bond Street Custodians Limited   <Aaaswp - V11822 A/C>           GPO Box 4067                    SYDNEY NSW 2001                                                                AUS        2001                              10,000                               0                    0                                        0                                           0
Bond Street Custodians Limited   <Tsykes - R94231 A/C>           GPO Box 4067                    SYDNEY NSW 2001                                                                AUS        2001                              70,000                               0                    0                                        0                                           0
Bond Street Custodians Limited   <AAA - M14297 A/C>              GPO Box 4067                    SYDNEY NSW 2001                                                                AUS        2001                              30,000                               0                    0                                        0                                           0
Bond Street Custodians Limited   <Wedmun - O20040 A/C>           GPO Box 4067                    SYDNEY NSW 2001                                                                AUS        2001                              50,000                               0                    0                                        0                                           0
Bond Street Custodians Limited   <CDCR - M13567 A/C>             GPO Box 4067                    SYDNEY NSW 2001                                                                AUS        2001                              40,000                               0                    0                                        0                                           0
Brispot Nominees Pty Ltd         <House Head Nominee A/C>        PO Box 4151                     SYDNEY NSW 2001                                                                AUS        2001                             364,902                               0                    0                                        0                                           0
Siu Hing Chan &                  Ka Wai Anita Chan               <A & A Super Fund A/C>          GPO Box 7014                    SYDNEY NSW 2001                                AUS        2001                              38,333                               0                    0                                        0                                           0
CMMT Pty Ltd                     GPO Box 5382                    SYDNEY NSW 2001                                                                                                AUS        2001                                     1                             0                    0                                        0                                           0
CMMT Pty Ltd                     GPO Box 5382                    SYDNEY NSW 2001                                                                                                AUS        2001                                     1                             0                    0                                        0                                           0
Mr Boris Ganke                   GPO Box 4246                    SYDNEY NSW 2001                                                                                                AUS        2001                              10,000                               0                    0                                        0                                           0
Mr Rodney Harper &               Mrs Elizabeth Harper            <Harper Mumby Super Fund A/C>   GPO Box 5382                    SYDNEY NSW 2001                                AUS        2001                                     1                             0                    0                                        0                                           0
Mr John Andrew Hart &            Ms Athena Lagos                 <JVH NO5 Will A/C>              GPO Box 3298                    SYDNEY NSW 2001                                AUS        2001                              43,500                               0                    0                                        0                                           0
HSBC Custody Nominees            (Australia) Limited             GPO Box 5302                    SYDNEY NSW 2001                                                                AUS        2001                          49,675,618                               0                    0                                        0                                           0
HSBC Custody Nominees            (Australia) Limited - A/C 2     GPO Box 5302                    SYDNEY NSW 2001                                                                AUS        2001                          10,421,542                               0                    0                                        0                                           0
HSBC Custody Nominees            (Australia) Limited             <Euroclear Bank SA Nv A/C>      GPO Box 5302                    SYDNEY NSW 2001                                AUS        2001                             140,000                               0                    0                                        0                                           0
Mr Christopher Terrence Lamb &   Mrs Susan Lamb                  <Lamb Family Super Fund A/C>    C/- Ord Minnett Ltd-Pars Dept   GPO Box 5274        SYDNEY NSW 2001            AUS        2001                             100,000                               0                    0                                        0                                           0
Longreach Oil Limited            GPO Box 4246                    SYDNEY NSW 2001                                                                                                AUS        2001                                    500                            0                    0                                        0                                           0
Miss Shao Ma                     GPO Box 3218                    SYDNEY NSW 2001                                                                                                AUS        2001                                    50                             0                    0                                        0                                           0
Southern Cross Exploration NL    GPO Box 4246                    SYDNEY NSW 2001                                                                                                AUS        2001                               1,000                               0                    0                                        0                                           0
Offshore Oil Limited             GPO Box 4246                    SYDNEY NSW 2001                                                                                                AUS        2001                             701,000                               0                    0                                        0                                           0
Offshore Oil Limited             GPO Box 4246                    SYDNEY NSW 2001                                                                                                AUS        2001                              50,000                               0                    0                                        0                                           0
Pangola Hill Pty Ltd             <Pangola Hill Investment A/C>   GPO Box 2165                    SYDNEY NSW 2001                                                                AUS        2001                            1,850,000                              0                    0                                        0                                           0
Miss Vasantika Patel             C/- GPO Box 4246                SYDNEY NSW 2001                                                                                                AUS        2001                             120,000                               0                    0                                        0                                           0
Raintron Pty Ltd                 <Trealiz Family A/C>            C/- Brentnalls NSW              GPO Box 7020                    SYDNEY NSW 2001                                AUS        2001                             340,350                               0                    0                                        0                                           0
Raintron Pty Ltd                 <Seymour Retirement Fund A/C>   GPO Box 7020                    SYDNEY NSW 2001                                                                AUS        2001                             335,000                               0                    0                                        0                                           0
Mr Andrew Salvestrin             <Investment A/C>                GPO Box 5382                    SYDNEY NSW 2001                                                                AUS        2001                                     1                             0                    0                                        0                                           0
Mr Victor Wan                    GPO Box 5188                    SYDNEY NSW 2001                                                                                                AUS        2001                             343,857                               0                    0                                        0                                           0
Mr Victor Wan                    <Super Fund A/C>                GPO Box 5188                    SYDNEY NSW 2001                                                                AUS        2001                             625,000                               0                    0                                        0                                           0
Mr Victor Wan                    <Super Fund A/C>                GPO Box 5188                    SYDNEY NSW 2001                                                                AUS        2001                            4,700,000                              0                    0                                        0                                           0
Mr Suresh Paryani                33/460 Jones Street             ULTIMO NSW 2007                                                                                                AUS        2007                                    10                             0                    0                                        0                                           0
Barroseven Pty Limited           42 Shepherd Street              CHIPPENDALE NSW 2008                                                                                           AUS        2008                                     1                             0                    0                                        0                                           0
Cryptonerds Pty Ltd              42 Shepherd St                  CHIPPENDALE NSW 2008                                                                                           AUS        2008                                    760                            0                    0                                        0                                           0
Mr Sean Donahugh Vanderfield     Foley                           42 Shepherd Street              CHIPPENDALE NSW 2008                                                           AUS        2008                                    20                             0                    0                                        0                                           0
Mr Fergus James Gratton          42 Shepherd St                  CHIPPENDALE NSW 2008                                                                                           AUS        2008                                     1                             0                    0                                        0                                           0
Mr Peter William O'Neill         42 Shepherd St                  CHIPPENDALE NSW 2008                                                                                           AUS        2008                                     1                             0                    0                                        0                                           0
Viking Parade Pty Ltd            35 Boundary Street              DARLINGTON NSW 2008                                                                                            AUS        2008                                    70                             0                    0                                        0                                           0
Mr Trevor Daley &                Mrs Janis Daley                 <Pyrmont Number 1 Fund A/C>     Unit 505                        42 Refinery Drive   PYRMONT NSW 2009           AUS        2009                              50,000                               0                    0                                        0                                           0
Mr Michael Dale Double &         Ms Bernadette Ann Double        <Double Family Super A/C>       Unit 305 Clearwater             32 Refinery Drive   PYRMONT NSW 2009           AUS        2009                              78,334                               0                    0                                        0                                           0
Mr Adrian Sharif Dunstan         Unit 64/104 Miller Street       PYRMONT NSW 2009                                                                                               AUS        2009                              57,324                               0                    0                                        0                                           0
Sierra Vista Enterprises Pty     Ltd                             <Horizon Super Fund A/C>        U 405 45 Bowman Street          PYRMONT NSW 2009                               AUS        2009                              41,390                               0                    0                                        0                                           0
Miss Chen Wang                   606/233 Pyrmont Street          PYRMONT NSW 2009                                                                                               AUS        2009                               5,000                               0                    0                                        0                                           0
Mr Brent Fisher                  Unit 96                         18-32 Oxford Street             DARLINGHURST NSW 2010                                                          AUS        2010                                    25                             0                    0                                        0                                           0
Ms Helen Dawson Livermore        8/110 Cooper Street             SURRY HILLS NSW 2010                                                                                           AUS        2010                             700,000                               0                    0                                        0                                           0
Ms Krista Anne Walter            33 Denham Street                SURRY HILLS NSW 2010                                                                                           AUS        2010                              11,300                               0                    0                                        0                                           0
Ms Louise Marjorie Bernardi      74/3 Wylde Street               POTTS POINT NSW 2011                                                                                           AUS        2011                            1,000,000                              0                    0                                        0                                           0
Mr Gregory Joseph Bye            U 106 71 Victoria St            POTTS POINT NSW 2011                                                                                           AUS        2011                              31,134                               0                    0                                        0                                           0
Mr Robert Herz                   GPO Box 7209                    South Sydney Business Hub       ALEXANDRIA NSW 2015                                                            AUS        2015                               6,900                               0                    0                                        0                                           0
Mr Stephen Abbott &              Mrs Nicole Abbott               <Abbott Superannuation A/C>     17A Chelmsford Ave              BOTANY NSW 2019                                AUS        2019                             158,500                               0                    0                                        0                                           0
Ms Linda Anstee                  PO Box 746                      MASCOT NSW 2020                                                                                                AUS        2020                             150,000                               0                    0                                        0                                           0
Mrs Christina Margaret           Higginbotham                    5 Bennetts Grove Avenue         PADDINGTON NSW 2021                                                            AUS        2021                               8,000                               0                    0                                        0                                           0
Mr Lindsay Oliver Leeser         29 Liverpool Street             PADDINGTON NSW 2021                                                                                            AUS        2021                              14,000                               0                    0                                        0                                           0
Mr Zbigniew Paul Palyza          55 Ruthven Street               BONDI JUNCTION NSW 2022                                                                                        AUS        2022                               7,500                               0                    0                                        0                                           0
Ms Penelope Ann Bowen            PO Box 3328                     BELLEVUE HILL NSW 2023                                                                                         AUS        2023                              36,000                               0                    0                                        0                                           0
Cryone Pty Ltd                   <Miles F/T A/C>                 4 Blaxland Road                 BELLEVUE HILL NSW 2023                                                         AUS        2023                             173,000                               0                    0                                        0                                           0
Mr Eugene Ganke                  4 Northland Road                BELLEVUE HILL NSW 2023                                                                                         AUS        2023                             186,451                               0                    0                                        0                                           0
Mr Gideon Harkham                33 Kambala Road                 BELLEVUE HILL NSW 2023                                                                                         AUS        2023                               5,000                               0                    0                                        0                                           0
Ilwella Pty Ltd                  3 Ginahgulla Road               BELLEVUE HILL NSW 2023                                                                                         AUS        2023                            1,126,104                              0                    0                                        0                                           0
Ilwella Pty Ltd                  3 Ginahgulla Road               BELLEVUE HILL NSW 2023                                                                                         AUS        2023                            3,105,922                              0                    0                                        0                                           0
Josephus Pty Ltd                 <Gabriella Unsen S/F A/C>       Unit 1/ 4 Victoria Road         BELLEVUE HILL NSW 2023                                                         AUS        2023                              10,000                               0                    0                                        0                                           0
Ms June Kamis                    141 Victoria Road               BELLEVUE HILL NSW 2023                                                                                         AUS        2023                               5,000                               0                    0                                        0                                           0
Ms Rujiao Song                   7 Riddell St                    BELLEVUE HILL NSW 2023                                                                                         AUS        2023                              20,000                               0                    0                                        0                                           0
Weiner Pty Ltd                   77 Bulkara Road                 BELLEVUE HILL NSW 2023                                                                                         AUS        2023                            1,048,413                              0                    0                                        0                                           0
Ms Bei Xu                        130 Bellevue Road               BELLEVUE HILL NSW 2023                                                                                         AUS        2023                              25,000                               0                    0                                        0                                           0
As & Jr Libbis Pty Limited       <Libbis Family A/C>             11A Brate Street                BRONTE NSW 2024                                                                AUS        2024                             200,000                               0                    0                                        0                                           0
Mr Bruce Anthony Griffin         1/83 Ocean Street               WOOLLAHRA NSW 2025                                                                                             AUS        2025                              50,000                               0                    0                                        0                                           0
Ms Junette Saskia Hay            14 Nelson St                    WOOLLAHRA NSW 2025                                                                                             AUS        2025                               7,500                               0                    0                                        0                                           0
Mrs Eleanor Irene Douglas        Herriott                        15 Moncur Street                WOOLLAHRA NSW 2025                                                             AUS        2025                             350,000                               0                    0                                        0                                           0
Mr Ofer Karliner                 60 John St                      WOOLLAHRA NSW 2025                                                                                             AUS        2025                               2,703                               0                    0                                        0                                           0
Mr Andrew Walsh                  143 Queen Street                WOOLLAHRA NSW 2025                                                                                             AUS        2025                             465,518                               0                    0                                        0                                           0
Mr Samuel John Berridge          Unit 3                          13 Roscoe Street                BONDI BEACH NSW 2026                                                           AUS        2026                                     1                             0                    0                                        0                                           0
Mr John Bilotto                  53 Imperial Avenue              BONDI NSW 2026                                                                                                 AUS        2026                               9,450                               0                    0                                        0                                           0
Ms Ayesha Farrah &               Mr Maurice Thornton             37 Blair Street                 BONDI NSW 2026                                                                 AUS        2026                               5,000                               0                    0                                        0                                           0
Mr Teo Barr Gebert               PO Box 219 127 Bondi Rd         BONDI NSW 2026                                                                                                 AUS        2026                              70,000                               0                    0                                        0                                           0
William Taylor Nominees Pty      Ltd                             12 Ashley Street                TAMARAMA NSW 2026                                                              AUS        2026                          13,815,454                               0                    0                                        0                                           0
Altmiks Investment Pty Ltd       <Altmiks Family A/C>            Unit 52 11 Sutherland Cres      DARLING POINT NSW 2027                                                         AUS        2027                             100,000                               0                    0                                        0                                           0
Mr Donald Keith Livingstone      82 Cameron Street               EDGECLIFF NSW 2027                                                                                             AUS        2027                             100,000                               0                    0                                        0                                           0




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                                                                                                                                                                                                                                          Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                 Name/Address 3                   Name/Address 4            Name/Address 5             Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares         Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Donald Keith Livingstone &    Mrs Wendy Livingstone          <Livingstone Super Fund A/C>     82 Cameron Street         EDGECLIFF NSW 2027                                    AUS        2027                             375,000                               0                    0                                        0                                           0
Mr Zachary Paulic                11/31-31 Wolsley Road          POINT PIPER NSW 2027                                                                                             AUS        2027                             100,000                               0                    0                                        0                                           0
Mr Richard Merlin O'Sullivan     Unit 2                         22 Etham Avenue                  DARLING POINT NSW 2027                                                          AUS        2027                                     1                             0                    0                                        0                                           0
Croxted Group Pty Limited        8 Pine Hill Avenue             DOUBLE BAY NSW 2028                                                                                              AUS        2028                              75,000                               0                    0                                        0                                           0
Mr Brian Leslie Riley            14/290 New South Head Road     DOUBLE BAY NSW 2028                                                                                              AUS        2028                              20,000                               0                    0                                        0                                           0
Bundoran Pty Limited             <J Macphillamy S/Fund A/C>     5 Faraday Avenue                 ROSE BAY NSW 2029                                                               AUS        2029                             100,000                               0                    0                                        0                                           0
Mrs Anne Mathews                 PO Box 22                      ROSE BAY NSW 2029                                                                                                AUS        2029                              10,000                               0                    0                                        0                                           0
Mr Matthew James Snape           Unit 5 535 Old South Head Rd   ROSE BAY NSW 2029                                                                                                AUS        2029                              50,000                               0                    0                                        0                                           0
Mr Daniel Peter Aldred           19 Olola Avenue                VAUCLUSE NSW 2030                                                                                                AUS        2030                              40,000                               0                    0                                        0                                           0
Grafair Pty Ltd                  51 Wallangra Road              DOVER HEIGHTS NSW 2030                                                                                           AUS        2030                             100,000                               0                    0                                        0                                           0
Mr Marcus Andrew Levy            PO Box 110                     VAUCLUSE NSW 2030                                                                                                AUS        2030                             400,000                               0                    0                                        0                                           0
Mr Marcus Andrew Levy &          Mrs Vanessa Sanchez-Levy       PO Box 110                       VAUCLUSE NSW 2030                                                               AUS        2030                             787,650                               0                    0                                        0                                           0
Mr Barry Ian Shagrin             PO Box 347                     VAUCLUSE NSW 2030                                                                                                AUS        2030                               5,000                               0                    0                                        0                                           0
Ms Joan Stanley                  28 Peel Street                 DOVER HEIGHTS NSW 2030                                                                                           AUS        2030                               5,000                               0                    0                                        0                                           0
Davington Advisory Pty Ltd       5 Gray Street                  RANDWICK NSW 2031                                                                                                AUS        2031                             500,000                               0                    0                                        0                                           0
Mr William Martin Mulvihill      5 Burnie Street                CLOVELLY NSW 2031                                                                                                AUS        2031                             250,000                               0                    0                                        0                                           0
Shanakill Pty Ltd                <Tramore Superannuation A/C>   5 Burnie Street                  CLOVELLY NSW 2031                                                               AUS        2031                             231,000                               0                    0                                        0                                           0
Mr Chris Vasales                 131 Botany Street              RANDWICK NSW 2031                                                                                                AUS        2031                               8,888                               0                    0                                        0                                           0
Mr Dieter James Winkler          106 Perouse Road               RANDWICK NSW 2031                                                                                                AUS        2031                              13,125                               0                    0                                        0                                           0
Mr Nicholas Maksimovic           Unit 3                         1-7 Gloucester Place             KENSINGTON NSW 2033                                                             AUS        2033                              50,000                               0                    0                                        0                                           0
Carmant Pty Ltd                  <Carmant Super Fund A/C>       PO Box 139                       COOGEE NSW 2034                                                                 AUS        2034                                    14                             0                    0                                        0                                           0
Carmant Pty Ltd                  PO Box 139                     COOGEE NSW 2034                                                                                                  AUS        2034                                    20                             0                    0                                        0                                           0
Colvic Pty Ltd                   PO Box 139                     COOGEE NSW 2034                                                                                                  AUS        2034                                    10                             0                    0                                        0                                           0
Mr Colin Weekes                  PO Box 139                     COOGEE NSW 2034                                                                                                  AUS        2034                                    10                             0                    0                                        0                                           0
Mr Colin Weekes                  PO Box 139                     COOGEE NSW 2034                                                                                                  AUS        2034                             765,687                               0                    0                                        0                                           0
Ms Yu Ling Chen                  PO Box 73                      MAROUBRA NSW 2035                                                                                                AUS        2035                              37,579                               0                    0                                        0                                           0
Mr Liam Francis Gallagher        Unit 109 140 Maroubra Rd       MAROUBRA NSW 2035                                                                                                AUS        2035                              60,000                               0                    0                                        0                                           0
Mr Adrian O'Hara                 PO Box 2039                    MAROUBRA NSW 2035                                                                                                AUS        2035                               6,000                               0                    0                                        0                                           0
Mr David Richard Rollo           404 Maroubra Road              MAROUBRA NSW 2035                                                                                                AUS        2035                              44,000                               0                    0                                        0                                           0
Mr Paul Alexander White          Unit 11 44 Marine Pde          MAROUBRA NSW 2035                                                                                                AUS        2035                               9,000                               0                    0                                        0                                           0
Mr Subhash Dhir &                Mrs Asha Dhir                  <Dhir Super A/C>                 18 Nix Avenue             MALABAR NSW 2036                                      AUS        2036                              10,000                               0                    0                                        0                                           0
Mr Gregory Ross East             4 Oxley Street                 MATRAVILLE NSW 2036                                                                                              AUS        2036                               6,630                               0                    0                                        0                                           0
Mr Elvio Munzone &               Ms Maureen Gae Bergin          <Gem Real Estate S/F A/C>        2 Oxley Street            MATRAVILLE NSW 2036                                   AUS        2036                              20,000                               0                    0                                        0                                           0
Ladon Investments Pty Ltd        <Sasse Family S/F A/C>         1 Lyndhurst Street               GLEBE NSW 2037                                                                  AUS        2037                             630,000                               0                    0                                        0                                           0
Mr Antonio Pirisi                361 Young Street               ANNANDALE NSW 2038                                                                                               AUS        2038                               5,000                               0                    0                                        0                                           0
Dr Jennifer Rose Hislop          PO Box 779                     ROZELLE NSW 2039                                                                                                 AUS        2039                              71,500                               0                    0                                        0                                           0
Django Investments Pty Ltd       <Carolan Super Fund A/C>       PO Box 422                       LEICHHARDT NSW 2040                                                             AUS        2040                             100,000                               0                    0                                        0                                           0
Mrs Lisa Patricia Hopper &       Mr Dean William Hopper         247 Lilyfield Road               LEICHHARDT NSW 2040                                                             AUS        2040                              13,000                               0                    0                                        0                                           0
Mrs Patricia Magnifico           247 Lilyfield Road             LEICHHARDT NSW 2040                                                                                              AUS        2040                               5,000                               0                    0                                        0                                           0
Mr Thomas Magnifico              247 Lilyfield Road             LEICHHARDT NSW 2040                                                                                              AUS        2040                              13,000                               0                    0                                        0                                           0
Mrs Penelope Ann Redfearn &      Mr Gary Redfearn               31 Falls Street                  LEICHHARDT NSW 2040                                                             AUS        2040                                    100                            0                    0                                        0                                           0
Dr Elaine Baker                  16 Albermarle Street           NEWTOWN NSW 2042                                                                                                 AUS        2042                              15,384                               0                    0                                        0                                           0
Mr Stephen Grant Davis           Unit 57                        19-25 Queen Street               NEWTOWN NSW 2042                                                                AUS        2042                              20,000                               0                    0                                        0                                           0
Ms Joanna Monika Maria           Robinski                       2/30 Hordern Street              NEWTOWN NSW 2042                                                                AUS        2042                             310,085                               0                    0                                        0                                           0
Ms Annette Lee Syniuta           Unit 2 14-22 Mary Street       ST PETERS NSW 2044                                                                                               AUS        2044                              11,879                               0                    0                                        0                                           0
Mrs Judith Ida Matthews &        Mr Leslie Matthews             <Superfree Superannuation A/C>   PO Box 25                 HABERFIELD NSW 2045                                   AUS        2045                              33,000                               0                    0                                        0                                           0
Mr Kenny Robert Heatley          5/100 St Georges Crescent      DRUMMOYNE NSW 2047                                                                                               AUS        2047                              20,875                               0                    0                                        0                                           0
Ms Peng Yu Wang                  Unit 6                         38 St Georges Crescent           DRUMMOYNE NSW 2047                                                              AUS        2047                              40,000                               0                    0                                        0                                           0
Shi Di Gu                        18 Morton Avenue               LEWISHAM NSW 2049                                                                                                AUS        2049                               5,000                               0                    0                                        0                                           0
Modanella Investments Pty Ltd    <McFarland Family S/F A/C>     18 Miller Street                 PETERSHAM NSW 2049                                                              AUS        2049                             100,000                               0                    0                                        0                                           0
Mr Andres Perez-Cortes           12 Lambert Street              CAMPERDOWN NSW 2050                                                                                              AUS        2050                             100,000                               0                    0                                        0                                           0
Miss Paloma Perez-Cortes         12 Lambert Street              CAMPERDOWN NSW 2050                                                                                              AUS        2050                             100,000                               0                    0                                        0                                           0
Jdi Financial Services Pty Ltd   <Davies S/F A/C>               C/- BDJ Partners                 PO Box 1664               NORTH SYDNEY NSW 2059                                 AUS        2059                              50,000                               0                    0                                        0                                           0
Szolmel Pty Ltd                  <Smrk And Dobos S/F A/C>       PO Box 629                       NORTH SYDNEY NSW 2059                                                           AUS        2059                              75,000                               0                    0                                        0                                           0
Ms Yanhong Chen                  PO Box 6246                    NORTH SYDNEY NSW 2060                                                                                            AUS        2060                               6,800                               0                    0                                        0                                           0
H M Bates Holdings Pty Ltd       Unit 1                         1 Clark Road                     NORTH SYDNEY NSW 2060                                                           AUS        2060                               6,000                               0                    0                                        0                                           0
Mr Anthony Richard Philip        PO Box 7105                    MCMAHONS POINT NSW 2060                                                                                          AUS        2060                             228,800                               0                    0                                        0                                           0
Mr Anthony Richard Philip        PO Box 7105                    MCMAHONS POINT NSW 2060                                                                                          AUS        2060                              37,500                               0                    0                                        0                                           0
Miss Nicola Philip               PO Box 7105                    MCMAHONS POINT NSW 2060                                                                                          AUS        2060                             160,000                               0                    0                                        0                                           0
Mrs Patricia Kay Philip          PO Box 7105                    MCMAHONS POINT NSW 2060                                                                                          AUS        2060                             601,000                               0                    0                                        0                                           0
Mr Andrew Damon Schirmer         23 Bay Road                    WAVERTON NSW 2060                                                                                                AUS        2060                             300,000                               0                    0                                        0                                           0
Mrs Sarasa Schirmer              23 Bay Road                    WAVERTON NSW 2060                                                                                                AUS        2060                              50,000                               0                    0                                        0                                           0
Mr Louis William Durant          50 Fitzroy Street              KIRRIBILLI NSW 2061                                                                                              AUS        2061                                     1                             0                    0                                        0                                           0
Howard Capital Pty Ltd           <Connolly Super Fund A/C>      Unit 2 10 The Boulevarde         CAMMERAY NSW 2062                                                               AUS        2062                             750,000                               0                    0                                        0                                           0
Mr David Fallu                   17 Kameruka Rd                 NORTHBRIDGE NSW 2063                                                                                             AUS        2063                              50,000                               0                    0                                        0                                           0
Michmax Pty Ltd                  <JMB SMSF A/C>                 Unit 61 244-264 Mowbray Rd       ARTARMON NSW 2064                                                               AUS        2064                              65,000                               0                    0                                        0                                           0
Miss Anna Wong                   Unit 15 6 Benton Ave           ARTARMON NSW 2064                                                                                                AUS        2064                              10,000                               0                    0                                        0                                           0
Mr Robert John David             PO Box 5161                    GREENWICH NSW 2065                                                                                               AUS        2065                            1,800,000                              0                    0                                        0                                           0
De Courcy Superannuation         Fund Pty Ltd                   20 Robertson Street              GREENWICH NSW 2065                                                              AUS        2065                             240,000                               0                    0                                        0                                           0
Tokeresa Pty Limited             <Jordan HLDS Staff S/F A/C>    PO Box 5153                      GREENWICH NSW 2065                                                              AUS        2065                             300,000                               0                    0                                        0                                           0
Mr Alexander Zylberberg          Suite 310                      460 Pacific Highway              ST LEONARDS NSW 2065                                                            AUS        2065                               5,000                               0                    0                                        0                                           0
Mrs Sally Joy Zylberberg &       Mr Morris Norman Zylberberg    <Manicaland Pty Ltd S/F A/C>     Suite 310                 460 Pacific Highway        ST LEONARDS NSW 2065       AUS        2065                               5,000                               0                    0                                        0                                           0
Mr John Maxwell Blumer           <Kahika P/L Super Fund A/C>    2 Myee Crescent                  LANE COVE WEST NSW 2066                                                         AUS        2066                               5,000                               0                    0                                        0                                           0
Dr Hossein Monshizadeh           Manuchehri &                   Ms Donna Marjan Moghaddas        37 Walkers Drive          LANE COVE NORTH NSW 2066                              AUS        2066                              47,000                               0                    0                                        0                                           0
Mr Peter Ng                      22/25-31 Johnson St            CHATSWOOD NSW 2067                                                                                               AUS        2067                                    35                             0                    0                                        0                                           0
Mr Xiaoping Qin                  Unit 8 215-221 Victoria Ave    CHATSWOOD NSW 2067                                                                                               AUS        2067                             552,750                               0                    0                                        0                                           0
Mrs Alicia Tseng                 B1709/2b Help Street           CHATSWOOD NSW 2067                                                                                               AUS        2067                              20,000                               0                    0                                        0                                           0
Mrs Ling Zhong                   1/240 Victoria Ave             CHATSWOOD NSW 2067                                                                                               AUS        2067                              15,000                               0                    0                                        0                                           0
Mr Giuseppe Zipparo              Unit 2003 / 37 Victor Street   CHATSWOOD NSW 2067                                                                                               AUS        2067                               6,250                               0                    0                                        0                                           0
John Major Enterprises Pty Ltd   <Major Retirement Fund A/C>    185 Edinburgh Road               CASTLECRAG NSW 2068                                                             AUS        2068                            1,000,000                              0                    0                                        0                                           0
John Major Enterprises Pty Ltd   185 Edinburgh Road             CASTLECRAG NSW 2068                                                                                              AUS        2068                              48,137                               0                    0                                        0                                           0
Ms Dianne Rockwell               PO Box 4153                    CASTLECRAG NSW 2068                                                                                              AUS        2068                              12,000                               0                    0                                        0                                           0
Mr Simon Cornell                 6 Trafalgar Avenue             ROSEVILLE NSW 2069                                                                                               AUS        2069                               8,500                               0                    0                                        0                                           0
Mr Robert Thomas Johnston        64 Clanville Rd                ROSEVILLE NSW 2069                                                                                               AUS        2069                              34,500                               0                    0                                        0                                           0
Mr Gregory Thomas Susans         11 Allard Ave                  ROSEVILLE CHASE NSW 2069                                                                                         AUS        2069                                    10                             0                    0                                        0                                           0
Mr Dev Gonsalves                 Unit 3                         26 Treatts Road                  LINDFIELD NSW 2070                                                              AUS        2070                              20,000                               0                    0                                        0                                           0
Mrs Nancy Yan-Oi Seto            67 Wellington Road             EAST LINDFIELD NSW 2070                                                                                          AUS        2070                              38,500                               0                    0                                        0                                           0




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                                                                                                           Common Class Shareholders - Exhibit A to Equity Security Holders

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                                                                                                                                                                                                                                              Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                  Name/Address 2                   Name/Address 3                  Name/Address 4                  Name/Address 5             Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares       Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Douglas Watson &             Mrs Doris Watson                 <D I & D Watson S/F A/C>        26 Eton Road                    LINDFIELD NSW 2070                                    AUS        2070                             225,285                             0                    0                                        0                                           0
Afresea Pty Ltd                 9 Roper Pl                       EAST KILLARA NSW 2071                                                                                                 AUS        2071                              50,000                             0                    0                                        0                                           0
Gillian Super Fund Pty Ltd      <Gillian SF A/C>                 7 Gillian Pde                   WEST PYMBLE NSW 2073                                                                  AUS        2073                              50,000                             0                    0                                        0                                           0
Mr Peter John Goddard           2/2-4 Bloomsbury Ave             PYMBLE NSW 2073                                                                                                       AUS        2073                              13,999                             0                    0                                        0                                           0
Mr Scott Yale Gresham &         Mrs Tricia Mary Gresham          58 Wallalong Crescent           WEST PYMBLE NSW 2073                                                                  AUS        2073                              78,000                             0                    0                                        0                                           0
Mr David Milorad Novac &        Ms Cathy Lee Sheehan             <Shevac Super Fund A/C>         PO Box 6094                     PYMBLE NSW 2073                                       AUS        2073                            1,100,000                            0                    0                                        0                                           0
Mr David Milorad Novac &        Ms Cathy Lee Sheehan             <Shevac Super Fund A/C>         PO Box 6094                     PYMBLE NSW 2073                                       AUS        2073                            1,530,000                            0                    0                                        0                                           0
Mrs Judith Eccles Parker        6 Hillary Street                 PYMBLE NSW 2073                                                                                                       AUS        2073                              54,000                             0                    0                                        0                                           0
Mr David Milorad Novac & Ms     Cathy Lee Sheehan                <Shevac Super Fund A/C>         P O Box 6094                    PYMBLE NSW 2073                                       AUS        2073                             500,000                             0                    0                                        0                                           0
Tomlucsar Pty Limited           <Denny Family A/C>               3 Golfers Parade                PYMBLE NSW 2073                                                                       AUS        2073                             200,000                             0                    0                                        0                                           0
Tomlucsar Pty Limited           <Wiltomlucsar A/C>               3 Golfers Parade                PYMBLE NSW 2073                                                                       AUS        2073                             200,000                             0                    0                                        0                                           0
Mabab Investments Pty Ltd       <Tymten Superannuation A/C>      1 Harrison Street               NORTH TURRAMURRA NSW 2074                                                             AUS        2074                             250,000                             0                    0                                        0                                           0
Nappin & Partners Pty Limited   <Nappin & Partners S/F A/C>      36 Turramurra Avenue            TURRAMURRA NSW 2074                                                                   AUS        2074                              10,000                             0                    0                                        0                                           0
Mr David Norman Pratt &         Mrs Irina Pratt                  20 Ashburton Avenue             SOUTH TURRAMURRA NSW 2074                                                             AUS        2074                              41,000                             0                    0                                        0                                           0
Mr Stirling Baker               8 Wembury Road                   ST IVES NSW 2075                                                                                                      AUS        2075                               6,206                             0                    0                                        0                                           0
Mrs Wendy Anne Newman           8 Sage St                        ST IVES NSW 2075                                                                                                      AUS        2075                              10,000                             0                    0                                        0                                           0
Phesoj P/L                      C/- P J Dalton & Co              PO Box 853                      ST IVES NSW 2075                                                                      AUS        2075                            1,200,000                            0                    0                                        0                                           0
Phesoj Pty Ltd                  C/- P J Dalton & Co              PO Box 853                      ST IVES NSW 2075                                                                      AUS        2075                            8,123,429                            0                    0                                        0                                           0
Power Family Holdings Pty Ltd   C/- P J Dalton & Co              PO Box 853                      ST IVES NSW 2075                                                                      AUS        2075                             390,000                             0                    0                                        0                                           0
Mr Ian Ranson                   4 Richmond Ave                   ST IVES NSW 2075                                                                                                      AUS        2075                               7,146                             0                    0                                        0                                           0
Acemac Pty Limited              <Mac Super A/C>                  14 Tanderra Street              WAHROONGA NSW 2076                                                                    AUS        2076                             544,144                             0                    0                                        0                                           0
Mr Robert Gerard Adamson        95 Fox Valley Road               WAHROONGA NSW 2076                                                                                                    AUS        2076                              10,000                             0                    0                                        0                                           0
Mr Robert Gerard Adamson &      Mrs Gaele Doreen Adamson         95 Fox Valley Road              WAHROONGA NSW 2076                                                                    AUS        2076                              21,000                             0                    0                                        0                                           0
Mrs Michelle Leigh Habgood      29 Clissold Road                 WAHROONGA NSW 2076                                                                                                    AUS        2076                              13,000                             0                    0                                        0                                           0
Mr Thomas Hallam                12 Capella Pl                    NORMANHURST NSW 2076                                                                                                  AUS        2076                              14,000                             0                    0                                        0                                           0
Hong Du Luo                     468 Somerville Road              HORNSBY NSW 2077                                                                                                      AUS        2077                               5,000                             0                    0                                        0                                           0
Mr Thomas Tai-Chin Lui          36 Arthurs Circle                MOUNT COLAH NSW 2079                                                                                                  AUS        2079                              20,000                             0                    0                                        0                                           0
Mr Craig Paul Cunningham        49 Waratah Road                  BEROWRA NSW 2081                                                                                                      AUS        2081                              10,522                             0                    0                                        0                                           0
Mr Lindsay Kenneth Spooner      2 Ti-Tree Crescent               BEROWRA NSW 2081                                                                                                      AUS        2081                              30,000                             0                    0                                        0                                           0
Mr Joe Richard Watkins &        Mrs Gunnel Diana Watkins         <Joe & Gunnel R/F A/C>          PO Box 485                      BEROWRA HEIGHTS NSW 2082                              AUS        2082                             350,000                             0                    0                                        0                                           0
Mr Joseph Richard Watkins       PO Box 485                       BEROWRA HEIGHTS NSW 2082                                                                                              AUS        2082                              75,000                             0                    0                                        0                                           0
Mr Paul Charles Knight &        Mrs Kathleen Monica Knight       <Knight Family SF A/C>          PO Box 3                        BROOKLYN NSW 2083                                     AUS        2083                              50,000                             0                    0                                        0                                           0
Mr Robert Walter Warneford &    Mrs Prudence Elizabeth           Warneford                       <The Warneford S/F A/C>         2/83 Booralie Rd           TERREY HILLS NSW 2084      AUS        2084                             100,000                             0                    0                                        0                                           0
Drilltech Services              Pty Ltd                          PO Box 133                      BELROSE WEST NSW 2085                                                                 AUS        2085                             500,000                             0                    0                                        0                                           0
Karbell Pty Ltd                 <Karbell P/L Superfund A/C>      6 Cotswold Close                BELROSE NSW 2085                                                                      AUS        2085                              50,000                             0                    0                                        0                                           0
E I D H Pty Ltd                 <E I D H Super Fund A/C>         C/- Burchall Thompson           8/81 Frenchs Forest East        FRENCHS FOREST NSW 2086                               AUS        2086                             629,294                             0                    0                                        0                                           0
North Avalon Holdings Pty Ltd   <Marsden Super Fund A/C>         C/- Rick Millar                 8/81 Frenchs Forest Road        FRENCHS FOREST NSW 2086                               AUS        2086                             230,000                             0                    0                                        0                                           0
Ronatac Pty Ltd                 <Master Carpets HLD Pl SF A/C>   C/- Burchall Thompson & Co      8/81 Frenchs Forest Road East   FRENCHS FOREST NSW 2086                               AUS        2086                            3,583,333                            0                    0                                        0                                           0
Ms Sheryl Ann Catherine Onuma   18 Cook Street                   FORESTVILLE NSW 2087                                                                                                  AUS        2087                               5,000                             0                    0                                        0                                           0
Benbecca Pty Ltd                <Seymour Super Fund A/C>         PO Box 653                      SPIT JUNCTION NSW 2088                                                                AUS        2088                              37,000                             0                    0                                        0                                           0
Mr Soren Carlsen                377 Military Road                MOSMAN NSW 2088                                                                                                       AUS        2088                              10,000                             0                    0                                        0                                           0
Donald Steel And Associates     Pty Ltd                          <Salignus S/F A/C>              PO Box 120                      SPIT JUNCTION NSW 2088                                AUS        2088                              80,000                             0                    0                                        0                                           0
Kiwiana Pty Limited             <The Kiwiana A/C>                100 Cowles Rd                   MOSMAN NSW 2088                                                                       AUS        2088                             265,000                             0                    0                                        0                                           0
K & M Livesley Holdings         Pty Ltd                          12 Sirius Ave                   MOSMAN NSW 2088                                                                       AUS        2088                              52,175                             0                    0                                        0                                           0
Ms Tracey Leanne Marshall       2 Water Lane                     MOSMAN NSW 2088                                                                                                       AUS        2088                            1,000,000                            0                    0                                        0                                           0
Mrs Constance Sievers           9/69 The Esplanade               BALMORAL BEACH NSW 2088                                                                                               AUS        2088                               5,000                             0                    0                                        0                                           0
Mr Andrew Phillip John Wade     30 Iluka Road                    MOSMAN NSW 2088                                                                                                       AUS        2088                             801,806                             0                    0                                        0                                           0
Mr Stanley James Wilson &       Mrs Geraldine Ann Foster         <Gerry Foster Super Fund A/C>   PO Box 400                      SPIT JUNCTION NSW 2088                                AUS        2088                             268,000                             0                    0                                        0                                           0
48 Large Pty Ltd                PO Box 1234                      NEUTRAL BAY JUNCTION NSW 2089                                                                                         AUS        2089                                    1                            0                    0                                        0                                           0
Him Him Pty Ltd                 PO Box 1234                      NEUTRAL BAY JUNCTION NSW 2089                                                                                         AUS        2089                                    1                            0                    0                                        0                                           0
Ms Helen Benn                   7 Oaks Avenue                    NORTH CREMORNE NSW 2090                                                                                               AUS        2090                               5,000                             0                    0                                        0                                           0
Toshiki Maezawa                 17/50 Earle St                   CREMORNE NSW 2090                                                                                                     AUS        2090                              25,000                             0                    0                                        0                                           0
Mr Monojit Andrew Ray           9 Sutherland Lane                CREMORNE NSW 2090                                                                                                     AUS        2090                               5,000                             0                    0                                        0                                           0
Mr Domenico Vincenzo            Angelucci &                      Mrs Claudia Marina Angelucci    <Angelucci Family Super A/C>    Unit 7 33-37 Ethel St      SEAFORTH NSW 2092          AUS        2092                               9,132                             0                    0                                        0                                           0
Ms Jenny Jia Meng               60 Clontarf St                   SEAFORTH NSW 2092                                                                                                     AUS        2092                            1,000,000                            0                    0                                        0                                           0
Moore Park Capital Pty Ltd      <Sodamnsolid Fund A/C>           30 Seaforth Crescent            SEAFORTH NSW 2092                                                                     AUS        2092                             203,650                             0                    0                                        0                                           0
Mr Joshua Mundey                15 Kitchener St                  BALGOWLAH NSW 2093                                                                                                    AUS        2093                               7,692                             0                    0                                        0                                           0
Mr Peter David Wade             <Wade Family A/C>                17 Sandy Bay Road               CLONTARF NSW 2093                                                                     AUS        2093                             333,333                             0                    0                                        0                                           0
Mr Peter David Wade             <Wade Family A/C>                17 Sandy Bay Road               CLONTARF NSW 2093                                                                     AUS        2093                            1,000,000                            0                    0                                        0                                           0
Daklyn Pty Ltd                  <Ultra Offset P/L S/F A/C>       Unit 15                         137 Sydney Road                 FAIRLIGHT NSW 2094                                    AUS        2094                              83,500                             0                    0                                        0                                           0
Ars Magna Pty Ltd               54 Alexander Street              MANLY NSW 2095                                                                                                        AUS        2095                                    1                            0                    0                                        0                                           0
Mrs Kelly Courtnall             105 Pittwater Road               MANLY NSW 2095                                                                                                        AUS        2095                             194,669                             0                    0                                        0                                           0
Miss Melanie Kate Howarth       8 14-26 Pacific St               MANLY NSW 2095                                                                                                        AUS        2095                              14,000                             0                    0                                        0                                           0
Mr Brendan Joseph Walsh         PO Box 81                        MANLY NSW 2095                                                                                                        AUS        2095                             200,000                             0                    0                                        0                                           0
Danawa (Inv) Pty Ltd            <Danawa S/F A/C>                 PO Box 688                      FRESHWATER NSW 2096                                                                   AUS        2096                             250,000                             0                    0                                        0                                           0
Ms Lily Mien Lin Lim &          Mr Anthony Manning Richards      <Lilant Super Fund A/C>         4 Ellen Street                  CURL CURL NSW 2096                                    AUS        2096                             275,000                             0                    0                                        0                                           0
Mr John Sidney Mason            Unit 8                           38 Wyuna Avenue                 HARBORD NSW 2096                                                                      AUS        2096                             200,000                             0                    0                                        0                                           0
Ms Lily Mien Lin Richards       4 Ellen Street                   CURL CURL NSW 2096                                                                                                    AUS        2096                             100,000                             0                    0                                        0                                           0
Mr James Charles Smith          Unit 1                           1A Greycliffe Street            QUEENSCLIFF NSW 2096                                                                  AUS        2096                              50,000                             0                    0                                        0                                           0
Zaphod Pty Limited              <Matthews Super Fund A/C>        15A Carlton Street              FRESHWATER NSW 2096                                                                   AUS        2096                             100,000                             0                    0                                        0                                           0
Mr Brian Gray                   28 Cliff Road                    COLLAROY NSW 2097                                                                                                     AUS        2097                              50,000                             0                    0                                        0                                           0
Mr Scott Matthew Taylor &       Mrs Tania Amy Taylor             <Curly Holdings S/Fund A/C>     22 Connaught St                 NARRAWEENA NSW 2099                                   AUS        2099                               6,928                             0                    0                                        0                                           0
Mr Frank Gigliotti &            Mr Sarino Gigliotti              27 William Street               NORTH MANLY NSW 2100                                                                  AUS        2100                             200,000                             0                    0                                        0                                           0
Imperu Nominees Pty Limited     10 Cicada Glen Road              INGLESIDE NSW 2101                                                                                                    AUS        2101                             140,000                             0                    0                                        0                                           0
Ms Jie Ding                     215 79-91 Macpherson St          WARRIEWOOD NSW 2102                                                                                                   AUS        2102                               5,491                             0                    0                                        0                                           0
Wonga King Pty Ltd              <Skirka Super Fund A/C>          94 Barrenjoey Road              MONA VALE NSW 2103                                                                    AUS        2103                             270,000                             0                    0                                        0                                           0
Poriba Pty Ltd                  <Ullman S/F A/C>                 2013 Pittwater Road             BAYVIEW NSW 2104                                                                      AUS        2104                             100,000                             0                    0                                        0                                           0
Mr Bruce Alan Joscelyne &       Mrs Robyn Joy Joscelyne          <Raan Super Fund A/C>           PO Box 446                      NEWPORT BEACH NSW 2106                                AUS        2106                             300,000                             0                    0                                        0                                           0
Mr Eugene Robert Clewett        35 Mirrabooka St                 BILGOLA PLATEAU NSW 2107                                                                                              AUS        2107                              10,000                             0                    0                                        0                                           0
Clewett Super Pty Ltd           <Clewett Super Fund A/C>         35 Mirrabooka Street            BILGOLA PLATEAU NSW 2107                                                              AUS        2107                              40,000                             0                    0                                        0                                           0
G-View Pty Ltd                  <Intergen Super Fund A/C>        20 Auburn Street                HUNTERS HILL NSW 2110                                                                 AUS        2110                              56,250                             0                    0                                        0                                           0
Xanthorroea Estates Pty Ltd     <STTC Family A/C>                15 Kennedy Street               GLADESVILLE NSW 2111                                                                  AUS        2111                              55,000                             0                    0                                        0                                           0
Ms Sonja Ginter                 4 Linton Avenue                  WEST RYDE NSW 2114                                                                                                    AUS        2114                              45,000                             0                    0                                        0                                           0
Mr Graeme Kenneth McPherson     17 Maple Crescent                ERMINGTON NSW 2115                                                                                                    AUS        2115                              70,000                             0                    0                                        0                                           0
Ms Ling Huang                   18 Elder Rd                      DUNDAS NSW 2117                                                                                                       AUS        2117                             158,600                             0                    0                                        0                                           0
Mr Martin Stephen Farrow &      Mrs Michelle Farrow              <Farrow Family Ret Plan A/C>    114 Balaka Drive                CARLINGFORD NSW 2118                                  AUS        2118                              10,000                             0                    0                                        0                                           0
Mr Timothy David Fraser         PO Box 2569                      CARLINGFORD COURT NSW 2118                                                                                            AUS        2118                              12,140                             0                    0                                        0                                           0




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                                                                                                            Common Class Shareholders - Exhibit A to Equity Security Holders

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                                                                                                                                                                                                                                          Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                   Name/Address 3                  Name/Address 4                Name/Address 5         Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Dong Soo Kim                  181 Carlingford Road             CARLINGFORD NSW 2118                                                                                            AUS        2118                              10,000                              0                    0                                        0                                           0
Ms Hai Ling Wang                 22 Miamba Avenue                 CARLINGFORD NSW 2118                                                                                            AUS        2118                              30,000                              0                    0                                        0                                           0
Mr Brian Christiansen &          Mrs Shannon Marie Christiansen   <Christiansens Superfund A/C>   194 Beecroft Road             CHELTENHAM NSW 2119                               AUS        2119                             138,680                              0                    0                                        0                                           0
Mr Owen Michael Harrison         1 Day Rd                         CHELTENHAM NSW 2119                                                                                             AUS        2119                             100,000                              0                    0                                        0                                           0
Mrs Tatiana Oitzinger            12 Jesmond Cres                  BEECROFT NSW 2119                                                                                               AUS        2119                              20,000                              0                    0                                        0                                           0
Mr Lukas William De Vries        16 Sutherland Road               CHELTENHAM NSW 2119                                                                                             AUS        2119                               8,000                              0                    0                                        0                                           0
Mr Mitchel Uilke De Vries        16 Sutherland Road               CHELTENHAM NSW 2119                                                                                             AUS        2119                              24,000                              0                    0                                        0                                           0
Garttine Pty Limited             <Hobson Super Fund A/C>          5 Dobson Street                 THORNLEIGH NSW 2120                                                             AUS        2120                             300,000                              0                    0                                        0                                           0
Chocalart Pty Ltd                <The Woodvale S/Fund A/C>        30 Brucedale Avenue             EPPING NSW 2121                                                                 AUS        2121                              68,510                              0                    0                                        0                                           0
Mr David Eyles                   8 Cumberland Street              EPPING NSW 2121                                                                                                 AUS        2121                               7,000                              0                    0                                        0                                           0
Mr Alexander Kevin McDonald      16 Boronia Av                    EPPING NSW 2121                                                                                                 AUS        2121                             910,679                              0                    0                                        0                                           0
Mr Mario Scognamiglio &          Mrs Doris Scognamiglio           <Sco Super Fund A/C>            32 Surrey Street              EPPING NSW 2121                                   AUS        2121                              25,000                              0                    0                                        0                                           0
Mr Dawei Tan &                   Ms Caiping Liu                   3C Edensor Street               EPPING NSW 2121                                                                 AUS        2121                              50,000                              0                    0                                        0                                           0
Mr Minh Cong Duong               Unit 93 188-190 Balaclava Rd     MARSFIELD NSW 2122                                                                                              AUS        2122                              50,000                              0                    0                                        0                                           0
Satish Super Pty Ltd             <Satsun Super A/C>               64 Lovell Rd                    EASTWOOD NSW 2122                                                               AUS        2122                             331,610                              0                    0                                        0                                           0
Southwest Pty Ltd                <MDR Super Fund No 3 A/C>        9 Stewart St                    EASTWOOD NSW 2122                                                               AUS        2122                              10,000                              0                    0                                        0                                           0
Genatst Pty Ltd                  <Michael Mekhitarian S/F A/C>    PO Box 970                      PARRAMATTA NSW 2124                                                             AUS        2124                              15,000                              0                    0                                        0                                           0
Memo (NSW) Pty Ltd               <Memo Super Fund A/C>            PO Box 1004                     PARRAMATTA NSW 2124                                                             AUS        2124                             100,000                              0                    0                                        0                                           0
Nistan Investments Pty Ltd       <Nistan Invests Ret Fund A/C>    PO Box 1004                     PARRAMATTA NSW 2124                                                             AUS        2124                             110,000                              0                    0                                        0                                           0
Mr Johnson Chan                  4 Giuffre Place                  WEST PENNANT HILLS NSW 2125                                                                                     AUS        2125                               4,000                              0                    0                                        0                                           0
Mr Michael Yau Wai Chui &        Ms Choi Yuk Leung                27 Ellerslie Drive              WEST PENNANT HILLS NSW 2125                                                     AUS        2125                             800,000                              0                    0                                        0                                           0
Mr Neil Colquhoun                PO Box 160                       WEST PENNANT HILLS NSW 2125                                                                                     AUS        2125                               5,500                              0                    0                                        0                                           0
Mr Peter John Dick &             Ms Helen Anne Levers             4 Southwood Place               WEST PENNANT HILLS NSW 2125                                                     AUS        2125                             150,000                              0                    0                                        0                                           0
M & M Chan Pty Ltd               <M & M Chan Super Fund A/C>      16 Deakin Place                 WEST PENNANT HILLS NSW 2125                                                     AUS        2125                              30,000                              0                    0                                        0                                           0
Mrs Monica Modi                  56 New Line Road                 WEST PENNANT HILLS NSW 2125                                                                                     AUS        2125                                    5                             0                    0                                        0                                           0
Mr Mark David Hennessey          39 Macquarie Drive               CHERRYBROOK NSW 2126                                                                                            AUS        2126                               8,000                              0                    0                                        0                                           0
Mr Stephane Dufaut               10/25 Sloane St                  SUMMER HILL NSW 2130                                                                                            AUS        2130                                    3                             0                    0                                        0                                           0
Mr Stephen Karnaghan             23 Devonshire Street             CROYDON NSW 2132                                                                                                AUS        2132                               5,000                              0                    0                                        0                                           0
Mr Shaun Hirendra Nair &         Mrs Antonella Nair               14 Hammond Ave                  CROYDON NSW 2132                                                                AUS        2132                              10,000                              0                    0                                        0                                           0
Mr John Henry Elston             15A Gordon Street                BURWOOD NSW 2134                                                                                                AUS        2134                               5,000                              0                    0                                        0                                           0
Mr Peter Mouawad                 11 Brooklyn Street               BURWOOD NSW 2134                                                                                                AUS        2134                               5,000                              0                    0                                        0                                           0
Wanran Zhou &                    Huaijun Zheng                    35/16-22 Burwood Road           BURWOOD NSW 2134                                                                AUS        2134                              10,000                              0                    0                                        0                                           0
Admiration Pty Ltd               30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    10                            0                    0                                        0                                           0
All Positive Pty Ltd             30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    10                            0                    0                                        0                                           0
Augusta Corporation              9 Augusta Street                 STRATHFIELD NSW 2135                                                                                            AUS        2135                             150,000                              0                    0                                        0                                           0
Benevolence Pty Ltd              30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    10                            0                    0                                        0                                           0
C J Bova Pty Ltd                 <C J Bova Ret Fund A/C>          96 Albyn Road                   STRATHFIELD NSW 2135                                                            AUS        2135                             100,000                              0                    0                                        0                                           0
Cutie Pty Ltd                    30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    10                            0                    0                                        0                                           0
Epassport Pty Ltd                30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    10                            0                    0                                        0                                           0
Full Integrity Pty Ltd           30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    18                            0                    0                                        0                                           0
Generation Z Pty Ltd             30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    67                            0                    0                                        0                                           0
Honest Endeavour Pty Ltd         30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    67                            0                    0                                        0                                           0
I T V Pty Ltd                    30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    67                            0                    0                                        0                                           0
I Venture Pty Ltd                30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    67                            0                    0                                        0                                           0
Jimmy Pong Pty Ltd               30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    67                            0                    0                                        0                                           0
Kiloyear Pty Ltd                 30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    10                            0                    0                                        0                                           0
Mr Jimmy Wai Hung Pong           30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    67                            0                    0                                        0                                           0
Mr Mark Humphrey O'Sullivan &    Mrs Janine O'Sullivan            <Serenity Super Fund A/C>       6/101 Wentworth Road          STRATHFIELD NSW 2135                              AUS        2135                              20,000                              0                    0                                        0                                           0
Yeah Pty Ltd                     30 Oxford Road                   STRATHFIELD NSW 2135                                                                                            AUS        2135                                    67                            0                    0                                        0                                           0
Mr Richard J Wyand-Brooks &      Mrs Vicki E Wyand-Brooks         15 James Street                 SOUTH STRATHFIELD NSW 2136                                                      AUS        2136                              25,000                              0                    0                                        0                                           0
Fletcher & Pickett               Superannuation Pty Ltd           <Fletcher&Pickett 2 PLSF A/C>   Unit 43                       77 Peninsula Drive     BREAKFAST POINT NSW 2137   AUS        2137                             100,000                              0                    0                                        0                                           0
Mr Robert John McKenna           Unit 6 Ground Floor              8 Wentworth Drive               LIBERTY GROVE NSW 2138                                                          AUS        2138                             100,000                              0                    0                                        0                                           0
Xing Min Li                      3/8 Francis Street               LIDCOMBE NSW 2141                                                                                               AUS        2141                              10,000                              0                    0                                        0                                           0
Mr Quoc Cuong Nguyen             Unit 1                           17-19 Mary Street               LIDCOMBE NSW 2141                                                               AUS        2141                              15,000                              0                    0                                        0                                           0
Mr Marcel Abraham                21 Steel Street                  GRANVILLE NSW 2142                                                                                              AUS        2142                               5,000                              0                    0                                        0                                           0
Ms Lisa Li                       2/54 Prospect St                 ROSEHILL NSW 2142                                                                                               AUS        2142                              10,000                              0                    0                                        0                                           0
Mr Andrew James Charles          Hansell &                        Mrs Bernadeth Hansell           <Hansell Super Fund A/C>      15 Pobje Avenue        BIRRONG NSW 2143           AUS        2143                              18,013                              0                    0                                        0                                           0
Mr Salmin Safraz Khan            42 Jones Ave                     POTTS HILL NSW 2143                                                                                             AUS        2143                              95,000                              0                    0                                        0                                           0
Ms Melanie Anne Andrews          124B Centenary Rd                SOUTH WENTWORTHVILLE NSW 2145                                                                                   AUS        2145                               4,000                              0                    0                                        0                                           0
Mr Andy Wai Kit Leung            34 Hudson Street                 WENTWORTHVILLE NSW 2145                                                                                         AUS        2145                               2,400                              0                    0                                        0                                           0
Mrs Manjula Rajeev               31B                              Fullagar Road                   WENTWORTHVILLE NSW 2145                                                         AUS        2145                               8,000                              0                    0                                        0                                           0
Ms Janice Storey                 8 Azalea Street                  GREYSTANES NSW 2145                                                                                             AUS        2145                               5,000                              0                    0                                        0                                           0
Mr Gregory Frank Borys           55 The Crescent                  TOONGABBIE NSW 2146                                                                                             AUS        2146                              30,000                              0                    0                                        0                                           0
Mr Akeke Kavana                  44 Peter Parade                  OLD TOONGABBIE NSW 2146                                                                                         AUS        2146                             727,500                              0                    0                                        0                                           0
Mr Francis Galea &               Mrs Carmen Galea                 58 Frederick Street             BLACKTOWN NSW 2148                                                              AUS        2148                              67,500                              0                    0                                        0                                           0
Mr Ravindra Kumar Karunanayake   120 Harvey Road                  KINGS PARK NSW 2148                                                                                             AUS        2148                              30,000                              0                    0                                        0                                           0
Xue Feng Zhang                   1/78a Weston Street              HARRIS PARK NSW 2150                                                                                            AUS        2150                               5,000                              0                    0                                        0                                           0
Ms Suhaila Kylie Hochstrasser    7 Alderson Avenue                NORTH ROCKS NSW 2151                                                                                            AUS        2151                               5,000                              0                    0                                        0                                           0
Dr Peter Gordon Wilson           262 North Rocks Road             NORTH ROCKS NSW 2151                                                                                            AUS        2151                              50,000                              0                    0                                        0                                           0
Mr Tong Chen                     24 Northmead Ave                 NORTHMEAD NSW 2152                                                                                              AUS        2152                               7,000                              0                    0                                        0                                           0
Xiu Ling Liu                     11 Peter Street                  BAULKHAM HILLS NSW 2153                                                                                         AUS        2153                              14,000                              0                    0                                        0                                           0
Mr Paul Denis Mullen             P O Box 453                      WINSTON HILLS NSW 2153                                                                                          AUS        2153                              49,000                              0                    0                                        0                                           0
Mrs Rena Vivekanand Parikh       37 Glanmire Rd                   BAULKHAM HILLS NSW 2153                                                                                         AUS        2153                             109,000                              0                    0                                        0                                           0
Mr Sagar Rajpura                 201 Seven Hills Road             BAULKHAM HILLS NSW 2153                                                                                         AUS        2153                               7,500                              0                    0                                        0                                           0
Valboro Pty Limited              <P & D Sheedy Family A/C>        3 Toni Place                    BAULKHAM HILLS NSW 2153                                                         AUS        2153                             100,000                              0                    0                                        0                                           0
Mrs Yvonne Tolato Hill &         Mr Graeme Leslie Hill            Unit 15 9 Garthowen Cres        CASTLE HILL NSW 2154                                                            AUS        2154                             200,000                              0                    0                                        0                                           0
Mr Chuan Yu Hsiau                1 Richmond Court                 CASTLE HILL NSW 2154                                                                                            AUS        2154                              25,000                              0                    0                                        0                                           0
Mr Elyas Khaliqi                 120 David Road                   CASTLE HILL NSW 2154                                                                                            AUS        2154                                    1                             0                    0                                        0                                           0
Mr Dean Naudi                    6 Kingussie Avenue               CASTLE HILL NSW 2154                                                                                            AUS        2154                             118,900                              0                    0                                        0                                           0
Mr Dean Naudi                    <Judean Family A/C>              6 Kingussie Ave                 CASTLE HILL NSW 2154                                                            AUS        2154                              50,000                              0                    0                                        0                                           0
Mr Gary Owen Oneill &            Mrs Marina Lucia Romana Oneill   <Starfish Super Fund A/C>       24/22 Hudson Ave              CASTLE HILL NSW 2154                              AUS        2154                             626,000                              0                    0                                        0                                           0
Mrs Roopal Patel                 8 Richmond Court                 CASTLE HILL NSW 2154                                                                                            AUS        2154                              49,950                              0                    0                                        0                                           0
Mr Anthony William Vermeer       Unit 2 8 Roger Ave               CASTLE HILL NSW 2154                                                                                            AUS        2154                               3,500                              0                    0                                        0                                           0
Mr Han Young Ko                  24 Harvard Circuit               ROUSE HILL NSW 2155                                                                                             AUS        2155                               8,500                              0                    0                                        0                                           0
Mr Marc Dominic Morabito &       Mrs Vittoria Maria Morabito      <M And V Morabito S/F A/C>      PO Box 370                    KELLYVILLE NSW 2155                               AUS        2155                             240,000                              0                    0                                        0                                           0
Mr Chiang Hao Wong               8 Armbruster Ave                 KELLYVILLE NSW 2155                                                                                             AUS        2155                            1,671,000                             0                    0                                        0                                           0
Mr Michael O'Sullivan            3 Ballanda Place                 DURAL NSW 2158                                                                                                  AUS        2158                              20,589                              0                    0                                        0                                           0




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                                                                                         Case 19-11138 Document     1 Filed in USBC ND/OK on 06/03/19 Page 44 of 257
                                                                                                           Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                   Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                    Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                  Name/Address 3                 Name/Address 4         Name/Address 5            Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Algeni Pty Ltd                   <The Urry Family S/F A/C>       PO Box 150                     GALSTON NSW 2159                                                            AUS        2159                            2,835,000                             0                    0                                        0                                           0
Slowdance Pty Ltd                <The Norval Family A/C>         79 Crosslands Road             GALSTON NSW 2159                                                            AUS        2159                              73,462                              0                    0                                        0                                           0
Mrs Shahida Aktar                Unit 7                          12- 14 Newman Street           MERRYLANDS NSW 2160                                                         AUS        2160                             100,000                              0                    0                                        0                                           0
Mr Sean Lim Khov                 8 Albion Avenue                 MERRYLANDS NSW 2160                                                                                        AUS        2160                              10,000                              0                    0                                        0                                           0
Mr Stephen Lamb                  68A Farnell Street              MERRYLANDS NSW 2160                                                                                        AUS        2160                             167,000                              0                    0                                        0                                           0
Mr Mark Shalala                  PO Box 376                      GUILDFORD NSW 2161                                                                                         AUS        2161                              30,000                              0                    0                                        0                                           0
Ms Lily Leong                    C/- 11/10 Fisher Street         CABRAMATTA NSW 2166                                                                                        AUS        2166                               9,000                              0                    0                                        0                                           0
Mr Rajendra Kadel                11 Albion Cres                  GLENFIELD NSW 2167                                                                                         AUS        2167                             200,000                              0                    0                                        0                                           0
Mr Gopal Prasad Mainali          13 Mary Ann Dr                  GLENFIELD NSW 2167                                                                                         AUS        2167                             260,000                              0                    0                                        0                                           0
Mr Pratit Poudel                 42 Sovereign CCT                GLENFIELD NSW 2167                                                                                         AUS        2167                              60,000                              0                    0                                        0                                           0
Mrs Rizalie Doroteo Vergara      31 Keppel Circuit               HINCHINBROOK NSW 2168                                                                                      AUS        2168                              16,800                              0                    0                                        0                                           0
Mr Tony Nakhl                    41 Amalfi Street                LURNEA NSW 2170                                                                                            AUS        2170                               7,500                              0                    0                                        0                                           0
Mr Surender Kumar Pawar          Unit 71 31-33 Campbell Street   LIVERPOOL NSW 2170                                                                                         AUS        2170                              20,000                              0                    0                                        0                                           0
Mr Nathan Joseph Andrew Role     1 Pulham Close                  CHIPPING NORTON NSW 2170                                                                                   AUS        2170                               7,650                              0                    0                                        0                                           0
Mr Tomislav Sikic                Unit 1 27-29 Bigge St           LIVERPOOL NSW 2170                                                                                         AUS        2170                               5,714                              0                    0                                        0                                           0
Miss Teresa Joan Wilson &        Miss Julie Monique Rogers       28 Mubo Crescent               HOLSWORTHY NSW 2173                                                         AUS        2173                               7,142                              0                    0                                        0                                           0
Mr Jonathan George               130-134 Arundel Road            HORSLEY PARK NSW 2175                                                                                      AUS        2175                              49,320                              0                    0                                        0                                           0
Mr Ramsin Malek                  12 Ashur Cres                   GREENFIELD PARK NSW 2176                                                                                   AUS        2176                             133,000                              0                    0                                        0                                           0
Mr Kiat Phanith                  29 Sweethaven Road              EDENSOR PARK NSW 2176                                                                                      AUS        2176                                    20                            0                    0                                        0                                           0
Ms Tracey Shamon                 12 Bossley Road                 BOSSLEY PARK NSW 2176                                                                                      AUS        2176                              51,515                              0                    0                                        0                                           0
Mr Edi Vukosa                    35 Natchez Cres                 GREENFIELD PARK NSW 2176                                                                                   AUS        2176                             130,000                              0                    0                                        0                                           0
Mrs YUYI Chen                    44 Acton Street                 HURLSTONE PARK NSW 2193                                                                                    AUS        2193                              20,000                              0                    0                                        0                                           0
Mrs Jane Sullivan                69 Hay Street                   ASHBURY NSW 2193                                                                                           AUS        2193                               6,000                              0                    0                                        0                                           0
Mrs Jane Sullivan                <The Sullivan Investment A/C>   69 Hay Street                  ASHBURY NSW 2193                                                            AUS        2193                               5,000                              0                    0                                        0                                           0
Huizhan Fan                      4/83 Campsie Street             CAMPSIE NSW 2194                                                                                           AUS        2194                               5,000                              0                    0                                        0                                           0
Mr Tiancheng Liu                 15 Wade St                      CAMPSIE NSW 2194                                                                                           AUS        2194                             649,000                              0                    0                                        0                                           0
Xiu Ling Wu                      3/7 Fifth Avenue                CAMPSIE NSW 2194                                                                                           AUS        2194                               6,000                              0                    0                                        0                                           0
Mr Qinghua Zhang &               Ms Xuefei Lu                    18 Clissold Pde                CAMPSIE NSW 2194                                                            AUS        2194                              11,448                              0                    0                                        0                                           0
Mr Danda Venkata Srinivas Rao    Unit 5                          15 Denman Avenue               WILEY PARK NSW 2195                                                         AUS        2195                              72,000                              0                    0                                        0                                           0
Mrs Antwanette Dahbar            2 Lofts Avenue                  ROSELANDS NSW 2196                                                                                         AUS        2196                              44,200                              0                    0                                        0                                           0
Ms Sylvia Jankuloska             21 Foley Street                 GEORGES HALL NSW 2198                                                                                      AUS        2198                              20,000                              0                    0                                        0                                           0
Dr Angelo Aspris                 9 Irvine Street                 BANKSTOWN NSW 2200                                                                                         AUS        2200                                    1                             0                    0                                        0                                           0
Ms Evelyn Goh                    100 Edgar Street                BANKSTOWN NSW 2200                                                                                         AUS        2200                               7,500                              0                    0                                        0                                           0
Ms Xia Zou                       331 Hume Highway                BANKSTOWN NSW 2200                                                                                         AUS        2200                             100,000                              0                    0                                        0                                           0
Mr Mac Christie                  29/2 Williams Pde               DULWICH HILL NSW 2203                                                                                      AUS        2203                              10,000                              0                    0                                        0                                           0
Ms Chongchit Cooper              7 Black Street                  MARRICKVILLE NSW 2204                                                                                      AUS        2204                              67,000                              0                    0                                        0                                           0
Plumbspark Pty Ltd               107 Meeks Road                  MARRICKVILLE NSW 2204                                                                                      AUS        2204                             805,555                              0                    0                                        0                                           0
Mr Timothy Charles Weale         41A Petersham Rd                MARRICKVILLE NSW 2204                                                                                      AUS        2204                              14,833                              0                    0                                        0                                           0
Access Atpl Super Pty Ltd        <Access Atpl Super Fund A/C>    Unit 1205 1 Brodie Spark Dr    WOLLI CREEK NSW 2205                                                        AUS        2205                             177,106                              0                    0                                        0                                           0
Mr James Barry Bass              410 Homer Street                EARLWOOD NSW 2206                                                                                          AUS        2206                             230,000                              0                    0                                        0                                           0
Mr Didi Neto Rodrigues           95 Woolcott Street              EARLWOOD NSW 2206                                                                                          AUS        2206                              41,000                              0                    0                                        0                                           0
Yili Du                          2/72 Caledonian Street          BEXLEY NSW 2207                                                                                            AUS        2207                              55,000                              0                    0                                        0                                           0
Mr Derrick Andrew Windsor        12 Arthur Street                BEXLEY NSW 2207                                                                                            AUS        2207                               5,000                              0                    0                                        0                                           0
Dr Hua Zhu                       23 Monomeeth Street             BEXLEY NSW 2207                                                                                            AUS        2207                              70,000                              0                    0                                        0                                           0
Ms Danielle Louise Moore         42 Staples Street               KINGSGROVE NSW 2208                                                                                        AUS        2208                              68,000                              0                    0                                        0                                           0
Jonenderbee Investments Pty      Ltd                             <Starlotters Staff Prov A/C>   PO Box 51              BEVERLY HILLS NSW 2209                               AUS        2209                             601,000                              0                    0                                        0                                           0
Wei Neng Yang                    13 Warne Crescent               BEVERLY HILLS NSW 2209                                                                                     AUS        2209                              20,000                              0                    0                                        0                                           0
Wei Neng Yang                    13 Warne Crescent               BEVERLY HILLS NSW 2209                                                                                     AUS        2209                              30,000                              0                    0                                        0                                           0
Mr Ayodeji Fisayo Ayodele        Unit 11 13-17 Peake Pde         PEAKHURST NSW 2210                                                                                         AUS        2210                             100,000                              0                    0                                        0                                           0
Mr Mario Corallo                 15 Bungalow Road                PEAKHURST NSW 2210                                                                                         AUS        2210                              14,700                              0                    0                                        0                                           0
Mr Peter Anthony Gibbs           8 Prospect Road                 PEAKHURST NSW 2210                                                                                         AUS        2210                              50,000                              0                    0                                        0                                           0
Huiming Zhang                    27 Alliance Avenue              REVESBY NSW 2212                                                                                           AUS        2212                               5,000                              0                    0                                        0                                           0
Mr Tony Elltan Daroczy           97A Tower Street                PANANIA NSW 2213                                                                                           AUS        2213                              21,000                              0                    0                                        0                                           0
Mr David Harris                  6 Braesmere Road                PANANIA NSW 2213                                                                                           AUS        2213                               5,000                              0                    0                                        0                                           0
Xiu Qian Yu                      702/7 Rockdale Plaza Drive      ROCKDALE NSW 2216                                                                                          AUS        2216                               5,000                              0                    0                                        0                                           0
Zacart Pty Ltd                   138 Bestic Street               KYEEMAGH NSW 2216                                                                                          AUS        2216                              35,000                              0                    0                                        0                                           0
Mr Kevin Duarte                  87 Barton Street                MONTEREY NSW 2217                                                                                          AUS        2217                              28,142                              0                    0                                        0                                           0
Mr Paul Andrew Flanagan &        Mrs Kellie Jayne Downey         <Flash Superannuation A/C>     Villa 4 78 Alfred St   RAMSGATE BEACH NSW 2217                              AUS        2217                             100,000                              0                    0                                        0                                           0
Mr Wei Daniel Li                 22 Parkside Dr                  KOGARAH BAY NSW 2217                                                                                       AUS        2217                              41,689                              0                    0                                        0                                           0
One Thousands Times              Superannuation Investment P/L   <Onethousandtimes Super A/C>   6A Robertson St        KOGARAH NSW 2217                                     AUS        2217                              88,235                              0                    0                                        0                                           0
Mr Harwin Churniawan             Unit 4 9-11 Argyle St           CARLTON NSW 2218                                                                                           AUS        2218                              20,000                              0                    0                                        0                                           0
Mr Michael Mishevski             34 Harris Street                SANS SOUCI NSW 2219                                                                                        AUS        2219                             142,500                              0                    0                                        0                                           0
Mr Michael George Abdullah       18 Amy St                       BLAKEHURST NSW 2221                                                                                        AUS        2221                              30,000                              0                    0                                        0                                           0
Dovido Pty Limited               PO Box 234                      SOUTH HURTSVILLE NSW 2221                                                                                  AUS        2221                               5,000                              0                    0                                        0                                           0
Mr Jason Halley Robert           Mazzaferro                      15 Stuart Crescent             BLAKEHURST NSW 2221                                                         AUS        2221                              46,000                              0                    0                                        0                                           0
Mr Luke David Anthony            Mazzaferro                      15 Stuart Crescent             BLAKEHURST NSW 2221                                                         AUS        2221                              26,000                              0                    0                                        0                                           0
Nimpod Pty Ltd                   PO Box 234                      SOUTH HURSTVILLE NSW 2221                                                                                  AUS        2221                              15,000                              0                    0                                        0                                           0
Mr Paul Joseph Sakr              5 Duggan Crescent               CONNELLS POINT NSW 2221                                                                                    AUS        2221                             226,964                              0                    0                                        0                                           0
Mr John Roderick O'Connell       93 Woronora Parade              OATLEY NSW 2223                                                                                            AUS        2223                              45,000                              0                    0                                        0                                           0
White Crest Consulting Pty Ltd   28A Annette Street              OATLEY NSW 2223                                                                                            AUS        2223                              50,001                              0                    0                                        0                                           0
Mr Bradley Pointing              PO Box 221                      SYLVANIA SOUTHGATE NSW 2224                                                                                AUS        2224                              29,500                              0                    0                                        0                                           0
Ms Suping Zhang                  46 Craigholm Street             SYLVANIA NSW 2224                                                                                          AUS        2224                              20,000                              0                    0                                        0                                           0
Mr Adam Ayash &                  Mrs Gail Lynette Ayash          <The Ayash Family S/F A/C>     7 Juvenis Avenue       OYSTER BAY NSW 2225                                  AUS        2225                               1,669                              0                    0                                        0                                           0
Mrs Sharon Anne                  Osbourne-McHugh                 44 Oyster Bay Road             OYSTER BAY NSW 2225                                                         AUS        2225                              10,000                              0                    0                                        0                                           0
Maw Projects Pty Ltd             PO Box 1122                     GYMEA NSW 2227                                                                                             AUS        2227                                    1                             0                    0                                        0                                           0
Maw Pty Ltd                      <Wardrope Family A/C>           PO Box 1122                    GYMEA NSW 2227                                                              AUS        2227                                    1                             0                    0                                        0                                           0
Mr Evan Wardrope                 PO Box 1122                     GYMEA NSW 2227                                                                                             AUS        2227                                    1                             0                    0                                        0                                           0
Mr Michael Anthony Wardrope      PO Box 1122                     GYMEA NSW 2227                                                                                             AUS        2227                                    1                             0                    0                                        0                                           0
Mr Joshua Terry White            2 Tathra Place                  GYMEA NSW 2227                                                                                             AUS        2227                              85,000                              0                    0                                        0                                           0
Mr Gordon Alfred Coutinho &      Mrs Debra Coutinho              218 Kiora Road                 YOWIE BAY NSW 2228                                                          AUS        2228                              20,000                              0                    0                                        0                                           0
Mr Christopher Roland King       Kemp                            267 President Avenue           MIRANDA NSW 2228                                                            AUS        2228                               5,000                              0                    0                                        0                                           0
Mr Gordon Bruce Kemp             267 President Avenue            MIRANDA NSW 2228                                                                                           AUS        2228                               5,300                              0                    0                                        0                                           0
Aspect Australia Pty Limited     PO Box 1097                     CRONULLA NSW 2230                                                                                          AUS        2230                              50,000                              0                    0                                        0                                           0
Aspect Australia Pty Ltd         <Super Fund A/C>                PO Box 1097                    CRONULLA NSW 2230                                                           AUS        2230                             150,000                              0                    0                                        0                                           0
Mr John Ronald Blanch            49 Kirkwood Road                CRONULLA NSW 2230                                                                                          AUS        2230                                    30                            0                    0                                        0                                           0
Mr Michael John Bofinger &       Mrs Alison Lucille              Bofinger                       8 Girrilang Road       CRONULLA NSW 2230                                    AUS        2230                              14,000                              0                    0                                        0                                           0
Mr Anthony Cianciarulo           Unit 8 14 The Esplanade         CRONULLA NSW 2230                                                                                          AUS        2230                             100,000                              0                    0                                        0                                           0




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                                                                                                           Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                        Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                         Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                  Name/Address 3                  Name/Address 4              Name/Address 5           Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Haralambos Flaskas            3 Wategos St                    GREENHILLS BEACH NSW 2230                                                                                       AUS        2230                             225,000                              0                    0                                        0                                           0
GDNC Holdings Pty Ltd            <G & D Amey Super Fund A/C>     257 Woolooware Road             BURRANEER NSW 2230                                                              AUS        2230                             380,120                              0                    0                                        0                                           0
Lebika Pty Ltd                   <Lebika Pty Ltd S/F A/C>        PO Box 373                      CRONULLA NSW 2230                                                               AUS        2230                             131,500                              0                    0                                        0                                           0
Mr Robert John Moore             B9/14-16 Burraneer Bay Road     CRONULLA NSW 2230                                                                                               AUS        2230                              60,000                              0                    0                                        0                                           0
Mrs Kylie Nolan                  PO Box 1097                     CRONULLA NSW 2230                                                                                               AUS        2230                             300,000                              0                    0                                        0                                           0
Mr Shaun Andrew Nolan            PO Box 1097                     CRONULLA NSW 2230                                                                                               AUS        2230                             100,000                              0                    0                                        0                                           0
Mr Shaun Andrew Nolan &          Mrs Kylie Jane Nolan            <Aspect Super Fund A/C>         PO Box 1097                 CRONULLA NSW 2230                                   AUS        2230                              50,000                              0                    0                                        0                                           0
Picnic Point Development         Pty Ltd                         4 Glandore Street               WOOLOOWARE NSW 2230                                                             AUS        2230                             136,860                              0                    0                                        0                                           0
Mr Frank Joseph Buffoni          12/103 Glencoe Street           SUTHERLAND NSW 2232                                                                                             AUS        2232                              43,000                              0                    0                                        0                                           0
Mr Ian Thomas Rae &              Mrs Geraldine Anne Rae          <Rae Family Super Fund A/C>     4 Heron Place               GRAYS POINT NSW 2232                                AUS        2232                             517,350                              0                    0                                        0                                           0
Heron Financial Pty Ltd          <Heron Financial A/C>           19 Holmlea Place                ENGADINE NSW 2233                                                               AUS        2233                              15,000                              0                    0                                        0                                           0
Mr Christopher Thomas Rae &      Ms Elana Jo-Ane Mitchell        <Caldarra Super Fund Account>   19 Holmlea Place            ENGADINE NSW 2233                                   AUS        2233                             400,000                              0                    0                                        0                                           0
Mr Terence Michael Brooks &      Ms Yiak Choo Sim                <Star 999 Superfund A/C>        46 Moreton Road             ILLAWONG NSW 2234                                   AUS        2234                              60,000                              0                    0                                        0                                           0
Mr Daniel Anthony Ghaleb         15 Jarrah Close                 ALFORDS POINT NSW 2234                                                                                          AUS        2234                              13,000                              0                    0                                        0                                           0
Ma & Ym Callaghan Pty Ltd        <Southside Holdings S/F A/C>    11 Arika Close                  BANGOR NSW 2234                                                                 AUS        2234                              75,475                              0                    0                                        0                                           0
Mr Harald Tristan Potuzak &      Mrs Meegan Louise Potuzak       6 Jonquil Pl                    ALFORDS POINT NSW 2234                                                          AUS        2234                             140,000                              0                    0                                        0                                           0
Mrs Catherine Mary Rawson        PO Box 3278                     BANGOR NSW 2234                                                                                                 AUS        2234                             250,000                              0                    0                                        0                                           0
Mr Steven Patrick Van Ryn &      Mrs Lucy Liane Van Ryn          6 Hall Dr                       MENAI NSW 2234                                                                  AUS        2234                              50,000                              0                    0                                        0                                           0
Mr Robert Zobouian               4 Parkwood Drive                MENAI NSW 2234                                                                                                  AUS        2234                              18,518                              0                    0                                        0                                           0
Jalleo Investments Pty Limited   <Jalleo Investments A/C>        PO Box 3565                     ERINA NSW 2250                                                                  AUS        2250                             750,000                              0                    0                                        0                                           0
Jalleo Superannuation Pty        Limited                         <Jalleo Super Fund A/C>         PO Box 3565                 ERINA NSW 2250                                      AUS        2250                            1,000,000                             0                    0                                        0                                           0
Mr Sergio Sill                   37 Woy Woy Road                 KARIONG NSW 2250                                                                                                AUS        2250                             158,000                              0                    0                                        0                                           0
Snork Superannuation Fund Pty    Limited                         <Snork Super Fund A/C>          PO Box 3565                 ERINA NSW 2250                                      AUS        2250                             120,000                              0                    0                                        0                                           0
Mr John Toohey                   160 Wattle Tree Road            HOLGATE NSW 2250                                                                                                AUS        2250                              84,000                              0                    0                                        0                                           0
Donzel Pty Limited               <Gr Stewart Family S/F A/C>     13 Elfin Hill Road              GREEN POINT NSW 2251                                                            AUS        2251                              20,000                              0                    0                                        0                                           0
Mrs Katey Elisabeth Dorahy       29 High Stree                   SARATOGA NSW 2251                                                                                               AUS        2251                              60,000                              0                    0                                        0                                           0
Beltana Contracting Pty Ltd      <Magro Super Fund A/C>          18 The Rampart                  UMINA BEACH NSW 2257                                                            AUS        2257                             110,000                              0                    0                                        0                                           0
Mr Charles Magro                 18 The Rampart                  UMINA BEACH NSW 2257                                                                                            AUS        2257                              20,000                              0                    0                                        0                                           0
Mr Angello Masters &             Mrs Trudy Masters               <The Masters S/F A/C>           19 Wilks Ave                UMINA BEACH NSW 2257                                AUS        2257                             200,000                              0                    0                                        0                                           0
Mr Angelo Masters &              Mrs Trudy Joy Masters           <The Masters Super Fund A/C>    19 Wilks Avenue             UMINA BEACH NSW 2257                                AUS        2257                              30,000                              0                    0                                        0                                           0
Alan & Gillian Robson Pty Ltd    <The Robson Family SMSF A/C>    15 Marigold Street              WOONGARRAH NSW 2259                                                             AUS        2259                               6,666                              0                    0                                        0                                           0
Mr Neil David Duffy              PO Box 27                       WYONG NSW 2259                                                                                                  AUS        2259                             150,000                              0                    0                                        0                                           0
Mrs Karen Dorothy Richards       41A Burbank Drive               TUGGERAH NSW 2259                                                                                               AUS        2259                              15,000                              0                    0                                        0                                           0
Mrs Christine Boydell            11 Okanagan Close               WAMBERAL NSW 2260                                                                                               AUS        2260                               5,000                              0                    0                                        0                                           0
Ms Claudine Boydell              11 Okanagan Close               WAMBERAL NSW 2260                                                                                               AUS        2260                              10,000                              0                    0                                        0                                           0
Chris Jones Superannuation       Fund P/L                        <Chris Jones S/Fund A/C>        31 Casino Street            TERRIGAL NSW 2260                                   AUS        2260                              83,148                              0                    0                                        0                                           0
Kobler Jireh Pty Ltd             <Kobler Family A/C>             28A Ogilvie Street              TERRIGAL NSW 2260                                                               AUS        2260                               8,000                              0                    0                                        0                                           0
Mr Askam Rex Nottage &           Mrs Marie Nottage               14 Newlands Avenue              TERRIGAL NSW 2260                                                               AUS        2260                               7,500                              0                    0                                        0                                           0
Mr Timothy Tyrrell               26 Tramway Road                 NORTH AVOCA NSW 2260                                                                                            AUS        2260                               7,500                              0                    0                                        0                                           0
Bark (NSW) Pty Ltd               <Bark A/C>                      321 Lakedge Avenue              BERKELEY VALE NSW 2261                                                          AUS        2261                              80,000                              0                    0                                        0                                           0
Mr Jeffrey Bernhard Raberg &     Mrs Carol Raberg                <Raberg Retirement Fund A/C>    52 Sierra Avenue            BATEAU BAY NSW 2261                                 AUS        2261                              15,000                              0                    0                                        0                                           0
Asset Capital Pty Ltd            94 Border Street                ERARING NSW 2264                                                                                                AUS        2264                              55,000                              0                    0                                        0                                           0
Ms Julie Ann Goldie &            Ms Helen Irene Cox              10 Kalani Road                  BONNELLS BAY NSW 2264                                                           AUS        2264                               3,814                              0                    0                                        0                                           0
Mr Darrell Kenneth Small &       Mrs Betty Small                 12 Macquarie Street             BONNELLS BAY NSW 2264                                                           AUS        2264                              10,450                              0                    0                                        0                                           0
Mr David Wayne Smith             28 Puna Rd                      WANGI WANGI NSW 2267                                                                                            AUS        2267                            1,000,000                             0                    0                                        0                                           0
Mr Patrick Burke                 20 Bellevue Road                BELMONT NSW 2280                                                                                                AUS        2280                                    1                             0                    0                                        0                                           0
George Wilks Pty Ltd             <George Wilks Super Fund A/C>   123 Floraville Road             FLORAVILLE NSW 2280                                                             AUS        2280                             546,000                              0                    0                                        0                                           0
JBPB Holdings Pty Ltd            <JBPB Holdings A/C>             20 Bellevue Road                BELMONT NSW 2280                                                                AUS        2280                                    1                             0                    0                                        0                                           0
Ms Jessica Lindsay               20 Bellevue Road                BELMONT NSW 2280                                                                                                AUS        2280                                    1                             0                    0                                        0                                           0
Square Forest Pty Ltd            20 Bellevue Road                BELMONT NSW 2280                                                                                                AUS        2280                                    1                             0                    0                                        0                                           0
Viper Ray Pty Ltd                20 Bellevue Road                BELMONT NSW 2280                                                                                                AUS        2280                                    1                             0                    0                                        0                                           0
Mr Anupam Nahar                  Unit C 556 The Esplande         WARNERS BAY NSW 2282                                                                                            AUS        2282                             168,000                              0                    0                                        0                                           0
Spooner Consulting Pty Ltd       22 Cassegrain Close             ELEEBANA NSW 2282                                                                                               AUS        2282                               7,500                              0                    0                                        0                                           0
Mr Arthur Lindsay Harding &      Mrs Lynne Marie Harding         <L & L Harding Super A/C>       125 Fishing Point Road      FISHING POINT NSW 2283                              AUS        2283                              40,000                              0                    0                                        0                                           0
Epcoz Pty Ltd                    <Martin Epstein P/L S/F A/C>    12 Burwood Road                 WHITEBRIDGE NSW 2290                                                            AUS        2290                             180,000                              0                    0                                        0                                           0
Hamva Pty Ltd                    <Beaton Super Fund A/C>         18 Seacourt Avenue              DUDLEY NSW 2290                                                                 AUS        2290                               6,000                              0                    0                                        0                                           0
Mr George David Angus &          Mrs Wendy Lorraine Angus        <Angus Family Super Fund A/C>   PO Box 599                  THE JUNCTION NSW 2291                               AUS        2291                              40,000                              0                    0                                        0                                           0
Larjanak Pty Limited             <Lg Roddick Practice S/F A/C>   PO Box 164                      THE JUNCTION NSW 2291                                                           AUS        2291                              12,000                              0                    0                                        0                                           0
Princess Rose Pty Ltd            PO Box 3450                     MEREWETHER NSW 2291                                                                                             AUS        2291                             900,000                              0                    0                                        0                                           0
Mr Andrew Bourke Terrell         3 Charles Street                WICKHAM NSW 2293                                                                                                AUS        2293                             180,000                              0                    0                                        0                                           0
Mr Swee Eng Chen &               Mrs Cheng Eng Chan              <Chen Super Fund A/C>           PO Box 139                  JESMOND NSW 2299                                    AUS        2299                             200,000                              0                    0                                        0                                           0
Mr Robert Desmond Dailey &       Mrs Kerrie Anne Dailey          PO Box 122                      LAMBTON NSW 2299                                                                AUS        2299                              40,000                              0                    0                                        0                                           0
Mrs Mary Cecilia Ferguson        40 Church Street                NEWCASTLE NSW 2300                                                                                              AUS        2300                              10,000                              0                    0                                        0                                           0
Nesbitt Investment Co Pty Ltd    PO Box 349                      NEWCASTLE NSW 2300                                                                                              AUS        2300                             600,000                              0                    0                                        0                                           0
Mr Craig Nicholas Porich         33 Gulliver St                  HAMILTON NSW 2303                                                                                               AUS        2303                              75,000                              0                    0                                        0                                           0
Mrs Sandra Maxine Clare          Porich                          33 Gulliver St                  HAMILTON NSW 2303                                                               AUS        2303                               6,153                              0                    0                                        0                                           0
Mr Stan Weeks                    P O Box 345                     NELSON BAY NSW 2315                                                                                             AUS        2315                             200,000                              0                    0                                        0                                           0
Marie Angelique International    Pty Ltd                         PO Box 117                      MAITLAND NSW 2320                                                               AUS        2320                              35,000                              0                    0                                        0                                           0
Mr Brendan Paul Power &          Mrs Merran Kay Power            4 Arcadia Cl                    BOLWARRA HEIGHTS NSW 2320                                                       AUS        2320                              60,000                              0                    0                                        0                                           0
Mr Roger William Schmakeit       11 Forest Rd                    DUNS CREEK NSW 2321                                                                                             AUS        2321                               6,000                              0                    0                                        0                                           0
Mr Paul Richard Annable          62 Masonite Rd                  TOMAGO NSW 2322                                                                                                 AUS        2322                             240,000                              0                    0                                        0                                           0
Mr Kevin James Thompson          8 Twister St                    CHISHOLM NSW 2322                                                                                               AUS        2322                              50,000                              0                    0                                        0                                           0
Mrs Lorna May Thompson           8 Twister St                    CHISHOLM NSW 2322                                                                                               AUS        2322                              50,000                              0                    0                                        0                                           0
Appleton Pty Ltd                 10 George Street                EAST MAITLAND NSW 2323                                                                                          AUS        2323                                    1                             0                    0                                        0                                           0
Mrs Angela Clifton               10 George Street                EAST MAITLAND NSW 2323                                                                                          AUS        2323                                    1                             0                    0                                        0                                           0
Mr Matthew Clifton               10 George Street                EAST MAITLAND NSW 2323                                                                                          AUS        2323                                    10                            0                    0                                        0                                           0
Eddison Pty Ltd                  10 George Street                EAST MAITLAND NSW 2323                                                                                          AUS        2323                                    1                             0                    0                                        0                                           0
Revit Pty Ltd                    10 George Street                EAST MAITLAND NSW 2323                                                                                          AUS        2323                                    1                             0                    0                                        0                                           0
Mr James Benham                  1463 Bridgman Road              BRIDGMAN NSW 2330                                                                                               AUS        2330                             125,000                              0                    0                                        0                                           0
Bje Investement Pty Ltd          <Bje Investment Fund A/C>       7 Spinks Close                  WATTLE PONDS NSW 2330                                                           AUS        2330                             400,000                              0                    0                                        0                                           0
Kaelem Pty Ltd                   <Kemlok Super Fund No 2 A/C>    104 Queen Street                MUSWELLBROOK NSW 2333                                                           AUS        2333                              15,000                              0                    0                                        0                                           0
Mr Jorge De Jorge &              Mrs Janine De Jorge             <De Jorge Family A/C>           179 Hanwood Rd              BRANXTON NSW 2335                                   AUS        2335                              59,898                              0                    0                                        0                                           0
DWSK Super Pty Limited           <DWSK Super Fund A/C>           PO Box 401                      TAMWORTH NSW 2340                                                               AUS        2340                              40,000                              0                    0                                        0                                           0
Mr Ian Malcolm Stephenson        169 Allingham Street            ARMIDALE NSW 2350                                                                                               AUS        2350                              20,000                              0                    0                                        0                                           0
Mr Robert Donald Lawrence &      Mrs Janet Ann Lawrence          17 Sayers Close                 GLEN INNES NSW 2370                                                             AUS        2370                               5,000                              0                    0                                        0                                           0
Mrs Julianne Musgrave            20 David St                     MOREE NSW 2400                                                                                                  AUS        2400                              28,333                              0                    0                                        0                                           0
Mrs Desleigh Anne Stone &        Mr Michael Edward Stone         9 Hassell Street                MOREE NSW 2400                                                                  AUS        2400                             100,000                              0                    0                                        0                                           0




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                                                                                                          Common Class Shareholders - Exhibit A to Equity Security Holders

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                                                                                                                                                                                                                                               Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                 Name/Address 2                  Name/Address 3                   Name/Address 4                 Name/Address 5              Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares         Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Frank Fenech                PO Box 350                      TUNCURRY NSW 2428                                                                                                      AUS        2428                              42,147                               0                    0                                        0                                           0
Mr Alistair Hamish Graham      PO Box 176                      TUNCURRY NSW 2428                                                                                                      AUS        2428                              10,000                               0                    0                                        0                                           0
Beachbum Holdings Pty Ltd      <Scott Superfund A/C>           6 Ritchie Crescent               TAREE NSW 2430                                                                        AUS        2430                               2,000                               0                    0                                        0                                           0
Mr Robert Malcolm Gander       7 Surfsound Ave                 WALLABI POINT NSW 2430                                                                                                 AUS        2430                              25,000                               0                    0                                        0                                           0
Mrs Margaret Helen Howard &    Mr William John Howard          <Wj & Mh Howard S/F A/C>         15 Unique Close                CAMDEN HEAD NSW 2443                                   AUS        2443                             100,000                               0                    0                                        0                                           0
Agland Enterprises Pty Ltd     21 Jonas Absalom Drive          PORT MACQUARIE NSW 2444                                                                                                AUS        2444                             300,000                               0                    0                                        0                                           0
Mr Andrew Terence Essex        16 Amira Drive                  PORT MACQUARIE NSW 2444                                                                                                AUS        2444                              45,000                               0                    0                                        0                                           0
Kevin Byrne Consulting         Services Pty Ltd                <Byrne Super Fund A/C>           19 Heavenly Rdge               PORT MACQUARIE NSW 2444                                AUS        2444                             220,000                               0                    0                                        0                                           0
Mrs Wendy Godley               28/1333 Ocean Drive             LAKE CATHIE NSW 2445                                                                                                   AUS        2445                              30,000                               0                    0                                        0                                           0
Mr Peter Beames                388 Redbank Road                WAUCHOPE NSW 2446                                                                                                      AUS        2446                              11,000                               0                    0                                        0                                           0
Mr Peter John Kingston         PO Box 157                      NAMBUCCA HEADS NSW 2448                                                                                                AUS        2448                              40,000                               0                    0                                        0                                           0
Mrs Melinda Battaglia          2A Plunkett Cl                  BOAMBEE NSW 2450                                                                                                       AUS        2450                              10,000                               0                    0                                        0                                           0
Mr Graham Mitchell Jones       Unit 37 33A Mackays Rd          COFFS HARBOUR NSW 2450                                                                                                 AUS        2450                             150,000                               0                    0                                        0                                           0
Mr Graham Mitchell Jones       Unit 37 33 Mackays Rd           COFFS HARBOUR NSW 2450                                                                                                 AUS        2450                              50,000                               0                    0                                        0                                           0
Mr John William Pinney         PO Box 571                      COFFS HARBOUR NSW 2450                                                                                                 AUS        2450                              10,000                               0                    0                                        0                                           0
Plaza Bay (Aust) Pty Ltd       <Blewitt Super Fund A/C>        PO Box 6768                      COFFS HARBOUR PLAZA NSW 2450                                                          AUS        2450                             100,000                               0                    0                                        0                                           0
Mr Rodney Bruce Cross          29 Ramornie Drive               TOORMINA NSW 2452                                                                                                      AUS        2452                               6,000                               0                    0                                        0                                           0
H R Want Pty Ltd               <Granleese Super Fund A/C>      PO Box 490                       YAMBA NSW 2464                                                                        AUS        2464                             200,000                               0                    0                                        0                                           0
Mr Ross Brian Wilson &         Mrs Carmen Wilson               184 Oyster Cove Resort           1 Orion Drive                  YAMBA NSW 2464                                         AUS        2464                               5,000                               0                    0                                        0                                           0
Mr Helmut Weil &               Mrs Ingrid Weil                 561 Goodwood Island Road         GOODWOOD ISLAND NSW 2469                                                              AUS        2469                              50,000                               0                    0                                        0                                           0
Mr Helmut Weil                 561 Goodwood Island Road        GOODWOOD ISLAND NSW 2469                                                                                               AUS        2469                              45,000                               0                    0                                        0                                           0
Mrs Selma May Platt            6 Devon Court                   CASINO NSW 2470                                                                                                        AUS        2470                              40,000                               0                    0                                        0                                           0
Mr Raymond Noel Skelton &      Ms Helen Kerr                   PO Box 449                       KYOGLE NSW 2474                                                                       AUS        2474                             500,000                               0                    0                                        0                                           0
Mr Raymond Noel Skelton        PO Box 449                      KYOGLE NSW 2474                                                                                                        AUS        2474                             250,000                               0                    0                                        0                                           0
C Page Pty Ltd                 <CDP Superannuation A/C>        PO Box 66                        BYRON BAY NSW 2481                                                                    AUS        2481                              40,000                               0                    0                                        0                                           0
C Page Pty Ltd                 <CDP Investment Account>        PO Box 66                        BYRON BAY NSW 2481                                                                    AUS        2481                             200,000                               0                    0                                        0                                           0
Mr Brian Bevan                 Unit 26                         98-102 Keith Compton Drive       TWEED HEADS NSW 2485                                                                  AUS        2485                              20,000                               0                    0                                        0                                           0
Mr Benjamin Couwenberg         PO Box 6040                     TWEED HEADS SOUTH NSW 2486                                                                                             AUS        2486                              29,001                               0                    0                                        0                                           0
Ms Evelyn Maud Endres          84 Avondale Drive               BANORA POINT NSW 2486                                                                                                  AUS        2486                               5,000                               0                    0                                        0                                           0
Mr Daniel Joseph Lanskey &     Mrs Jannette Joan Lanskey       <The Lanskey Family A/C>         36 Parkes Lane                 TERRANORA NSW 2486                                     AUS        2486                              69,819                               0                    0                                        0                                           0
Mr Kenneth William Lewis       10 Medoc Place                  TWEED HEADS SOUTH NSW 2486                                                                                             AUS        2486                              68,581                               0                    0                                        0                                           0
Mrs Kathryn Quinton            24 Bluegum Boulevard            BANORA POINT NSW 2486                                                                                                  AUS        2486                              11,000                               0                    0                                        0                                           0
TJW Pty Ltd                    <The Francis Super Fund A/C>    PO Box 5011                      TERRANORA NSW 2486                                                                    AUS        2486                            3,000,000                              0                    0                                        0                                           0
Mrs Yvonne Webley &            Mr Donald Webley                1 Vista Close                    TERRANORA NSW 2486                                                                    AUS        2486                               5,000                               0                    0                                        0                                           0
Mr Robert Anthony McLucas      35 Sutherland Street            KINGSCLIFF NSW 2487                                                                                                    AUS        2487                             834,445                               0                    0                                        0                                           0
Mr Scott Nicholas Pearson      Unit 10 26 Kingscliff St        KINGSCLIFF NSW 2487                                                                                                    AUS        2487                               3,000                               0                    0                                        0                                           0
Mr Alan Peter De Reuck         1 Sailfish Way                  KINGSCLIFF NSW 2487                                                                                                    AUS        2487                               3,647                               0                    0                                        0                                           0
Mr Robert William Corlett      PO Box 7155                     GWYNNEVILLE NSW 2500                                                                                                   AUS        2500                                     1                             0                    0                                        0                                           0
Drulland Management            Pty Limited                     <Kelly Super Fund Account>       14 Edward St                   WOLLONGONG NORTH NSW 2500                              AUS        2500                             250,000                               0                    0                                        0                                           0
Mr Gregory Thomas Heffernan    42 Old Quarry Circuit           HELENSBURGH NSW 2508                                                                                                   AUS        2508                             100,431                               0                    0                                        0                                           0
Mr Talis Janis Putnins         15 Old Farm Rd                  HELENSBURGH NSW 2508                                                                                                   AUS        2508                               4,000                               0                    0                                        0                                           0
Mr Simon Leary                 103 Morrison Ave                WOMBARRA NSW 2515                                                                                                      AUS        2515                               5,000                               0                    0                                        0                                           0
Mr Jonathan Lyndon Osborne     480 Lawrence Hargrave Drive     WOMBARRA NSW 2515                                                                                                      AUS        2515                              20,000                               0                    0                                        0                                           0
Mr Alan Gregory Bennett        11 Aragan Circuit               BULLI NSW 2516                                                                                                         AUS        2516                             419,796                               0                    0                                        0                                           0
Mrs Angela Rosalind Thompson   11 Alroy St                     BULLI NSW 2516                                                                                                         AUS        2516                              41,675                               0                    0                                        0                                           0
Mr Peter Thompson              11 Alroy St                     BULLI NSW 2516                                                                                                         AUS        2516                              38,500                               0                    0                                        0                                           0
Mr Peter Lawrence Hawken &     Mrs Pamela Hawken               73 Franklin Avenue               WOONONA NSW 2517                                                                      AUS        2517                              50,000                               0                    0                                        0                                           0
Mr Adam Peter McLeod           4 Gahnia Ave                    FIGTREE NSW 2525                                                                                                       AUS        2525                             400,000                               0                    0                                        0                                           0
Mrs Pamela O'Connell           22 Aviemore Place               FIGTREE NSW 2525                                                                                                       AUS        2525                               8,000                               0                    0                                        0                                           0
Mr Vlade Stojkovski            7 Lillian Place                 FIGTREE NSW 2525                                                                                                       AUS        2525                              83,333                               0                    0                                        0                                           0
Mr Ruwan Brell                 206 Farmborough Road            FARMBOROUGH HEIGHTS NSW 2526                                                                                           AUS        2526                              12,000                               0                    0                                        0                                           0
Mrs Nicole Ross &              Mr David John Ross              28 Darling Drive                 ALBION PARK NSW 2527                                                                  AUS        2527                               3,800                               0                    0                                        0                                           0
Mr Philip Glenn Tate           "The Meadows"                   140 Calderwood Road              ALBION PARK NSW 2527                                                                  AUS        2527                             190,000                               0                    0                                        0                                           0
Dr Paul Mark Halley            PO Box 97                       WARILLA NSW 2528                                                                                                       AUS        2528                                    200                            0                    0                                        0                                           0
Mr Mathew James Harrison       19 Peterborough Avenue          LAKE ILLAWARRA NSW 2528                                                                                                AUS        2528                               8,500                               0                    0                                        0                                           0
Mrs Trudy May Jovanovski       Unit 2 98 Glider Avenue         BLACKBUTT NSW 2529                                                                                                     AUS        2529                              20,000                               0                    0                                        0                                           0
Miss Natalie Naumovski         38 Ocean Beach Drive            SHELLHARBOUR NSW 2529                                                                                                  AUS        2529                             157,320                               0                    0                                        0                                           0
Mr Mario Salvatore Russo       PO Box 184                      OAK FLATS NSW 2529                                                                                                     AUS        2529                             200,000                               0                    0                                        0                                           0
Mr Michael Craig               PO Box 9                        DAPTO NSW 2530                                                                                                         AUS        2530                              28,357                               0                    0                                        0                                           0
Mr Joseph John Goodyer &       Ms Peta Alana Staszak           PO Box 588                       KIAMA NSW 2533                                                                        AUS        2533                             209,237                               0                    0                                        0                                           0
Mr Allan Michael Syne & Mrs    Julie Anne Syne                 24 Kauzal Crescent               SURF BEACH NSW 2536                                                                   AUS        2536                              16,500                               0                    0                                        0                                           0
Mr Peter Lewis Engelbrecht     13 Coila Ave                    TUROSS HEAD NSW 2537                                                                                                   AUS        2537                                     1                             0                    0                                        0                                           0
Mr Colin Bruce Baker           46 Lake Conjola Entrance Rd     LAKE CONJOLA NSW 2539                                                                                                  AUS        2539                               3,455                               0                    0                                        0                                           0
Mr Tim Alan O'Brien            3 Ronald Avenue                 BURRILL LAKE NSW 2539                                                                                                  AUS        2539                              30,913                               0                    0                                        0                                           0
Mr Peter Laurence Lindsay &    Mrs Christine Elizabeth         Lindsay                          5 St Georges Road              ST GEORGES BASIN NSW 2540                              AUS        2540                              10,900                               0                    0                                        0                                           0
Mr Michael Strachan            261B Woollamia Road             WOOLLAMIA NSW 2540                                                                                                     AUS        2540                             100,000                               0                    0                                        0                                           0
T & J Gallant Pty Limited      <Superfund A/C>                 8 Amaryillis Way                 TOMERONG NSW 2540                                                                     AUS        2540                              18,500                               0                    0                                        0                                           0
Mrs Janeen Woods &             Mr Gregory Allan Woods          <Ga&J Woods Partnership A/C>     260 Greville Avenue            SANCTUARY POINT NSW 2540                               AUS        2540                               7,026                               0                    0                                        0                                           0
Mr Mark Forsterling            PO Box 613                      NOWRA NSW 2541                                                                                                         AUS        2541                              30,000                               0                    0                                        0                                           0
Popono Pty Ltd                 <John Shadlow Family S/F A/C>   9 Karana Drive                   NORTH NOWRA NSW 2541                                                                  AUS        2541                              90,000                               0                    0                                        0                                           0
Mr John Graham Allardice &     Mrs Gwen Allardice              <Jg & G Allardice S/F A/C>       PO Box 386                     BERMAGUI NSW 2546                                      AUS        2546                              90,000                               0                    0                                        0                                           0
Mr Andrew Gordon Austin &      Mrs Patrice Austin              <Ag & P Austin Super Fund A/C>   C/- PO Box 302                 BERMAGUI NSW 2546                                      AUS        2546                              35,500                               0                    0                                        0                                           0
Mr Jesse Arch Austin           PO Box 302                      BERMAGUI NSW 2546                                                                                                      AUS        2546                              35,500                               0                    0                                        0                                           0
Mrs Anne Lynette Blakeman &    Mr Hayden Charles Blakeman      37 Baldwin Avenue                KIANGA NSW 2546                                                                       AUS        2546                             350,036                               0                    0                                        0                                           0
Mrs Anne Lynette Blakeman &    Mr Hayden Charles Blakeman      <Blakeman Inv Super Fund A/C>    37 Baldwin Ave                 KIANGA NSW 2546                                        AUS        2546                             220,000                               0                    0                                        0                                           0
Mr Joseph Bruce Farrell        8 Mummaga Way                   DALMENY NSW 2546                                                                                                       AUS        2546                              60,000                               0                    0                                        0                                           0
Ovess Pty Ltd                  <Eberbach Super Fund A/C>       PO Box 502                       MERIMBULA NSW 2548                                                                    AUS        2548                              18,080                               0                    0                                        0                                           0
Winpoint Pty Ltd               <Stirling Super Fund A/C>       64 Sapphire Crescent             MERIMBULA NSW 2548                                                                    AUS        2548                              12,000                               0                    0                                        0                                           0
Mr Richard Anthony             Wright &                        Ms Judith Denise Roberson        <Ric Wright Super Fund A/C>    10 Andes Place              TURA BEACH NSW 2548        AUS        2548                              74,000                               0                    0                                        0                                           0
Mr Richard Anthony Wright &    Ms Judith Denise Roberson       <The Ric Wright S/F A/C>         10 Andes Place                 TURA BEACH NSW 2548                                    AUS        2548                             584,000                               0                    0                                        0                                           0
Mr Tankred Otfried Mueller     PO Box 26                       PAMBULA NSW 2549                                                                                                       AUS        2549                              30,000                               0                    0                                        0                                           0
Mr Conrad Hildebrand &         Mrs Elizabeth Seymour           <The Shannonvale S/F A/C>        18 College Road                CAMPBELLTOWN NSW 2560                                  AUS        2560                             150,000                               0                    0                                        0                                           0
Mr Anthony Stanley Krawczyk    4 Swift Place                   INGLEBURN NSW 2565                                                                                                     AUS        2565                               3,000                               0                    0                                        0                                           0
Mr Cornelius De Groot          16 Glenella Way                 MINTO NSW 2566                                                                                                         AUS        2566                               5,000                               0                    0                                        0                                           0
Mr Jose Alexander Ramirez      3 Sandeford Way                 MINTO NSW 2566                                                                                                         AUS        2566                              21,428                               0                    0                                        0                                           0
Mr Mark William McMonigal      3 Homestead Court               HARRINGTON PARK NSW 2567                                                                                               AUS        2567                              25,873                               0                    0                                        0                                           0
Mr Andrew Alexander Smith      308 Mount Annan Drive           MOUNT ANNAN NSW 2567                                                                                                   AUS        2567                             200,000                               0                    0                                        0                                           0




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                                                                                                           Common Class Shareholders - Exhibit A to Equity Security Holders

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                                                                                                                                                                                                                                       Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                  Name/Address 3                  Name/Address 4                Name/Address 5        Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares       Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mrs Lou-Ellen Margaret Aaron     19 Maclean Lane                 CAMDEN PARK NSW 2570                                                                                           AUS        2570                               5,000                             0                    0                                        0                                           0
Mr Peter Michael Buckley         36 Cruikshank Ave               ELDERSLIE NSW 2570                                                                                             AUS        2570                              72,370                             0                    0                                        0                                           0
Mr David Scott Chambers          16 Tullet Street                CAMDEN PARK NSW 2570                                                                                           AUS        2570                              15,000                             0                    0                                        0                                           0
Mr Philip Anthony Cornock &      Mrs Maureen Elizabeth Cornock   <Estate Alison Humphries A/C>   48 Menangle Road              CAMDEN NSW 2570                                  AUS        2570                             600,000                             0                    0                                        0                                           0
Enugu Pty Ltd                    <Macor Super Fund A/C>          48 Menangle Road                CAMDEN NSW 2570                                                                AUS        2570                            1,500,000                            0                    0                                        0                                           0
Enugu Pty Ltd                    <Cormac Unit A/C>               48 Menangle Road                CAMDEN NSW 2570                                                                AUS        2570                            1,336,000                            0                    0                                        0                                           0
Enugu Pty Ltd                    <The Cornock Family A/C>        48 Menangle Rd                  CAMDEN NSW 2570                                                                AUS        2570                            1,250,000                            0                    0                                        0                                           0
Mr Michael Ronald Guyer          145 Coates Park Rd              COBBITTY NSW 2570                                                                                              AUS        2570                            1,000,000                            0                    0                                        0                                           0
Rathide Pty Limited              <Redman Retirement Fund A/C>    3 Lilly Pilly Close             COBBITTY NSW 2570                                                              AUS        2570                              20,000                             0                    0                                        0                                           0
Mr Anthony Ronald Mahoney        <Mahoney Family S/F A/C>        8/150 Abbotsford Road           PICTON NSW 2571                                                                AUS        2571                              44,764                             0                    0                                        0                                           0
Mulhollands Nominees Pty Ltd     <MHS Pension Fund A/C>          20 The Vintage                  PICTON NSW 2571                                                                AUS        2571                            1,365,195                            0                    0                                        0                                           0
Mrs Lynelle Gai Silm &           Mr Mark Robert Silm             269 Mulhollands Road            THIRLMERE NSW 2572                                                             AUS        2572                              15,000                             0                    0                                        0                                           0
Mr Christopher John Nardone &    Mrs Isabell Nardone             <C&I Nardone Super Fund A/C>    11B Remembrance Driveway      TAHMOOR NSW 2573                                 AUS        2573                              15,500                             0                    0                                        0                                           0
Mr Michael Bell                  <Gypsy Road S/F A/C>            5 St Denis Close                BURRADOO NSW 2576                                                              AUS        2576                                    5                            0                    0                                        0                                           0
Lonipat Pty Ltd                  53 Boardman Road                BOWRAL NSW 2576                                                                                                AUS        2576                              50,000                             0                    0                                        0                                           0
Mr Grantland Lloyd Pearce        <Pearce Family Sup Fund A/C>    PO Box 146                      GOULBURN NSW 2580                                                              AUS        2580                             300,000                             0                    0                                        0                                           0
PCFJ Pty Ltd                     <PCFJ Super Fund A/C>           PO Box 274                      CROOKWELL NSW 2583                                                             AUS        2583                             100,000                             0                    0                                        0                                           0
Mr Mark Stapleton                64 Hovell Street                COOTAMUNDRA NSW 2590                                                                                           AUS        2590                              10,000                             0                    0                                        0                                           0
Mr Michael Christopher Tallis    6 Beech Place                   JERRABOMBERRA NSW 2619                                                                                         AUS        2619                              21,837                             0                    0                                        0                                           0
Mrs Jasmine Dawn Young & Mr      Grant Young                     27 Carolyn Jackson Dr           JERRABOMBERRA NSW 2619                                                         AUS        2619                              11,604                             0                    0                                        0                                           0
Mr Dimitri Karagiannidis         Pontos Estate                   199 Bidges Rd                   SUTTON NSW 2620                                                                AUS        2620                              30,000                             0                    0                                        0                                           0
Mr Brett Lucas                   4 York Street                   ADAMINABY NSW 2629                                                                                             AUS        2629                              35,200                             0                    0                                        0                                           0
Mrs Lorna Lydia Karja            "Dundee"                        3104 Peak View Road             JERANGLE NSW 2630                                                              AUS        2630                             189,350                             0                    0                                        0                                           0
Mrs Kate Elizabeth Schroeter     261 East St                     EAST ALBURY NSW 2640                                                                                           AUS        2640                            2,885,421                            0                    0                                        0                                           0
Est Late Ian Watson              C/- Freedom Financial Group     PO Box 105                      ALBURY NSW 2640                                                                AUS        2640                               5,000                             0                    0                                        0                                           0
M & V Lampe Pty Ltd              <M&V Lampe Super Fund A/C>      95 Michelle Avenue              LAVINGTON NSW 2641                                                             AUS        2641                              10,000                             0                    0                                        0                                           0
Mr Ian James McLellan            153 River St                    COROWA NSW 2646                                                                                                AUS        2646                               5,000                             0                    0                                        0                                           0
Yododoc Pty Ltd                  65 Clifton Street               BOURKELANDS NSW 2650                                                                                           AUS        2650                              19,231                             0                    0                                        0                                           0
Mrs Katrina Alison Arthur &      Mr Lindsay Reginald Arthur      "Ivanhoe"                       5232 Olympic Highway          THE ROCK NSW 2655                                AUS        2655                             280,000                             0                    0                                        0                                           0
Est Mrs Susan Ruth Metcalfe      "Madeira"                       RMB 164                         THE ROCK NSW 2655                                                              AUS        2655                              35,666                             0                    0                                        0                                           0
Leo Savage Nominees Pty Ltd      <Savage Super Fund A/C>         PO Box 938                      GRIFFITH NSW 2680                                                              AUS        2680                             100,000                             0                    0                                        0                                           0
Mr Graeme John Mathieson &       Mrs Therese May Mathieson       <Mathieson Family P/F A/C>      27 Racecourse Rd              NARRANDERA NSW 2700                              AUS        2700                             100,000                             0                    0                                        0                                           0
Mr Glen Keith Haines &           Mrs Connie Louise Haines        <Gk Haines Super Fund A/C>      PO Box 720                    DENILIQUIN NSW 2710                              AUS        2710                             425,900                             0                    0                                        0                                           0
Mr Glen Keith Haines             PO Box 720                      DENILIQUIN NSW 2710                                                                                            AUS        2710                              33,333                             0                    0                                        0                                           0
Ms Judith Lorraine Zammit        PO Box 165                      TOCUMWAL NSW 2714                                                                                              AUS        2714                               5,882                             0                    0                                        0                                           0
Mr Mark Frederick Le Poer        Trench &                        Dr Emily Jane Hibbert           <Brooklet Holdings S/F A/C>   9 Fairlight Road      MULGOA NSW 2745            AUS        2745                              20,000                             0                    0                                        0                                           0
Mr Healey Raymond Knighton       7 Blackman Court                WERRINGTON COUNTY NSW 2747                                                                                     AUS        2747                              10,000                             0                    0                                        0                                           0
Mr Healey Raymond Knighton       7 Blackman Court                WERRINGTON COUNTY NSW 2747                                                                                     AUS        2747                              50,000                             0                    0                                        0                                           0
Melite Investments Pty Ltd       <M & N Mifsud Superfund A/C>    38 The Chase                    ORCHARD HILLS NSW 2748                                                         AUS        2748                             503,783                             0                    0                                        0                                           0
Mr Bryan Anthony Abbott          47 Beach Street                 EMU PLAINS NSW 2750                                                                                            AUS        2750                              25,641                             0                    0                                        0                                           0
Jia Yu Chan                      7/37 Evan Street                PENRITH NSW 2750                                                                                               AUS        2750                               5,000                             0                    0                                        0                                           0
Mr Thomas Andrew Renny           11 Iralba Avenue                EMU PLAINS NSW 2750                                                                                            AUS        2750                              97,560                             0                    0                                        0                                           0
Mr Antonio Sorbello &            Mrs Melanie Sorbello            PO Box 212                      NORTH RICHMOND NSW 2754                                                        AUS        2754                              10,000                             0                    0                                        0                                           0
Mr Theodorus De Bruin &          Mrs Janice De Bruin             9 James Street                  GLOSSODIA NSW 2756                                                             AUS        2756                               3,000                             0                    0                                        0                                           0
Miss Susan May Camilleri         PO Box 7067                     WILBERFORCE NSW 2756                                                                                           AUS        2756                              10,000                             0                    0                                        0                                           0
Mr Graham Wilkins &              Mrs Emma Wilkins                29 Willow Glen Rd               KURRAJONG NSW 2758                                                             AUS        2758                               9,545                             0                    0                                        0                                           0
Mr Satya Narayan Raju Naicker    19 Macleay Crescent             ST MARYS NSW 2760                                                                                              AUS        2760                               9,000                             0                    0                                        0                                           0
Megarry Excavations &            Roadworks Pty Ltd               66 Owen Street                  GLENDENNING NSW 2761                                                           AUS        2761                             100,000                             0                    0                                        0                                           0
Mr John Phillip Camilleri        83 Hambledon Rd                 SCHOFIELDS NSW 2762                                                                                            AUS        2762                               3,125                             0                    0                                        0                                           0
Mr Vijayakumar Halagali &        Mrs Girijadevi Halagali         73 Aleppo Street                QUAKERS HILL NSW 2763                                                          AUS        2763                               2,000                             0                    0                                        0                                           0
Mr Bhishma Kumar Chhetri         11 Persimmon Way                GLENWOOD NSW 2768                                                                                              AUS        2768                              20,000                             0                    0                                        0                                           0
Mr Nigel Bruce Clark&            Mrs Sandra Clark                22 Knightsbridge Avenue         GLENWOOD NSW 2768                                                              AUS        2768                              60,000                             0                    0                                        0                                           0
Mr Gene Stanyer &                Mrs Bonnie Jean Ellen Stanyer   5 Oldbury Street                STANHOPE GARDENS NSW 2768                                                      AUS        2768                              30,000                             0                    0                                        0                                           0
Mr Ankur Jain                    27 Mosaic Ave                   THE PONDS NSW 2769                                                                                             AUS        2769                               5,500                             0                    0                                        0                                           0
Mr Andrew Alan Jenkinson         46 Explorers Road               GLENBROOK NSW 2773                                                                                             AUS        2773                              95,042                             0                    0                                        0                                           0
Mr Matthew Cummins               189 Rusden Road                 MOUNT RIVERVIEW NSW 2774                                                                                       AUS        2774                             710,000                             0                    0                                        0                                           0
Ms Carole Ann Ryles              5 Torulosa Place                WINMALEE NSW 2777                                                                                              AUS        2777                             370,000                             0                    0                                        0                                           0
Mr David Andrew Fraser           78 Winbourne Road               HAZELBROOK NSW 2779                                                                                            AUS        2779                             400,000                             0                    0                                        0                                           0
Mrs Bronwyn Elizabeth            Blanchard                       10 Carlton Street               KATOOMBA NSW 2780                                                              AUS        2780                              50,000                             0                    0                                        0                                           0
Mr James William Humphreys       9 Hume Avenue                   WENTWORTH FALLS NSW 2782                                                                                       AUS        2782                               7,000                             0                    0                                        0                                           0
Mr Stuart Richard Martin         2 Waratah Rd                    WENTWORTH FALLS NSW 2782                                                                                       AUS        2782                             200,000                             0                    0                                        0                                           0
Mr Garth Adam Kummerow           69 River Park Rd                COWRA NSW 2794                                                                                                 AUS        2794                               9,000                             0                    0                                        0                                           0
Ajh & KLH Retirement Fund Pty    Ltd                             <Ajh & KLH Superfund A/C>       58 Prince St                  ORANGE NSW 2800                                  AUS        2800                              50,000                             0                    0                                        0                                           0
Mr Charles Harrison              149 Spring Street               ORANGE NSW 2800                                                                                                AUS        2800                              77,000                             0                    0                                        0                                           0
West Orange Superannuation Pty   Limited                         <West Orange MTRS S/F A/C>      32 Forbes Road                ORANGE NSW 2800                                  AUS        2800                             250,000                             0                    0                                        0                                           0
Mr Michael Glockler              133 Dalton Street               DUBBO NSW 2830                                                                                                 AUS        2830                              15,000                             0                    0                                        0                                           0
JFSF Holdings Pty Ltd            <The Jane Family S/F A/C>       8L Gavel Drive                  DUBBO NSW 2830                                                                 AUS        2830                            2,200,000                            0                    0                                        0                                           0
Mr Phillip Graeme Tucker         2 Catherine Dr                  DUBBO NSW 2830                                                                                                 AUS        2830                              10,000                             0                    0                                        0                                           0
Mr Andrew Leighton Wayne         Weekes                          7 Shetland Ave                  DUBBO NSW 2830                                                                 AUS        2830                               1,961                             0                    0                                        0                                           0
Mr Brian Melhuish                PO Box 673                      PARKES NSW 2870                                                                                                AUS        2870                              39,000                             0                    0                                        0                                           0
Mr David Antonio Bernardi        165 Lachlan Street              FORBES NSW 2871                                                                                                AUS        2871                            3,733,579                            0                    0                                        0                                           0
Mr Martin Bernardi               Cottons Weir                    River Road                      FORBES NSW 2871                                                                AUS        2871                             500,000                             0                    0                                        0                                           0
Crandell Pty Ltd                 <Berpaid Pty Ltd S/F NO2 A/C>   PO Box 185                      FORBES NSW 2871                                                                AUS        2871                             700,000                             0                    0                                        0                                           0
Removale Pty Limited             <No 2 A/C>                      165 Lachlan Street              FORBES NSW 2871                                                                AUS        2871                             450,000                             0                    0                                        0                                           0
Removale Pty Ltd                 165 Lachlan Street              FORBES NSW 2871                                                                                                AUS        2871                            9,300,334                            0                    0                                        0                                           0
Sudell Pty Ltd                   2 Wambat Street                 FORBES NSW 2871                                                                                                AUS        2871                             200,000                             0                    0                                        0                                           0
Mr Andrew John Chamen &          Mrs Cristina Sergia Chamen      <Aj & Cs Chamen S/F A/C>        PO Box 42                     CONDOBOLIN NSW 2877                              AUS        2877                             150,000                             0                    0                                        0                                           0
Mr Peter John Woodhouse &        Mrs Leanne Morgan               87 Alawa Crescent               ALAWA NT 0810                                                                  AUS        0810                               1,800                             0                    0                                        0                                           0
Compass Plumbing Pty Ltd         PO Box 40170                    CASUARINA NT 0811                                                                                              AUS        0811                              41,926                             0                    0                                        0                                           0
Duke Winston Pty Ltd             30 Savannah Drive               LEANYER NT 0812                                                                                                AUS        0812                             100,000                             0                    0                                        0                                           0
Mr Matthew James Ford            159 Leanyer Dr                  LEANYER NT 0812                                                                                                AUS        0812                               6,258                             0                    0                                        0                                           0
Mr Peter James Manning           PO Box 37992                    WINNELLIE NT 0820                                                                                              AUS        0820                             300,000                             0                    0                                        0                                           0
Mr Gregory Stephen Thompson &    Ms Marie Joan Mitchell          <Superannuation Fund A/C>       PO Box 39332                  WINNELLIE NT 0821                                AUS        0821                              40,000                             0                    0                                        0                                           0
Mr Matthew Colin Harrison        31 Muramats Road                EAST ARM NT 0822                                                                                               AUS        0822                              10,000                             0                    0                                        0                                           0
Mr Allan Roy Wehl                Unit 3/89 Dwyer Circuit         DRIVER NT 0830                                                                                                 AUS        0830                             200,000                             0                    0                                        0                                           0
Mr Alexander Dean Jagers         PO Box 2321                     KATHERINE NT 0850                                                                                              AUS        0850                              30,303                             0                    0                                        0                                           0
Mr Robin Edgar Pearce            PO Box 295                      TENNANT CREEK NT 0861                                                                                          AUS        0861                               8,000                             0                    0                                        0                                           0




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                                                                                                                                                                                                                                     Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                  Name/Address 2                   Name/Address 3                   Name/Address 4             Name/Address 5          Name/Address 6          Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Ilwella Pty Ltd                 Level 7/167 Eagle Street         BRISBANE CITY QLD 4000                                                                                      AUS        4000                              85,328                              0                    0                                        0                                           0
Cruice Administration Pty       Limited                          <Cruice Family Super Fund A/C>   C/- Morgans Wealthplus     GPO Box 582             BRISBANE QLD 4001       AUS        4001                             500,001                              0                    0                                        0                                           0
Didds Investments Pty Ltd       <Lyndal Bayly Super Fund A/C>    GPO Box 7861                     BRISBANE QLD 4001                                                          AUS        4001                              75,000                              0                    0                                        0                                           0
Laoploy Pty Limited             <Nephron Super Fund A/C>         C/- Morgans Wealthplus           GPO Box 582                BRISBANE QLD 4001                               AUS        4001                             100,000                              0                    0                                        0                                           0
Mrs Carol Anne Moore            C/- Morgans Wealthplus           GPO Box 582                      BRISBANE QLD 4001                                                          AUS        4001                              25,000                              0                    0                                        0                                           0
Robyn Lindsay Super Pty Ltd     <The Robyn Lindsay S/F A/C>      C/- Morgans Wealthplus           GPO Box 582                BRISBANE QLD 4001                               AUS        4001                             160,000                              0                    0                                        0                                           0
Mr Adam Justin Turcato          <Cairnes Road Family A/C>        C/- Morgans Wealthplus           GPO Box 582                BRISBANE QLD 4001                               AUS        4001                              96,000                              0                    0                                        0                                           0
Mr Bruce William Wallace        GPO Box 1931                     BRISBANE QLD 4001                                                                                           AUS        4001                             200,000                              0                    0                                        0                                           0
Ms Lorna Jean Osborne           PO Box 15505                     CITY EAST QLD 4002                                                                                          AUS        4002                             425,000                              0                    0                                        0                                           0
Dr Leon Eugene Pretorius        PO Box 15505                     CITY EAST QLD 4002                                                                                          AUS        4002                            3,947,500                             0                    0                                        0                                           0
Dr Leon Eugene Pretorius        PO Box 15505                     CITY EAST QLD 4002                                                                                          AUS        4002                            2,100,000                             0                    0                                        0                                           0
Mr William Stephen Gray         Unit 10                          111 James Street                 NEW FARM QLD 4005                                                          AUS        4005                                    1                             0                    0                                        0                                           0
Taybian Group Pty Ltd           <Taybian Discretionary A/C>      PO Box 2183                      NEW FARM QLD 4005                                                          AUS        4005                              27,958                              0                    0                                        0                                           0
Mr Chrishley Goonewardane       33 Bramston Tce                  HERSTON QLD 4006                                                                                            AUS        4006                            2,000,000                             0                    0                                        0                                           0
Mrs Roberta Margaret Payne      PO Box 504                       FORTITUDE VALLEY QLD 4006                                                                                   AUS        4006                              35,000                              0                    0                                        0                                           0
Mr Lawrance Raymond Crane &     Miss Lyndal Irma Crane           <Morod A/C>                      PO Box 72                  NUNDAH QLD 4012                                 AUS        4012                               5,535                              0                    0                                        0                                           0
Mr Michael James Harrison       73 Musgrave Rd                   BANYO QLD 4014                                                                                              AUS        4014                              50,000                              0                    0                                        0                                           0
Mr Roger Norman Bower           18 Walu Street                   BRACKEN RIDGE QLD 4017                                                                                      AUS        4017                              50,000                              0                    0                                        0                                           0
Mr Stephen Lester Cran &        Mrs Jillian Rosemary Cran        <123439 A/C>                     34 Greenwood Street        BRIGHTON QLD 4017                               AUS        4017                              70,000                              0                    0                                        0                                           0
McAdam Pty Ltd                  <McAdam A/C>                     123 Barclay St                   DEAGON QLD 4017                                                            AUS        4017                             400,000                              0                    0                                        0                                           0
McAdam Superannuation Pty Ltd   123 Barclay St                   DEAGON QLD 4017                                                                                             AUS        4017                            1,208,529                             0                    0                                        0                                           0
Mr Robert McAdam Stevenson &    Mrs Louise Elizabeth             Stevenson                        16 Northcote St            BRIGHTON QLD 4017                               AUS        4017                             928,529                              0                    0                                        0                                           0
Mr Keith William Boardman &     Mrs Jennifer Rita Boardman       33 Albert Street                 MARGATE QLD 4019                                                           AUS        4019                               3,000                              0                    0                                        0                                           0
Mr Daniel Kelly Adams           40 Mariner Ct                    NEWPORT QLD 4020                                                                                            AUS        4020                             503,355                              0                    0                                        0                                           0
Lyn's Investment Co Pty Ltd     <Lynian Superannuation A/C>      1 Cruiser Court                  NEWPORT QLD 4020                                                           AUS        4020                             300,000                              0                    0                                        0                                           0
Mr Robin David McGaffin         Unit 49                          24 Prince Edward Parade          REDCLIFFE QLD 4020                                                         AUS        4020                               3,000                              0                    0                                        0                                           0
Mr John William Rawlinson &     Mrs Rayleen Rawlinson            PO Box 198                       REDCLIFFE QLD 4020                                                         AUS        4020                              10,000                              0                    0                                        0                                           0
Mr Donald Leslie Hatch          74 McPherson Street              KIPPA-RING QLD 4021                                                                                         AUS        4021                             100,000                              0                    0                                        0                                           0
Mr Alan Millis                  22 Inwood St                     WOOLOOWIN QLD 4030                                                                                          AUS        4030                               3,455                              0                    0                                        0                                           0
Mr Maurice Vincent Burke        22 Kanofski Street               CHERMSIDE WEST QLD 4032                                                                                     AUS        4032                               3,700                              0                    0                                        0                                           0
Mr Alan William Burns           Richardson                       77 Nemira St                     CARSELDINE QLD 4034                                                        AUS        4034                             230,000                              0                    0                                        0                                           0
Mr Kenneth Dudley Steele        PO Box 375                       ASPLEY QLD 4034                                                                                             AUS        4034                              15,000                              0                    0                                        0                                           0
Mr Paul Trevor Mills &          Mrs Robyn Dell Mills             20 Shuttle Place                 BRIDGEMAN DOWNS QLD 4035                                                   AUS        4035                              16,600                              0                    0                                        0                                           0
Mr Ian Warren Rowe &            Ms Therese Frances Rowe          3 Castleroy Court                ALBANY CREEK QLD 4035                                                      AUS        4035                              10,000                              0                    0                                        0                                           0
Mrs Ryan David Spain &          Mrs Belinda Spain                <Piper Grace Spain A/C>          104 Thiess Dr              ALBANY CREEK QLD 4035                           AUS        4035                               4,000                              0                    0                                        0                                           0
Mr Pak Yang Chang               39 Chelford Street               ALDERLEY QLD 4051                                                                                           AUS        4051                             500,000                              0                    0                                        0                                           0
Mr Mark Francis Anthony         Downing                          94 Chelford Street               ALDERLEY QLD 4051                                                          AUS        4051                               3,000                              0                    0                                        0                                           0
Mr Robert Leslie Stonier &      Mrs Lynda Elizabeth Stonier      <Stonier Super Fund Account>     23 Watson Street           NEWMARKET QLD 4051                              AUS        4051                             150,000                              0                    0                                        0                                           0
Mr Duncan Ross Gorrie           11 Greenhill St                  EVERTON PARK QLD 4053                                                                                       AUS        4053                               4,000                              0                    0                                        0                                           0
Mr Roman Kolakowski &           Mrs Mariola Elzbieta Drozd       <Kolakowski S/F A/C>             6 Wanaka Place             MCDOWALL QLD 4053                               AUS        4053                              10,000                              0                    0                                        0                                           0
Mr David James Ree              80 Frasers Road                  MITCHELTON QLD 4053                                                                                         AUS        4053                              12,500                              0                    0                                        0                                           0
Ms Yvonne Wong                  16 Stumm Street                  STAFFORD QLD 4053                                                                                           AUS        4053                             350,000                              0                    0                                        0                                           0
Mr Andrew Gordon Bragg          37 Yathong Ct                    ARANA HILLS QLD 4054                                                                                        AUS        4054                              12,500                              0                    0                                        0                                           0
Mr Raymond John Lanskey &       Mrs Ellen Lanskey                37 Lislane Street                FERNY GROVE QLD 4055                                                       AUS        4055                               5,000                              0                    0                                        0                                           0
Mr Tristan Grist &              Mrs Michelle Bicknell-Grist      1 The Crescent                   ASHGROVE QLD 4060                                                          AUS        4060                               4,500                              0                    0                                        0                                           0
Dr Gerd Paul Haberkern          5 Aminya Close                   THE GAP QLD 4061                                                                                            AUS        4061                              80,000                              0                    0                                        0                                           0
Mr Richard David Rhodes         21 Montrose Place                THE GAP QLD 4061                                                                                            AUS        4061                              14,814                              0                    0                                        0                                           0
Mr Chad Henry Donnelly          PO Box 383                       PADDINGTON QLD 4064                                                                                         AUS        4064                             450,000                              0                    0                                        0                                           0
Mr Tony Howes                   31 Accession Street              BARDON QLD 4065                                                                                             AUS        4065                               3,900                              0                    0                                        0                                           0
Blacksquare Pty Ltd             <The Blacksquare Invt A/C>       PO Box 1287                      KENMORE QLD 4069                                                           AUS        4069                              10,000                              0                    0                                        0                                           0
Practus Pty Ltd                 <Practus Super Fund A/C>         54 Advanx St                     KENMORE HILLS QLD 4069                                                     AUS        4069                             500,000                              0                    0                                        0                                           0
Mr Ross Norman Thompson         128 Rafting Ground Road          BROOKFIELD QLD 4069                                                                                         AUS        4069                              50,000                              0                    0                                        0                                           0
Mrs Evelyn Heng                 7 Roper Close                    WESTLAKE QLD 4074                                                                                           AUS        4074                              60,000                              0                    0                                        0                                           0
Mr Michael John Vickers         2 Murragong St                   JINDALEE QLD 4074                                                                                           AUS        4074                                    20                            0                    0                                        0                                           0
Despy &                         Michael Butler Pty Ltd           <D & M Super Fund A/C>           PO Box 78                  SHERWOOD QLD 4075                               AUS        4075                              24,000                              0                    0                                        0                                           0
Mr Michael Douglas Larcom       19 Ettie Street                  SHERWOOD QLD 4075                                                                                           AUS        4075                              10,000                              0                    0                                        0                                           0
Mrs Jennifer Rose Sharkey       56 Ruthven Street                CORINDA QLD 4075                                                                                            AUS        4075                             300,000                              0                    0                                        0                                           0
Ms Olga Stefanie Veprek         3 Masterton Street               OXLEY QLD 4075                                                                                              AUS        4075                               5,000                              0                    0                                        0                                           0
Ms Fiona Elizabeth Naisbitt     23 Darra Ave                     DARRA QLD 4076                                                                                              AUS        4076                               2,500                              0                    0                                        0                                           0
Miss Tran My Huynh              3 Avebury St                     WEST END QLD 4101                                                                                           AUS        4101                             146,765                              0                    0                                        0                                           0
Mr Peter John Ruddle &          Mrs Lyndall Wendy Ruddle         <Ruddle Superannuation A/C>      55 Cavan Street            ANNERLEY QLD 4103                               AUS        4103                              24,000                              0                    0                                        0                                           0
Mr Julian Tran &                Ms Cheng Lan                     7 Military Close                 ANNERLEY QLD 4103                                                          AUS        4103                              10,000                              0                    0                                        0                                           0
Hanbro Estates Pty Ltd          PO Box 3182                      YERONGA QLD 4104                                                                                            AUS        4104                            1,173,000                             0                    0                                        0                                           0
Mr Clyde Charles Leslie         Mitchell &                       Mrs Lynn Georgina Mitchell       16 Medina Street           MOOROOKA QLD 4105                               AUS        4105                              10,000                              0                    0                                        0                                           0
Mr Charlie Nguyen               35 Fegen Dr                      MOOROOKA QLD 4105                                                                                           AUS        4105                              12,000                              0                    0                                        0                                           0
Mr Kevin Edwin Stephenson       24 Limerick Street               ACACIA RIDGE QLD 4110                                                                                       AUS        4110                              15,000                              0                    0                                        0                                           0
Kaloni Runcorn Pty Ltd          <Kaloni Super Fund A/C>          3 Davina Court                   RUNCORN QLD 4113                                                           AUS        4113                             100,000                              0                    0                                        0                                           0
S & L Kaloni Pty Ltd            <Kaloni Family A/C>              3 Davina Court                   RUNCORN QLD 4113                                                           AUS        4113                              37,030                              0                    0                                        0                                           0
Mr Alan Graham Dodds            14 Ash Avenue                    LOGAN CENTRAL QLD 4114                                                                                      AUS        4114                             100,000                              0                    0                                        0                                           0
Ms Jenni Lee Heraud &           Mr Alan Graham Dodds             <Jenni Heraud Superfund A/C>     14 Ash Avenue              WOODRIDGE QLD 4114                              AUS        4114                              50,000                              0                    0                                        0                                           0
Mr Chao Jiang                   12 Liquidambar Pl                STRETTON QLD 4116                                                                                           AUS        4116                              25,000                              0                    0                                        0                                           0
Dr Eugene Riwoe                 <Tjia Tek Djin Super Fund A/C>   335 Cornwall Street              GREENSLOPES QLD 4120                                                       AUS        4120                             596,664                              0                    0                                        0                                           0
Nk Rosato Pty Ltd               PO Box 6128                      UPPER MOUNT GRAVATT QLD 4122                                                                                AUS        4122                              30,000                              0                    0                                        0                                           0
Ms Patricia O'Rourke            PO Box 868                       MOUNT GRAVATT QLD 4122                                                                                      AUS        4122                               2,000                              0                    0                                        0                                           0
Mr Gavin Lyle Winter            8 Culzean Street                 MANSFIELD QLD 4122                                                                                          AUS        4122                              15,000                              0                    0                                        0                                           0
Top Green Cottage Pty Ltd       <Chesterton Super Fund A/C>      25 Ruza Place                    GREENBANK QLD 4124                                                         AUS        4124                             220,000                              0                    0                                        0                                           0
Ms Lisa Maree Harsley           PO Box 1705                      SPRINGWOOD QLD 4127                                                                                         AUS        4127                               5,000                              0                    0                                        0                                           0
Mr Eric Ching-Sun Wong          27 El Rancho Street              DAISY HILL QLD 4127                                                                                         AUS        4127                              10,000                              0                    0                                        0                                           0
Mr David John Leslie Priddle    <The Pencilpie A/C>              11 Silverash Court               CAPALABA QLD 4157                                                          AUS        4157                             107,000                              0                    0                                        0                                           0
Mrs Elizabeth Schwarz &         Mr Harry Schwarz                 <H&J Schwarz Super Fund A/C>     18 Mahogany Street         CAPALABA QLD 4157                               AUS        4157                              23,144                              0                    0                                        0                                           0
Mr James Joseph Whitehead       18 Jeffrey St                    CAPALABA QLD 4157                                                                                           AUS        4157                               3,000                              0                    0                                        0                                           0
Est Mr John Joseph Adams        4/150 Middle Street              CLEVELAND QLD 4163                                                                                          AUS        4163                              90,000                              0                    0                                        0                                           0
K12 Korporation Pty Ltd         <The Duckham Family S/F A/C>     Unit 6                           6-16 Anchorage Drive       CLEVELAND QLD 4163                              AUS        4163                             100,000                              0                    0                                        0                                           0
Mr Errol-James Milevskiy        29 Moreton View Crescent         THORNLANDS QLD 4164                                                                                         AUS        4164                              10,000                              0                    0                                        0                                           0
Mr Daniel Thomas D'Arcy         18 Allen St                      VICTORIA POINT QLD 4165                                                                                     AUS        4165                               6,000                              0                    0                                        0                                           0
Mr Eric Maldwyn Shipton         10/235 Main Street               KANGAROO POINT QLD 4169                                                                                     AUS        4169                              20,000                              0                    0                                        0                                           0
Mr Mark Ashley Hughes           Unit 4 35 Agnes St               MORNINGSIDE QLD 4170                                                                                        AUS        4170                             300,000                              0                    0                                        0                                           0




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                                                                                                             Common Class Shareholders - Exhibit A to Equity Security Holders

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                                                                                                                                                                                                                                            Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                   Name/Address 3                  Name/Address 4              Name/Address 5              Name/Address 6            Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Jo-Anne Nipperess Holdings       Pty Ltd                          <Jo-Anne Nipperess S/F A/C>     44 Rossiter Street          MORNINGSIDE QLD 4170                                  AUS        4170                              10,000                              0                    0                                        0                                           0
Miss Jane Evelyn Niperess &      Mr Mark Ainsley Angus            <Three & One Super Fund A/C>    83 Kingsbury St             NORMAN PARK QLD 4170                                  AUS        4170                               3,300                              0                    0                                        0                                           0
Mr Steven Frank Sheppard         Unit 5 330 Hawthorne Road        HAWTHORNE QLD 4171                                                                                                AUS        4171                             100,000                              0                    0                                        0                                           0
Mrs Jennifer Leanne Wilson &     Mr Rodney Kenneth Wilson         5 Ryley Street                  MURARRIE QLD 4172                                                                 AUS        4172                               7,000                              0                    0                                        0                                           0
Equity Trustees Superannuation   Limited                          <Amg Rory Callaghan A/C>        PO Box 3528                 TINGALPA DC QLD 4173                                  AUS        4173                              30,000                              0                    0                                        0                                           0
Equity Trustees Superannuation   Limited                          <Amg SF Paul Simpson A/C>       PO Box 3528                 TINGALPA DC QLD 4173                                  AUS        4173                             100,000                              0                    0                                        0                                           0
Equity Trustees Superannuation   Limited                          <Amg Tony Elltan Daroczy A/C>   PO Box 3528                 TINGALPA DC QLD 4173                                  AUS        4173                              43,000                              0                    0                                        0                                           0
Equity Trustees Superannuation   Limited                          <Amg - Stacey Callaghan A/C>    PO Box 3528                 TINGALPA DC QLD 4173                                  AUS        4173                              20,000                              0                    0                                        0                                           0
Ms Lien Phung                    22 Beneteau Pl                   LOTA QLD 4179                                                                                                     AUS        4179                              20,000                              0                    0                                        0                                           0
Mr Christopher Mark Bell &       Mrs Desiley Anne Bell            Unit 11                         6-42 Quinzeh Creek Road     LOGAN VILLAGE QLD 4207                                AUS        4207                              15,000                              0                    0                                        0                                           0
Mr Ashkon Mondegari              13 Manning Court                 MOUNT WARREN PARK QLD 4207                                                                                        AUS        4207                                    1                             0                    0                                        0                                           0
Mrs Lesley Gelson                14 Windward Pl                   JACOBS WELL QLD 4208                                                                                              AUS        4208                             100,000                              0                    0                                        0                                           0
Mr Michael Brian Armstrong &     Mrs Deborah Elizabeth            Armstrong                       40 Saint Stephens Drive     UPPER COOMERA QLD 4209                                AUS        4209                              25,000                              0                    0                                        0                                           0
Mr Zeph Poulgrain                16 Sundew Terrace                COOMERA QLD 4209                                                                                                  AUS        4209                              10,000                              0                    0                                        0                                           0
Mrs Cherelyn Anne Gillson        35 Keneally Street               MAUDSLAND QLD 4210                                                                                                AUS        4210                               1,037                              0                    0                                        0                                           0
Mr Sheldon Denzel Steyn          29 Tara Vista BLVD               HIGHLAND PARK QLD 4211                                                                                            AUS        4211                              44,469                              0                    0                                        0                                           0
Mr Vinesh V Chandra              Unit 3105 2 Activa Way           HOPE ISLAND QLD 4212                                                                                              AUS        4212                             120,000                              0                    0                                        0                                           0
Mr John Raymond Lees             PO Box 464                       HELENSVALE QLD 4212                                                                                               AUS        4212                              20,000                              0                    0                                        0                                           0
Mr Andrew John Steele &          Mrs Debra Elizabeth Steele       <Steele S/Fund A/C>             8314 Magnolia Drive East    HOPE ISLAND QLD 4212                                  AUS        4212                             490,000                              0                    0                                        0                                           0
Calbatec Pty Ltd                 <Twiston & Lee Family A/C>       395 The Panorama                TALLAI QLD 4213                                                                   AUS        4213                             300,000                              0                    0                                        0                                           0
Mr Jonathan Crisp &              Miss Karina Smith                395 The Panorama                TALLAI QLD 4213                                                                   AUS        4213                             153,852                              0                    0                                        0                                           0
Mr Allan John Buckton &          Mrs Vicki Anne Buckton           15 Allspice Drive               ASHMORE QLD 4214                                                                  AUS        4214                              35,400                              0                    0                                        0                                           0
Eory Super Pty Ltd               <Eory Investments P/L Pen A/C>   322/74 Wardoo Street            ASHMORE QLD 4214                                                                  AUS        4214                              20,000                              0                    0                                        0                                           0
Mr James Sean Regan              5 Fitzalan CCT                   ARUNDEL QLD 4214                                                                                                  AUS        4214                              92,592                              0                    0                                        0                                           0
Mr Ciaran John Cullen            1/180 Whiting Street             LABRADOR QLD 4215                                                                                                 AUS        4215                               4,200                              0                    0                                        0                                           0
Mr Matthew Granfield             20 Grevillia Avenue              SOUTHPORT QLD 4215                                                                                                AUS        4215                              10,000                              0                    0                                        0                                           0
Mr Dominic John Adam Joslin &    Mrs Mary Carmel Joslin           24 Drury Avenue                 SOUTHPORT QLD 4215                                                                AUS        4215                              66,666                              0                    0                                        0                                           0
Mr John Mason                    PO Box 7010                      SOUTHPORT PARK QLD 4215                                                                                           AUS        4215                              38,330                              0                    0                                        0                                           0
Mr Wilhelmus Johannes Evers&     Mrs Gesina Anna Maria Evers      Unit 32 21 Bayview Street       RUNAWAY BAY QLD 4216                                                              AUS        4216                              50,000                              0                    0                                        0                                           0
Ms Sally-Anne Patricia           Simankowicz                      83 Numbat Court                 COOMBABAH QLD 4216                                                                AUS        4216                               8,000                              0                    0                                        0                                           0
Ms Lynda Margaret Williams       6 Ashgrove Avenue                RUNAWAY BAY QLD 4216                                                                                              AUS        4216                              10,000                              0                    0                                        0                                           0
Mr Gerard Paul Brownrigg &       Mrs Jane Louise Brownrigg        43 Marbella Drive               BENOWA QLD 4217                                                                   AUS        4217                              43,000                              0                    0                                        0                                           0
Dorinco Pty Ltd                  PO Box 1943                      SURFERS PARADISE QLD 4217                                                                                         AUS        4217                             400,000                              0                    0                                        0                                           0
Gattenside Pty Ltd               <HCH (1987) Super Fund A/C>      PO Box 1943                     SURFERS PARADISE QLD 4217                                                         AUS        4217                             300,000                              0                    0                                        0                                           0
Gattenside Pty Ltd               PO Box 1943                      SURFERS PARADISE QLD 4217                                                                                         AUS        4217                             100,000                              0                    0                                        0                                           0
Hampden Rd Pty Ltd               <Hampden Rd Super Fund A/C>      PO Box 1943                     SURFERS PARADISE QLD 4217                                                         AUS        4217                             100,000                              0                    0                                        0                                           0
Harold Cripps Holdings Pty Ltd   PO Box 1943                      SURFERS PARADISE QLD 4217                                                                                         AUS        4217                             900,000                              0                    0                                        0                                           0
Mrs Barbara Rosier               <Rosier Family S/F A/C>          Unit 111 West                   8 Admiralty Dr              SURFERS PARADISE QLD 4217                             AUS        4217                              10,000                              0                    0                                        0                                           0
Ms Gayle Margaret Sedgman        Unit 24 30 Watson Esp            SURFERS PARADISE QLD 4217                                                                                         AUS        4217                              41,666                              0                    0                                        0                                           0
Mrs Rachel Margaret Twine        PO Box 1791                      SURFERS PARADISE QLD 4217                                                                                         AUS        4217                              10,000                              0                    0                                        0                                           0
Mr Arthur Fazendin &             Miss Anne Dobby                  <New World Auto Elec S/F A/C>   PO Box 1268                 BROADBEACH QLD 4218                                   AUS        4218                              20,000                              0                    0                                        0                                           0
Mr Graeme Lloyd Gribben &        Mrs Pamela Irene Gribben         <Gribben Family Super A/C>      C/- Diana McGregor          PO Box 5454                 Q SUPERCENTRE QLD 4218    AUS        4218                             100,000                              0                    0                                        0                                           0
Mr Mervyn Leslie Hoskins         PO Box 840                       BROADBEACH QLD 4218                                                                                               AUS        4218                               7,500                              0                    0                                        0                                           0
Mr Kurt Martin Rose              PO Box 69                        BROADBEACH QLD 4218                                                                                               AUS        4218                             236,962                              0                    0                                        0                                           0
Mrs Susan Margaret Turner        24 Lancelin Dr                   MERMAID WATERS QLD 4218                                                                                           AUS        4218                               5,000                              0                    0                                        0                                           0
Mrs Susan Margaret Turner &      Mr Garry Duncan Turner           <The Turner Family A/C>         24 Lancelin Dr              MERMAID WATERS QLD 4218                               AUS        4218                               7,500                              0                    0                                        0                                           0
Mr Richard Cartwright            PO Box 139                       WEST BURLEIGH QLD 4219                                                                                            AUS        4219                               5,000                              0                    0                                        0                                           0
Ms Rochelle Lyn Walsh            PO Box 377                       WEST BURLEIGH QLD 4219                                                                                            AUS        4219                               5,000                              0                    0                                        0                                           0
Asaf Pty Ltd                     <Farrugia Superannuation A/C>    U 2 28 Evandale Crescent        MIAMI QLD 4220                                                                    AUS        4220                              50,000                              0                    0                                        0                                           0
Mrs Georgina Mary Findlay &      Mr Robert George Fraser          Findlay                         <Findlay Family A/C>        18 Kortum Drive             BURLEIGH HEADS QLD 4220   AUS        4220                            1,500,000                             0                    0                                        0                                           0
Mr Brendan Joseph Walsh          PO Box 74                        BURLEIGH HEADS QLD 4220                                                                                           AUS        4220                             138,081                              0                    0                                        0                                           0
Mr John Francis Carlton          15 Seaview Pde                   ELANORA QLD 4221                                                                                                  AUS        4221                              30,000                              0                    0                                        0                                           0
Jadite Holdings Pty Ltd          11 Myco Court                    ELANORA QLD 4221                                                                                                  AUS        4221                              29,000                              0                    0                                        0                                           0
Mr Robert Reginald Merrotsy &    Mrs Margaret Mary Merrotsy       100 Murtha Drive                ELANORA QLD 4221                                                                  AUS        4221                               2,500                              0                    0                                        0                                           0
Mr Julian Albert Prebble         U46/955 Gold Coast Highway       PALM BEACH QLD 4221                                                                                               AUS        4221                              40,580                              0                    0                                        0                                           0
Mr Barry Michael Scott           94 Cyclades Crescent             CURRUMBIN WATERS QLD 4223                                                                                         AUS        4223                               6,000                              0                    0                                        0                                           0
Mr Joseph Michael Lanskey        Unit 14 15-17 South St           COOLANGATTA QLD 4225                                                                                              AUS        4225                              12,195                              0                    0                                        0                                           0
Ma And D Ghusn Investments       Pty Ltd                          Unit 1 230 Pacific Pde          BILINGA QLD 4225                                                                  AUS        4225                             120,000                              0                    0                                        0                                           0
Monogram Holdings Pty Ltd        226 Pacific Parade               BILINGA QLD 4225                                                                                                  AUS        4225                              10,000                              0                    0                                        0                                           0
Mrs Jennifer May McGregor        110 Camberwell CCT               ROBINA QLD 4226                                                                                                   AUS        4226                               5,000                              0                    0                                        0                                           0
Mr Adam Matthew Wright           72 Peninsula Drive               ROBINA QLD 4226                                                                                                   AUS        4226                              50,000                              0                    0                                        0                                           0
Mrs Catherine Maree Huggill      P O Box 423                      BEAUDESERT QLD 4285                                                                                               AUS        4285                               2,500                              0                    0                                        0                                           0
Mr Jonathan Roy Black            23 Sunview Rd                    SPRINGFIELD QLD 4300                                                                                              AUS        4300                              25,000                              0                    0                                        0                                           0
Jenroy Superannuation Pty Ltd    1 Fitzroy Place                  KARALEE QLD 4306                                                                                                  AUS        4306                             210,000                              0                    0                                        0                                           0
Mr John Healy &                  Mrs Daphne Healy                 Mail Service 2223T              176 Hursley Road            GLENVALE QLD 4350                                     AUS        4350                               6,000                              0                    0                                        0                                           0
Mr Douglas Robert Graham Neild   65 Tourist Road                  TOOWOOMBA QLD 4350                                                                                                AUS        4350                              15,600                              0                    0                                        0                                           0
Mr Donald Raymond Patch &        Mrs Prue Selena Patch            59A Mary Street                 TOOWOOMBA QLD 4350                                                                AUS        4350                              10,500                              0                    0                                        0                                           0
Mr David John Willis             13 Corella Street                RANGEVILLE QLD 4350                                                                                               AUS        4350                              40,000                              0                    0                                        0                                           0
Mrs Rachael Kylie Davey          4 Kimdon Crescent                HIGHFIELDS QLD 4352                                                                                               AUS        4352                              30,000                              0                    0                                        0                                           0
Hartley Super Investments Pty    Ltd                              64 Mocatta St                   GOOMBUNGEE QLD 4354                                                               AUS        4354                              42,585                              0                    0                                        0                                           0
Mr Paul Clapham                  PO Box 164                       PITTSWORTH QLD 4356                                                                                               AUS        4356                              24,000                              0                    0                                        0                                           0
Mr Douglas John Hendry           31 Kates St                      CLIFTON QLD 4361                                                                                                  AUS        4361                               5,277                              0                    0                                        0                                           0
Mr James Goss &                  Mrs Mary-Ann Goss                PO Box 98                       BALLANDEAN QLD 4382                                                               AUS        4382                                    50                            0                    0                                        0                                           0
Mrs Jodie Maree Biggar           22 Watt St                       DALBY QLD 4405                                                                                                    AUS        4405                              10,000                              0                    0                                        0                                           0
Ms Christine Rosetta Cooke       17 Fairlie Court                 KALLANGUR QLD 4503                                                                                                AUS        4503                               2,500                              0                    0                                        0                                           0
Mr Albert James Cyril Lawson     226 Brays Road                   GRIFFIN QLD 4503                                                                                                  AUS        4503                              76,490                              0                    0                                        0                                           0
Mr Klaus Dieter Rohde &          Mrs Christine Lee Rohde          <Rohde Super Fund A/C>          23 Hyde Road                WHITESIDE QLD 4503                                    AUS        4503                              12,500                              0                    0                                        0                                           0
Mr Geoffrey Craig Kernick        29 Ontario Crescent              NARANGBA QLD 4504                                                                                                 AUS        4504                              25,000                              0                    0                                        0                                           0
Mrs Georgina Elizabeth Vinton    71 Progress Rd                   BURPENGARY QLD 4505                                                                                               AUS        4505                               3,850                              0                    0                                        0                                           0
Mr Barry Hertzog Booyens &       Mrs Maria Josephina Booyens      PO Box 859                      MORAYFIELD QLD 4506                                                               AUS        4506                               6,000                              0                    0                                        0                                           0
Mr David Scott Chakley           PO Box 678                       NORTH LAKES QLD 4509                                                                                              AUS        4509                             149,000                              0                    0                                        0                                           0
Mr Nikolay Sobolev &             Mrs Faina Soboleva &             Mr Vladimir Sobolev             <Sobolev Super Fund A/C>    42 Nicklaus Parade          NORTH LAKES QLD 4509      AUS        4509                             180,000                              0                    0                                        0                                           0
Mr Murray Boyd Bassett &         Mrs Fiona Clare Bassett          48 Wallace Street North         CABOOLTURE QLD 4510                                                               AUS        4510                               3,800                              0                    0                                        0                                           0
Mr David Charles Hulme           7 Meninga Court                  CABOOLTURE QLD 4510                                                                                               AUS        4510                             146,500                              0                    0                                        0                                           0
Mr Anthony Elmer Kellerman &     Mrs Carolyn Anne Kellerman       Unit 87                         34 Ardrossan Road           CABOOLTURE QLD 4510                                   AUS        4510                             100,000                              0                    0                                        0                                           0
Mr Simon Rixson Zillman          1020 Old North Road              ROCKSBERG QLD 4510                                                                                                AUS        4510                              40,000                              0                    0                                        0                                           0
Mr John Warwick Armstrong        53 Ranald Avenue                 NINGI QLD 4511                                                                                                    AUS        4511                               5,000                              0                    0                                        0                                           0




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                                                                                                          Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                       Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                        Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                  Name/Address 2                  Name/Address 3                  Name/Address 4              Name/Address 5            Name/Address 6            Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr William Chambers             168 Alcock Road                 ELIMBAH QLD 4516                                                                                                AUS        4516                               5,192                              0                    0                                        0                                           0
Mrs Christine Fuller &          Mr John Fuller                  Unit 38 34-38 Canberra Tce      CALOUNDRA QLD 4551                                                              AUS        4551                              30,000                              0                    0                                        0                                           0
Mr Cecil Gary John King &       Mrs Susan Lorraine King         <The CGJ & Sl King S/F A/C>     U1 Vardon Pt                1 Millennium Circuit      PELICAN WATERS QLD 4551   AUS        4551                             700,000                              0                    0                                        0                                           0
Mrs Jann Elizabeth McLennan     29 The Passage                  PELICAN WATERS QLD 4551                                                                                         AUS        4551                              20,000                              0                    0                                        0                                           0
Mr Karl Wabersinke              1 Gerrybell Street              CALOUNDRA QLD 4551                                                                                              AUS        4551                               7,692                              0                    0                                        0                                           0
Mr David Williams               18 Oxford Pde                   PELICAN WATERS QLD 4551                                                                                         AUS        4551                             850,000                              0                    0                                        0                                           0
Ck Super Fund Pty Ltd           <Ck Super Fund A/C>             PO Box 1273                     BUDERIM QLD 4556                                                                AUS        4556                               9,000                              0                    0                                        0                                           0
Mr Barry Charles McTaggart      11 Woodlands Crescent           BUDERIM QLD 4556                                                                                                AUS        4556                              17,600                              0                    0                                        0                                           0
Mr Gavin Wayne Onions           16 Radbourne Road               TANAWHA QLD 4556                                                                                                AUS        4556                              70,000                              0                    0                                        0                                           0
Mr Desmond James Robinson &     Mrs Pamela Enid Robinson        PO Box 1381                     BUDERIM QLD 4556                                                                AUS        4556                              65,000                              0                    0                                        0                                           0
Mr Douglas Jon Turner           19 Plantation Parade            BUDERIM QLD 4556                                                                                                AUS        4556                               5,500                              0                    0                                        0                                           0
Dulverton Pty Ltd               <Swyer Family Super Fund A/C>   Unit 35 143-147 Mooloolaba      Esplanade                   MOOLOOLABA QLD 4557                                 AUS        4557                              65,000                              0                    0                                        0                                           0
Mr Geoffrey Alexander Rieck &   Mrs Sharon June Rieck           28 Aldinga Place                MOOLOOLABA QLD 4557                                                             AUS        4557                               7,000                              0                    0                                        0                                           0
Mrs Noleen Lynn Sonderegger &   Mr Robi Sonderegger             PO Box 1268                     MOOLOOLABA QLD 4557                                                             AUS        4557                               8,700                              0                    0                                        0                                           0
Balcara Enterprises Pty Ltd     <Hensman Super Fund A/C>        PO Box 386                      COTTON TREE QLD 4558                                                            AUS        4558                             200,000                              0                    0                                        0                                           0
Mr Mervyn William Chakley &     Mrs Beverley Joy Chakley        <Devenish Nominees S/F A/C>     Juneau Apartments           11/128 Duporth Avenue     MAROOCHYDORE QLD 4558     AUS        4558                            3,575,000                             0                    0                                        0                                           0
Mr Mervyn William Chakley &     Mrs Beverley Joy Chakley        <Syntac Pty Ltd S/F A/C>        Juneau Apartments           11/128 Duporth Avenue     MAROOCHYDORE QLD 4558     AUS        4558                          10,584,008                              0                    0                                        0                                           0
Est Mr Peter Desmond Marsh      32 Picnic Point Esplanade       MAROOCHYDORE QLD 4558                                                                                           AUS        4558                              20,000                              0                    0                                        0                                           0
Mr Richard Ruscombe Poole       PO Box 5263                     MAROOCHYDORE BC QLD 4558                                                                                        AUS        4558                              11,000                              0                    0                                        0                                           0
Mr Scott Allan Bryan &          Mrs Melissa Joy Bryan           <The Bryan Family S/F A/C>      6 Ringtail Place            BLI BLI QLD 4560                                    AUS        4560                              15,000                              0                    0                                        0                                           0
Mr David William Erbacher       17 Kerrs Lane                   COES CREEK QLD 4560                                                                                             AUS        4560                              17,000                              0                    0                                        0                                           0
Mr Jarrad Lee Watt              20 McCall Pl                    BLI BLI QLD 4560                                                                                                AUS        4560                               2,000                              0                    0                                        0                                           0
Mrs Maria Ellen Fletcher        PO Box 41                       COOROY QLD 4563                                                                                                 AUS        4563                               5,000                              0                    0                                        0                                           0
Mr Graeme Peter Lavender        Unit 134 21 Baywater Dr         TWIN WATERS QLD 4564                                                                                            AUS        4564                             100,000                              0                    0                                        0                                           0
Mr Petri Yrjanainen             16 June Cresent                 NOOSAVILLE QLD 4566                                                                                             AUS        4566                              22,000                              0                    0                                        0                                           0
Mr Lyall Cameron Barr           P O Box 1427 Noosa Heads        NOOSA HEADS QLD 4567                                                                                            AUS        4567                               5,250                              0                    0                                        0                                           0
Mr Donald George Gregor &       Mrs Judith Gregor               Unit 103 61 Noosa Springs       Drive                       NOOSA HEADS QLD 4567                                AUS        4567                              69,995                              0                    0                                        0                                           0
Mr Bruce William Wallace &      Mrs Zelma Wallace               <Wallace Pension Fund A/C>      PO Box 1735                 NOOSA HEADS QLD 4567                                AUS        4567                             200,000                              0                    0                                        0                                           0
Mr Don Fitzgerald               7 Gerrygone Pl                  POMONA QLD 4568                                                                                                 AUS        4568                              20,000                              0                    0                                        0                                           0
Mr Rodney Kenneth Davison       11 Watson Road                  GYMPIE QLD 4570                                                                                                 AUS        4570                            1,720,496                             0                    0                                        0                                           0
Mr Rodney Kenneth Davison       11 Watson Road                  SOUTHSIDE QLD 4570                                                                                              AUS        4570                             352,048                              0                    0                                        0                                           0
Mrs Connie Henderson            <Henderson Super Fund A/C>      49 Pike Rd                      WOOLOOGA QLD 4570                                                               AUS        4570                               5,100                              0                    0                                        0                                           0
Mr Christopher Ray Knox         11 Watson Road                  GYMPIE QLD 4570                                                                                                 AUS        4570                              85,000                              0                    0                                        0                                           0
Mr Mark Pritchard &             Mrs Joanne Pritchard            103 Fosters Lane                ANDERLEIGH QLD 4570                                                             AUS        4570                              10,000                              0                    0                                        0                                           0
Mr Wayne Leslie Smith           106 Hartwig Road                MOTHAR MOUNTAIN QLD 4570                                                                                        AUS        4570                              10,000                              0                    0                                        0                                           0
Est Mr Frederick Peter          Temminck                        122 Pacific Boulevard           BUDDINA QLD 4575                                                                AUS        4575                              50,000                              0                    0                                        0                                           0
Mr Robin Dean Keily             PO Box 437                      MARYBOROUGH QLD 4650                                                                                            AUS        4650                              40,000                              0                    0                                        0                                           0
Mr Geoffrey Ian Crook &         Mrs Marie Therese Crook         22 Lockerbie Court              KAWUNGAN QLD 4655                                                               AUS        4655                               2,265                              0                    0                                        0                                           0
Mr Arthur Dylewski              Unit 125 99 Doolong Rd          KAWUNGAN QLD 4655                                                                                               AUS        4655                              25,000                              0                    0                                        0                                           0
Mr Timothy Edward Sheehan       Breakfree Resort 161 17         Buccaneer Drive                 URANGAN QLD 4655                                                                AUS        4655                               9,500                              0                    0                                        0                                           0
Mr Gary Kelvin Smith            PO Box 7680                     URANGAN QLD 4655                                                                                                AUS        4655                              11,000                              0                    0                                        0                                           0
Mrs Maureen Frances Williams    70-72 Longview Drive            RIVER HEADS QLD 4655                                                                                            AUS        4655                               4,975                              0                    0                                        0                                           0
Mr Mark James McAulay &         Mrs Vicki Leanne McAulay        7 Yalla Lane                    REDRIDGE QLD 4660                                                               AUS        4660                               4,500                              0                    0                                        0                                           0
Mr Anthony Robert Bradshaw &    Mrs Lily Daphne Bradshaw        <Ar & Ld Bradshaw S/F A/C>      105 Sea Esplanade           BURNETT HEADS QLD 4670                              AUS        4670                               3,000                              0                    0                                        0                                           0
Ms Susan Amelia Faulkner        Unit 3                          4A Kentia Avenue                MOORE PARK BEACH QLD 4670                                                       AUS        4670                               2,000                              0                    0                                        0                                           0
Mr Arthur Robert Freudenberg    & Mrs Anne Patricia             Freudenberg                     5 Wilmington Street         Avenell Heights           BUNDABERG QLD 4670        AUS        4670                              12,000                              0                    0                                        0                                           0
Mr Rodney Howard George&        Mrs Janette Lydia George        <Rodney George S/Fund A/C>      PO Box 496                  BUNDABERG QLD 4670                                  AUS        4670                              50,000                              0                    0                                        0                                           0
Mr David Clifford Milford &     Ms Rae Ellen Milford            411 Mingo Road                  GIN GIN QLD 4671                                                                AUS        4671                              98,395                              0                    0                                        0                                           0
Mr Darryl Warren Onions         48 Settlers Ct                  MAROONDAN QLD 4671                                                                                              AUS        4671                              45,000                              0                    0                                        0                                           0
DKT Super Co Pty Ltd            <Dm & Km Thomas SF A/C>         3 Stokes Street                 BOYNE ISLAND QLD 4680                                                           AUS        4680                              24,000                              0                    0                                        0                                           0
Dunwait'N Pty Ltd               <P S F Super Fund A/C>          13 Selma Court                  TANNUM SANDS QLD 4680                                                           AUS        4680                               5,000                              0                    0                                        0                                           0
Mr Peter Gardiner &             Mrs Shaylene Maree Gardiner     48814 Bruce Highway             BENARABY QLD 4680                                                               AUS        4680                             133,000                              0                    0                                        0                                           0
Mr Patrick Alan Locker          5 Dunn St                       TANNUM SANDS QLD 4680                                                                                           AUS        4680                               2,000                              0                    0                                        0                                           0
Ms Elizabeth Joy McLeod         2/12 Golf View Drive            BOYNE ISLAND QLD 4680                                                                                           AUS        4680                               3,735                              0                    0                                        0                                           0
Mr Laurance Edgar Schulz &      Mrs Anecita Pagandahan Schulz   <L & A Schulz Superfund A/C>    20 Brown Street             CALLIOPE QLD 4680                                   AUS        4680                                    9                             0                    0                                        0                                           0
Mrs Juliana Kelner              145 Link Road                   DARTS CREEK QLD 4695                                                                                            AUS        4695                              47,600                              0                    0                                        0                                           0
Mr Yves Lucien Yvon Kelner      145 Link Road                   DARTS CREEK QLD 4695                                                                                            AUS        4695                             200,000                              0                    0                                        0                                           0
Mr Howard Steven Mills &        Mrs Sheelah Margaret Mills      <Stock & Station Super A/C>     PO Box 8369                 ALLENSTOWN QLD 4700                                 AUS        4700                             100,000                              0                    0                                        0                                           0
Mitsue Pty Ltd                  PO Box 8478                     ALLENSTOWN QLD 4700                                                                                             AUS        4700                             200,000                              0                    0                                        0                                           0
Mrs Janice Lorraine Hendy       PO Box 2124                     YEPPOON QLD 4703                                                                                                AUS        4703                              10,000                              0                    0                                        0                                           0
Mr Kurt James McPhail           34 Eden Way                     YEPPOON QLD 4703                                                                                                AUS        4703                                    17                            0                    0                                        0                                           0
Mrs Beverley Joyce Green &      Mr Francis Graham Green         34 Marine Parade                EMU PARK QLD 4710                                                               AUS        4710                              50,000                              0                    0                                        0                                           0
Mr Paul David Congreve          PO Box 2553                     EMERALD QLD 4720                                                                                                AUS        4720                              13,332                              0                    0                                        0                                           0
Jabiwarra Superannuation Pty    Ltd                             <Jabiwarra Super Fund A/C>      PO Box 78                   EMERALD QLD 4720                                    AUS        4720                             250,000                              0                    0                                        0                                           0
Mr Christopher John Keast       21 Lakeside Dr                  EMERALD QLD 4720                                                                                                AUS        4720                                    9                             0                    0                                        0                                           0
Mrs Susan Marshall &            Mr Benjamin Shane Marshall      <BSM Superannuation Fund A/C>   21 Eclipse St               SPRINGSURE QLD 4722                                 AUS        4722                             196,000                              0                    0                                        0                                           0
Mr Juan Carlos Abad &           Mrs Carmen Abad                 <Abad Family Super Fund A/C>    PO Box 8644                 MOUNT PLEASANT QLD 4740                             AUS        4740                              48,000                              0                    0                                        0                                           0
Mr Neil Joseph Cruikshank       86 Mogford Street               MACKAY QLD 4740                                                                                                 AUS        4740                              24,153                              0                    0                                        0                                           0
Mrs Helen Ruth Labruniy         4 Hucker Street                 MACKAY QLD 4740                                                                                                 AUS        4740                             100,000                              0                    0                                        0                                           0
Miss Melissa Maree Sorensen     5 Chauvel Street                SOUTH MACKAY QLD 4740                                                                                           AUS        4740                              10,000                              0                    0                                        0                                           0
Mrs Kylie Dowd                  33 Leichhardt Drive             MORANBAH QLD 4744                                                                                               AUS        4744                              20,000                              0                    0                                        0                                           0
Mr Alex Miller                  6A Lyons Court                  MORANBAH QLD 4744                                                                                               AUS        4744                             623,000                              0                    0                                        0                                           0
Mr Vikki Niall Deguara &        Mrs Gayle Nola Deguara          <V & G Deguara S/F A/C>         PO Box 382                  MARIAN QLD 4753                                     AUS        4753                              18,870                              0                    0                                        0                                           0
Mr Simon Walter &               Mrs Amanda Walter               7 Manooka Drive                 CANNONVALE QLD 4802                                                             AUS        4802                               5,000                              0                    0                                        0                                           0
Dr Kenneth Crasta               PO Box 2355                     TOWNSVILLE QLD 4810                                                                                             AUS        4810                              25,000                              0                    0                                        0                                           0
Mrs Julie Ann Johnston          608 Cape Cleveland Road         CAPE CLEVELAND QLD 4810                                                                                         AUS        4810                               4,000                              0                    0                                        0                                           0
Mr Craig Winter                 30 Soule Street                 HERMIT PARK QLD 4812                                                                                            AUS        4812                               5,000                              0                    0                                        0                                           0
Mr Garth Harrigan               43 Elizabeth Street             AITKENVALE QLD 4814                                                                                             AUS        4814                               5,000                              0                    0                                        0                                           0
Mr Michael Kenneth Roach        16 Emerald Street               KIRWAN QLD 4817                                                                                                 AUS        4817                              56,585                              0                    0                                        0                                           0
Mr Nicholas Exarhos             9A Dundee Lane                  QUEENTON QLD 4820                                                                                               AUS        4820                              55,555                              0                    0                                        0                                           0
Mrs Liota Jeanette Peno         35 Rutherford Street            CHARTERS TOWERS QLD 4820                                                                                        AUS        4820                               4,000                              0                    0                                        0                                           0
Mr Warwick Lloyd Jull           PO Box 389                      MISSION BEACH QLD 4852                                                                                          AUS        4852                              10,000                              0                    0                                        0                                           0
Mr Alan Harold Cole             PO Box 11                       SOUTH JOHNSTONE QLD 4859                                                                                        AUS        4859                              56,685                              0                    0                                        0                                           0
Mr Shaun O'Donahoo &            Mrs Judith O'Donahoo            2A Keirle Avenue                WHITFIELD QLD 4870                                                              AUS        4870                              40,000                              0                    0                                        0                                           0
Mr Paul Lee Hutchinson          209 Greenslopes St              EDGE HILL QLD 4870                                                                                              AUS        4870                              11,400                              0                    0                                        0                                           0
Mr Gregory Herbert Lawrence &   Mrs Wendy Lawrence              <G H Lawrence Super Fund A/C>   363 Mulgrave Road           BUNGALOW QLD 4870                                   AUS        4870                              71,000                              0                    0                                        0                                           0
Mr Grant James Joseph           Pollard &                       Mrs Kerry Lynette Pollard       11 Kurrajong Street         EARLVILLE QLD 4870                                  AUS        4870                               6,100                              0                    0                                        0                                           0




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                                                                                                            Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                        Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                         Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                   Name/Address 3                  Name/Address 4               Name/Address 5            Name/Address 6          Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
QPV Super Pty Ltd                <Vom Superannuation A/C>         PO Box 889                      EARLVILLE QLD 4870                                                             AUS        4870                               7,500                              0                    0                                        0                                           0
Mr Gordon Thomas Venables        12 Atherton St                   WHITFIELD QLD 4870                                                                                             AUS        4870                               3,000                              0                    0                                        0                                           0
Mr Drew Isaac Slawson            2 Dineen Cl                      COOYA BEACH QLD 4873                                                                                           AUS        4873                              25,000                              0                    0                                        0                                           0
Mr Hugh Armitage                 <Armitage Family A/C>            PO Box 553                      CLIFTON BEACH QLD 4879                                                         AUS        4879                              14,285                              0                    0                                        0                                           0
Mr John Walter Brooksbank        PO Box 317                       KURANDA QLD 4881                                                                                               AUS        4881                             150,000                              0                    0                                        0                                           0
Tullmal Pty Ltd                  <M&D Fahey Super Fund A/C>       PO Box 1011                     ATHERTON QLD 4883                                                              AUS        4883                             100,000                              0                    0                                        0                                           0
Australian Executor Trustees     Limited                          <No 1 Account>                  GPO Box 546                  ADELAIDE SA 5001                                  AUS        5001                              40,000                              0                    0                                        0                                           0
Dr Margaret Jean Gibson          C/- Aet Limited                  GPO Box 546                     ADELAIDE SA 5001                                                               AUS        5001                              85,000                              0                    0                                        0                                           0
KDKF Superannuation Pty Ltd      <KDKF Super Fund A/C>            GPO Box 1347                    ADELAIDE SA 5001                                                               AUS        5001                              80,000                              0                    0                                        0                                           0
Mrs Jill Ross Newland            21 Tynte Street                  NORTH ADELAIDE SA 5006                                                                                         AUS        5006                              10,000                              0                    0                                        0                                           0
Mr Paul Sloan &                  Mrs Gillian Sloan                PO Box 161                      NORTH ADELAIDE SA 5006                                                         AUS        5006                             286,000                              0                    0                                        0                                           0
Mr Scott Leigh Zucker            6 Fourth Avenue                  CHELTENHAM SA 5014                                                                                             AUS        5014                               5,000                              0                    0                                        0                                           0
Mr Wayne David Dienhoff &        Mrs Caroline Mary Dienhoff       <Dienhoff Super Fund A/C>       17 Swansea Street            LARGS NORTH SA 5016                               AUS        5016                              20,000                              0                    0                                        0                                           0
Mortow (No 46) Pty Ltd           <Munday Super Fund A/C>          PO Box 216                      HENLEY BEACH SA 5022                                                           AUS        5022                              80,000                              0                    0                                        0                                           0
Mr Robert Charles Dingle &       Mrs Robyn Dawn Dingle            <Dings Dynamic Superfund A/C>   333A Tapleys Hill Rd         SEATON SA 5023                                    AUS        5023                            2,000,000                             0                    0                                        0                                           0
Michael Harris Super Pty Ltd     <Michael Harris Super A/C>       263 Grange Road                 FINDON SA 5023                                                                 AUS        5023                             113,978                              0                    0                                        0                                           0
Mr Gerard Patrick O'Brien &      Mrs Diane Mary O'Brien           PO Box 137                      WEST BEACH SA 5024                                                             AUS        5024                              15,594                              0                    0                                        0                                           0
Mr Shane Bradley Hagan           22 Hoskin Avenue                 KIDMAN PARK SA 5025                                                                                            AUS        5025                              39,800                              0                    0                                        0                                           0
Mr Leath Hamish Margrie          PO Box 389                       BROOKLYN PARK SA 5032                                                                                          AUS        5032                             121,000                              0                    0                                        0                                           0
Investart Holdings Pty Ltd       <Investart Holdings A/C>         56B King William Road           GOODWOOD SA 5034                                                               AUS        5034                             274,000                              0                    0                                        0                                           0
Algoma Steel Pty Ltd             <Terence Kavanagh Family A/C>    2 Scott Court                   NOVAR GARDENS SA 5040                                                          AUS        5040                             200,000                              0                    0                                        0                                           0
Algoma Steel Pty Ltd             <Kavanagh Super Fund A/C>        2 Scott Court                   NOVAR GARDENS SA 5040                                                          AUS        5040                             170,000                              0                    0                                        0                                           0
Mr Matthew David Burford         48 Frederick Street              GLENGOWRIE SA 5044                                                                                             AUS        5044                                    10                            0                    0                                        0                                           0
Mr Robert Bruce Crabbe &         Mrs Karen Elizabeth Crabbe       <Emeritus Super Fund A/C>       PO Box 773                   GLENELG SA 5045                                   AUS        5045                              15,000                              0                    0                                        0                                           0
Pernash Investments Pty Ltd      <Nash Super Fund A/C>            PO Box 87                       BRIGHTON SA 5048                                                               AUS        5048                              10,000                              0                    0                                        0                                           0
Mr Graham Lawrence Richards &    Ms Suzana Saskor                 <Flex Super Fund A/C>           PO Box 442                   HOVE SA 5048                                      AUS        5048                             100,000                              0                    0                                        0                                           0
Mr Brian Stanley Tilley          14 Oleander Street East          SOUTH BRIGHTON SA 5048                                                                                         AUS        5048                              40,000                              0                    0                                        0                                           0
Mr Bruce Alastair Harris         Unit 1 41 Young St               SEACLIFF SA 5049                                                                                               AUS        5049                             100,000                              0                    0                                        0                                           0
Mr Glenn David Jobling           196 Coromandel Parade            COROMANDEL VALLEY SA 5051                                                                                      AUS        5051                              15,000                              0                    0                                        0                                           0
Mr Nigel Robin Burton            11 Kalyra Road                   BELAIR SA 5052                                                                                                 AUS        5052                               2,888                              0                    0                                        0                                           0
Pitten Pty Ltd                   <The Hall Retirement Fund A/C>   PO Box 411                      BELAIR SA 5052                                                                 AUS        5052                              90,818                              0                    0                                        0                                           0
Mr Anthony John Goodall          24 Blyth Street                  PARKSIDE SA 5063                                                                                               AUS        5063                              25,000                              0                    0                                        0                                           0
Mr Peter William Forbes          Morrison                         6 Yeo Avenue                    HIGHGATE SA 5063                                                               AUS        5063                               5,400                              0                    0                                        0                                           0
Dr Lap Kwong Han                 6 Mountain View Place            MOUNT OSMOND SA 5064                                                                                           AUS        5064                              12,000                              0                    0                                        0                                           0
Mrs Jacqueline Margaret          Holdich                          1 Purnana Avenue                ST GEORGES SA 5064                                                             AUS        5064                              14,900                              0                    0                                        0                                           0
Lasbury Services Pty Ltd         <The Flight A/C>                 19 Auburn Avenue                MYRTLE BANK SA 5064                                                            AUS        5064                             300,000                              0                    0                                        0                                           0
Mrs Joan Louise Prosser          Apartment 37                     7 Spence Avenue                 MYRTLE BANK SA 5064                                                            AUS        5064                              15,000                              0                    0                                        0                                           0
Mr Dean Crawford Engelhardt      34 Dulwich Ave                   DULWICH SA 5065                                                                                                AUS        5065                               8,260                              0                    0                                        0                                           0
Mr Ronald William Glasson        76A Statenborough Street         ERINDALE SA 5066                                                                                               AUS        5066                              20,000                              0                    0                                        0                                           0
Mr Stefan Metanomski             73 Waterfall Gully Road          WATERFALL GULLY SA 5066                                                                                        AUS        5066                             250,000                              0                    0                                        0                                           0
Mr Derek Terence Morley          18 Knightsbridge Road            HAZELWOOD PARK SA 5066                                                                                         AUS        5066                              13,000                              0                    0                                        0                                           0
Mr James Robert Sexton           588 Glynburn Road                BEAUMONT SA 5066                                                                                               AUS        5066                            1,000,000                             0                    0                                        0                                           0
Mr Kevin Robert Sexton           588 Glynburn Road                BEAUMONT SA 5066                                                                                               AUS        5066                            2,000,000                             0                    0                                        0                                           0
Ardeen Pty Ltd                   PO Box 231                       STEPNEY SA 5069                                                                                                AUS        5069                             120,000                              0                    0                                        0                                           0
Mr Ryan Sydney McClenaghan       PO Box 411                       STEPNEY SA 5069                                                                                                AUS        5069                               2,500                              0                    0                                        0                                           0
Mrs Antonietta Angelini &        Dr Maria Elisa Angelini          <Antonietta Angelini S/F A/C>   PO Box 2631                  KENT TOWN SA 5071                                 AUS        5071                              62,500                              0                    0                                        0                                           0
Dr Maria Angelini                PO Box 2631                      KENT TOWN SA 5071                                                                                              AUS        5071                              75,000                              0                    0                                        0                                           0
Dr Maria Elisa Angelini &        Mrs Antonietta Angelini          <Maria Angelini S/F A/C>        PO Box 2631                  KENT TOWN SA 5071                                 AUS        5071                              62,500                              0                    0                                        0                                           0
Mr Timo Angelini &               Mrs Antonietta Angelini          PO Box 2631                     KENT TOWN SA 5071                                                              AUS        5071                              62,500                              0                    0                                        0                                           0
Mr Robert Kay Davenport          <RKD Sueprannuation Fund A/C>    13 Hextall Avenue               TRANMERE SA 5073                                                               AUS        5073                              10,000                              0                    0                                        0                                           0
Mrs Ruth Sinclair Deegan         14 Hextall Avenue                TRANMERE SA 5073                                                                                               AUS        5073                               4,000                              0                    0                                        0                                           0
Mr Kevin Richard Lawton          17 Marola Avenue                 ROSTREVOR SA 5073                                                                                              AUS        5073                               5,000                              0                    0                                        0                                           0
JC & Ma Varricchio Pty Ltd       <The Varricchio S/F A/C>         879 Lower North East Road       DERNANCOURT SA 5075                                                            AUS        5075                             100,000                              0                    0                                        0                                           0
Mr Mark Howard Oldfield &        Mrs Julie Faye Oldfield          <Oldav Nominees A/C>            2 Quondong Ave               ATHELSTONE SA 5076                                AUS        5076                              40,000                              0                    0                                        0                                           0
Mr Gregory James Blight &        Mr Stephen Maxwell Blight        <Gregory Blight S/F A/C>        55 North East Road           COLLINSWOOD SA 5081                               AUS        5081                             370,370                              0                    0                                        0                                           0
Mr Andrew Clement Grope          50 Northcote Tce                 GILBERTON SA 5081                                                                                              AUS        5081                               3,750                              0                    0                                        0                                           0
Mr Timothy Alexander Brown       2 Audley Ave                     PROSPECT SA 5082                                                                                               AUS        5082                              22,222                              0                    0                                        0                                           0
Ms Catriona Eleanor Herriott     28 Leslie Avenue                 BLAIR ATHOL SA 5084                                                                                            AUS        5084                              55,000                              0                    0                                        0                                           0
Mr My Van Tran                   20 Elizabeth St                  BLAIR ATHOL SA 5084                                                                                            AUS        5084                              15,000                              0                    0                                        0                                           0
Mr Ralph Mervyn Greenham         1 Flinders Road                  HILLCREST SA 5086                                                                                              AUS        5086                              10,000                              0                    0                                        0                                           0
Mr James Binh Quyen Luu &        Mrs Hue Dao Chau                 21 Hilltop Drive                OAKDEN SA 5086                                                                 AUS        5086                             418,888                              0                    0                                        0                                           0
Mr Dean Claude Matthews &        Mrs Patricia Leone Matthews      20 Harold Street                HIGHBURY SA 5089                                                               AUS        5089                               6,000                              0                    0                                        0                                           0
Mr David Wilton                  15 Packham Place                 HIGHBURY SA 5089                                                                                               AUS        5089                             137,000                              0                    0                                        0                                           0
Mr Bryan Raymond Tidswell        30 Wheeler Avenue                POORAKA SA 5095                                                                                                AUS        5095                              15,700                              0                    0                                        0                                           0
Mr Anthony Peter O'Keeffe        7 Saddle Crescent                WALKLEY HEIGHTS SA 5098                                                                                        AUS        5098                               6,322                              0                    0                                        0                                           0
Mr Gavin Stewart Woolford &      Mrs Adelina Woolford             <G & A Woolford S/F A/C>        15 Hughes Court              WALKLEY HEIGHTS SA 5098                           AUS        5098                               9,000                              0                    0                                        0                                           0
Mr Gavin Stewart Woolford        15 Hughes Ct                     WALKLEY HEIGHTS SA 5098                                                                                        AUS        5098                              31,500                              0                    0                                        0                                           0
Mrs Glenda Ann Campbell          7 O'Dea Court                    GAWLER EAST SA 5118                                                                                            AUS        5118                             200,000                              0                    0                                        0                                           0
Mr Mervyn Thomas Curtis          29 Jane Street                   WILLASTON SA 5118                                                                                              AUS        5118                              50,000                              0                    0                                        0                                           0
Mr Frederick Cugley              156 Seaview Road                 GOLDEN GROVE SA 5125                                                                                           AUS        5125                              10,500                              0                    0                                        0                                           0
Miss Kavindya Ishini             Kariyawasam                      16 Valour Ct                    GOLDEN GROVE SA 5125                                                           AUS        5125                              25,000                              0                    0                                        0                                           0
Mr Angus John Nicholas Brooks    PO Box 210                       CRAFERS SA 5152                                                                                                AUS        5152                              25,000                              0                    0                                        0                                           0
Mr Ewan John Vickery &           Mrs Helen Caroline Vickery       <Vickery Super Fund A/C>        19 Avenue Road               STIRLING SA 5152                                  AUS        5152                             100,000                              0                    0                                        0                                           0
Dr Robert Gwydir Booth           Morrison &                       Mrs Penelope Suzanne Morrison   <Morrison Super Fund A/C>    46 Mountford Avenue       BRIDGEWATER SA 5155     AUS        5155                              35,000                              0                    0                                        0                                           0
Dr Neelakanthi Ekanayake         Gunawardena                      20 Clearview Terrace            FLAGSTAFF HILL SA 5159                                                         AUS        5159                              10,000                              0                    0                                        0                                           0
Mr Ernest Elf & Mrs Oksana Elf   <Elf Family Super Fund A/C>      46 Britannia Pde                HINDMARSH ISLAND SA 5214                                                       AUS        5214                              30,000                              0                    0                                        0                                           0
Mr Mark Vincent Ewart            PO Box 687                       PENNESHAW SA 5222                                                                                              AUS        5222                               6,060                              0                    0                                        0                                           0
Mr Kevin David Lee &             Mrs Suzanne Lee                  <KDSJL Super Fund A/C>          PO Box 1741                  MOUNT BARKER SA 5251                              AUS        5251                             119,019                              0                    0                                        0                                           0
Mr Michael Lawton Harrington     South                            PO Box 188                      MILANG SA 5256                                                                 AUS        5256                              50,000                              0                    0                                        0                                           0
Mr John Charles Finnis &         Mrs Glenys Jan Boyanton          <Smith St Acc Ser SF No1 A/C>   PO Box 1046                  NARACOORTE SA 5271                                AUS        5271                             100,000                              0                    0                                        0                                           0
Mr Gilbert Graham Agnew &        Mrs Valerie Dianne Agnew         19 Ramsay Avenue                MOUNT GAMBIER SA 5290                                                          AUS        5290                               7,500                              0                    0                                        0                                           0
Mr Robin Yeats Ellerman &        Mrs Mary Ellerman                <Ellerman Super Fund A/C>       PO Box 37                    MOUNT GAMBIER SA 5290                             AUS        5290                              30,000                              0                    0                                        0                                           0
Mr Robin Yeats Ellerman &        Mrs Mary Ellerman                <Ellerman Super Fund A/C>       PO Box 37                    MOUNT GAMBIER SA 5290                             AUS        5290                              20,000                              0                    0                                        0                                           0
Mrs Yvonne Margaretha Kobes      PO Box 1741                      MOUNT GAMBIER SA 5290                                                                                          AUS        5290                             200,000                              0                    0                                        0                                           0
Hammond Financial Pty Ltd        <Hammond Family S/F A/C>         PO Box 9934                     MOUNT GAMBIER WEST SA 5291                                                     AUS        5291                             300,000                              0                    0                                        0                                           0
Mr Gregory Eric Schubert         PO Box 79                        STOCKWELL SA 5355                                                                                              AUS        5355                              15,000                              0                    0                                        0                                           0
Calidan Pty Ltd                  <Calidan A/C>                    PO Box 159                      ROSEWORTHY SA 5371                                                             AUS        5371                               9,000                              0                    0                                        0                                           0




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                                                                                                           Common Class Shareholders - Exhibit A to Equity Security Holders

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                                                                                                                                                                                                                                           Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                   Name/Address 3                  Name/Address 4                Name/Address 5            Name/Address 6          Domicile   Postcode   Fully Paid Ordinary Shares         Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Graeme Robert Barry &         Mrs Janette Dawn Barry           PO Box 135                      ORROROO SA 5431                                                                 AUS        5431                              30,000                               0                    0                                        0                                           0
Mr Cameron Paul March            PO Box 177                       KADINA SA 5554                                                                                                  AUS        5554                              10,648                               0                    0                                        0                                           0
Mr Paul Newton March &           Ms Merilyn Dawn March            PO Box 177                      KADINA SA 5554                                                                  AUS        5554                              22,000                               0                    0                                        0                                           0
Ms Judith Anne Haydon            13A Deer Court                   WALLAROO SA 5556                                                                                                AUS        5556                             182,000                               0                    0                                        0                                           0
Est Mr Michael Howard Archer     PO Box 201                       YORKETOWN SA 5576                                                                                               AUS        5576                              21,000                               0                    0                                        0                                           0
Rm & KJ Denton Superannuation    Fund                             Rm & KJ Denton Superannuation   <A/C>                         3 Wandana Place           TUMBY BAY SA 5605       AUS        5605                               6,000                               0                    0                                        0                                           0
Mrs Paula Ellen Blatchford       Mr Michael John Blatchford &     <Blatchford Family A/C>         3 Martin Court                WHYALLA STUART SA 5608                            AUS        5608                               7,000                               0                    0                                        0                                           0
Mr Richard Parsons               PO Box 105                       KIMBA SA 5641                                                                                                   AUS        5641                               3,360                               0                    0                                        0                                           0
Mr Phillip Roland Whiting        PO Box 54                        PORT AUGUSTA SA 5700                                                                                            AUS        5700                               3,000                               0                    0                                        0                                           0
Mr Mark Robert Dillon            27 Valley Street                 WEST HOBART TAS 7000                                                                                            AUS        7000                              40,000                               0                    0                                        0                                           0
Mr Rodney Michael Watson &       Mrs Anna Maree Watson            PO Box 511                      NORTH HOBART TAS 7002                                                           AUS        7002                              50,000                               0                    0                                        0                                           0
Est Mr Robert Budzul             Unit 4                           23 Albuera Street               BATTERY POINT TAS 7004                                                          AUS        7004                               3,900                               0                    0                                        0                                           0
Ms Tamzin Peta Hookway           451 Churchill Avenue             SANDY BAY TAS 7005                                                                                              AUS        7005                              47,727                               0                    0                                        0                                           0
Dr Peter Julian Sayers &         Mrs Lyn Elizabeth Sayers         <P J & L E Sayers Super A/C>    PO Box 378                    SANDY BAY TAS 7006                                AUS        7006                              40,000                               0                    0                                        0                                           0
Mr Rong Fan & Ms Wanlu Gou       <The Fan Family SF A/C>          Unit 2                          36B Augusta Rd                NEW TOWN TAS 7008                                 AUS        7008                            7,350,000                              0                    0                                        0                                           0
Mr Mark Allan Hepworth           34 Eleventh Avenue               WEST MOONAH TAS 7009                                                                                            AUS        7009                               2,400                               0                    0                                        0                                           0
Mr Craig Michael Wood            44 Windsor Street                GLENORCHY TAS 7010                                                                                              AUS        7010                              70,000                               0                    0                                        0                                           0
Miss Shuang Liang                8 Balamara Street                BELLERIVE TAS 7018                                                                                              AUS        7018                            2,620,760                              0                    0                                        0                                           0
Mr Peter Laurence Hardinge &     Mrs Kathryn Elizabeth Hardinge   1 Allender Court                OAKDOWNS TAS 7019                                                               AUS        7019                              23,000                               0                    0                                        0                                           0
Mr Duncan McDermott Hine         441 Pelverata Road               KAOOTA TAS 7150                                                                                                 AUS        7150                               7,500                               0                    0                                        0                                           0
Mrs Vicki Jane Bazan             8 Tabor Road                     ACTON PARK TAS 7170                                                                                             AUS        7170                              15,500                               0                    0                                        0                                           0
Mr Raj Kumar Acharya             PO Box 10                        COLES BAY TAS 7215                                                                                              AUS        7215                              79,104                               0                    0                                        0                                           0
Mr Robert John Evans             16 Tasman Highway                BICHENO TAS 7215                                                                                                AUS        7215                               8,000                               0                    0                                        0                                           0
Mr Michael Charles Ravenshaw     Brodie &                         Ms Margaret Caroline Brodie     <Michael Brodie Family A/C>   PO Box 8068               TREVALLYN TAS 7250      AUS        7250                             100,000                               0                    0                                        0                                           0
Chenoa Pty Ltd                   <Chenoa Family A/C>              PO Box 432                      NEWSTEAD TAS 7250                                                               AUS        7250                             180,000                               0                    0                                        0                                           0
Mr Robert Edward Innes           9 Denway Grove                   NORWOOD TAS 7250                                                                                                AUS        7250                             150,000                               0                    0                                        0                                           0
Miss Prue Sutton &               Dr Robert Charles Barbour        <Barbour & Sutton Super A/C>    43 Gorge Rd                   TREVALLYN TAS 7250                                AUS        7250                             803,563                               0                    0                                        0                                           0
Mr Wesley Sulzberger             39 Tanner Dr                     LEGANA TAS 7277                                                                                                 AUS        7277                               1,500                               0                    0                                        0                                           0
Ms Jacqueline Faye Merrett       66 William Street                WESTBURY TAS 7303                                                                                               AUS        7303                               6,000                               0                    0                                        0                                           0
Mr Ian Raymond Huett             PO Box 21                        DELORAINE TAS 7304                                                                                              AUS        7304                             114,846                               0                    0                                        0                                           0
Mr Ian Robert Kerr               192 Wilmot Street                PORT SORELL TAS 7307                                                                                            AUS        7307                               7,000                               0                    0                                        0                                           0
No Gnome Loans Pty Ltd           13 Eugene St                     DEVONPORT TAS 7310                                                                                              AUS        7310                                     2                             0                    0                                        0                                           0
Mr Kelvin Bowers                 6 Archer St                      ULVERSTONE TAS 7315                                                                                             AUS        7315                               4,800                               0                    0                                        0                                           0
Mrs Mindy-Ann King               <C&M King Retirement Fund A/C>   PO Box 703                      ULVERSTONE TAS 7315                                                             AUS        7315                               9,500                               0                    0                                        0                                           0
Mr Timothy Graham Sykes &        Mrs Rachael Tamara Sykes         PO Box 264                      PENGUIN TAS 7316                                                                AUS        7316                              30,000                               0                    0                                        0                                           0
Mr Christopher James Weinert &   Mrs Andrea Jayne Weinert         52 Grandview Ave                PARK GROVE TAS 7320                                                             AUS        7320                              14,400                               0                    0                                        0                                           0
Merrill Lynch (Australia)        Nominees Pty Limited             Level 19                        120 Collins Street            MELBOURNE VIC 3000                                AUS        3000                            1,394,333                              0                    0                                        0                                           0
Mr Andrew Pak                    Unit 2406 318 Russell St         MELBOURNE VIC 3000                                                                                              AUS        3000                              10,000                               0                    0                                        0                                           0
J P Morgan Nominees Australia    Pty Limited                      Locked Bag 20049                MELBOURNE VIC 3001                                                              AUS        3001                          55,227,151                               0                    0                                        0                                           0
Penause Pty Ltd                  GPO Box 4147                     MELBOURNE VIC 3001                                                                                              AUS        3001                                     0                             0                    0                                2,000,000                                           0
Keng Chuen Tham                  21/28 Jeffcot Street             WEST MELBOURNE VIC 3003                                                                                         AUS        3003                            3,759,643                              0                    0                                        0                                           0
Mr Phillip John Fox &            Mrs Graziella Bonello-Fox        Unit 1001 35 Albert Road        MELBOURNE VIC 3004                                                              AUS        3004                              20,000                               0                    0                                        0                                           0
GP Levvey Pty Ltd                <GP Levvey Family A/C>           C/- Level 13 Freshwater Place   2 Southbank Bouevard          SOUTHBANK VIC 3006                                AUS        3006                             414,000                               0                    0                                        0                                           0
Mr Gregory Levvey &              Mrs Bronwyn Levvey               <Levvey Super Fund A/C>         Level 13 Freshwater Place     2 Southbank BLVD          SOUTHBANK VIC 3006      AUS        3006                            1,645,000                              0                    0                                        0                                           0
Mrs Alison Williams              U 508 100 Lorimer St             DOCKLANDS VIC 3008                                                                                              AUS        3008                               9,940                               0                    0                                        0                                           0
Mr Ken Quach                     14 Collins Street                SEDDON VIC 3011                                                                                                 AUS        3011                             100,000                               0                    0                                        0                                           0
Mr Luke Michael Robertson        22 Tiernan St                    FOOTSCRAY VIC 3011                                                                                              AUS        3011                               3,800                               0                    0                                        0                                           0
Mr Khai Hao Truong               106 Ballarat Road                FOOTSCRAY VIC 3011                                                                                              AUS        3011                                    100                            0                    0                                        0                                           0
Mr Brendan Terence Fahy          118 North Road                   NEWPORT VIC 3015                                                                                                AUS        3015                              10,000                               0                    0                                        0                                           0
Mr Paul Stebbing                 <Stebbing Super Fund A/C>        15 Waterfront Place             WILLIAMSTOWN VIC 3016                                                           AUS        3016                              67,735                               0                    0                                        0                                           0
Terstan Nominees Pty Ltd         <Morrows P/L Super Fund A/C>     59 Morris Street                WILLIAMSTOWN VIC 3016                                                           AUS        3016                            6,782,477                              0                    0                                        0                                           0
Elsad Nominees Pty Ltd           <The Loukides Family A/C>        111 Esplanade                   ALTONA VIC 3018                                                                 AUS        3018                              20,000                               0                    0                                        0                                           0
Jezza-Belles Pty Ltd             PO Box 471                       ALTONA VIC 3018                                                                                                 AUS        3018                              20,000                               0                    0                                        0                                           0
Mr Kevin John Boers              55 Clayton Street                SUNSHINE NORTH VIC 3020                                                                                         AUS        3020                              19,518                               0                    0                                        0                                           0
Mr Kevin John Boers &            Ms Annette Marie Vickery         <ANYETA26 Super Fund A/C>       55 Clayton Street             SUNSHINE NORTH VIC 3020                           AUS        3020                             100,000                               0                    0                                        0                                           0
Mr Dinh Thien Tran &             Mrs My Huy Lam Tran              <Lam & Tran S Family A/C>       Unit 5                        111-113 Taylors Road      ST ALBANS VIC 3021      AUS        3021                             500,000                               0                    0                                        0                                           0
Ms Thanh Ngoc Tran               Unit 5                           111-113 Taylors Road            ST ALBANS VIC 3021                                                              AUS        3021                             345,000                               0                    0                                        0                                           0
Ms Jeanette Squillacioti         16 Melview Drive                 WYNDHAM VALE VIC 3024                                                                                           AUS        3024                              10,000                               0                    0                                        0                                           0
Mr John Sultana                  <Thomas John Sultana A/C>        65 Knightsbridge Avenue         ALTONA MEADOWS VIC 3028                                                         AUS        3028                             100,000                               0                    0                                        0                                           0
Granborough Pty Ltd              <Aj & J King S/F A/C>            8 Tucker Court                  HOPPERS CROSSING VIC 3029                                                       AUS        3029                            3,000,000                              0                    0                                        0                                           0
Mr Edwin Mugi Kabuga             4 Sinclair Crescent              TARNEIT VIC 3029                                                                                                AUS        3029                              13,000                               0                    0                                        0                                           0
Mr Brandon William Leckie        9 Hunter Ave                     HOPPERS CROSSING VIC 3029                                                                                       AUS        3029                              10,000                               0                    0                                        0                                           0
Mr Ernesto Ricci                 71 Bellbridge Dr                 HOPPERS CROSSING VIC 3029                                                                                       AUS        3029                              25,000                               0                    0                                        0                                           0
Mr Pavel Sluka                   23 Clearwater Rise Pde           TRUGANINA VIC 3029                                                                                              AUS        3029                               4,000                               0                    0                                        0                                           0
Mrs Isabelle Birds               35 Arrowgrass Drive              POINT COOK VIC 3030                                                                                             AUS        3030                               8,533                               0                    0                                        0                                           0
Mr Hoo Ward Ng                   35 Middle Park Drive             POINT COOK VIC 3030                                                                                             AUS        3030                              19,999                               0                    0                                        0                                           0
Mrs Alison Mary Singh            276 Sanctuary Lakes South BVD    POINT COOK VIC 3030                                                                                             AUS        3030                              10,000                               0                    0                                        0                                           0
Mr David Simmens                 Unit 4 17 Glance St              FLEMINGTON VIC 3031                                                                                             AUS        3031                              34,482                               0                    0                                        0                                           0
Mr Subramaniam Sreenivasan       205 Stockmans Way                KENSINGTON VIC 3031                                                                                             AUS        3031                              25,000                               0                    0                                        0                                           0
Mr Shaun Timothy Gregory         31 Clarks Road                   KEILOR EAST VIC 3033                                                                                            AUS        3033                              19,000                               0                    0                                        0                                           0
Mrs Kathryn Alicia Hofman        6 Maurice Court                  KEILOR EAST VIC 3033                                                                                            AUS        3033                              20,000                               0                    0                                        0                                           0
Mr John Crawford                 3 Taggerty Court                 KEILOR VIC 3036                                                                                                 AUS        3036                               5,000                               0                    0                                        0                                           0
Lockwood Superannuation Fund     Pty Ltd                          <Lockwood Super Fund A/C>       10 Wyperfeld Avenue           TAYLORS LAKES VIC 3038                            AUS        3038                             297,275                               0                    0                                        0                                           0
Mr John David Tennant            Unit 132                         800 Kings Road                  TAYLORS LAKES VIC 3038                                                          AUS        3038                              30,000                               0                    0                                        0                                           0
Mrs Noela Mary Tennant           Unit 132                         800 Kings Road                  TAYLORS LAKES VIC 3038                                                          AUS        3038                             250,000                               0                    0                                        0                                           0
Jansam Pty Ltd                   <The Thomson Super Fund A/C>     25 Ardmillan Road               MOONEE PONDS VIC 3039                                                           AUS        3039                             100,000                               0                    0                                        0                                           0
10Q Capital Pty Ltd              <Faggianelli Family A/C>         10 Kiora Street                 ESSENDON VIC 3040                                                               AUS        3040                                     1                             0                    0                                        0                                           0
Mr Adam John Arkinstall &        Mr Ian John Arkinstall           <Aj Arkinstall Superfund A/C>   32 Ardoch Street              ESSENDON VIC 3040                                 AUS        3040                              75,000                               0                    0                                        0                                           0
Mrs Katie Maree                  Panagiotopoulos                  15 Clarinda Rd                  ESSENDON VIC 3040                                                               AUS        3040                              19,000                               0                    0                                        0                                           0
Primo Nominees Pty Ltd           21 Kalimna Street                ESSENDON VIC 3040                                                                                               AUS        3040                             100,000                               0                    0                                        0                                           0
Mr Blake John Ballard            4 Streldon Ave                   STRATHMORE VIC 3041                                                                                             AUS        3041                              20,000                               0                    0                                        0                                           0
Mr Merrick Ian Abraham           83 King Street                   AIRPORT WEST VIC 3042                                                                                           AUS        3042                              15,000                               0                    0                                        0                                           0
Mr Evan Antony Appathurai        6/246 Cumberland Road            PASCOE VALE VIC 3044                                                                                            AUS        3044                               3,125                               0                    0                                        0                                           0
Mr Michael Nguyen                4 Somali Street                  PASCOE VALE SOUTH VIC 3044                                                                                      AUS        3044                              80,000                               0                    0                                        0                                           0
Supaspark Pty Ltd                <Kraps Family Super Fund A/C>    367 O'Hea Street                PASCOE VALE SOUTH VIC 3044                                                      AUS        3044                              78,000                               0                    0                                        0                                           0
Mr Paul Anton Bolte              38 New Rd                        OAK PARK VIC 3046                                                                                               AUS        3046                              10,000                               0                    0                                        0                                           0
Mr Albert Bucchieri              132 East Street                  GLENROY VIC 3046                                                                                                AUS        3046                               8,000                               0                    0                                        0                                           0




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                                                                                                         Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                          Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                           Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                   Name/Address 3                   Name/Address 4               Name/Address 5             Name/Address 6          Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Jim Nickson &                 Mrs Kim Thanh Phu                Unit 1                           231 Peel Street              NORTH MELBOURNE VIC 3051                           AUS        3051                              20,000                              0                    0                                        0                                           0
Albany Pty Ltd                   PO Box 4022                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    17                            0                    0                                        0                                           0
Benson Family Pty Ltd            PO Box 4022                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    17                            0                    0                                        0                                           0
Bolkonsky Holdings Pty Ltd       PO Box 4022                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    17                            0                    0                                        0                                           0
BZP Nominees Pty Ltd             PO Box 4022                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    17                            0                    0                                        0                                           0
Cap Dat Fin Analysis Pty Ltd     PO Box 4022                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    17                            0                    0                                        0                                           0
CHSH Pty Ltd                     PO Box 4024                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    17                            0                    0                                        0                                           0
Clendon Capital Pty Ltd          PO Box 4022                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    17                            0                    0                                        0                                           0
Reumah Investments Pty Ltd       PO Box 4022                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    20                            0                    0                                        0                                           0
White Trading Pty Ltd            PO Box 4022                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    21                            0                    0                                        0                                           0
Wong Partners Pty Ltd            PO Box 4022                      MELBOURNE UNIVERSITY VIC 3052                                                                                    AUS        3052                                    17                            0                    0                                        0                                           0
Mr Joel Yongjian Huang           Unit 7 116 Albert St             BRUNSWICK VIC 3056                                                                                               AUS        3056                              17,000                              0                    0                                        0                                           0
Mr Angelo Vicendese              Unit 3008 187 Weston Street      BRUNSWICK EAST VIC 3057                                                                                          AUS        3057                             165,000                              0                    0                                        0                                           0
Blaak Pty Ltd                    12 Portland St                   COBURG VIC 3058                                                                                                  AUS        3058                             153,495                              0                    0                                        0                                           0
Bonclyde Pty Ltd                 <A V Super Fund A/C>             38 Saunders Street               COBURG VIC 3058                                                                 AUS        3058                             400,000                              0                    0                                        0                                           0
Mr Alan Hector Anthony De        Menezes                          <The De Menezes Family A/C>      15 Piccadilly Court          GREENVALE VIC 3059                                 AUS        3059                              20,000                              0                    0                                        0                                           0
Mr Martin Shorland &             Mrs Bruni Shorland               <Shorland Super Fund A/C>        PO Box 140                   FITZROY VIC 3065                                   AUS        3065                             500,000                              0                    0                                        0                                           0
Mr Chase Michael Devereaux       30 Miller St                     FITZROY NORTH VIC 3068                                                                                           AUS        3068                              20,000                              0                    0                                        0                                           0
Mr Jamie Stuart Lowe             20 Hilton St                     CLIFTON HILL VIC 3068                                                                                            AUS        3068                              20,000                              0                    0                                        0                                           0
Mr John Mavrias                  <John Mavrias Super Fund A/C>    132 Byrne Street                 FITZROY NORTH VIC 3068                                                          AUS        3068                              40,000                              0                    0                                        0                                           0
Mr Zachary David Morgan          6/37 Yambla Street               CLIFTON HILL VIC 3068                                                                                            AUS        3068                               7,500                              0                    0                                        0                                           0
Mr Mark Andrew Plackett          29 Heidelberg Road               CLIFTON HILL VIC 3068                                                                                            AUS        3068                               1,000                              0                    0                                        0                                           0
Mr Ali Chaudhry                  38 Clifton Street                NORTHCOTE VIC 3070                                                                                               AUS        3070                               7,692                              0                    0                                        0                                           0
Mr Graham John Jones             1 Burt Street                    NORTHCOTE VIC 3070                                                                                               AUS        3070                              40,000                              0                    0                                        0                                           0
Mrs Sarah Louise Keays           402/550 High St                  NORTHCOTE VIC 3070                                                                                               AUS        3070                               3,700                              0                    0                                        0                                           0
Mr Lachlan Macnish               Unit 1                           2 Bank Street                    NORTHCOTE VIC 3070                                                              AUS        3070                               3,847                              0                    0                                        0                                           0
Mr Giovanni Spagnolo             <Marcus Deluca A/C>              13 Emmaline Street               NORTHCOTE VIC 3070                                                              AUS        3070                                    4                             0                    0                                        0                                           0
Mr Aleksander Zlatkovic          66 Rennie Street                 THORNBURY VIC 3071                                                                                               AUS        3071                              92,500                              0                    0                                        0                                           0
Mr Silvio D'Aloia                2 Edgar Street                   RESERVOIR VIC 3073                                                                                               AUS        3073                             136,032                              0                    0                                        0                                           0
Mrs Ying D'Aloia                 2 Edgar Street                   RESERVOIR VIC 3073                                                                                               AUS        3073                              43,968                              0                    0                                        0                                           0
Mr Reynier Garcia                11 Manus Court                   LALOR VIC 3075                                                                                                   AUS        3075                               5,100                              0                    0                                        0                                           0
Mr Ross Cundari &                Mrs Wendy Janyne Cundari         <R & W Cundari Super Fund A/C>   5 Lambeth Court              EPPING VIC 3076                                    AUS        3076                              75,000                              0                    0                                        0                                           0
Mrs Ying Kang                    Unit 1 46 Montgomery St          HEIDELBERG HEIGHTS VIC 3081                                                                                      AUS        3081                              40,000                              0                    0                                        0                                           0
Mr Gregory Kenneth Hibbert       Unit 2 358 Lower Plenty Rd       VIEWBANK VIC 3084                                                                                                AUS        3084                               5,000                              0                    0                                        0                                           0
Montgomery Bond Pty Ltd          <Ls Conlan Super Fund A/C>       48 Station Road                  ROSANNA VIC 3084                                                                AUS        3084                             260,000                              0                    0                                        0                                           0
Mr Hamish Alexander Rhodes       7 Havilah Court                  VIEWBANK VIC 3084                                                                                                AUS        3084                               4,000                              0                    0                                        0                                           0
Mr Upali Perera                  9 Castlereagh Place              WATSONIA VIC 3087                                                                                                AUS        3087                              30,000                              0                    0                                        0                                           0
Mr Matthias Wobbe                30 Crellin Cres                  WATSONIA VIC 3087                                                                                                AUS        3087                               1,947                              0                    0                                        0                                           0
Mrs Carmel Diliberto &           Mr John Diliberto                2 Viola Close                    GREENSBOROUGH VIC 3088                                                          AUS        3088                               9,200                              0                    0                                        0                                           0
Mr Johnny Di Liberto             2 Viola Close                    GREENSBOROUGH VIC 3088                                                                                           AUS        3088                               4,200                              0                    0                                        0                                           0
Mr Ioannis Racovalis &           Mrs Vicky Racovalis              <Racovalis Super Fund A/C>       2 Plantago Court             GREENSBOROUGH VIC 3088                             AUS        3088                             850,000                              0                    0                                        0                                           0
Mr Franco Fiorenza               Unit 2 35 Panorama Ave           LOWER PLENTY VIC 3093                                                                                            AUS        3093                               3,000                              0                    0                                        0                                           0
Gagandwok Pty Ltd                <Goodway Retreads P/L S/F AC>    32 Brenda Road                   RESEARCH VIC 3095                                                               AUS        3095                             218,175                              0                    0                                        0                                           0
Mr Adrian Boon Leong Soh         68 Frank Street                  ELTHAM VIC 3095                                                                                                  AUS        3095                               5,000                              0                    0                                        0                                           0
Steffen Pty Ltd                  <Steffen Super Fund A/C>         14 Opal Court                    ELTHAM VIC 3095                                                                 AUS        3095                              40,000                              0                    0                                        0                                           0
Archmedia Pty Ltd                <B & P O'Connor S/F A/C>         259 Barkers Road                 KEW VIC 3101                                                                    AUS        3101                              20,000                              0                    0                                        0                                           0
Beniac-Brooks Super Fund Pty     Ltd                              <Beniac-Brooks S/F A/C>          PO Box 2045                  KEW VIC 3101                                       AUS        3101                             150,000                              0                    0                                        0                                           0
Mr John Anthony Olver            Suite 219                        16 Cotham Road                   KEW VIC 3101                                                                    AUS        3101                             100,100                              0                    0                                        0                                           0
Mr Siak Seng Quah &              Ms Bee Lee Tan                   <Qt S/F A/C>                     22 Linckens Crescent         BALWYN VIC 3103                                    AUS        3103                              65,000                              0                    0                                        0                                           0
Timmatt Pty Ltd                  <Stuckey S/F A/C>                PO Box 106                       BALWYN VIC 3103                                                                 AUS        3103                              10,000                              0                    0                                        0                                           0
Mr Norman Frederick Brown        2 June Avenue                    BALWYN NORTH VIC 3104                                                                                            AUS        3104                              15,000                              0                    0                                        0                                           0
Mr Gijsbert Chow                 41 Ray Drive                     BALWYN NORTH VIC 3104                                                                                            AUS        3104                               7,407                              0                    0                                        0                                           0
Mr Ugo Fanizza                   36 Gardenia Road                 BALWYN NORTH VIC 3104                                                                                            AUS        3104                              30,000                              0                    0                                        0                                           0
Mr Michael Kyriakopoulos &       Mrs Sophie Kyriakopoulos         12 Penderel Way                  BULLEEN VIC 3105                                                                AUS        3105                             500,000                              0                    0                                        0                                           0
Blackwood Grace Pty Ltd          <Specialty Chickens Pl SF A/C>   111 Websters Road                TEMPLESTOWE VIC 3106                                                            AUS        3106                             142,800                              0                    0                                        0                                           0
Mrs Stephanie Holman             <A & S Holman Unit A/C>          7 Milner Close                   TEMPLESTOWE VIC 3106                                                            AUS        3106                            1,200,000                             0                    0                                        0                                           0
John Holman Investments          Pty Ltd                          <John Holman Invest S/F A/C>     33 McDonald Avenue           TEMPLESTOWE VIC 3106                               AUS        3106                             275,000                              0                    0                                        0                                           0
Ms Yinghui Lu                    7 Winifred Court                 TEMPLESTOWE VIC 3106                                                                                             AUS        3106                                    12                            0                    0                                        0                                           0
Micknlea Pty Ltd                 <Micknlea Super Fund A/C>        PO Box 903                       TEMPLESTOWE VIC 3106                                                            AUS        3106                             125,000                              0                    0                                        0                                           0
Mr Peter Arthur Pezos            287 Church Road                  TEMPLESTOWE VIC 3106                                                                                             AUS        3106                              60,000                              0                    0                                        0                                           0
Mrs Beverley Ball                <Ball Resources Super A/C>       9 Maverick Close                 DONCASTER VIC 3108                                                              AUS        3108                             180,000                              0                    0                                        0                                           0
Miss Ting Xiao He                Unit 17 413 Doncaster Road       DONCASTER VIC 3108                                                                                               AUS        3108                              10,000                              0                    0                                        0                                           0
Ms Wai Leng Chek &               Mr Jason Marriott                <Lifechek Superfund A/C>         257 Andersons Creek Road     DONCASTER EAST VIC 3109                            AUS        3109                              40,000                              0                    0                                        0                                           0
Mr Myles Connell &               Mrs Dunia Connell                <Nca Superannuation Fund A/C>    13 Oran Court                DONCASTER EAST VIC 3109                            AUS        3109                             250,000                              0                    0                                        0                                           0
Mr Daniel Paul Martin &          Mrs Suzanne Jane Martin          54 Owens Street                  DONCASTER EAST VIC 3109                                                         AUS        3109                              20,000                              0                    0                                        0                                           0
Mr Mark Allen                    37 Florence Avenue               DONVALE VIC 3111                                                                                                 AUS        3111                              25,000                              0                    0                                        0                                           0
Mr Cosimo Interno &              Mrs Sandra Joy Merrett-Interno   11 Kevin Court                   DONVALE VIC 3111                                                                AUS        3111                              30,000                              0                    0                                        0                                           0
Mrs Sandra Joy Merrett-Interno   11 Kevin Court                   DONVALE VIC 3111                                                                                                 AUS        3111                               6,000                              0                    0                                        0                                           0
Ms Nina Apollonov                PO Box 93                        RICHMOND VIC 3121                                                                                                AUS        3121                              10,000                              0                    0                                        0                                           0
Mrs Lisa Jane Lockwood           <Nicholas James Lockwood A/C>    353 Highett Street               RICHMOND VIC 3121                                                               AUS        3121                              50,000                              0                    0                                        0                                           0
Ms Sarah Courtney Lockwood       353 Highett Street               RICHMOND VIC 3121                                                                                                AUS        3121                              50,000                              0                    0                                        0                                           0
Mr Graham Robert Reid            <Reid Super Fund Account>        65 Docker Street                 RICHMOND VIC 3121                                                               AUS        3121                              50,200                              0                    0                                        0                                           0
Mr Graham Robert Reid            65 Docker Street                 RICHMOND VIC 3121                                                                                                AUS        3121                              24,030                              0                    0                                        0                                           0
Mr Andrew John Slawinski         27 Charles Street                RICHMOND VIC 3121                                                                                                AUS        3121                              30,000                              0                    0                                        0                                           0
Mr David John Young              46 Balmain Street                CREMORNE VIC 3121                                                                                                AUS        3121                              20,000                              0                    0                                        0                                           0
Mrs Sally Elizabeth Kelaher      14 Yarra Street                  HAWTHORN VIC 3122                                                                                                AUS        3122                             120,000                              0                    0                                        0                                           0
Ms Judith Anne Lewis             404/862 Glenferrie Rd            HAWTHORN VIC 3122                                                                                                AUS        3122                              40,000                              0                    0                                        0                                           0
Ojet Pty Ltd                     <Tusa Super Fund A/C>            PO Box 881                       HAWTHORN VIC 3122                                                               AUS        3122                              40,000                              0                    0                                        0                                           0
Mr Matthew Stephen Craig         Targett                          36 Coppin Grove                  HAWTHORN VIC 3122                                                               AUS        3122                              15,384                              0                    0                                        0                                           0
Mr Bruce Anthony Curtis          32 Auburn Parade                 HAWTHORN EAST VIC 3123                                                                                           AUS        3123                              40,000                              0                    0                                        0                                           0
Mr Sebastiano Formica &          Mrs Lucia Formica                <Formica Super Fund A/C>         PO Box 3123                  AUBURN VIC 3123                                    AUS        3123                               6,000                              0                    0                                        0                                           0
Pennfield Pty Ltd                <Ansaldi Super Fund A/C>         62 Fletcher Street               HAWTHORN EAST VIC 3123                                                          AUS        3123                             240,000                              0                    0                                        0                                           0
Mr You Lik Chieng                36 Glen Iris Rd                  CAMBERWELL VIC 3124                                                                                              AUS        3124                             300,000                              0                    0                                        0                                           0
Mrs Mary-Louise Hay              <Sumont A/C>                     PO Box 4300                      MIDDLE CAMBERWELL VIC 3124                                                      AUS        3124                             265,000                              0                    0                                        0                                           0
Mrs Mary-Louise Hay              <Sumont A/C>                     PO Box 4300                      MIDDLE CAMBERWELL VIC 3124                                                      AUS        3124                              70,000                              0                    0                                        0                                           0
Mr Bruce Honey                   7 Crown Avenue                   CAMBERWELL VIC 3124                                                                                              AUS        3124                             100,000                              0                    0                                        0                                           0
Pilkena Pty Ltd                  591 Riversdale Road              CAMBERWELL VIC 3124                                                                                              AUS        3124                             120,000                              0                    0                                        0                                           0




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                                                                                                            Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                             Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                              Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                   Name/Address 3                  Name/Address 4                 Name/Address 5            Name/Address 6            Domicile   Postcode   Fully Paid Ordinary Shares         Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Romanis Cant Services Pty Ltd    <Subcast No 2 Super Fund A/C>    7 Crellin Grove                 CAMBERWELL VIC 3124                                                                AUS        3124                             120,000                               0                    0                                        0                                           0
Ms Kerrie Lee Clayton            98 Somers Street                 BURWOOD VIC 3125                                                                                                   AUS        3125                             100,000                               0                    0                                        0                                           0
Mr Geoffrey Ronald Tabe          33 The Ridge                     CANTERBURY VIC 3126                                                                                                AUS        3126                              10,000                               0                    0                                        0                                           0
GMW Holdings Pty Ltd             <G & M Wilson Family A/C>        12 Marlborough Street           MONT ALBERT VIC 3127                                                               AUS        3127                                    20                             0                    0                                        0                                           0
Mr Frans Herjanto                10 Ross St                       SURREY HILLS VIC 3127                                                                                              AUS        3127                             140,000                               0                    0                                        0                                           0
Mrs Julie Clarke Vango &         Mr William Malcolm Vango         43 Park Road                    SURREY HILLS VIC 3127                                                              AUS        3127                              45,454                               0                    0                                        0                                           0
Mrs Maria Wilson                 12 Marlborough Street            MONT ALBERT VIC 3127                                                                                               AUS        3127                                    20                             0                    0                                        0                                           0
Mr Jeffrey Steven Hall           Unit 2                           48 Foch Street                  BOX HILL SOUTH VIC 3128                                                            AUS        3128                             200,000                               0                    0                                        0                                           0
Mr James William                 Foster-Johnson &                 Mrs Helen Foster-Johnson        <Sutton Park Future S/F A/C>   3 Sutton Parade           BOX HILL NORTH VIC 3129   AUS        3129                             100,000                               0                    0                                        0                                           0
Mrs Jean Roper                   229 Dorking Road                 BOX HILL NORTH VIC 3129                                                                                            AUS        3129                              12,000                               0                    0                                        0                                           0
Mrs Suzanna Bowman               36 South Pde                     BLACKBURN VIC 3130                                                                                                 AUS        3130                               7,000                               0                    0                                        0                                           0
Mr David William Richardson      30 Bermuda Drive                 BLACKBURN SOUTH VIC 3130                                                                                           AUS        3130                              60,000                               0                    0                                        0                                           0
Mr Dmitry Gamayunov &            Mrs Ina Gamayunov                <Ramid Superannuation A/C>      C/- Super Concepts             Locked Bag 2008           FOREST HILL VIC 3131      AUS        3131                             196,078                               0                    0                                        0                                           0
Rz Consulting Group Pty Ltd      <Rz Family A/C>                  32 High Street                  NUNAWADING VIC 3131                                                                AUS        3131                              50,000                               0                    0                                        0                                           0
Mr Burhan Sia                    14 Luckie Street                 NUNAWADING VIC 3131                                                                                                AUS        3131                              20,000                               0                    0                                        0                                           0
Mr David Moore                   8 McGhee Avenue                  MITCHAM VIC 3132                                                                                                   AUS        3132                                    14                             0                    0                                        0                                           0
Abrir Pty Ltd                    <Lucas Super Fund A/C>           628 Canterbury Road             VERMONT VIC 3133                                                                   AUS        3133                             250,000                               0                    0                                        0                                           0
Mr Fernando Costa-Pinto &        Mrs Selena Costa-Pinto           5 Elonara Road                  VERMONT SOUTH VIC 3133                                                             AUS        3133                              10,000                               0                    0                                        0                                           0
Mr Chee Cheong Low               1 Minerva Crescent               VERMONT SOUTH VIC 3133                                                                                             AUS        3133                              10,000                               0                    0                                        0                                           0
Mrs Pian Pian Ngiau              28 Gibbon Avenue                 VERMONT SOUTH VIC 3133                                                                                             AUS        3133                              50,000                               0                    0                                        0                                           0
Mrs Tanya Ellard                 Unit 3 44 Warranwood Road        WARRANWOOD VIC 3134                                                                                                AUS        3134                              47,869                               0                    0                                        0                                           0
Let's Talk Marketing Pty Ltd     <Sillett Super Fund A/C>         Level 1                         79-83 Maroondah Hwy            RINGWOOD VIC 3134                                   AUS        3134                              25,000                               0                    0                                        0                                           0
S F P Superannuation Pty Ltd     <S & F Pellegrino Fam S/F A/C>   281 Maroondah Highway           RINGWOOD VIC 3134                                                                  AUS        3134                             740,000                               0                    0                                        0                                           0
Mr Jonathan Frederick Croft      1 Kemps Street                   RINGWOOD EAST VIC 3135                                                                                             AUS        3135                              11,000                               0                    0                                        0                                           0
Mr Roger Phillip Henderson       20 Andrew Cres                   CROYDON SOUTH VIC 3136                                                                                             AUS        3136                              25,000                               0                    0                                        0                                           0
Mr Damian Rio                    10 Yolanda Court                 KILSYTH VIC 3137                                                                                                   AUS        3137                               7,000                               0                    0                                        0                                           0
Mr Joseph Rio                    10 Yolanda Court                 KILSYTH VIC 3137                                                                                                   AUS        3137                               5,000                               0                    0                                        0                                           0
Mr Mark Patrick Watycha          3 Flinders Court                 KILSYTH VIC 3137                                                                                                   AUS        3137                               7,000                               0                    0                                        0                                           0
Mr Keith Alexander Barnes        Unit 3                           40 Felix Grove                  MOOROOLBARK VIC 3138                                                               AUS        3138                               6,000                               0                    0                                        0                                           0
Hillbrick Investments Pty Ltd    <Hillbrick Super Fund A/C>       9 Greenwood Lane                MOOROOLBARK VIC 3138                                                               AUS        3138                             505,000                               0                    0                                        0                                           0
Mr Richard Michael Nelson        204 Manchester Road              MOOROOLBARK VIC 3138                                                                                               AUS        3138                               4,000                               0                    0                                        0                                           0
Mr James Harper                  7 The Righi                      SOUTH YARRA VIC 3141                                                                                               AUS        3141                              20,000                               0                    0                                        0                                           0
Mr Allan Edward Shaylor          1 Affleck Street                 SOUTH YARRA VIC 3141                                                                                               AUS        3141                              66,194                               0                    0                                        0                                           0
Dr Andrew Wilks &                Dr Mary Saleh                    <Wilks Super Fund A/C>          6 Macfarlan Lane               SOUTH YARRA VIC 3141                                AUS        3141                              17,850                               0                    0                                        0                                           0
Mr Samuel Ross Marks             C/- Stephen G Marks              PO Box 337                      TOORAK VIC 3142                                                                    AUS        3142                              25,000                               0                    0                                        0                                           0
Mr Timothy Collett               43 Densham Road                  ARMADALE VIC 3143                                                                                                  AUS        3143                             500,000                               0                    0                                        0                                           0
Mr Antony Geoffrey Edward Spry   <Ef Spry Super Fund A/C>         28 Hampden Road                 ARMADALE VIC 3143                                                                  AUS        3143                             150,000                               0                    0                                        0                                           0
Mr Dion Szer                     24 Thanet Street                 MALVERN VIC 3144                                                                                                   AUS        3144                               4,500                               0                    0                                        0                                           0
Mr Timothy Keys Wilson           38 Elizabeth Street              MALVERN VIC 3144                                                                                                   AUS        3144                              10,900                               0                    0                                        0                                           0
Ms Wendy Ann Black               2 Goode Street                   MALVERN EAST VIC 3145                                                                                              AUS        3145                               5,882                               0                    0                                        0                                           0
Mrs Trish Brettell &             Mr Martin Ashley Brettell        <Brettell Super Fund A/C>       2 Lang Ct                      MALVERN EAST VIC 3145                               AUS        3145                             112,700                               0                    0                                        0                                           0
Mr Graeme William Flatman        5 Manning Road                   MALVERN EAST VIC 3145                                                                                              AUS        3145                              50,000                               0                    0                                        0                                           0
Mr Paul Higginbottom &           Mrs Helena Higginbottom          <Higginbottom Super Fund A/C>   15 Grant Street                MALVERN EAST VIC 3145                               AUS        3145                             500,000                               0                    0                                        0                                           0
Ms Amanda Julie Balla-Kellett    24 Manning Rd                    MALVERN EAST VIC 3145                                                                                              AUS        3145                             100,000                               0                    0                                        0                                           0
Mr David Gordon O'Reilly &       Ms Eugenie O'Reilly              <Super Fund A/C>                2 Manning Road                 MALVERN EAST VIC 3145                               AUS        3145                            5,254,000                              0                    0                                        0                                           0
Mr Domenico De Petro             48 Grant Street                  MALVERN EAST VIC 3145                                                                                              AUS        3145                             392,142                               0                    0                                        0                                           0
Mr David Gordon O'Reilly         2 Manning Road                   MALVERN EAST VIC 3145                                                                                              AUS        3145                            1,850,000                              0                    0                                        0                                           0
Mrs Rosemary Catherine Taylor    30 Clarence Street               MALVERN EAST VIC 3145                                                                                              AUS        3145                               5,000                               0                    0                                        0                                           0
Ms Fiona Dorothy Williams        9 Lithgow Street                 GLEN IRIS VIC 3146                                                                                                 AUS        3146                              10,000                               0                    0                                        0                                           0
P A Shakespeare Investing        Pty Ltd                          21 Marquis Street               ASHBURTON VIC 3147                                                                 AUS        3147                                     1                             0                    0                                        0                                           0
Mrs Michelle Catherine           D'Rozario                        14A Sunderland Ave              ASHBURTON VIC 3147                                                                 AUS        3147                              50,000                               0                    0                                        0                                           0
Miss Soo Yee Beh                 21 Chandler Rd                   GLEN WAVERLEY VIC 3150                                                                                             AUS        3150                             400,000                               0                    0                                        0                                           0
Mrs Rowena Church                20 Sunnybrook Drive              WHEELERS HILL VIC 3150                                                                                             AUS        3150                              50,000                               0                    0                                        0                                           0
Ms Ying Fang                     2 Clematis Street                GLEN WAVERLEY VIC 3150                                                                                             AUS        3150                              55,000                               0                    0                                        0                                           0
Mr Ivan Murray Handasyde         6 Tintern Rise                   GLEN WAVERLEY VIC 3150                                                                                             AUS        3150                              60,000                               0                    0                                        0                                           0
Mr Wei Yeong Ho                  21 Chandler Road                 GLEN WAVERLEY VIC 3150                                                                                             AUS        3150                             400,000                               0                    0                                        0                                           0
Mr Chengzhen How                 17 Swindon Av                    GLEN WAVERLEY VIC 3150                                                                                             AUS        3150                              71,000                               0                    0                                        0                                           0
Mr Russell Charles McIntyre &    Mrs Yvonne Anne McIntyre         19 Guinevere Parade             GLEN WAVERLEY VIC 3150                                                             AUS        3150                               5,555                               0                    0                                        0                                           0
Mrs Gladys Elaine Mudgway        Unit 221 242 Jells Rd            WHEELERS HILL VIC 3150                                                                                             AUS        3150                             250,000                               0                    0                                        0                                           0
Mrs Lynette Ivy Nickell          5 Swan Court                     GLEN WAVERLEY VIC 3150                                                                                             AUS        3150                               6,000                               0                    0                                        0                                           0
Mrs Stephanie Elizabeth          Robbie                           4 Arran Court                   GLEN WAVERLEY VIC 3150                                                             AUS        3150                              20,000                               0                    0                                        0                                           0
Tl & Yb Investments Pty Ltd      <Tlnybn Super Fund A/C>          9 Draper Square                 WHEELERS HILL VIC 3150                                                             AUS        3150                             150,000                               0                    0                                        0                                           0
Mr Toh Kiew Ung                  2 Brynor Crescent                GLEN WAVERLEY VIC 3150                                                                                             AUS        3150                               1,000                               0                    0                                        0                                           0
Navatoe Amber Joe Pty Ltd        <Navatoe Amber Joe S/F A/C>      355 Stud Road                   WANTIRNA SOUTH VIC 3152                                                            AUS        3152                              10,000                               0                    0                                        0                                           0
Mrs Margot Joan Brewer           127 Glenfern Road                UPPER FERNTREE GULLY VIC 3156                                                                                      AUS        3156                               3,500                               0                    0                                        0                                           0
Mr Ian Scott Richards            34 Kelvin Drive                  FERNTREE GULLY VIC 3156                                                                                            AUS        3156                              20,000                               0                    0                                        0                                           0
Ibatin Pty Ltd                   <Wolf Family Super Fund A/C>     318 Alma Road                   CAULFIELD NORTH VIC 3161                                                           AUS        3161                             502,126                               0                    0                                        0                                           0
Seychelles Australia Pty Ltd     41 Orrong Crescent               CAULFIELD NORTH VIC 3161                                                                                           AUS        3161                              94,000                               0                    0                                        0                                           0
Mr Ke Tan                        82 Bambra Rd                     CAULFIELD NORTH VIC 3161                                                                                           AUS        3161                               9,687                               0                    0                                        0                                           0
Ms Maria Paulina Elmera          Kloprogge                        5 Roselea Street                CAULFIELD SOUTH VIC 3162                                                           AUS        3162                             164,500                               0                    0                                        0                                           0
Mr James Michael Gallagher &     Mrs Bernadette Maree Gallagher   <JBG Super Fund A/C>            31 Murrumbeena Road            MURRUMBEENA VIC 3163                                AUS        3163                             403,645                               0                    0                                        0                                           0
Mr Glen William Skelton &        Mr Steven Skelton                <Skelton Super Fund A/C>        3 Ardyne Street                MURRUMBEENA VIC 3163                                AUS        3163                             200,000                               0                    0                                        0                                           0
Mr Mimo John Aloisi &            Mrs Silvana Bruton               <M J Aloisi Super Fund A/C>     6 Florence Street              BENTLEIGH EAST VIC 3165                             AUS        3165                             115,834                               0                    0                                        0                                           0
Mr Kenneth Douglas Battams       23 Hill St                       BENTLEIGH EAST VIC 3165                                                                                            AUS        3165                              32,000                               0                    0                                        0                                           0
Mr Samuel Stamos                 5 Foley Place                    BENTLEIGH EAST VIC 3165                                                                                            AUS        3165                              22,645                               0                    0                                        0                                           0
Mr Moqiang Xu                    398 Huntingdale Road             OAKLEIGH SOUTH VIC 3167                                                                                            AUS        3167                                    110                            0                    0                                        0                                           0
Ms Yafen Zhu                     398 Huntingdale Road             OAKLEIGH SOUTH VIC 3167                                                                                            AUS        3167                                    115                            0                    0                                        0                                           0
Ms Thuy-Linh Gigler              Unit 2                           21 Prince Charles Street        CLAYTON VIC 3168                                                                   AUS        3168                              40,000                               0                    0                                        0                                           0
Mr Eng Hock Ong &                Mrs Chiew Lang Ong               <Ong Super Fund A/C>            22 Leonard Close               CLARINDA VIC 3169                                   AUS        3169                              80,000                               0                    0                                        0                                           0
Mr Troy Joseph Jeffs             PO Box 13                        MULGRAVE VIC 3170                                                                                                  AUS        3170                              49,000                               0                    0                                        0                                           0
Mr Daniel Yap                    5 Nimmo Court                    MULGRAVE VIC 3170                                                                                                  AUS        3170                             567,375                               0                    0                                        0                                           0
Mr Paul Anthony Siegle           <Siegs Super Fund A/C>           49 Howard Road                  DINGLEY VILLAGE VIC 3172                                                           AUS        3172                              14,000                               0                    0                                        0                                           0
Mr Agim Alimi                    <Agita Family A/C>               3 Fox Court                     DANDENONG VIC 3175                                                                 AUS        3175                              10,000                               0                    0                                        0                                           0
Mr Rik William Marchant          27 Homestead Drive               BANGHOLME VIC 3175                                                                                                 AUS        3175                               3,130                               0                    0                                        0                                           0
Mr Yi Wang                       3 Norisha Ct                     DANDENONG NORTH VIC 3175                                                                                           AUS        3175                               3,012                               0                    0                                        0                                           0
Mrs Sheila Mary Bridge           Villa 140                        10 Waterford Park Avenue        KNOXFIELD VIC 3180                                                                 AUS        3180                              11,000                               0                    0                                        0                                           0
Mr Chung Meng Fone               Suite 1-3                        107-111 High Street             PRAHRAN VIC 3181                                                                   AUS        3181                               5,000                               0                    0                                        0                                           0




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                                                                                                            Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                         Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                          Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                   Name/Address 3                   Name/Address 4             Name/Address 5             Name/Address 6          Domicile   Postcode   Fully Paid Ordinary Shares         Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Denzil John Griffiths         <Denzil Griffiths S/F A/C>       PO Box 409                       PRAHRAN VIC 3181                                                              AUS        3181                             325,000                               0                    0                                        0                                           0
Ms Karen Ann Hill                PO Box 409                       PRAHRAN VIC 3181                                                                                               AUS        3181                              80,000                               0                    0                                        0                                           0
Mr Rodney Daryl Cuthbert         49 Robe St                       ST KILDA VIC 3182                                                                                              AUS        3182                             153,846                               0                    0                                        0                                           0
Mr Ross O'Brien &                Mrs Julie Jean O'Brien           <J & R Super Fund A/C>           15 Eildon Road             ST KILDA VIC 3182                                  AUS        3182                             250,000                               0                    0                                        0                                           0
Mr Taras Sobol                   2 Steele Avenue                  ST KILDA VIC 3182                                                                                              AUS        3182                              17,400                               0                    0                                        0                                           0
Mr Douglas Baldwin &             Miss Amanda Williams             4 Kalymna Grove                  ST KILDA EAST VIC 3183                                                        AUS        3183                              10,000                               0                    0                                        0                                           0
Mr Luke Alexander David          1/60 Gourlay St                  BALACLAVA VIC 3183                                                                                             AUS        3183                             105,263                               0                    0                                        0                                           0
Mr Matthew Stephen Allison       Unit 2 321 Barkly St             ELWOOD VIC 3184                                                                                                AUS        3184                               2,264                               0                    0                                        0                                           0
Miss Julia Fay Mary Benoit       35 Downshire Road                ELSTERNWICK VIC 3185                                                                                           AUS        3185                             395,007                               0                    0                                        0                                           0
Mr Christopher Spencer           Burnett                          Unit 5 76 Orrong Rd              ELSTERNWICK VIC 3185                                                          AUS        3185                              18,000                               0                    0                                        0                                           0
Ms Eugenie O'Reilly              35 Downshire Road                ELSTERNWICK VIC 3185                                                                                           AUS        3185                            1,068,000                              0                    0                                        0                                           0
Ms Eugenie O'Reilly              <The Louis Benoit Support A/C>   35 Downshire Road                ELSTERNWICK VIC 3185                                                          AUS        3185                             730,000                               0                    0                                        0                                           0
Ms Eugenie O'Reilly              <Est Vincent P Benoit A/C>       35 Downshire Road                ELSTERNWICK VIC 3185                                                          AUS        3185                             203,993                               0                    0                                        0                                           0
Ms Eugenie O'Reilly              <The Julia Benoit Support A/C>   35 Downshire Road                ELSTERNWICK VIC 3185                                                          AUS        3185                             609,000                               0                    0                                        0                                           0
Mr George Redwan                 59 St Georges Rd                 ELSTERNWICK VIC 3185                                                                                           AUS        3185                              20,000                               0                    0                                        0                                           0
Mr Geoffrey Brown                5/ 103 Bay Street                BRIGHTON VIC 3186                                                                                              AUS        3186                               9,428                               0                    0                                        0                                           0
Dr Geoffrey Ronald County        62 Martin Street                 BRIGHTON VIC 3186                                                                                              AUS        3186                              17,500                               0                    0                                        0                                           0
Dealcave Pty Ltd                 <Superannuation Fund A/C>        299 South Road                   BRIGHTON EAST VIC 3187                                                        AUS        3187                            4,000,000                              0                    0                                        0                                           0
Mr David Frederick Kearns        32 Centre Road                   BRIGHTON EAST VIC 3187                                                                                         AUS        3187                             100,000                               0                    0                                        0                                           0
Mr Oliver Davis                  5 Garden St                      HAMPTON VIC 3188                                                                                               AUS        3188                              24,000                               0                    0                                        0                                           0
Dr Peter David Freckleton        4 Vista Road                     HAMPTON VIC 3188                                                                                               AUS        3188                               4,200                               0                    0                                        0                                           0
Daniland Investments Pty Ltd     <Danielle Marshall A/C>          PO Box 142                       SANDRINGHAM VIC 3191                                                          AUS        3191                             700,000                               0                    0                                        0                                           0
Mr Thomas Richardson             21 Norwood St                    SANDRINGHAM VIC 3191                                                                                           AUS        3191                              30,000                               0                    0                                        0                                           0
Mr Xiao-Yan Shi &                Mrs Juan Shi                     4 Silver Street                  CHELTENHAM VIC 3192                                                           AUS        3192                              39,000                               0                    0                                        0                                           0
Mr Xiao Yan Shi &                Mrs Juan Shi                     4 Silver St                      CHELTENHAM VIC 3192                                                           AUS        3192                              52,453                               0                    0                                        0                                           0
Bandara Investments Pty Ltd      <Bandara Super A/C>              PO Box 7472                      BEAUMARIS VIC 3193                                                            AUS        3193                              10,000                               0                    0                                        0                                           0
Bold & Bountiful Pty Ltd         <55/63 Private Super A/C>        11 McNaught Street               BEAUMARIS VIC 3193                                                            AUS        3193                             225,000                               0                    0                                        0                                           0
Forex Match Pty Ltd              <Stenford Family S/ F A/C>       C/- 95 Reserve Road              BEAUMARIS VIC 3193                                                            AUS        3193                              60,000                               0                    0                                        0                                           0
Mr Anthony Lance                 32 Scott Street                  BEAUMARIS VIC 3193                                                                                             AUS        3193                              50,000                               0                    0                                        0                                           0
Miss Monique Riedel              Unit 1 41 Tramway Pde            BEAUMARIS VIC 3193                                                                                             AUS        3193                               4,500                               0                    0                                        0                                           0
Mr Martin Shorland               20 Lynette Avenue                BEAUMARIS VIC 3193                                                                                             AUS        3193                             300,000                               0                    0                                        0                                           0
Terena Pty Ltd                   <Terena Super Fund A/C>          PO Box 7472                      BEAUMARIS VIC 3193                                                            AUS        3193                             113,000                               0                    0                                        0                                           0
Ms Margaret Bernice Wells        Unit 5 / 44 Collins St           MENTONE VIC 3194                                                                                               AUS        3194                            1,000,000                              0                    0                                        0                                           0
KMC (Asia) Pty Ltd               <Kegler Super Fund A/C>          267 Boundary Road                MORDIALLOC VIC 3195                                                           AUS        3195                              15,000                               0                    0                                        0                                           0
Mr David McCall                  34 Stewart Avenue                PARKDALE VIC 3195                                                                                              AUS        3195                              76,923                               0                    0                                        0                                           0
Rev Suzanne Joy Bluett           10 Thames Promenade              CHELSEA VIC 3196                                                                                               AUS        3196                               4,500                               0                    0                                        0                                           0
Scientific Installations Pty     Ltd                              <Karlnatmax Family A/C>          107 Palm Beach Drive       PATTERSON LAKES VIC 3197                           AUS        3197                              96,154                               0                    0                                        0                                           0
Sultige Services Pty Ltd         <Sultige Services S/F A/C>       12 Marina Palms                  Inner Harbour Dr           PATTERSON LAKES VIC 3197                           AUS        3197                             180,000                               0                    0                                        0                                           0
Mr John Clarence Webb &          Ms Joy Maree Webb                <J & J Webb Super Fund A/C>      Unit 2                     705 Nepean Highway         CARRUM VIC 3197         AUS        3197                              48,833                               0                    0                                        0                                           0
Mr Hugh James Henderson          Unit 2 18 Charles St             SEAFORD VIC 3198                                                                                               AUS        3198                              37,777                               0                    0                                        0                                           0
Mr Kevin Henderson               39 Keppler Circuit               SEAFORD VIC 3198                                                                                               AUS        3198                               2,800                               0                    0                                        0                                           0
Mr Kevin John Henderson          39 Keppler Circuit               SEAFORD VIC 3198                                                                                               AUS        3198                             100,000                               0                    0                                        0                                           0
Mr Toby Middleton &              Mrs Kylie Middleton              19 Coonara Ave                   SEAFORD VIC 3198                                                              AUS        3198                               7,500                               0                    0                                        0                                           0
Accounting Strategists Pty Ltd   <Accounting Strategists A/C>     62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Mr Andrew Burton                 <Burton Family A/C>              19 Gweno Ave                     FRANKSTON SOUTH VIC 3199                                                      AUS        3199                             144,000                               0                    0                                        0                                           0
Buy Write Pty Ltd                <Buy Write Unit A/C>             62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Design Strategists Pty Ltd       <Wealth Unit A/C>                62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Mr Lawrence Anthony Eedy &       Mrs Eira May Eedy                Unit 34                          95 Ashleigh Avenue         FRANKSTON VIC 3199                                 AUS        3199                               8,000                               0                    0                                        0                                           0
Environmental Strategists Pty    Ltd                              <Kawecki Discretionary 3 A/C>    62 McComb Boulevard        FRANKSTON SOUTH VIC 3199                           AUS        3199                                    30                             0                    0                                        0                                           0
Family Office Strategists Pty    Ltd                              <Kawecki Discretionary 1 A/C>    62 McComb Boulevard        FRANKSTON SOUTH VIC 3199                           AUS        3199                                    30                             0                    0                                        0                                           0
Finance Strategists Pty Ltd      <Development Unit A/C>           62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Financial Freedom Apjc Pty Ltd   <Fin Freedom Apjc S/F A/C>       52 Bartlett Street               FRANKSTON SOUTH VIC 3199                                                      AUS        3199                             700,000                               0                    0                                        0                                           0
Financial Planning Strategists   Pty Ltd                          <Strategic Unit A/C>             62 McComb Boulevard        FRANKSTON SOUTH VIC 3199                           AUS        3199                                    100                            0                    0                                        0                                           0
Foreign Exchange Arbitrage Pty   Ltd                              <Investment Unit A/C>            62 McComb Boulevard        FRANKSTON SOUTH VIC 3199                           AUS        3199                                    30                             0                    0                                        0                                           0
Forex Arbitrage Pty Ltd          <Kawecki Discretionary 2 A/C>    62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Funding Strategists Pty Ltd      <Kawecki Discretionary 4 A/C>    62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Fx Arbitrage Pty Ltd             <Security Unit A/C>              62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Healthy Wealthy & Wise           Strategists Pty Ltd              <Healthy Wealthy Wise A/C>       62 McComb Boulevard        FRANKSTON SOUTH VIC 3199                           AUS        3199                                    30                             0                    0                                        0                                           0
Mr Mark Damion Kawecki           62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                                                       AUS        3199                                    100                            0                    0                                        0                                           0
Mr Mark Damion Kawecki           62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                                                       AUS        3199                                    30                             0                    0                                        0                                           0
Mr Mark Damion Kawecki           <Toby Leon Kawecki A/C>          62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    100                            0                    0                                        0                                           0
Mr Mark Damion Kawecki           <Jamie Martin Kawecki A/C>       62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    100                            0                    0                                        0                                           0
Dr Matthew Leon Kawecki          62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                                                       AUS        3199                                    30                             0                    0                                        0                                           0
Life Advice Pty Ltd              <Lifestyle Unit A/C>             62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Life Coaching Pty Ltd            <Simple Unit A/C>                62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Mr Michael Reginald McQuade      52 Culcairn Drive                FRANKSTON SOUTH VIC 3199                                                                                       AUS        3199                                    30                             0                    0                                        0                                           0
Mechanical Trading Pty Ltd       <Performance Unit A/C>           62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Original Name Pty Ltd            <Original Name Unit A/C>         62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    100                            0                    0                                        0                                           0
Professional & Sophisticated     Investors Pty Ltd                <Prof & Soph Invest A/C>         62 McComb Boulevard        FRANKSTON SOUTH VIC 3199                           AUS        3199                                    30                             0                    0                                        0                                           0
Professional & Sophisticated     Investors Pty Ltd                <Prof & Soph Invest A/C>         62 McComb Boulevard        FRANKSTON SOUTH VIC 3199                           AUS        3199                                    30                             0                    0                                        0                                           0
Property Strategists Pty Ltd     <Property Unit A/C>              62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Retirement Strategists Pty Ltd   <Retirement Unit A/C>            62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Share Trading Pty Ltd            <Shares Unit A/C>                62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Stock Trading Pty Ltd            <Stock Unit A/C>                 62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    30                             0                    0                                        0                                           0
Wealth Management Strategists    <Mark Kawecki Super Fund A/C>    62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                                    100                            0                    0                                        0                                           0
Superannuation Strategists       Pty Ltd                          <Kawecki Discretionary 5 A/C>    62 McComb Boulevard        FRANKSTON SOUTH VIC 3199                           AUS        3199                                    30                             0                    0                                        0                                           0
Technical Analysts Pty Ltd       <Maximum Unit A/C>               62 McComb Boulevard              FRANKSTON SOUTH VIC 3199                                                      AUS        3199                               1,030                               0                    0                                        0                                           0
Mr David Leonard Sharman         4 Botany Drive                   CARRUM DOWNS VIC 3201                                                                                          AUS        3201                                    300                            0                    0                                        0                                           0
Mr Barry Boehm &                 Mrs Maree Boehm                  <BMB S/F A/C>                    26 Antony Street           ORMOND VIC 3204                                    AUS        3204                             750,000                               0                    0                                        0                                           0
Mr Barry Boehm                   26 Anthony St                    ORMOND VIC 3204                                                                                                AUS        3204                             100,000                               0                    0                                        0                                           0
Mr Maxwell Raymond Dunstan &     Mrs Margherita Maria Dunstan     37 Hall Street                   McKinnon VIC 3204          MCKINNON VIC 3204                                  AUS        3204                              15,000                               0                    0                                        0                                           0
Mr Laurie Quintal                32 Tucker Road                   BENTLEIGH VIC 3204                                                                                             AUS        3204                              15,380                               0                    0                                        0                                           0
Eighty Eight(Vic) Pty Ltd        <Eighty Eight A/C>               Level 2                          66 Albert Road             SOUTH MELBOURNE VIC 3205                           AUS        3205                             180,000                               0                    0                                        0                                           0
Mr John Charles Hazen &          Ms Susan Isabel Hazen            <Hazen Super Fund A/C>           PO Box 5198                SOUTH MELBOURNE VIC 3205                           AUS        3205                              38,000                               0                    0                                        0                                           0
Netwealth Investments Limited    <Super Services A/C>             C/- Custody Department           PO Box 336                 SOUTH MELBOURNE VIC 3205                           AUS        3205                              10,000                               0                    0                                        0                                           0
Mr Justin Dominic Penrose        112/38 Bank Street               SOUTH MELBOURNE VIC 3205                                                                                       AUS        3205                                     2                             0                    0                                        0                                           0
Mr Andrew Reeves &               Mrs Lynette Reeves               <Reeves Family Super Fund A/C>   Locked Bag 4020            SOUTH MELBOURNE VIC 3205                           AUS        3205                             800,000                               0                    0                                        0                                           0




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                                                                                                          Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                        Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                         Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                  Name/Address 3                  Name/Address 4                Name/Address 5           Name/Address 6          Domicile   Postcode   Fully Paid Ordinary Shares         Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr John Berman                   55 Esplanade East               PORT MELBOURNE VIC 3207                                                                                        AUS        3207                               4,000                               0                    0                                        0                                           0
Mr Benjamin Liam Jones           Unit 502                        25 Pickles Street               PORT MELBOURNE VIC 3207                                                        AUS        3207                                    25                             0                    0                                        0                                           0
Miss Hannah Louise Jones         Unit 502                        25 Pickles Street               PORT MELBOURNE VIC 3207                                                        AUS        3207                                     1                             0                    0                                        0                                           0
Mr Brian Laurence McGlade        Unit 707                        101 Bay Street                  PORT MELBOURNE VIC 3207                                                        AUS        3207                                     1                             0                    0                                        0                                           0
Mr Daniel Richard McGlade        Unit 707                        101 Bay Street                  PORT MELBOURNE VIC 3207                                                        AUS        3207                                    26                             0                    0                                        0                                           0
Mrs Pamela Jean McGlade          Unit 707                        101 Bay Street                  PORT MELBOURNE VIC 3207                                                        AUS        3207                                     1                             0                    0                                        0                                           0
Mrs Jane Eleanor Chen            PO Box 73                       LARA VIC 3212                                                                                                  AUS        3212                              60,000                               0                    0                                        0                                           0
Mr Ashley Bottrell               32-37 Peart Court               LOVELY BANKS VIC 3213                                                                                          AUS        3213                               7,000                               0                    0                                        0                                           0
Mr Robert Scott McLay            Unit 1 20-22 Lunan Avenue       DRUMCONDRA VIC 3215                                                                                            AUS        3215                               7,000                               0                    0                                        0                                           0
Mr Mladoje Potpara               6 Abele Street                  BELL PARK VIC 3215                                                                                             AUS        3215                             324,180                               0                    0                                        0                                           0
Mr James Alexander Boyd &        Mrs Katherine Louise Boyd       <Boyd Farming Super Fund A/C>   100-102 Rivergum Drive        HIGHTON VIC 3216                                 AUS        3216                              60,000                               0                    0                                        0                                           0
Buchla Investments Pty Ltd       <Buchla Super Fund A/C>         C/- Anthony Clarke              9 Dryden Way                  HIGHTON VIC 3216                                 AUS        3216                             165,000                               0                    0                                        0                                           0
Krason Pty Ltd                   Unit 2 160 Grove Road           GROVEDALE VIC 3216                                                                                             AUS        3216                             164,000                               0                    0                                        0                                           0
Mr Brian Laurence McGlade        6A Barwon Boulevard             HIGHTON VIC 3216                                                                                               AUS        3216                                     2                             0                    0                                        0                                           0
Mr Mitchell Scott Pavletich      5 Buckley Falls Road            HIGHTON VIC 3216                                                                                               AUS        3216                                    26                             0                    0                                        0                                           0
R & M Gaffney Pty Ltd            <R & M Gaffney Super A/C>       2/150 Barwon Heads Rd           BELMONT VIC 3216                                                               AUS        3216                             400,000                               0                    0                                        0                                           0
Mrs Shouline Tchen               211 Pakington Street            GEELONG WEST VIC 3218                                                                                          AUS        3218                              24,180                               0                    0                                        0                                           0
BSD Super Pty Ltd                <BSD Super Fund A/C>            PO Box 1605                     GEELONG VIC 3220                                                               AUS        3220                              84,494                               0                    0                                        0                                           0
Ms Wendy Allison Hunt            9 Centaurus Avenue              CLIFTON SPRINGS VIC 3222                                                                                       AUS        3222                                    15                             0                    0                                        0                                           0
Mr David Charles Fisher &        Mrs Miriam Cherry Fisher        <Dm Superannuation Fund A/C>    PO Box 511                    OCEAN GROVE VIC 3226                             AUS        3226                              50,000                               0                    0                                        0                                           0
Mr Gerald Fuller                 26 Ocean Acres Drive            TORQUAY VIC 3228                                                                                               AUS        3228                             100,000                               0                    0                                        0                                           0
Ms Jane Fuller                   2F Darian Road                  TORQUAY VIC 3228                                                                                               AUS        3228                             120,000                               0                    0                                        0                                           0
Mr Steven Peter Ledden &         Mrs Fiona Ledden                54 O'Donohue Road               ANGLESEA VIC 3230                                                              AUS        3230                              90,000                               0                    0                                        0                                           0
Mr Richard Spence &              Mrs Ann Spence                  <R & A Spence SMSF A/C>         61 Ballagh St                 ELLIMINYT VIC 3250                               AUS        3250                               8,000                               0                    0                                        0                                           0
Mr Barry Alan Harker             30 Ower St                      CAMPERDOWN VIC 3260                                                                                            AUS        3260                               2,000                               0                    0                                        0                                           0
Mr Donald Bell                   P O Box 955                     WARRNAMBOOL VIC 3280                                                                                           AUS        3280                             200,000                               0                    0                                        0                                           0
Ms Leanne Williams &             Mr Brendan Primmer              42 Kerr Street                  WARRNAMBOOL VIC 3280                                                           AUS        3280                              10,000                               0                    0                                        0                                           0
Mr Craig Antony Dorney           104 Barries Road                BUSHFIELD VIC 3281                                                                                             AUS        3281                              38,461                               0                    0                                        0                                           0
Dstar Super Pty Ltd              <Dstar Super Fund A/C>          104 Barries Rd                  BUSHFIELD VIC 3281                                                             AUS        3281                              55,555                               0                    0                                        0                                           0
Mr Peter Francis Ashton          284 Southern Cross Road         SOUTHERN CROSS VIC 3283                                                                                        AUS        3283                              72,500                               0                    0                                        0                                           0
Mr Maxwell Holmes                9 Couta Close                   PORT FAIRY VIC 3284                                                                                            AUS        3284                               3,800                               0                    0                                        0                                           0
Mr Gregory Walker                Unit 2                          6 Iramoo Circuit                ROCKBANK VIC 3335                                                              AUS        3335                              50,000                               0                    0                                        0                                           0
Mr Gregory John Walker &         Miss Renee Elizabeth Cottrill   <Two Plus Two Super Fund A/C>   Unit 2                        6 Iramoo Circuit         ROCKBANK VIC 3335       AUS        3335                             100,000                               0                    0                                        0                                           0
Mr Adrian Lance Martin           53 Mowbray Cres                 KURUNJANG VIC 3337                                                                                             AUS        3337                              12,121                               0                    0                                        0                                           0
Mr David John Still &            Mrs Lynne Still                 <Still 4 Super Fund A/C>        PO Box 193                    BACCHUS MARSH VIC 3340                           AUS        3340                               4,000                               0                    0                                        0                                           0
Mr Robin Blair Cuy               8 Ashford Court                 INVERMAY PARK VIC 3350                                                                                         AUS        3350                               6,000                               0                    0                                        0                                           0
Mr Samuel Thomas Hutchison       <The S T Hutchison S/F A/C>     311 Macarthur Street            BALLARAT VIC 3350                                                              AUS        3350                              40,000                               0                    0                                        0                                           0
Aaron James Kline                8 Reid Street                   BROWN HILL VIC 3350                                                                                            AUS        3350                              26,000                               0                    0                                        0                                           0
Mr Anthony Gregory &             Ms Louise Cheslett              <Bullfish Super Fund A/C>       7 Yvonne Street               WENDOUREE VIC 3355                               AUS        3355                                    10                             0                    0                                        0                                           0
Hodgson & Gregory Pty Ltd        7 Yvonne Street                 WENDOUREE VIC 3355                                                                                             AUS        3355                                     1                             0                    0                                        0                                           0
Jj Shares Pty Ltd                7 Yvonne Street                 WENDOUREE VIC 3355                                                                                             AUS        3355                                     1                             0                    0                                        0                                           0
Mrs Seema Singh                  5 Rossio Gr                     WENDOUREE VIC 3355                                                                                             AUS        3355                              32,200                               0                    0                                        0                                           0
Mr Aaron J Brown                 13 St Georges Ct                SEBASTOPOL VIC 3356                                                                                            AUS        3356                             208,000                               0                    0                                        0                                           0
Kaiony Superannuation Fund       Pty Ltd                         <Kaiony SF A/C>                 2690 Henty Highway            BEULAH VIC 3395                                  AUS        3395                              70,000                               0                    0                                        0                                           0
Mr Te Sau Leong &                Mrs San Mi Leong                PO Box 1140                     HORSHAM VIC 3400                                                               AUS        3400                              25,000                               0                    0                                        0                                           0
Mr Garry Heald                   PO Box 674                      GISBORNE VIC 3437                                                                                              AUS        3437                               4,000                               0                    0                                        0                                           0
Mr Richard John Howells &        Mrs Lee Howells                 <Lynmara S/F A/C>               PO Box 360                    MACEDON VIC 3440                                 AUS        3440                             165,000                               0                    0                                        0                                           0
Mr Daryl Rodney Phillpot         96 Raglan St                    DAYLESFORD VIC 3460                                                                                            AUS        3460                             182,336                               0                    0                                        0                                           0
Mr Gregory Pridmore              35 Hallets Lane                 YANDOIT VIC 3461                                                                                               AUS        3461                              70,000                               0                    0                                        0                                           0
Tanec Engineering Services Pty   Ltd                             <Fairview 35 Super Fund A/C>    35 Hallets Lane               YANDOIT VIC 3461                                 AUS        3461                             250,000                               0                    0                                        0                                           0
Mr Andrew John Lehmann           121 Volcano Road                SWANWATER VIC 3477                                                                                             AUS        3477                                    100                            0                    0                                        0                                           0
Mr Lance Lloyd Archie            PO Box 2043                     MILDURA VIC 3502                                                                                               AUS        3502                             166,666                               0                    0                                        0                                           0
Mr Simon Conole                  PO Box 454                      MERBEIN VIC 3505                                                                                               AUS        3505                              70,000                               0                    0                                        0                                           0
Mr Gary William Crow             55 Monash Avenue                UNDERBOOL VIC 3509                                                                                             AUS        3509                               2,000                               0                    0                                        0                                           0
Mr Rohan Robert McNutt           72 Knowsley-Eppalock Road       KNOWSLEY VIC 3523                                                                                              AUS        3523                              22,000                               0                    0                                        0                                           0
Mr Richard Hyett Dungey &        Mrs Patricia Mary Dungey        <R H & P M Super A/C>           14 Doak Street                BENDIGO VIC 3550                                 AUS        3550                             100,000                               0                    0                                        0                                           0
Mr Leigh Mathew Oliver           1 Gemma Rose Court              SPRING GULLY VIC 3550                                                                                          AUS        3550                            1,203,384                              0                    0                                        0                                           0
Mr Jake Francis Miller           16 Jackman Court                GOLDEN SQUARE VIC 3555                                                                                         AUS        3555                              11,000                               0                    0                                        0                                           0
Tammo De Vries                   Superannuation Pty Ltd          <Tammo De Vries S/F A/C>        PO Box 413                    GOLDEN SQUARE VIC 3555                           AUS        3555                             771,500                               0                    0                                        0                                           0
Mr Tammo De Vries                PO Box 413                      GOLDEN SQUARE VIC 3555                                                                                         AUS        3555                             707,389                               0                    0                                        0                                           0
Mr Grant Bruce Smethurst         5 Collier Street                ECHUCA VIC 3564                                                                                                AUS        3564                               6,500                               0                    0                                        0                                           0
Mr Donald McKenzie &             Mr David McKenzie &             Mr Gary McKenzie                <McKenzie Family S/F A/C>     PO Box 408               KYABRAM VIC 3619        AUS        3619                              50,000                               0                    0                                        0                                           0
Mr John William Fanning          9 Angus Court                   MOOROOPNA VIC 3629                                                                                             AUS        3629                              40,000                               0                    0                                        0                                           0
Ms Vicki Dyson &                 Dr John Stanley Dyson           <Vickidyson Superfund A/C>      PO Box 6862                   SHEPPARTON VIC 3632                              AUS        3632                            1,000,000                              0                    0                                        0                                           0
Mrs Susan Elza Stribling &       Mr Michael Francis Phelan       <Flat Rock Super Fund A/C>      55 Railway Street             EUROA VIC 3666                                   AUS        3666                              60,000                               0                    0                                        0                                           0
Ms Susan Elza Stribling          55 Railway Street               EUROA VIC 3666                                                                                                 AUS        3666                             100,000                               0                    0                                        0                                           0
Mr Gary Edmund Andison &         Mrs Kerry Maree Andison         <Andison Super Fund A/C>        PO Box 37                     WANGARATTA VIC 3677                              AUS        3677                              15,000                               0                    0                                        0                                           0
Espejo Holdings Pty Ltd          <J F Dunstan R/F A/C>           12 Beard Crescent               WODONGA VIC 3690                                                               AUS        3690                                    962                            0                    0                                        0                                           0
Mr Ian Frank Schubert &          Mrs Pamela Lorraine Schubert    1170 Murray River Road          TALGARNO VIC 3691                                                              AUS        3691                               5,000                               0                    0                                        0                                           0
Mr Nathan Macphee                32 Box Court                    MANSFIELD VIC 3722                                                                                             AUS        3722                              50,000                               0                    0                                        0                                           0
Mr Zoran Stefanovski             6 Remington Way                 SOUTH MORANG VIC 3752                                                                                          AUS        3752                              90,000                               0                    0                                        0                                           0
Mr John Saviour Muscat &         Mrs Margaret Muscat             16 Preserve Circuit             DOREEN VIC 3754                                                                AUS        3754                               4,000                               0                    0                                        0                                           0
Mr Allan Roy Den Besten          11 Bronwyn St                   COLDSTREAM VIC 3770                                                                                            AUS        3770                               7,700                               0                    0                                        0                                           0
Mr Romesh Perera                 8 Sorbus Close                  ENDEAVOUR HILLS VIC 3802                                                                                       AUS        3802                              71,000                               0                    0                                        0                                           0
Mr Derren Lee Sullivan &         Mrs Bianca Johanna Sullivan     1 Tolmie Rise                   HALLAM VIC 3803                                                                AUS        3803                             123,000                               0                    0                                        0                                           0
Mr Simon Neville Breman          9 Lilac Cres                    BERWICK VIC 3806                                                                                               AUS        3806                               1,990                               0                    0                                        0                                           0
Mr Chamindra Fernando            10 Limousin Court               BERWICK VIC 3806                                                                                               AUS        3806                              20,000                               0                    0                                        0                                           0
Mr Brian Smith                   65 Homestead Road               BERWICK VIC 3806                                                                                               AUS        3806                              13,000                               0                    0                                        0                                           0
Mr Lawrence Cooper &             Mrs Coral Cooper &              Mr Bradley Cooper               <Laurie & Coral Co S/F A/C>   10 Lakeview Terrace      BEACONSFIELD VIC 3807   AUS        3807                              25,000                               0                    0                                        0                                           0
Mr Michael Daniel Booker         13 Harvest Rd                   OFFICER VIC 3809                                                                                               AUS        3809                                    132                            0                    0                                        0                                           0
Mrs Margaret Faye Peirce         50 Vincent Road                 MORWELL VIC 3840                                                                                               AUS        3840                               5,819                               0                    0                                        0                                           0
Mrs Cheryl Osborne               284 Nuttalls Road               YINNAR VIC 3869                                                                                                AUS        3869                             500,000                               0                    0                                        0                                           0
Mr Peter Edward Hall             57 Calvert Street               BAIRNSDALE VIC 3875                                                                                            AUS        3875                               4,000                               0                    0                                        0                                           0
Mr Andrew Charles Quirke         12 Waratah Avenue               PAYNESVILLE VIC 3880                                                                                           AUS        3880                              52,000                               0                    0                                        0                                           0
Mr Michael John Gilbert &        Mrs Maria Gilbert               3 Erica Court                   LANGWARRIN VIC 3910                                                            AUS        3910                              50,400                               0                    0                                        0                                           0
Mr Glenn Hoyle                   2/11 Athol Court                LANGWARRIN VIC 3910                                                                                            AUS        3910                                    30                             0                    0                                        0                                           0
Mr Phillip John Caldwell         24 Sumner Road                  BAXTER VIC 3911                                                                                                AUS        3911                             392,150                               0                    0                                        0                                           0




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                                                                                                           Common Class Shareholders - Exhibit A to Equity Security Holders

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                                                                                                                                                                                                                                            Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                  Name/Address 3                   Name/Address 4                 Name/Address 5          Name/Address 6             Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Phillip John Caldwell         <Ruby Caldwell A/C>             24 Sumner Road                   BAXTER VIC 3911                                                                   AUS        3911                             246,500                              0                    0                                        0                                           0
Mr Phillip John Caldwell         24 Sumner Road                  BAXTER VIC 3911                                                                                                    AUS        3911                              78,000                              0                    0                                        0                                           0
Mr Matthew Thomas Brown          PO Box 835                      COWES VIC 3922                                                                                                     AUS        3922                             107,500                              0                    0                                        0                                           0
Mr Mieczyslaw Kawecki            17 Arundel Court                MOUNT ELIZA VIC 3930                                                                                               AUS        3930                                    30                            0                    0                                        0                                           0
Mr Mieczyslaw Kawecki &          Mr Mark Damion Kawecki          <Max Kawecki Super Fund A/C>     17 Arundel Court               MOUNT ELIZA VIC 3930                               AUS        3930                                    30                            0                    0                                        0                                           0
Mrs Sue Maree Kawecki            17 Arundel Court                MOUNT ELIZA VIC 3930                                                                                               AUS        3930                                    30                            0                    0                                        0                                           0
Ms Yvonne Margaret Stephens      PO Box 986                      MOUNT ELIZA VIC 3930                                                                                               AUS        3930                               6,000                              0                    0                                        0                                           0
Fifth Septelux Pty Ltd           22 Sunningdale Avenue           MORNINGTON VIC 3931                                                                                                AUS        3931                                    30                            0                    0                                        0                                           0
Mr Ronald James Johnstone &      Mrs Pamela Alice Johnstone      <Petropym Super Fund A/C>        14 Mills Beach Close           MORNINGTON VIC 3931                                AUS        3931                              10,000                              0                    0                                        0                                           0
Mrs Margaret Anne Loffler        22 Sunningdale Avenue           MORNINGTON VIC 3931                                                                                                AUS        3931                                    30                            0                    0                                        0                                           0
Minguin Pty Ltd                  <Ma Loffler Super A/C>          22 Sunningdale Avenue            MORNINGTON VIC 3931                                                               AUS        3931                                    30                            0                    0                                        0                                           0
Mr Denis James Sephton           9 Caversham Drive               MORNINGTON VIC 3931                                                                                                AUS        3931                              28,000                              0                    0                                        0                                           0
Aj Growth Pty Ltd                <Aj Growth A/C>                 54 Arthurs Avenue                MCCRAE VIC 3938                                                                   AUS        3938                                    30                            0                    0                                        0                                           0
Anm Momentum Pty Ltd             54 Arthurs Avenue               MCCRAE VIC 3938                                                                                                    AUS        3938                                    10                            0                    0                                        0                                           0
Ms Angela Noeleen Meyer          54 Arthurs Avenue               MCCRAE VIC 3938                                                                                                    AUS        3938                                    30                            0                    0                                        0                                           0
Ms Angela Noeleen Meyer          <Johann Joshua Meyer A/C>       54 Arthurs Avenue                MCCRAE VIC 3938                                                                   AUS        3938                                    10                            0                    0                                        0                                           0
Ms Angela Noeleen Meyer          <Flynn William Meyer A/C>       54 Arthurs Avenue                MCCRAE VIC 3938                                                                   AUS        3938                                    10                            0                    0                                        0                                           0
Meyer Super Company Pty Ltd      <Ajf Prosperity S/F A/C>        54 Arthurs Avenue                MCCRAE VIC 3938                                                                   AUS        3938                                    30                            0                    0                                        0                                           0
Mr James Blacker &               Ms Maureen Blacker              <Blacker Super Fund A/C>         10 Mashie Court                ROSEBUD VIC 3939                                   AUS        3939                             100,000                              0                    0                                        0                                           0
Ms Pauline Mary Wiseman          37 Goolgowie St                 ROSEBUD VIC 3939                                                                                                   AUS        3939                               3,900                              0                    0                                        0                                           0
Mr Anthony Charles Bicknell &    Mrs Wendy Anne Bicknell         <Lafisi Super Fund A/C>          PO Box 377                     BLAIRGOWRIE VIC 3942                               AUS        3942                              30,000                              0                    0                                        0                                           0
Jennifer Took Superannuation     Pty Ltd                         <Jennifer Took Super Fund A/C>   26 Armytage Drive              PORTSEA VIC 3944                                   AUS        3944                            2,200,000                             0                    0                                        0                                           0
Mrs Jennifer Took                26 Armytage Drive               PORTSEA VIC 3944                                                                                                   AUS        3944                            1,525,000                             0                    0                                        0                                           0
Mr Gerard Murphy                 11 Jeffrey St                   LEONGATHA VIC 3953                                                                                                 AUS        3953                              19,955                              0                    0                                        0                                           0
Mr Leslie Arthur Booth           Unit 1 49 Normanby St           CRANBOURNE VIC 3977                                                                                                AUS        3977                              20,000                              0                    0                                        0                                           0
Mr Robert Fransen &              Mrs Janice Fransen              42 Bayview Avenue                TENBY POINT VIC 3984                                                              AUS        3984                             100,000                              0                    0                                        0                                           0
Mr Garry Gillett                 72 Kallay Dr                    PIONEER BAY VIC 3984                                                                                               AUS        3984                              15,000                              0                    0                                        0                                           0
Mr George Romaniotis &           Mrs Julia Romaniotis            PO Box 96                        WONTHAGGI VIC 3995                                                                AUS        3995                             619,344                              0                    0                                        0                                           0
Mr Wayne Robert Nettleton &      Mrs Barbara Anne Nettleton      <Turnco Industries S/F A/C>      C/- Baillieu Holst (Logic)     PO Box 48               COLLINS ST WEST VIC 8007   AUS        8007                             331,500                              0                    0                                        0                                           0
Provaltor Pty Ltd                <Larsson S/F A/C>               PO Box 200                       COLLINS STREET WEST VIC 8007                                                      AUS        8007                              60,000                              0                    0                                        0                                           0
VCG SMSF Pty Ltd                 <VCG Superannuation Fund A/C>   PO Box 320                       FLINDERS LANE VIC 8009                                                            AUS        8009                             139,636                              0                    0                                        0                                           0
Mr Michael John Hawkins &        Ms Diana June Baldrey           <M J Hawkins Barrister SF A/C>   16th Floor                     77 St Georges Terrace   PERTH WA 6000              AUS        6000                              10,478                              0                    0                                        0                                           0
Mr John Haynes &                 Mrs Patricia Ann Haynes         3a/70 Terrace Road               EAST PERTH WA 6004                                                                AUS        6004                              16,666                              0                    0                                        0                                           0
Simply Supported Pty Ltd         <Felder Family A/C>             6 Allora Avenue                  SUBIACO WA 6008                                                                   AUS        6008                             202,000                              0                    0                                        0                                           0
Stagelight Investments Pty Ltd   <Felder Super Fund A/C>         6 Allora Avenue                  SUBIACO WA 6008                                                                   AUS        6008                            1,323,750                             0                    0                                        0                                           0
Mr Ian Shaw Chu                  82 Smyth Road                   NEDLANDS WA 6009                                                                                                   AUS        6009                              28,600                              0                    0                                        0                                           0
Miss Amy Pui-Man Kwan            88 Circe Circle South           DALKEITH WA 6009                                                                                                   AUS        6009                              31,500                              0                    0                                        0                                           0
Votraint No 1407 Pty Limited     <Rupert Lewi A/C>               Unit 52 3 Park Avenue            CRAWLEY WA 6009                                                                   AUS        6009                             200,000                              0                    0                                        0                                           0
Mr Alexander Carl Dorsch         17 Barsden St                   COTTESLOE WA 6011                                                                                                  AUS        6011                              34,000                              0                    0                                        0                                           0
Mr Graham David Hogg             49 Leake Street                 PEPPERMINT GROVE WA 6011                                                                                           AUS        6011                              35,000                              0                    0                                        0                                           0
Icon Holdings Pty Ltd            <The K J Paganin Family A/C>    53 Irvine Street                 PEPPERMINT GROVE WA 6011                                                          AUS        6011                             600,000                              0                    0                                        0                                           0
Mr Peter Denton Scholes          16 Lillian Street               COTTESLOE WA 6011                                                                                                  AUS        6011                               5,000                              0                    0                                        0                                           0
Mr John Oakley Clinton           <Clinton Trading A/C>           PO Box 4043                      MOSMAN PARK WA 6012                                                               AUS        6012                             120,404                              0                    0                                        0                                           0
Ms Jodie McAuliffe               PO Box 4424 Mosman Park         South LPO                        MOSMAN PARK WA 6012                                                               AUS        6012                                    20                            0                    0                                        0                                           0
Maruta Pty Ltd                   9 Marimba Crescent              CITY BEACH WA 6015                                                                                                 AUS        6015                               5,700                              0                    0                                        0                                           0
Dr Sandeep Kumar Sharma          342 The Boulevard               CITY BEACH WA 6015                                                                                                 AUS        6015                              25,000                              0                    0                                        0                                           0
Aki SF Pty Ltd                   <Aki Superannuation Fund A/C>   54 Norman St                     INNALOO WA 6018                                                                   AUS        6018                              40,000                              0                    0                                        0                                           0
Tinelle Pty Ltd                  <Lundy Super Fund A/C>          Unit 3                           24 Muriel Avenue               INNALOO WA 6018                                    AUS        6018                             122,723                              0                    0                                        0                                           0
Mrs Midori Tanaka-Reay           10 Fluorite Way                 CARINE WA 6020                                                                                                     AUS        6020                              42,500                              0                    0                                        0                                           0
Mr Cornelus Willem Du Toit       2 Blancoa Lane                  STIRLING WA 6021                                                                                                   AUS        6021                             100,000                              0                    0                                        0                                           0
Mr John Elders                   10 St Andrews Way               DUNCRAIG WA 6023                                                                                                   AUS        6023                               4,000                              0                    0                                        0                                           0
Mr Ross George Hinscliff         5 Thirroul Gr                   KINGSLEY WA 6026                                                                                                   AUS        6026                              75,000                              0                    0                                        0                                           0
Rose Storm Pty Ltd               <The Will Family S/F A/C>       1 Ivory Court                    KINGSLEY WA 6026                                                                  AUS        6026                              25,000                              0                    0                                        0                                           0
Ms Karen Louise Cable            8 John Place                    MULLALOO WA 6027                                                                                                   AUS        6027                              16,400                              0                    0                                        0                                           0
Mr Joannes Petrus Fabris &       Mrs Marian Clare Fabris         25 Iluka Avenue                  MULLALOO WA 6027                                                                  AUS        6027                              10,000                              0                    0                                        0                                           0
Mr Quirinus Johannas             Van Kins &                      Mrs Tina Van Kins                <Van Kins Super Fund A/C>      18 Stillwater Way       EDGEWATER WA 6027          AUS        6027                             400,000                              0                    0                                        0                                           0
Mr Neil T Schmidt                114 Lysander Drive              HEATHRIDGE WA 6027                                                                                                 AUS        6027                               5,900                              0                    0                                        0                                           0
Dr Antonio Strangio              Unit 1                          126 Grand Boulevard              JOONDALUP WA 6027                                                                 AUS        6027                              30,000                              0                    0                                        0                                           0
Aria Strangio                    1/126 Grand Boulevard           JOONDALUP WA 6027                                                                                                  AUS        6027                              25,000                              0                    0                                        0                                           0
Ms Caterina Strangio             1/126 Grand Boulevard           JOONDALUP WA 6027                                                                                                  AUS        6027                              25,000                              0                    0                                        0                                           0
Mr Joseph Strangio               1/126 Grand Boulevard           JOONDALUP WA 6027                                                                                                  AUS        6027                              25,000                              0                    0                                        0                                           0
Mrs Petronella Bekker &          Mr Hermanus Theodorus Bekker    41 Whitehaven Ave                BURNS BEACH WA 6028                                                               AUS        6028                              48,000                              0                    0                                        0                                           0
Mr Gordon Strang                 29 Bainbridge Mews              CURRAMBINE WA 6028                                                                                                 AUS        6028                              66,125                              0                    0                                        0                                           0
Mr Stewart Cable                 11 Ozone Parade                 TRIGG WA 6029                                                                                                      AUS        6029                              14,000                              0                    0                                        0                                           0
Mr Edward Johannes Ensel         44 Greygum Crescent             QUINNS ROCKS WA 6030                                                                                               AUS        6030                             700,000                              0                    0                                        0                                           0
Ms Enid Brenda Pereira           34 Rothesay Heights             MINDARIE WA 6030                                                                                                   AUS        6030                               6,000                              0                    0                                        0                                           0
Mr Philip Duncan Ralph           5 Brooks Drive                  BAYSWATER WA 6053                                                                                                  AUS        6053                               6,000                              0                    0                                        0                                           0
Mr Bruce Raymond Saxby           1 Slade Street                  BAYSWATER WA 6053                                                                                                  AUS        6053                               7,000                              0                    0                                        0                                           0
Mr Brian David Turner            15 Walker Crescent              HIGH WYCOMBE WA 6057                                                                                               AUS        6057                              30,000                              0                    0                                        0                                           0
Ari Nominees Pty Ltd             <J F Family A/C>                8 Hannaby Street                 DIANELLA WA 6059                                                                  AUS        6059                              50,000                              0                    0                                        0                                           0
Mrs Janelle Andrea Easthope      117 Swan Street                 TUART HILL WA 6060                                                                                                 AUS        6060                               5,000                              0                    0                                        0                                           0
Mr Eric Edelman &                Mrs Kaye Marie Edelman          <E & K Edelman Superfund A/C>    PO Box 3176                    YOKINE WA 6060                                     AUS        6060                              15,000                              0                    0                                        0                                           0
Mr Graham Thomas Fitzgerald &    Ms Helen Lorraine Sharland      2/237 French Street              TUART HILL WA 6060                                                                AUS        6060                              50,000                              0                    0                                        0                                           0
Mr Giuseppe Colosi               Unit B                          279 Amelia Street                WESTMINSTER WA 6061                                                               AUS        6061                               5,000                              0                    0                                        0                                           0
Mr Stefan Nikolic                2 Zeeb Ct                       MIRRABOOKA WA 6061                                                                                                 AUS        6061                               3,200                              0                    0                                        0                                           0
Mr Dushyant Dave                 42 Longford CCT                 DARCH WA 6065                                                                                                      AUS        6065                              20,000                              0                    0                                        0                                           0
Mr Chris Lourens                 30 Berigora Avenue              TAPPING WA 6065                                                                                                    AUS        6065                             100,000                              0                    0                                        0                                           0
Mr Arvind Kumar Shivji           Unit 1 9 Sefton Pl              LANDSDALE WA 6065                                                                                                  AUS        6065                              43,478                              0                    0                                        0                                           0
Mrs Edna Dorothy Darge           24 Waterview Grove              ELLENBROOK WA 6069                                                                                                 AUS        6069                              30,000                              0                    0                                        0                                           0
Mr Robert Charles Franz          2 Cluny Way                     ELLENBROOK WA 6069                                                                                                 AUS        6069                              73,700                              0                    0                                        0                                           0
Mr Trevor John McLoughlin &      Mrs Gail McLoughlin             <Realmac Super Fund A/C>         8 Daleview Close               GLEN FORREST WA 6071                               AUS        6071                              10,000                              0                    0                                        0                                           0
Gemblue Nominees Pty Ltd         <G A Baker Investment A/C>      17 Newlands Grove                GOOSEBERRY HILL WA 6076                                                           AUS        6076                             250,000                              0                    0                                        0                                           0
Mrs Yvonne Denise Price          565 Wildberry Drive             STONEVILLE WA 6081                                                                                                 AUS        6081                              58,000                              0                    0                                        0                                           0
Mr Matthew Peter Laurence        Noonan-Crowe                    <Superannuation Fund A/C>        16 McMillan Street             VICTORIA PARK WA 6100                              AUS        6100                              69,210                              0                    0                                        0                                           0
Mr Robert Diepeveen &            Mrs Esther Diepeveen            38 Oswald St                     VICTORIA PARK WA 6100                                                             AUS        6100                             100,000                              0                    0                                        0                                           0
Mr John Lyons                    46 Marchamley Street            CARLISLE WA 6101                                                                                                   AUS        6101                              10,000                              0                    0                                        0                                           0
Mr Shane Edgar Simmons           31B Weston St                   CARLISLE WA 6101                                                                                                   AUS        6101                               5,000                              0                    0                                        0                                           0




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                                                                                                          Common Class Shareholders - Exhibit A to Equity Security Holders

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                                                                                                                                                                                                                                Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                 Name/Address 3                Name/Address 4                   Name/Address 5     Name/Address 6          Domicile   Postcode   Fully Paid Ordinary Shares      Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Peter Lloyd Robinson          51 Fitzroy Road                RIVERVALE WA 6103                                                                                         AUS        6103                              50,000                            0                    0                                        0                                           0
Mr Glen Laurance Leslie          317 Epsom Avenue               REDCLIFFE WA 6104                                                                                         AUS        6104                              27,141                            0                    0                                        0                                           0
Mr Glen Laurance Leslie          317 Epsom Ave                  REDCLIFFE WA 6104                                                                                         AUS        6104                             222,387                            0                    0                                        0                                           0
Mr Ian Martin Anns &             Mrs Denise Andrea Anns         4 Ripplewood Avenue           THORNLIE WA 6108                                                            AUS        6108                              10,000                            0                    0                                        0                                           0
Mr Edward Richard Floyd          4 Timbercrest Road             THORNLIE WA 6108                                                                                          AUS        6108                               7,500                            0                    0                                        0                                           0
Mr James Francis Ryan            21 Kelton Way                  THORNLIE WA 6108                                                                                          AUS        6108                             100,000                            0                    0                                        0                                           0
Mr Michael John Gill             437 Nicholson Road             FORRESTDALE WA 6112                                                                                       AUS        6112                              36,000                            0                    0                                        0                                           0
Mr Desmond Arthur Hannah &       Mrs Heather Anne Hannah        5 Chipper Close               BEDFORDALE WA 6112                                                          AUS        6112                              35,714                            0                    0                                        0                                           0
Mrs Lisa Houweling               26 Stockmans Close             OAKFORD WA 6121                                                                                           AUS        6121                              18,060                            0                    0                                        0                                           0
Caralee Nominees Pty Ltd         <Caralee Family A/C>           303 Summerfield Road          SERPENTINE WA 6125                                                          AUS        6125                               3,500                            0                    0                                        0                                           0
Mr Simon Matthew Haynes &        Mrs Josephine Marion Haynes    28 Narcissus Ave              PARKWOOD WA 6147                                                            AUS        6147                             641,317                            0                    0                                        0                                           0
Mr Stephen James Reynolds        9 Datura Court                 PARKWOOD WA 6147                                                                                          AUS        6147                             100,500                            0                    0                                        0                                           0
Mr Robert Andrew Kostrz &        Mrs Caroline Kostrz            35 Cotton Crescent            BULL CREEK WA 6149                                                          AUS        6149                             101,131                            0                    0                                        0                                           0
Mr Dinesh Mithanthaya &          Mrs Anuja Mithanthaya          14 Larmer Place               BULL CREEK WA 6149                                                          AUS        6149                             740,048                            0                    0                                        0                                           0
Mr Sie Chung Wong &              Ms Catherine Ping Chih         9 Anderton Retreat            MURDOCH WA 6150                                                             AUS        6150                              12,000                            0                    0                                        0                                           0
Mrs Puspavati Naran              4 Adare Court                  WATERFORD WA 6152                                                                                         AUS        6152                              40,000                            0                    0                                        0                                           0
Mr John Pirie                    <Liam Pirie A/C>               24 Redmond Street             SALTER POINT WA 6152                                                        AUS        6152                               3,000                            0                    0                                        0                                           0
Mr Thain Chai Yong               65 Todd Avenue                 COMO WA 6152                                                                                              AUS        6152                             140,000                            0                    0                                        0                                           0
Mrs Wilhelmina Johanna           Coloper                        PO Box 1215                   Canning Bridge Applecross WA     6153                                       AUS        6153                               5,000                            0                    0                                        0                                           0
Ms Yenna Ah Yeo Ong              15 Glenelg Street              APPLECROSS WA 6153                                                                                        AUS        6153                              48,000                            0                    0                                        0                                           0
Ms Isabella Strangio             25B Tweeddale Road             APPLECROSS WA 6153                                                                                        AUS        6153                              25,000                            0                    0                                        0                                           0
Ms Stacey Strangio               25B Tweeddale Road             APPLECROSS WA 6153                                                                                        AUS        6153                              25,000                            0                    0                                        0                                           0
Mrs Magdalena Zabek              Unit 3 95 Matheson Road        APPLECROSS WA 6153                                                                                        AUS        6153                             267,000                            0                    0                                        0                                           0
Mr Norman Anthony Brass          12 Norma Rd                    ALFRED COVE WA 6154                                                                                       AUS        6154                              35,000                            0                    0                                        0                                           0
Dr Aveni Shashikant Haynes       3 Calpin Crescent              ATTADALE WA 6156                                                                                          AUS        6156                              31,250                            0                    0                                        0                                           0
Mr Matthew John Haynes           3 Calpin Crescent              ATTADALE WA 6156                                                                                          AUS        6156                              31,250                            0                    0                                        0                                           0
Mrs Faeghe Evans                 7 Lee Place                    BICTON WA 6157                                                                                            AUS        6157                             100,000                            0                    0                                        0                                           0
Mr George Graham &               Mrs Sandra Graham              Unit 2                        28 Aurelian Street               PALMYRA WA 6157                            AUS        6157                             508,845                            0                    0                                        0                                           0
Evervest Pty Ltd                 50A Pier Street                EAST FREMANTLE WA 6158                                                                                    AUS        6158                             363,133                            0                    0                                        0                                           0
Mr Craig William Keith Booth     PO Box 8040                    FREMANTLE WA 6160                                                                                         AUS        6160                             140,000                            0                    0                                        0                                           0
Mr Edward Albert Parr            4A Fothergill St               FREMANTLE WA 6160                                                                                         AUS        6160                              10,000                            0                    0                                        0                                           0
Mr Murray Dennis &               Mrs Julie Dennis               PO Box 8072                   HILTON WA 6163                                                              AUS        6163                             988,010                            0                    0                                        0                                           0
Mr Kevin John Hayes              29 Ainslie Ct                  KARDINYA WA 6163                                                                                          AUS        6163                              30,000                            0                    0                                        0                                           0
Mr Levi Holden                   151 Clontarf Road              HAMILTON HILL WA 6163                                                                                     AUS        6163                              21,276                            0                    0                                        0                                           0
Miss Rebekah Jayne Argent        Unit 9 1 Lomax Ct              BEELIAR WA 6164                                                                                           AUS        6164                               2,500                            0                    0                                        0                                           0
Mr Neil Graham Harrison          16 Conigrave Road              YANGEBUP WA 6164                                                                                          AUS        6164                             100,000                            0                    0                                        0                                           0
Mr Lindsay Corless               9 Summerton Rd                 MEDINA WA 6167                                                                                            AUS        6167                               2,500                            0                    0                                        0                                           0
Mr Christopher John Ridgers      7 Kawoor Mews                  BERTRAM WA 6167                                                                                           AUS        6167                              50,000                            0                    0                                        0                                           0
Mr Richard Lawrence              39 Fifth Ave                   SHOALWATER WA 6169                                                                                        AUS        6169                              70,000                            0                    0                                        0                                           0
Dr Donald Keith Martin           12 Shelton Street              WAIKIKI WA 6169                                                                                           AUS        6169                              35,428                            0                    0                                        0                                           0
Dr Donald Keith Martin &         Mr Graeme Charles Martin       <D K M Superannuation A/C>    12 Shelton Street                WAIKIKI WA 6169                            AUS        6169                             215,000                            0                    0                                        0                                           0
Mrs Catherine Elizabeth Rayner   9 Groom Mews                   WELLARD WA 6170                                                                                           AUS        6170                              30,384                            0                    0                                        0                                           0
Mr Alan Todd Mouna &             Miss Peta Michelle Markham     15 Bentley St                 SINGLETON WA 6175                                                           AUS        6175                             100,000                            0                    0                                        0                                           0
Mr Stephen Brian Fanetti         16 Jubilee Drive               PINJARRA WA 6208                                                                                          AUS        6208                               5,000                            0                    0                                        0                                           0
Mr Allan Keith Martin            74 Murray Waters BLVD          SOUTH YUNDERUP WA 6208                                                                                    AUS        6208                               1,001                            0                    0                                        0                                           0
Mr Malcolm Hubert                Bassett-Scarfe                 PO Box 5168                   FALCON WA 6210                                                              AUS        6210                              25,000                            0                    0                                        0                                           0
Est Mr Peter Cucow               1 Merryfull Road               MANDURAH WA 6210                                                                                          AUS        6210                               8,522                            0                    0                                        0                                           0
Miss Dawn Newman                 21 Whimbrel Crescent           COODANUP WA 6210                                                                                          AUS        6210                              15,000                            0                    0                                        0                                           0
Mr Akshaya Patel                 9 San Marco Quays              HALLS HEAD WA 6210                                                                                        AUS        6210                              12,500                            0                    0                                        0                                           0
Ms Samantha Jane Ramm            85 Avocet Island Qys           WANNANUP WA 6210                                                                                          AUS        6210                              48,000                            0                    0                                        0                                           0
Mr Wade Edward Shephard          12 Martin St                   EAST BUNBURY WA 6230                                                                                      AUS        6230                             150,000                            0                    0                                        0                                           0
Mr Geoffrey Ronald Whyatt        3 Magnolia Drive               GLEN IRIS WA 6230                                                                                         AUS        6230                              20,000                            0                    0                                        0                                           0
Mr Andrew Ham                    PO Box 1600                    MANJIMUP WA 6258                                                                                          AUS        6258                              10,800                            0                    0                                        0                                           0
Mr Marc Longley Jones            1 Harlequin Boulevard          KEALY WA 6280                                                                                             AUS        6280                               3,000                            0                    0                                        0                                           0
Chic Investments Pty Ltd         <Hartnup Family A/C>           PO Box 1964                   MARGARET RIVER WA 6285                                                      AUS        6285                               3,334                            0                    0                                        0                                           0
Mr David John Shephard           13 Thelma Street               AUGUSTA WA 6290                                                                                           AUS        6290                             557,421                            0                    0                                        0                                           0
Mrs Lisa Kate Bradford &         Mr Dawson Robert Bradford      Care PO                       POPANYINNING WA 6309                                                        AUS        6309                              10,000                            0                    0                                        0                                           0
Dlca Superannuation Pty Ltd      <The Dl & CA Meyer S/F A/C>    PO Box 30                     BROOMEHILL WA 6318                                                          AUS        6318                              35,000                            0                    0                                        0                                           0
Norino Pty Ltd                   <The Bloomfield Unit A/C>      PO Box 30                     BROOMEHILL WA 6318                                                          AUS        6318                              60,000                            0                    0                                        0                                           0
Acetop Holdings Pty Ltd          183 Grey St West               ALBANY WA 6330                                                                                            AUS        6330                               7,811                            0                    0                                        0                                           0
Mrs Josephine Marion Haynes      <Elizabeth Mary Haynes A/C>    PO Box 624                    DENMARK WA 6333                                                             AUS        6333                              20,763                            0                    0                                        0                                           0
Mrs Josephine Marion Haynes      <Alexandra Marie Haynes A/C>   PO Box 624                    DENMARK WA 6333                                                             AUS        6333                              20,763                            0                    0                                        0                                           0
Mr Jason Roy King                124A Wittenoom St              WEST LAMINGTON WA 6430                                                                                    AUS        6430                               2,265                            0                    0                                        0                                           0
Mrs Karen Anne King              9 Sobota St                    SOMERVILLE WA 6430                                                                                        AUS        6430                               6,000                            0                    0                                        0                                           0
Mr Daniel Jon Koric              PO Box 63                      DONGARA WA 6525                                                                                           AUS        6525                              10,000                            0                    0                                        0                                           0
Ms Emma O'Brien                  11 Ada Wynd                    WANDINA WA 6530                                                                                           AUS        6530                              25,000                            0                    0                                        0                                           0
Mr Graeme Carran                 PO Box 61                      TOODYAY WA 6566                                                                                           AUS        6566                              20,000                            0                    0                                        0                                           0
4OGGIE Pty Ltd                   <All 4OGGIES Super Fund A/C>   PO Box 423                    EXMOUTH WA 6707                                                             AUS        6707                              50,000                            0                    0                                        0                                           0
Mr Michael Ian Ogden             PO Box 423                     EXMOUTH WA 6707                                                                                           AUS        6707                              10,000                            0                    0                                        0                                           0
Mrs Marina Anita Goldschmidt     4 Rhonda Rd                    KARRATHA WA 6714                                                                                          AUS        6714                               3,530                            0                    0                                        0                                           0
Mr Darren Maxwell Humm           PO Box 7                       PORT HEDLAND WA 6721                                                                                      AUS        6721                              50,000                            0                    0                                        0                                           0
Mr Peter John Ellis              PO Box 816                     KUNUNURRA WA 6743                                                                                         AUS        6743                              47,072                            0                    0                                        0                                           0
Mrs Kerry Anne Roberts           <Roberts Investments A/C>      C/- Accolade Services         GPO Box D150                     PERTH WA 6840                              AUS        6840                              50,700                            0                    0                                        0                                           0
Avanteos Investments Limited     <5528675 Christopher A/C>      PO Box 8272                   PERTH BC WA 6849                                                            AUS        6849                              12,662                            0                    0                                        0                                           0
BT Portfolio Services Limited    < Mr P T Noonan A/C>           PO Box 8550                   PERTH BC WA 6849                                                            AUS        6849                              55,500                            0                    0                                        0                                           0
RBC Investor Services            Australia Nominees Pty Ltd     <68928 Duveen Supe A/C>       PO Box 8490                      PERTH BC WA 6849                           AUS        6849                             136,000                            0                    0                                        0                                           0
Mr Lindsay George Dudfield       <Lg Dudfield P/F A/C>          PO Box 302                    CLAREMONT WA 6910                                                           AUS        6910                             125,000                            0                    0                                        0                                           0
Mr Lindsay George Dudfield &     Mrs Yvonne Sheila Doling       Dudfield                      <Lg Dudfield Pension Fund A/C>   PO Box 302         CLAREMONT WA 6910       AUS        6910                             550,000                            0                    0                                        0                                           0
Mr Gordon John Willis            PO Box 291                     OSBORNE PARK WA 6917                                                                                      AUS        6917                             200,000                            0                    0                                        0                                           0
Mrs Lee-Anne Anderson            PO Box 1119                    SCARBOROUGH WA 6922                                                                                       AUS        6922                              18,500                            0                    0                                        0                                           0
Mrs Sherrilyn Joy Ford           PO Box 969                     SOUTH PERTH WA 6951                                                                                       AUS        6951                              40,000                            0                    0                                        0                                           0
JCV Nominees Pty Ltd             <Vegar Super Fund A/C>         PO Box 351                    APPLECROSS WA 6953                                                          AUS        6953                             200,000                            0                    0                                        0                                           0
Mr Paul Glendon Hunter           PO Box 1325                    CANNING VALE DC WA 6970                                                                                   AUS        6970                             250,000                            0                    0                                        0                                           0
Mr Chris Davies                  PO Box 1565                    EAST VICTORIA PARK WA 6981                                                                                AUS        6981                               3,600                            0                    0                                        0                                           0
Miss Katelyn Johnstone           Makada 859 Wallaroo Road       HALL ACT 2618                                                                                             AUS        2618                               3,800                            0                    0                                        0                                           0
Mr Alfred George Moufarrige      Level 57 MLC Centre            Martin Place                  SYDNEY NSW 2000                                                             AUS        2000                              50,000                            0                    0                                        0                                           0
Zhou Wenfei                      2205 Hyde Park Tower           148 Elizabeth Street          SYDNEY NSW 2000                                                             AUS        2000                              30,000                            0                    0                                        0                                           0




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                                                                                                           Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                        Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                         Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                  Name/Address 3                  Name/Address 4                 Name/Address 5          Name/Address 6           Domicile   Postcode   Fully Paid Ordinary Shares        Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Zak Investments Pty Ltd          C/- Harrison Howard & Co        36-38 Clarence Street           SYDNEY NSW 2000                                                                 AUS        2000                              20,000                              0                    0                                        0                                           0
Australian Securities Company    (International) Pty Ltd         Level 3                         72 Pitt Street                 SYDNEY NSW 2001                                  AUS        2001                              91,070                              0                    0                                        0                                           0
International Pacific Capital    Limited                         GPO Box 3486                    SYDNEY NSW 2001                                                                 AUS        2001                               5,000                              0                    0                                        0                                           0
Mr Rodney Cecil Cross            The Physics Department          UNIVERSITY OF SYDNEY NSW 2006                                                                                   AUS        2006                              50,000                              0                    0                                        0                                           0
Mr Timofey Klimov                42 Shepherd                     CHIPPENDALE NSW 2008                                                                                            AUS        2008                                    1                             0                    0                                        0                                           0
Mr Roy Simon Chassey             1 Rupert Avenue                 BELLEVUE HILL NSW 2023                                                                                          AUS        2023                              50,000                              0                    0                                        0                                           0
Aasr Pty Ltd                     Suite 531 Level 5               203 New South Head Road         EDGECLIFF NSW 2027                                                              AUS        2027                                    2                             0                    0                                        0                                           0
Mr Andrew Scarf                  Suite 531 Level 5               203 New South Head Road         EDGECLIFF NSW 2027                                                              AUS        2027                                    1                             0                    0                                        0                                           0
Lidcombe Hotel Investments       Pty Ltd                         Suite 12 401-407                New South Head Road            DOUBLE BAY NSW 2028                              AUS        2028                             360,000                              0                    0                                        0                                           0
Mr Johnson Aouad                 115 Botany Street               RANDWICK NSW 2031                                                                                               AUS        2031                             150,000                              0                    0                                        0                                           0
Mr Miles Edwin Currington        PO Box 6111                     MALABAR NSW 2036                                                                                                AUS        2036                              26,400                              0                    0                                        0                                           0
Mr Richard James                 23 A Dumbarton Street           MCMAHONS POINT NSW 2060                                                                                         AUS        2060                              15,515                              0                    0                                        0                                           0
Mr Matthew Lorimer               Unit 603                        3 Clydsdale Place               PYMBLE NSW 2073                                                                 AUS        2073                              12,000                              0                    0                                        0                                           0
Dr Newton Jayasinghe             20/153 Grosvenor Street         WAHROONGA NSW 2076                                                                                              AUS        2076                              31,250                              0                    0                                        0                                           0
Mr Grant Edgar Sievers           9-69 The Esplanade              Balmoral Beach                  MOSMAN NSW 2088                                                                 AUS        2088                               5,000                              0                    0                                        0                                           0
Mr Jun Zhao                      2410/57-72 Queen Street         AUBURN NSW 2144                                                                                                 AUS        2144                              35,000                              0                    0                                        0                                           0
Guihua Lin                       27 Gueudecourt Avenue           Earlwood                        CANTERBURY 2193                                                                 AUS        2193                               5,000                              0                    0                                        0                                           0
Xiupeng Yu                       20 Berrilie Road                BEVERLY HILLS NSW 2200                                                                                          AUS        2200                              25,000                              0                    0                                        0                                           0
Ms Susan Gai Miller              Unit 4 109 Belmore Road         PEAKHURST NSW 2210                                                                                              AUS        2210                              17,846                              0                    0                                        0                                           0
Lozada Financial Services Pty    Ltd                             P0 Box 769                      ROCKDALE NSW 2216                                                               AUS        2216                             234,375                              0                    0                                        0                                           0
Mr Steven Anthony Gibara         105 St Georges Parade           HURSTVILLE NSW 2220                                                                                             AUS        2220                             240,000                              0                    0                                        0                                           0
Mrs Yiying Ming                  Unit 4                          14-18 Connells Point Road       SOUTH HURSTVILLE NSW 2221                                                       AUS        2221                              75,000                              0                    0                                        0                                           0
Mr Joseph Dimarco &              Mr Santino James Dimarco        <The Joe Dim Super Fund A/C>    Unit C61                       1 McDonald Street       CRONULLA NSW 2230        AUS        2230                              60,000                              0                    0                                        0                                           0
Kerry Matheson Risk Management   Pty Ltd                         <KMRM P/L Super Fund A/C>       PO Box 4329                    FORSTER NSW 2428                                 AUS        2428                             180,000                              0                    0                                        0                                           0
Mr Peter Anthony Wilson          108 Waratah Drive               YARRAVEL NSW 2440                                                                                               AUS        2440                              20,000                              0                    0                                        0                                           0
Mr Patrick Brendan Hughes &      Mrs Donna Elizabeth Hughes      3324 Bruxner Highway            CASINO NSW 2470                                                                 AUS        2470                              10,000                              0                    0                                        0                                           0
Jusjentim Pty Ltd                Box 6095                        South Coast Mail Centre         WOLLONGONG NSW 2500                                                             AUS        2500                              20,000                              0                    0                                        0                                           0
Mrs Stojna Nikolich              242 Obriens Road                FIGTREE NSW 2525                                                                                                AUS        2525                              10,000                              0                    0                                        0                                           0
Mac-Stu Pty Ltd                  <McLachlan Super Fund A/C>      11 Saint Vincent Road           TUROSS HEAD NSW 2537                                                            AUS        2537                             181,150                              0                    0                                        0                                           0
Mr Stuart McLachlan              11 Saint Vincent Road           TUROSS HEAD NSW 2537                                                                                            AUS        2537                              60,000                              0                    0                                        0                                           0
Mr Michael Silm                  312 Mulhollands Road            THIRLMERE NSW 2572                                                                                              AUS        2572                             395,369                              0                    0                                        0                                           0
Mr David Terence Brewster &      Mrs Regina Angelika Brewster    PO Box 119                      ROBERTSON NSW 2577                                                              AUS        2577                              60,000                              0                    0                                        0                                           0
Mr Darren Lucas                  Little Plain                    ADAMINABY NSW 2629                                                                                              AUS        2629                              14,545                              0                    0                                        0                                           0
Locarb (Aust) Pty Limited        <Chamberlain Family S/F A/C>    PO Box 5747                     EAST WAGGA WAGGA NSW 2650                                                       AUS        2650                              40,255                              0                    0                                        0                                           0
Wallace SMSF Pty Ltd             <PJ & BM Wallace Ps/F A/C>      PO Box 8636                     WAGGA WAGGA NSW 2650                                                            AUS        2650                             500,000                              0                    0                                        0                                           0
Mr Robert Charles Preston        716 Blowering Road              TUMUT NSW 2720                                                                                                  AUS        2720                              20,000                              0                    0                                        0                                           0
Ms Cherie Dianne Payne           81 Church Street                CRANE BROOK NSW 2749                                                                                            AUS        2749                               5,000                              0                    0                                        0                                           0
Jia Zuo Chan                     7/37a Evans Street              PENRITH NSW 2750                                                                                                AUS        2750                               5,000                              0                    0                                        0                                           0
Mr Rudolf Hombergen              54 Hersey Street                GLENBROOK NSW 2773                                                                                              AUS        2773                             360,000                              0                    0                                        0                                           0
Mr Steven John Thompson          Lot 12 Cranbrook Park Road      LITTLE HARTLEY NSW 2790                                                                                         AUS        2790                              25,000                              0                    0                                        0                                           0
Mr Ian Andrew Withers            Box 407                         MUDGEE NSW 2850                                                                                                 AUS        2850                             102,500                              0                    0                                        0                                           0
Ms Louise Marjorie Bernardi      Lower Wambat Street             FORBES NSW 2871                                                                                                 AUS        2871                              50,000                              0                    0                                        0                                           0
Trinaway Pty Limited             Cottons Weir River Road         FORBES NSW 2871                                                                                                 AUS        2871                             485,000                              0                    0                                        0                                           0
Mr Stuart Edwin Frith            Box 4037                        MATARANKA NT 0852                                                                                               AUS        0852                              60,000                              0                    0                                        0                                           0
Mr Daniel Francis                Van Der Loos                    Unit 2004 21 Mary Street        BRISBANE CITY QLD 4000                                                          AUS        4000                              20,000                              0                    0                                        0                                           0
Mr James L Skelton               Unit 30 Tall Trees              3745 Pacific Highway            SLACKS CREEK QLD 4127                                                           AUS        4127                               5,000                              0                    0                                        0                                           0
Mr Roderick James McIvor         2 13-15 Illawong Street         SURFERS PARADISE QLD 4217                                                                                       AUS        4217                             200,000                              0                    0                                        0                                           0
Mrs Debbie Margaree Morgan       PO Box 9277                     BUNDALL QLD 4217                                                                                                AUS        4217                               5,164                              0                    0                                        0                                           0
Mr Garry Hafner &                Mrs Jennifer Hafner             Unit 59                         62-68 Marine Parade            COOLANGATTA QLD 4225                             AUS        4225                               8,000                              0                    0                                        0                                           0
Ms Pauline Eleanor Chisholm      PO Box 511                      ROBINA QLD 4226                                                                                                 AUS        4226                               7,000                              0                    0                                        0                                           0
Mr Timothy John Lennox &         Mrs Alison Florence Lennox      <Lennox Super Fund A/C>         PO Box 6069                    MAROOCHYDORE QLD 4558                            AUS        4558                              70,000                              0                    0                                        0                                           0
Mr Paul Henry Masters            PO Box 302                      GLADSTONE QLD 4680                                                                                              AUS        4680                               2,160                              0                    0                                        0                                           0
Mrs Gillian Beth Robertson       PO Box 1776                     GLADSTONE QLD 4680                                                                                              AUS        4680                              30,000                              0                    0                                        0                                           0
Mrs Heather Morton               Neleh Downs                     ISISFORD QLD 4731                                                                                               AUS        4731                               3,350                              0                    0                                        0                                           0
Silver Fox Super Pty Ltd         <Grey Nurse Super Fund A/C>     C/O Eungella Post Office        EUNGELLA QLD 4757                                                               AUS        4757                             232,187                              0                    0                                        0                                           0
Mr Darren John Poole             1151 Ross River Road            RASMUSSEN QLD 4815                                                                                              AUS        4815                               5,500                              0                    0                                        0                                           0
Mrs Desma Heather Morton         521 Pine Creek Road             GORDONVALE QLD 4865                                                                                             AUS        4865                               5,000                              0                    0                                        0                                           0
Mr John Walter Brooksbank        PO Box 317                      KURANDA QLD 4881                                                                                                AUS        4881                             180,000                              0                    0                                        0                                           0
Mr Robert Quentin Davis &        Mrs June Bernadette Davis       <R & J Davis Super Fund A/C>    Res 2102 South Shields         Private Mail Bag 90     GOLD COAST MC QLD 9726   AUS        9726                              15,000                              0                    0                                        0                                           0
Dr Josefina David                PO Box 356                      MAGILL SA 5072                                                                                                  AUS        5072                               3,000                              0                    0                                        0                                           0
Ms Valery Jeanette Nipperess     156 Seaview Rd                  YATALA VALE SA 5126                                                                                             AUS        5126                              11,000                              0                    0                                        0                                           0
Elba Investments Pty Ltd         <Elba A/C>                      A'Beckett Street Post Office    PO Box 12883                   MELBOURNE VIC 3000                               AUS        3000                              80,000                              0                    0                                        0                                           0
Seymour Super Fund Pty Ltd       <Seymour Super Fund A/C>        C/- Acorn Financial Group       Level 4                        157 Spring Street       MELBOURNE VIC 3000       AUS        3000                              57,000                              0                    0                                        0                                           0
Citicorp Nominees Pty Limited    GPO Box 764G                    MELBOURNE VIC 3001                                                                                              AUS        3001                            7,671,566                             0                    0                                        0                                           0
Navigator Australia Ltd          <MLC Investment Sett A/C>       Attention Custody               Level 5                        700 Bourke Street       DOCKLANDS VIC 3008       AUS        3008                             615,000                              0                    0                                        0                                           0
Ferdinand Zito & Associates      Pty Ltd                         <The Ferdinand Zito S/F A/C>    PO Box 2216                    IVANHOE VIC 3079                                 AUS        3079                            1,150,000                             0                    0                                        0                                           0
Ms Dora Aspridis                 30 Glenair Street               TEMPLESTOWE LOWER VIC 3107                                                                                      AUS        3107                               9,300                              0                    0                                        0                                           0
Mr Sing Ting                     <Ting Family S/F A/C>           9 Ranfurlie Drive               GLEN WAVERLEY VIC 3150                                                          AUS        3150                             140,000                              0                    0                                        0                                           0
Benford Pty Ltd                  4/202 The Esplanade             BRIGHTON VIC 3186                                                                                               AUS        3186                             100,000                              0                    0                                        0                                           0
Benford Pty Ltd                  <The A Pellicano Family A/C>    Unit 4                          202 The Esplanade              BRIGHTON VIC 3186                                AUS        3186                             400,000                              0                    0                                        0                                           0
Essential Superannuation Pty     Ltd                             <Essential Super Fund A/C>      4/202 The Esplanade            BRIGHTON VIC 3186                                AUS        3186                             143,071                              0                    0                                        0                                           0
Mr John Waddington               C/-Lindsay Brown & Associates   Level 1                         250 Bay Street                 BRIGHTON VIC 3186                                AUS        3186                             206,800                              0                    0                                        0                                           0
Ms Carol Ann Merrett             15/57 Tibrockney Street         HIGHETT VIC 3190                                                                                                AUS        3190                               6,000                              0                    0                                        0                                           0
Mr Lester McMahon                230 Frankston Dandenong Road    FRANKSTON NORTH VIC 3200                                                                                        AUS        3200                              32,807                              0                    0                                        0                                           0
BCP Superannuation Fund Pty      Ltd                             <BCP Superannuation Fund A/C>   C/- Patrick Rowan Associates   24 Moorabool Street     GEELONG VIC 3220         AUS        3220                             440,000                              0                    0                                        0                                           0
Bindarah Farming Pty Ltd         <Pj&Jm Theodore Family A/C>     20 Scanlan Dr                   ELLIMINYT VIC 3250                                                              AUS        3250                             290,000                              0                    0                                        0                                           0
Bridview Pty Ltd                 <Ivan Boyd Family A/C>          385 Cobden Road                 CAMPERDOWN VIC 3260                                                             AUS        3260                             190,000                              0                    0                                        0                                           0
Lilyscout Pty Ltd                <Pickles Super Fund A/C>        36 O'Connell Avenue             TOOLERN VALE VIC 3337                                                           AUS        3337                               8,157                              0                    0                                        0                                           0
Mr Laurence Keith Darker &       Mrs Suzanne Maree Darker        <The L And S Darker SF A/C>     184-Avoca Road                 STAWELL VIC 3380                                 AUS        3380                             100,000                              0                    0                                        0                                           0
Mr Benjamin James Hunt           121 Volcano Road                ST ARNAUD VIC 3478                                                                                              AUS        3478                                    20                            0                    0                                        0                                           0
Mr Mark Francis McLoughlan       C/- Box 831                     BENDIGO VIC 3552                                                                                                AUS        3552                               8,000                              0                    0                                        0                                           0
Ms Kerry Lynne Schubert          39 Talgarno Centenary Road      TALGARNO VIC 3691                                                                                               AUS        3691                              15,000                              0                    0                                        0                                           0
B S D Investments Pty Ltd        <BSD Super Fund A/C>            PO Box 7280                     ST KILDA ROAD VIC 8004                                                          AUS        8004                              35,000                              0                    0                                        0                                           0
Mr Clinton Cherry                22 138 MTS Bay Road             PERTH WA 6000                                                                                                   AUS        6000                              32,000                              0                    0                                        0                                           0
Mr David John Adams              RMB 310                         CRANBROOK WA 6321                                                                                               AUS        6321                              10,000                              0                    0                                        0                                           0
Mr Michael Charles Lawrie        PO Box 1183                     GERALDTON WA 6530                                                                                               AUS        6530                              35,000                              0                    0                                        0                                           0
Mr Ben Moran                     PO Box 1828                     OSBORNE PARK WA 6917                                                                                            AUS        6917                              25,000                              0                    0                                        0                                           0




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                                                                                                            Common Class Shareholders - Exhibit A to Equity Security Holders

                                                                                                                                                                                                                                                                                            Unlist. Opt. $0.175 Tranches -
                                                                                                                                                                                                                                             Redeemable Convertible       Redeemable        29/1/16,29/7/16,29/1/17,29/7/17,29/1/18,2
Name/Address 1                   Name/Address 2                 Name/Address 3                  Name/Address 4                   Name/Address 5              Name/Address 6           Domicile   Postcode   Fully Paid Ordinary Shares       Preference Shares            Preference Shares 9/7/18,29/1/19,29/6/19                      Unlisted Options $0.25 exp 3 Jun 2016
Mr Patrick John Smith            PO Box 32465                   ABU DHABI                       UNITED ARAB EMIRATES                                                                  ARE                                        1,000,000                            0                    0                                        0                                           0
BXR 1 Holdings Inc               22 St Clair Avenue E           Suite 1200                      Toronto                          ONTARIO M4T 2S3             CANADA                   CAN                                        1,454,545                            0                    0                                        0                                           0
Mr James Douglas Price &         Mrs Talei Frances Kunkel       455 Roehampton Avenue           Toronto Ont                      M4P 1S3                     CANADA                   CAN                                         250,000                             0                    0                                        0                                           0
Beston Limited                   C/- A K Rath                   Level 2 Na Porici 19            11000 PRAGUE 1                   CZECH REPUBLIC                                       CZE                                         125,000                             0                    0                                        0                                           0
Mr Olivier Filipowicz            40 Rue Des Saules              75018 PARIS                     FRANCE                                                                                FRA                                           5,000                             0                    0                                        0                                           0
Mr John Terence Kilford          Granary Cottage                New Road Swanwick               SOUTHAMPTON SO31 7HE             UNITED KINGDOM                                       GBR                                         100,000                             0                    0                                        0                                           0
Sunvest Corporation Limited      34 Weymouth Street             LONDON W1G 6NH                  UNITED KINGDOM                                                                        GBR                                           8,000                             0                    0                                        0                                           0
Yeildhigh Group Limited          Rm 2101-3                      Yardley Commercial Building     3 Connaught Road West            HONGKONG                    HONG KONG                HKG                                          25,000                             0                    0                                        0                                           0
Mr Bernard Fehaze Ali &          Mrs Anshu Mala Singh           38B Westerham Drive             DANNEMORA AUCKLAND 2016          NEW ZEALAND                                          NZL                                          32,000                             0                    0                                        0                                           0
Asb Nominees Limited             <130368 - Ml A/C>              PO Box 35                       AUCKLAND 1015                    NEW ZEALAND                                          NZL                                        2,245,000                            0                    0                                        0                                           0
Asb Nominees Limited             <680221 A/C>                   PO Box 35 Shortland Street      AUCKLAND 1140                    NEW ZEALAND                                          NZL                                         175,543                             0                    0                                        0                                           0
Asb Nominees Limited             < 681057 A/C>                  PO Box 35                       Shortland Street Auckland 1140                               NEW ZEALAND              NZL                                         250,000                             0                    0                                        0                                           0
Asb Nominees Limited             <376951 - A/C>                 PO Box 35 Shortland Street      AUCKLAND 1140                    NEW ZEALAND                                          NZL                                         200,000                             0                    0                                        0                                           0
Asb Nominees Limited             Account 576079                 PO Box 35 Shortland Street      AUCKLAND 1140                    NEW ZEALAND                                          NZL                                         250,000                             0                    0                                        0                                           0
Mrs Janet Backhouse              PO Box 14470                   Kilbirnie                       WELLINGTON 6241                  NEW ZEALAND                                          NZL                                        2,250,000                            0                    0                                        0                                           0
Mr Edward Allan Ewart Badham &   Mrs Lois Jennifer Badham       20 Maxine Place                 SAINT HELIERS AUCKLAND 1071      NEW ZEALAND                                          NZL                                         140,000                             0                    0                                        0                                           0
Ms Eileen Anne Badham &          Ms Robyn Hopkins               <Eileen Badham Family A/C>      2/294 St Johns Road              SAINT JOHNS AUCKLAND 1072   NEW ZEALAND              NZL                                          32,000                             0                    0                                        0                                           0
Mr Brian Robert Stafford-Bush    19 Norwood Road                Bayswater                       AUCKLAND 0622                    NEW ZEALAND                                          NZL                                         750,000                             0                    0                                        0                                           0
Mr Arvind Chhibber &             Mrs Kiran Chhibber             24B Karaka Street               New Lynn                         AUCKLAND 0600               NEW ZEALAND              NZL                                           7,000                             0                    0                                        0                                           0
John Alexander Brodie            Crawford                       4 Erskine Close                 Island Bay                       WELLINGTON 6002             NEW ZEALAND              NZL                                          30,000                             0                    0                                        0                                           0
Mrs Kelly Jean Cullum            39A Noall Street               TE ATATU PENINSULA AUCKL 0610   NEW ZEALAND                                                                           NZL                                           2,000                             0                    0                                        0                                           0
Todd Stuart Ross Dalzell         20 Roswell Place               Islington                       CHRISTCHURCH 8042                NEW ZEALAND                                          NZL                                        1,000,000                            0                    0                                        0                                           0
Mr Paul Robert Davey             15 Kittyhawk Drive             RD 1 TAUPO 3377                 NEW ZEALAND                                                                           NZL                                           7,500                             0                    0                                        0                                           0
Mrs Joanna Elizabeth Demanser    85 Hill Road                   RD2                             NAPIER 4182                      NEW ZEALAND                                          NZL                                           3,670                             0                    0                                        0                                           0
Mrs Joanna Elizabeth Demanser    185 Whirinaki Rd               R D 2 NAPIER 4021               NEW ZEALAND                                                                           NZL                                           8,845                             0                    0                                        0                                           0
Mr Sean Dennehy                  26 Kent Road St Johns Hill     WHANGANUI 4501                  NEW ZEALAND                                                                           NZL                                        1,572,221                            0                    0                                        0                                           0
Mr Maurice James Edgar &         Mrs Irene Carole Edgar         11 Kulim Avenue                 Bureta                           TAURANGA 3001               NEW ZEALAND              NZL                                          60,000                             0                    0                                        0                                           0
Mrs Rosheen Finlay               30 Ploughmans Avenue           Pukekohe                        AUCKLAND 2120                    NEW ZEALAND                                          NZL                                         180,000                             0                    0                                        0                                           0
Mr Robert Wayne Hammerton        12 Allen Johnston Place        SAINT JOHNS AUCKLAND 1072       NEW ZEALAND                                                                           NZL                                          24,000                             0                    0                                        0                                           0
Elinda Hartley                   70 Ava Street                  Petone                          HUTT CITY 5012                   NEW ZEALAND                                          NZL                                         260,000                             0                    0                                        0                                           0
Elinda Hartley                   70 Ava Street                  Petone                          HUTT CITY 5012                   NEW ZEALAND                                          NZL                                           5,000                             0                    0                                        0                                           0
Henry Berry Corporation          Limited                        PO Box 36                       AUCKLAND 1140                    NEW ZEALAND                                          NZL                                         200,000                             0                    0                                        0                                           0
Mrs Lisa Jane Hopper             32 Top Road                    Rd 2                            ALBANY 0792                      NEW ZEALAND                                          NZL                                           6,100                             0                    0                                        0                                           0
Mr Bertrand Rowan Ingram         703 Rainbow Avenue             PARKVALE HASTINGS 4122          NEW ZEALAND                                                                           NZL                                          20,000                             0                    0                                        0                                           0
Mrs Jean Jellie &                Mr Gary John Jellie            150 Sewell Street               HOKITIKA 7810                    NEW ZEALAND                                          NZL                                          12,000                             0                    0                                        0                                           0
Dr Iain Andrew Kirkwood          42 James Drive                 RD1 Lyttelton                   CAN 8971                         NEW ZEALAND                                          NZL                                          15,000                             0                    0                                        0                                           0
Mr Andrew John Van Lier          4A Mornin Street               Ellerslie                       AUCKLAND 1015                    NEW ZEALAND                                          NZL                                          50,000                             0                    0                                        0                                           0
Mr Peter Gilbert Campbell        Mackay &                       Mrs Devon Anne Mackay           <Mackay Family P/Ship A/C>       PO BOX 151 OHAKUNE 4660     NEW ZEALAND              NZL                                          20,000                             0                    0                                        0                                           0
John Meyer & Sheryl Leigh Tim    & Clive Jackson Trustee Ltd    <The Meyer Tim A/C>             PO Box 387                       DARGAVILLE 0340             NEW ZEALAND              NZL                                          10,000                             0                    0                                        0                                           0
Mr Colin Roy Middleton           69 Stanley Avenue              TE AROHA 3320                   NEW ZEALAND                                                                           NZL                                           1,000                             0                    0                                        0                                           0
Mrs Margaret Alice Mortell       84E Horsham Downs Road         Rototuna North                  HAMILTON 3210                    NEW ZEALAND                                          NZL                                         105,000                             0                    0                                        0                                           0
Mr Brian Joseph Orr              148 Methuen Road               NEW WINDSOR AUCKLAND 0600       NEW ZEALAND                                                                           NZL                                          60,000                             0                    0                                        0                                           0
Mr Ross Alexander Osborne        9 Memorial Drive               PARAHAKI WHANGAREI 0112         NEW ZEALAND                                                                           NZL                                           3,000                             0                    0                                        0                                           0
Mr Bernard Francis Preston       92 Sale Street                 HOKOTIKA 7810                   NEW ZEALAND                                                                           NZL                                         117,300                             0                    0                                        0                                           0
Mr Hangarkata Arun Rao           25 Crossandra Drive            MANGERE AUCKLAND 2022           NEW ZEALAND                                                                           NZL                                          95,000                             0                    0                                        0                                           0
Mr Christopher Geoffrey Ryan     PO Box 90625                   Victoria Street West            AUCKLAND 1142                    NEW ZEALAND                                          NZL                                           9,000                             0                    0                                        0                                           0
Smart Investments Limited        17 Bens Place                  Springvale                      WHANGANUI 4501                   NEW ZEALAND                                          NZL                                        1,111,111                            0                    0                                        0                                           0
Mr Gregory Maurice Wayne         Smith &                        Mrs Maria Anne Smith            255 Wharawhara Road              RD 2 KATIKATI 3178          NEW ZEALAND              NZL                                          10,000                             0                    0                                        0                                           0
Robert Peng Yeow Tham            PO Box 7050                    Wellesley Street                AUCKLAND 1141                    NEW ZEALAND                                          NZL                                         100,000                             0                    0                                        0                                           0
Mr David John Thomas             79 Keith Street                WANGANUI 4500                   NEW ZEALAND                                                                           NZL                                          30,000                             0                    0                                        0                                           0
Mr Neville Thornley              347 Connell Street             Blockhouse Bay                  AUCKLAND 1007                    NEW ZEALAND                                          NZL                                           5,000                             0                    0                                        0                                           0
Mr Ronald Walter Topping         63 Koraha Road                 RD 2 KUMEU 0892                 NEW ZEALAND                                                                           NZL                                         500,000                             0                    0                                        0                                           0
Mr Michael Rodney Arlington      Turner                         PO Box 36181                    MERIVALE CHRISTCHURCH 8146       NEW ZEALAND                                          NZL                                         500,000                             0                    0                                        0                                           0
John Mark Oliver Wood            PO Box 2495                    WELLINGTON 6140                 NEW ZEALAND                                                                           NZL                                         507,000                             0                    0                                        0                                           0
Est Peter Young                  C/- Treadwells                 PO Box 859                      WELLINGTON 6140                  NEW ZEALAND                                          NZL                                          50,000                             0                    0                                        0                                           0
Mr Michael Hannon                PO Box 354                     GOROKA EHP                      PAPUA NEW GUINEA                                                                      PNG                                         100,000                             0                    0                                        0                                           0
Mrs Vanessa Hickey               230 Rc/D Henrique Seixas       CASCAIS 2750-375                PORTUGAL                                                                              PRT                                         100,000                             0                    0                                        0                                           0
DBS Vickers Securities           (Singapore) Pte Ltd            <Client Account>                12 Marina Boulevard #10-01       MBFC TOWER 3                SINGAPORE                SGP                                          60,000                             0                    0                                        0                                           0
Kwang Hou Hung                   20 Newton Road                 #23-06 Amaryllis Ville          307953                           SINGAPORE                                            SGP                                      36,960,787                             0                    0                                        0                                           0
Mr Cher Tze Hang Matthias        36 WILKINSON ROAD              SINGAPORE                                                                                                             SGP                                        2,620,357                            0                    0                                        0                                           0
Mrs Linda Adrey                  1726 Mission Springs Drive     KATY TX 77450                   USA                                                                                   USA                                        3,827,234                            0                    0                                        0                                           0
Mr Richard A Adrey               1726 Mission Springs Drive     KATY TX 77450                   USA                                                                                   USA                                        6,013,565                            0                    0                                        0                                           0
Richard A Adrey &                Linda K Adrey                  <Wros A/C>                      1726 Mission Springs Drive       KATY TEXAS 77450            USA                      USA                                        5,000,000                            0                    0                               10,000,000                                           0
Mr Richard Adrey                 1726 Mission Springs Dr        KATY TX 77450-5083              USA                                                                                   USA                                        2,754,521                            0                    0                                        0                                           0
Mr Ruben Alba                    C/- Fresco LLC                 11245 River Run Parkway         HENDERSON CO 80640               USA                                                  USA                                          32,000                             0                    0                                        0                                           0
Mr John M Durkee                 1125 East 49th Place           TULSA OK 74105                  USA                                                                                   USA                                         692,000                             0                    0                                        0                                           0
Mr John Durkee                   1125 E 49th Place              TULSA OK 74105                  USA                                                                                   USA                                           4,112                             0                    0                                        0                                           0
Mr Bruce Forman                  17847 Porto Merihe Way         PACIFIC PALISADES CA 90272      USA                                                                                   USA                                                0                            0            2,515,804                                        0                                           0
Dan Fulkerson                    <Est Late B R Fulkerson A/C>   2900 N Loop W #500              HOUSTON TX 77092                 USA                                                  USA                                         600,000                             0                    0                                        0                                           0
Ms Hollie Heldmann               2531 E 57th Street             TULSA OK 74105                  USA                                                                                   USA                                          50,000                             0                    0                                        0                                           0
Ms Amy Holbrook                  520 Chiquita Road              SANTA BARBARA CA 93103          UNITED STATES OF AMERICA                                                              USA                                          73,738                             0                    0                                        0                                           0
Mr Michael Jacobs                3920 Curtis Circle             Boca Raton                      FLORIDA 33434                    USA                                                  USA                                          24,077                             0                    0                                        0                                           0
Ptolemy Energy Holdings LLC      C/- Morrison Cohen LLP         Attn: David Lagalia Esq         909 Third Avenue                 NY NY10022-4784             USA                      USA                                                0                98,104,082              88,248,007                                        0                                           0
Sebastes Capital LLC             One Maritime Plaza             Suite 2250                      SAN FRANCISCO CA 94111           USA                                                  USA                                        9,050,000                            0                    0                                        0                                           0
Michael Stone                    1505 Buckingham Drive          La Jolle                        CALIFORNIA 92037                 USA                                                  USA                                                0                            0                    0                                2,000,000                                           0
Nicholas James Stone             710 Patrol Road                Woodside                        CALIFORNIA 94062                 USA                                                  USA                                                0                            0                    0                                2,000,000                                           0
The Hewlett Fund                 20 East Sunrise Highway        Suite 302                       VALLEY STREAM NY 11581           USA                                                  USA                                          17,387                             0                    0                                        0                                           0
Weider Health & Fitness          20750 Ventura BLVD Suite 310   WOODLANDS HILLS CA 91367        USA                                                                                   USA                                                0                13,108,476              12,048,974                                        0                                           0
Young Capital Partners Lp        2800 Neilson Way #503          Santa Monica                    CA 90405                         USA                                                  USA                                                0                            0            6,100,443                                        0                                           0
Mr George Euvrard De Kock        PO Box 206                     CALEDON 7230                    SOUTH AFRICA                                                                          ZAF                                         100,000                             0                    0                                        0                                           0




                                                                                                                                                                           22 of 22
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Revised 02/2012



                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      AusTex Oil Limited                                                                             Case No.
                                                                                  Debtor(s)                Chapter    11


                                               VERIFICATION AS TO OFFICIAL CREDITOR LIST

                                                                                   Original
                                                                                   Amendment
                                                                            Add             Delete
        I hereby certify under penalty of perjury that the master mailing list of creditors submitted either on the Creditor
List Submission application, or uploaded to the Electronic Case Filing System is a true, correct and complete listing to the
best of my knowledge.

         I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are the shared
responsibility of the debtor and the debtor’s attorney, (2) the court will rely on the creditor listing for all mailings, and (3)
that the various schedules and statements required by the Bankruptcy Rules are not used for mailing purposes.

        If this filing is an amendment to the creditor list, indicate only the number of creditors being added or to be
deleted at this time. (For verification purposes, attach a list of the creditors being submitted, uploaded, or to be
deleted.)

               1920        # of Creditors (or if amended, # of creditors added)

Method of submission:
       a)    X     uploaded to Electronic Case Filing System; or
       b) _______Creditor List Submission application (to be used by Pro Se filers, found on the Court’s website at
                    www.oknb.uscourts.gov, or available in the Clerk’s Office)
__________# of Creditors (on attached list) to be deleted

 /s/ Richard A. Adrey
 Debtor Signature                                                             Joint Debtor Signature
 Address:(if not represented by an attorney)                                  Address:(if not represented by an attorney)


 Phone:(if not represented by an attorney)                                    Phone:(if not represented by an attorney)


 /s/ Gary M. McDonald                                                         Date: June 3, 2019
 Attorney Signature
 Gary M. McDonald 5960                                                        [Check if applicable]
 McDonald & Metcalf, LLP                                                         Creditors with foreign addresses included
 15 E. 5th Street, Suite 1400
 Tulsa, OK 74103-0000
 918.430.3700

 gmcdonald@mmmsk.com




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x




                      0581 Pty Ltd
                      <0581 Investment A/C>
                      GPO Box 5382
                      SYDNEY NSW 2001
                      AUS

                      10Q Capital Pty Ltd
                      <Faggianelli Family A/C>
                      10 Kiora Street
                      ESSENDON VIC 3040
                      AUS

                      31 May Pty Ltd
                      PO Box 5382
                      SYDNEY NSW 2001
                      AUS

                      31 May Pty Ltd
                      GPO Box 5382
                      SYDNEY NSW 2001
                      AUS

                      48 Large Pty Ltd
                      PO Box 1234
                      NEUTRAL BAY JUNCTION NSW 2089
                      AUS

                      4OGGIE Pty Ltd
                      <All 4OGGIES Super Fund A/C>
                      PO Box 423
                      EXMOUTH WA 6707
                      AUS

                      789 Pty Ltd
                      GPO Box 5382
                      SYDNEY NSW 2001
                      AUS

                      789 Pty Ltd
                      GPO Box 5382
                      SYDNEY NSW 2001
                      AUS

                      Aaron James Kline
                      8 Reid Street
                      BROWN HILL VIC 3350
                      AUS

                      Aasr Pty Ltd
                      Suite 531 Level 5
                      203 New South Head Road
                      EDGECLIFF NSW 2027
                      AUS
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                  Abrir Pty Ltd
                  <Lucas Super Fund A/C>
                  628 Canterbury Road
                  VERMONT VIC 3133
                  AUS

                  Access Atpl Super Pty Ltd
                  <Access Atpl Super Fund A/C>
                  Unit 1205 1 Brodie Spark Dr
                  WOLLI CREEK NSW 2205
                  AUS

                  Accounting Strategists Pty Ltd
                  <Accounting Strategists A/C>
                  62 McComb Boulevard
                  FRANKSTON SOUTH VIC 3199
                  AUS

                  Acemac Pty Limited
                  <Mac Super A/C>
                  14 Tanderra Street
                  WAHROONGA NSW 2076
                  AUS

                  Acetop Holdings Pty Ltd
                  183 Grey St West
                  ALBANY WA 6330
                  AUS

                  Activitas Investment
                  Group Ltd
                  GPO Box 4246
                  SYDNEY NSW 2001
                  AUS

                  Activitas Investment Group
                  Ltd
                  GPO Box 4246
                  SYDNEY NSW 2001
                  AUS

                  Admiration Pty Ltd
                  30 Oxford Road
                  STRATHFIELD NSW 2135
                  AUS

                  Afresea Pty Ltd
                  9 Roper Pl
                  EAST KILLARA NSW 2071
                  AUS

                  Agland Enterprises Pty Ltd
                  21 Jonas Absalom Drive
                  PORT MACQUARIE NSW 2444
                  AUS
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                  Aj Growth Pty Ltd
                  <Aj Growth A/C>
                  54 Arthurs Avenue
                  MCCRAE VIC 3938
                  AUS

                  Ajh & KLH Retirement Fund Pty
                  Ltd
                  <Ajh & KLH Superfund A/C>
                  58 Prince St
                  ORANGE NSW 2800 AUS

                  Aki SF Pty Ltd
                  <Aki Superannuation Fund A/C>
                  54 Norman St
                  INNALOO WA 6018
                  AUS

                  Alan & Gillian Robson Pty Ltd
                  <The Robson Family SMSF A/C>
                  15 Marigold Street
                  WOONGARRAH NSW 2259
                  AUS

                  Albany Pty Ltd
                  PO Box 4022
                  MELBOURNE UNIVERSITY VIC 3052
                  AUS

                  Algeni Pty Ltd
                  <The Urry Family S/F A/C>
                  PO Box 150
                  GALSTON NSW 2159
                  AUS

                  Algoma Steel Pty Ltd
                  <Terence Kavanagh Family A/C>
                  2 Scott Court
                  NOVAR GARDENS SA 5040
                  AUS

                  Algoma Steel Pty Ltd
                  <Kavanagh Super Fund A/C>
                  2 Scott Court
                  NOVAR GARDENS SA 5040
                  AUS

                  All Positive Pty Ltd
                  30 Oxford Road
                  STRATHFIELD NSW 2135
                  AUS
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                  Altmiks Investment Pty Ltd
                  <Altmiks Family A/C>
                  Unit 52 11 Sutherland Cres
                  DARLING POINT NSW 2027
                  AUS

                  Anm Momentum Pty Ltd
                  54 Arthurs Avenue
                  MCCRAE VIC 3938
                  AUS

                  Appleton Pty Ltd
                  10 George Street
                  EAST MAITLAND NSW 2323
                  AUS

                  Aprinall Pty Ltd
                  <Aprinall Super Fund A/C>
                  PO Box 111
                  BELCONNEN ACT 2616
                  AUS

                  Archmedia Pty Ltd
                  <B & P O'Connor S/F A/C>
                  259 Barkers Road
                  KEW VIC 3101
                  AUS

                  Ardeen Pty Ltd
                  PO Box 231
                  STEPNEY SA 5069
                  AUS

                  Ari Nominees Pty Ltd
                  <J F Family A/C>
                  8 Hannaby Street
                  DIANELLA WA 6059
                  AUS

                  Aria Strangio
                  1/126 Grand Boulevard
                  JOONDALUP WA 6027
                  AUS

                  Ars Magna Pty Ltd
                  54 Alexander Street
                  MANLY NSW 2095
                  AUS

                  As & Jr Libbis Pty Limited
                  <Libbis Family A/C>
                  11A Brate Street
                  BRONTE NSW 2024
                  AUS
Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 66 of 257



                  Asaf Pty Ltd
                  <Farrugia Superannuation A/C>
                  U 2 28 Evandale Crescent
                  MIAMI QLD 4220
                  AUS

                  Asb Nominees Limited
                  <130368 - Ml A/C>
                  PO Box 35
                  AUCKLAND 1015
                  NEW ZEALAND

                  Asb Nominees Limited
                  <680221 A/C>
                  PO Box 35 Shortland Street
                  AUCKLAND 1140
                  NEW ZEALAND

                  Asb Nominees Limited
                  <376951 - A/C>
                  PO Box 35 Shortland Street
                  AUCKLAND 1140
                  NEW ZEALAND

                  Asb Nominees Limited
                  Account 576079
                  PO Box 35 Shortland Street
                  AUCKLAND 1140
                  NEW ZEALAND

                  Asb Nominees Limited
                  PO Box 35
                  Shortland Street Auckland 1140
                  NEW ZEALAND NZL

                  Asc Resources Pty Ltd
                  GPO Box 5188
                  SYDNEY NSW 2001
                  AUS

                  Aspect Australia Pty Limited
                  PO Box 1097
                  CRONULLA NSW 2230
                  AUS

                  Aspect Australia Pty Ltd
                  <Super Fund A/C>
                  PO Box 1097
                  CRONULLA NSW 2230
                  AUS

                  Asset Capital Pty Ltd
                  94 Border Street
                  ERARING NSW 2264
                  AUS
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                  Augusta Corporation
                  9 Augusta Street
                  STRATHFIELD NSW 2135
                  AUS

                  AusTex HoldCo, LLC
                  1801 E. 71st Street
                  Tulsa, OK 74136

                  Austrailian Securities & Investment Comm
                  Locked Bag 5000
                  Gippsland Mail Centre Victoria 3841
                  Australia

                  Australian Executor Trustees
                  Limited
                  <No 1 Account>
                  GPO Box 546
                  ADELAIDE SA 5001 AUS

                  Australian Securities Company
                  (International) Pty Ltd
                  GPO Box 5188
                  SYDNEY NSW 2001
                  AUS

                  Australian Securities Company
                  (International) Pty Ltd
                  Level 3
                  72 Pitt Street
                  SYDNEY NSW 2001 AUS

                  Avanteos Investments Limited
                  <5528675 Christopher A/C>
                  PO Box 8272
                  PERTH BC WA 6849
                  AUS

                  B S D Investments Pty Ltd
                  <BSD Super Fund A/C>
                  PO Box 7280
                  ST KILDA ROAD VIC 8004
                  AUS

                  Bainpro Nominees Pty Limited
                  GPO Box 7033
                  SYDNEY NSW 2001
                  AUS

                  Balcara Enterprises Pty Ltd
                  <Hensman Super Fund A/C>
                  PO Box 386
                  COTTON TREE QLD 4558
                  AUS
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                  Bandara Investments Pty Ltd
                  <Bandara Super A/C>
                  PO Box 7472
                  BEAUMARIS VIC 3193
                  AUS

                  Bark (NSW) Pty Ltd
                  <Bark A/C>
                  321 Lakedge Avenue
                  BERKELEY VALE NSW 2261
                  AUS

                  Barroseven Pty Limited
                  42 Shepherd Street
                  CHIPPENDALE NSW 2008
                  AUS

                  BCP Superannuation Fund Pty LTD
                  <BCP Superannuation Fund A/C>
                  C/- Patrick Rowan Associates
                  24 Moorabool Street
                  GEELONG VIC 3220 AUS

                  Beachbum Holdings Pty Ltd
                  <Scott Superfund A/C>
                  6 Ritchie Crescent
                  TAREE NSW 2430
                  AUS

                  Beltana Contracting Pty Ltd
                  <Magro Super Fund A/C>
                  18 The Rampart
                  UMINA BEACH NSW 2257
                  AUS

                  Benbecca Pty Ltd
                  <Seymour Super Fund A/C>
                  PO Box 653
                  SPIT JUNCTION NSW 2088
                  AUS

                  Benevolence Pty Ltd
                  30 Oxford Road
                  STRATHFIELD NSW 2135
                  AUS

                  Benford Pty Ltd
                  4/202 The Esplanade
                  BRIGHTON VIC 3186
                  AUS
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                  Benford Pty Ltd
                  <The A Pellicano Family A/C>
                  Unit 4
                  202 The Esplanade
                  BRIGHTON VIC 3186 AUS

                  Beniac-Brooks Super Fund Pty
                  Ltd
                  <Beniac-Brooks S/F A/C>
                  PO Box 2045
                  KEW VIC 3101 AUS

                  Benjamin Fischer, Esq.
                  Morvillo Abramowitz Grand Iason & Anello
                  565 5th Avenue
                  New York, NY 10017-4000

                  Benson Family Pty Ltd
                  PO Box 4022
                  MELBOURNE UNIVERSITY VIC 3052
                  AUS

                  Beston Limited
                  C/- A K Rath
                  Level 2 Na Porici 19
                  11000 PRAGUE 1
                  CZECH REPUBLIC CZE

                  Bindarah Farming Pty Ltd
                  <Pj&Jm Theodore Family A/C>
                  20 Scanlan Dr
                  ELLIMINYT VIC 3250
                  AUS

                  Bje Investement Pty Ltd
                  <Bje Investment Fund A/C>
                  7 Spinks Close
                  WATTLE PONDS NSW 2330
                  AUS

                  Blaak Pty Ltd
                  12 Portland St
                  COBURG VIC 3058
                  AUS

                  Blacksquare Pty Ltd
                  <The Blacksquare Invt A/C>
                  PO Box 1287
                  KENMORE QLD 4069
                  AUS
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                  Blackwood Grace Pty Ltd
                  <Specialty Chickens Pl SF A/C>
                  111 Websters Road
                  TEMPLESTOWE VIC 3106
                  AUS

                  Blue Frog Company Pty Ltd
                  <Blue Frog Super Fund A/C>
                  GPO Box 5382
                  SYDNEY NSW 2001
                  AUS

                  Blue Frog Company Pty Ltd
                  GPO Box 5382
                  SYDNEY NSW 2001
                  AUS

                  BNP Paribas Nominees Pty Ltd
                  <KCG Prop DRP A/C>
                  PO Box R209
                  ROYAL EXCHANGE NSW 1225
                  AUS

                  BNP Paribas Nominees Pty Ltd
                  <Ib Au Noms Retailclient DRP>
                  PO Box R209
                  ROYAL EXCHANGE NSW 1225
                  AUS

                  BNP Paribas Nominees Pty Ltd
                  HUB24 Custodial Serv Ltd DRP
                  PO Box R209
                  ROYAL EXCHANGE NSW 1225
                  AUS

                  BNP Paribas Noms Pty Ltd
                  <DRP>
                  PO Box R209
                  ROYAL EXCHANGE NSW 1225
                  AUS

                  BNP Paribas Noms Pty Ltd
                  <Uob Kay Hian Priv Ltd DRP>
                  PO Box R209
                  ROYAL EXCHANGE NSW 1225
                  AUS

                  Boardroom Pty Limited
                  Level 12, 225 George Street
                  Sydney, NSW 2000 Austrailia
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                  Bold & Bountiful Pty Ltd
                  <55/63 Private Super A/C>
                  11 McNaught Street
                  BEAUMARIS VIC 3193
                  AUS

                  Bolkonsky Holdings Pty Ltd
                  PO Box 4022
                  MELBOURNE UNIVERSITY VIC 3052
                  AUS

                  Bonclyde Pty Ltd
                  <A V Super Fund A/C>
                  38 Saunders Street
                  COBURG VIC 3058
                  AUS

                  Bond Street Custodians Limited
                  <Aaaswp - V11822 A/C>
                  GPO Box 4067
                  SYDNEY NSW 2001
                  AUS

                  Bond Street Custodians Limited
                  <Tsykes - R94231 A/C>
                  GPO Box 4067
                  SYDNEY NSW 2001
                  AUS

                  Bond Street Custodians Limited
                  <AAA - M14297 A/C>
                  GPO Box 4067
                  SYDNEY NSW 2001
                  AUS

                  Bond Street Custodians Limited
                  <Wedmun - O20040 A/C>
                  GPO Box 4067
                  SYDNEY NSW 2001
                  AUS

                  Bond Street Custodians Limited
                  <CDCR - M13567 A/C>
                  GPO Box 4067
                  SYDNEY NSW 2001
                  AUS

                  Bridview Pty Ltd
                  <Ivan Boyd Family A/C>
                  385 Cobden Road
                  CAMPERDOWN VIC 3260
                  AUS
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                  Brispot Nominees Pty Ltd
                  <House Head Nominee A/C>
                  PO Box 4151
                  SYDNEY NSW 2001
                  AUS

                  Bruce Forman
                  17847 Porto Merihe Way
                  Pacific Palisades, CA 90272

                  BSD Super Pty Ltd
                  <BSD Super Fund A/C>
                  PO Box 1605
                  GEELONG VIC 3220
                  AUS

                  BT Portfolio Services Limited
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                  Buchla Investments Pty Ltd
                  <Buchla Super Fund A/C>
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                  HIGHTON VIC 3216 AUS

                  Bundoran Pty Limited
                  <J Macphillamy S/Fund A/C>
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                  ROSE BAY NSW 2029
                  AUS

                  Buy Write Pty Ltd
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                  <C J Bova Ret Fund A/C>
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                  C Page Pty Ltd
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                  BYRON BAY NSW 2481
                  AUS

                  C Page Pty Ltd
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                  PO Box 66
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                  AUS

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                  <Twiston & Lee Family A/C>
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                  Calidan Pty Ltd
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                  <Caralee Family A/C>
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                  Carmant Pty Ltd
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                  PO Box 139
                  COOGEE NSW 2034
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                  Chenoa Pty Ltd
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                  Chic Investments Pty Ltd
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                  PO Box 1964
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                  AUS

                  Chocalart Pty Ltd
                  <The Woodvale S/Fund A/C>
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                  AUS

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                  Fund P/L
                  <Chris Jones S/Fund A/C>
                  31 Casino Street
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                  CHSH Pty Ltd
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                  Citicorp Nominees Pty Limited
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                  AUS

                  Ck Super Fund Pty Ltd
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                  BUDERIM QLD 4556
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                  Colvic Pty Ltd
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                  PO Box 40170
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                  Crandell Pty Ltd
                  <Berpaid Pty Ltd S/F NO2 A/C>
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                  Croxted Group Pty Limited
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                  Cruice Administration Pty Limited
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                  AUS

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                  Michael Butler Pty Ltd
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                  E I D H Pty Ltd
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                  C/- Burchall Thompson
                  8/81 Frenchs Forest East
                  FRENCHS FOREST NSW 2086 AUS

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                  CAMDEN NSW 2570
                  AUS

                  Enugu Pty Ltd
                  <Cormac Unit A/C>
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                  CAMDEN NSW 2570
                  AUS
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                  Enugu Pty Ltd
                  <The Cornock Family A/C>
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                  CAMDEN NSW 2570
                  AUS

                  Environmental Strategists Pty
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                  <Kawecki Discretionary 3 A/C>
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                  FRANKSTON SOUTH VIC 3199 AUS

                  Eory Super Pty Ltd
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                  322/74 Wardoo Street
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                  Epcoz Pty Ltd
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                  Equity Trustees Superannuation
                  Limited
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                  Equity Trustees Superannuation
                  Limited
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                  TINGALPA DC QLD 4173 AUS

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                  TINGALPA DC QLD 4173 AUS
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                  Espejo Holdings Pty Ltd
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                  WODONGA VIC 3690
                  AUS

                  Essential Superannuation Pty
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                  Est Peter Young
                  C/- Treadwells
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                  Financial Freedom Apjc Pty Ltd
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                  52 Bartlett Street
                  FRANKSTON SOUTH VIC 3199
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                  Financial Planning Strategists
                  Pty Ltd
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                  Firefish Investments Pty Ltd
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                  Forex Arbitrage Pty Ltd
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                  AUS

                  Forex Match Pty Ltd
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                  Funding Strategists Pty Ltd
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                  Fx Arbitrage Pty Ltd
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                  FRANKSTON SOUTH VIC 3199
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                  G-View Pty Ltd
                  <Intergen Super Fund A/C>
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                  AUS

                  Gagandwok Pty Ltd
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                  International Energy Corporation
                  1801 E. 71st Street
                  Tulsa, OK 74136

                  International Energy Holding Company LLC
                  1801 E. 71st Street
                  Tulsa, OK 74136

                  International Energy, LLC
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                  Tulsa, OK 74136

                  International Oil & Gas, LLC
                  1801 E. 71st Street
                  Tulsa, OK 74136

                  International Pacific Capital
                  Limited
                  GPO Box 3486
                  SYDNEY NSW 2001
                  AUS

                  International Properties Partners, LLC
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                  Tulsa, OK 74136

                  Investart Holdings Pty Ltd
                  <Investart Holdings A/C>
                  56B King William Road
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                  AUS

                  J & J SMSF Pty Ltd
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                  PO Box Q693
                  Queen Victoria Building NSW 1230 AUS

                  J P Morgan Nominees Australia
                  Pty Limited
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                  AUS

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                  Ltd
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                  PO Box 78
                  EMERALD QLD 4720 AUS

                  Jadite Holdings Pty Ltd
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                  ELANORA QLD 4221
                  AUS
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                  Jalleo Investments Pty Limited
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                  ERINA NSW 2250
                  AUS

                  Jalleo Superannuation Pty
                  Limited
                  <Jalleo Super Fund A/C>
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                  MOONEE PONDS VIC 3039
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                  <JBPB Holdings A/C>
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                  AUS

                  JC & Ma Varricchio Pty Ltd
                  <The Varricchio S/F A/C>
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                  DERNANCOURT SA 5075
                  AUS

                  JCV Nominees Pty Ltd
                  <Vegar Super Fund A/C>
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                  AUS

                  Jdi Financial Services Pty Ltd
                  <Davies S/F A/C>
                  C/- BDJ Partners
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                  NORTH SYDNEY NSW 2059 AUS

                  Jennifer Took Superannuation
                  Pty Ltd
                  <Jennifer Took Super Fund A/C>
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                  PORTSEA VIC 3944 AUS

                  Jenroy Superannuation Pty Ltd
                  1 Fitzroy Place
                  KARALEE QLD 4306
                  AUS
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                  Jezza-Belles Pty Ltd
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                  ALTONA VIC 3018
                  AUS

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                  8L Gavel Drive
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                  AUS

                  Jia Yu Chan
                  7/37 Evan Street
                  PENRITH NSW 2750
                  AUS

                  Jia Zuo Chan
                  7/37a Evans Street
                  PENRITH NSW 2750
                  AUS

                  Jimmy Pong Pty Ltd
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                  STRATHFIELD NSW 2135
                  AUS

                  Jj Shares Pty Ltd
                  7 Yvonne Street
                  WENDOUREE VIC 3355
                  AUS

                  Jo-Anne Nipperess Holdings
                  Pty Ltd
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                  Pty Ltd
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                  <Major Retirement Fund A/C>
                  185 Edinburgh Road
                  CASTLECRAG NSW 2068
                  AUS
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                  John Major Enterprises Pty Ltd
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                  AUS

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                  Ltd
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                  AUS

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                  AUS

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                  Pty Ltd
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                  AUS

                  K12 Korporation Pty Ltd
                  <The Duckham Family S/F A/C>
                  Unit 6
                  6-16 Anchorage Drive
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                  Kaelem Pty Ltd
                  <Kemlok Super Fund No 2 A/C>
                  104 Queen Street
                  MUSWELLBROOK NSW 2333
                  AUS
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                  Kaiony Superannuation Fund
                  Pty Ltd
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                  BEULAH VIC 3395 AUS

                  Kaloni Runcorn Pty Ltd
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                  Kiwiana Pty Limited
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                  AUS

                  KMC (Asia) Pty Ltd
                  <Kegler Super Fund A/C>
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                  MORDIALLOC VIC 3195
                  AUS

                  Kobler Jireh Pty Ltd
                  <Kobler Family A/C>
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                  AUS

                  Krason Pty Ltd
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                  AUS

                  Kwang Hou Hung
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                  Lasbury Services Pty Ltd
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                  19 Auburn Avenue
                  MYRTLE BANK SA 5064
                  AUS
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                  Lebika Pty Ltd
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                  AUS

                  Lenakat Pty Ltd
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                  AUS

                  Life Coaching Pty Ltd
                  <Simple Unit A/C>
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                  FRANKSTON SOUTH VIC 3199
                  AUS

                  Lilyscout Pty Ltd
                  <Pickles Super Fund A/C>
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                  TOOLERN VALE VIC 3337
                  AUS

                  Locarb (Aust) Pty Limited
                  <Chamberlain Family S/F A/C>
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                  Lockwood Superannuation Fund
                  Pty Ltd
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                  <M & M Chan Super Fund A/C>
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                  AUS

                  M & V Lampe Pty Ltd
                  <M&V Lampe Super Fund A/C>
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                  LAVINGTON NSW 2641
                  AUS

                  Ma & Ym Callaghan Pty Ltd
                  <Southside Holdings S/F A/C>
                  11 Arika Close
                  BANGOR NSW 2234
                  AUS

                  Ma And D Ghusn Investments
                  Pty Ltd
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                  AUS
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                  Mabab Investments Pty Ltd
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                  AUS

                  Mac-Stu Pty Ltd
                  <McLachlan Super Fund A/C>
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                  AUS

                  Maw Pty Ltd
                  <Wardrope Family A/C>
                  PO Box 1122
                  GYMEA NSW 2227
                  AUS

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                  <McAdam A/C>
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                  DEAGON QLD 4017
                  AUS
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                  McAdam Superannuation Pty Ltd
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                  DEAGON QLD 4017
                  AUS

                  Mechanical Trading Pty Ltd
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                  FRANKSTON SOUTH VIC 3199
                  AUS

                  Megarry Excavations &
                  Roadworks Pty Ltd
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                  GLENDENNING NSW 2761
                  AUS

                  Melite Investments Pty Ltd
                  <M & N Mifsud Superfund A/C>
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                  ORCHARD HILLS NSW 2748
                  AUS

                  Memo (NSW) Pty Ltd
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                  PARRAMATTA NSW 2124
                  AUS

                  Merrill Lynch (Australia)
                  Nominees Pty Limited
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                  MELBOURNE VIC 3000 AUS

                  Meyer Super Company Pty Ltd
                  <Ajf Prosperity S/F A/C>
                  54 Arthurs Avenue
                  MCCRAE VIC 3938
                  AUS

                  Michael Harris Super Pty Ltd
                  <Michael Harris Super A/C>
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                  Michael Stone
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                  CALIFORNIA 92037
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                  Michmax Pty Ltd
                  <JMB SMSF A/C>
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                  ARTARMON NSW 2064
                  AUS

                  Micknlea Pty Ltd
                  <Micknlea Super Fund A/C>
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                  TEMPLESTOWE VIC 3106
                  AUS

                  Minguin Pty Ltd
                  <Ma Loffler Super A/C>
                  22 Sunningdale Avenue
                  MORNINGTON VIC 3931
                  AUS

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                  AUS

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                  AUS

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                  AUS

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                  ELSTERNWICK VIC 3185
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                  Miss Katelyn Johnstone
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                  43 Gorge Rd
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                  AUS
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                  Modanella Investments Pty Ltd
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                  18 Miller Street
                  PETERSHAM NSW 2049
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                  Monogram Holdings Pty Ltd
                  226 Pacific Parade
                  BILINGA QLD 4225
                  AUS

                  Montgomery Bond Pty Ltd
                  <Ls Conlan Super Fund A/C>
                  48 Station Road
                  ROSANNA VIC 3084
                  AUS

                  Moore Park Capital Pty Ltd
                  <Sodamnsolid Fund A/C>
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                  SEAFORTH NSW 2092
                  AUS

                  Mortow (No 46) Pty Ltd
                  <Munday Super Fund A/C>
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                  Mr Ian John Arkinstall
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                  AUS

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                  AUS
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                  AUS
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                  AUS

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                  AUS

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                  Mrs Prue Selena Patch
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                  CARLINGFORD NSW 2118
                  AUS
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                  Miss Amanda Williams
                  4 Kalymna Grove
                  ST KILDA EAST VIC 3183
                  AUS

                  Mr Douglas John Hendry
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                  AUS

                  Mr Douglas Jon Turner
                  19 Plantation Parade
                  BUDERIM QLD 4556
                  AUS

                  Mr Douglas Robert Graham Neild
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                  AUS

                  Mr Douglas Watson &
                  Mrs Doris Watson
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                  26 Eton Road
                  LINDFIELD NSW 2070 AUS

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                  AUS

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                  AUS
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                  AUS

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                  Mrs Chiew Lang Ong
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                  CLARINDA VIC 3169 AUS

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                  AUS

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                  YOKINE WA 6060 AUS
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                  AUS

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                  CHIPPENDALE NSW 2008
                  AUS
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                  AUS

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                  AUS

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                  15 Hughes Ct
                  WALKLEY HEIGHTS SA 5098
                  AUS
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                  AUS

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                  Mrs Sharon June Rieck
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                  AUS

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                  AUS

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                  AUS

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                  AUS

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                  AUS

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                  AUS

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                  AUS
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                  MOUNT GAMBIER SA 5290
                  AUS

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                  AUS

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                  AUS

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                  AUS

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                  Mr Steven Skelton
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                  MURRUMBEENA VIC 3163 AUS

                  Mr Glenn David Jobling
                  196 Coromandel Parade
                  COROMANDEL VALLEY SA 5051
                  AUS
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                  Mr Glenn Hoyle
                  2/11 Athol Court
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                  AUS

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                  AUS

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                  AUS
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                  Mr Graeme Lloyd Gribben & Mrs Pamela Ire
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                  PEPPERMINT GROVE WA 6011
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                  AUS

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                  Ms Suzana Saskor
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                  HOVE SA 5048 AUS

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                  AUS

                  Mr Graham Mitchell Jones
                  Unit 37 33 Mackays Rd
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                  AUS
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                  Mr Graham Robert Reid
                  <Reid Super Fund Account>
                  65 Docker Street
                  RICHMOND VIC 3121
                  AUS

                  Mr Graham Robert Reid
                  65 Docker Street
                  RICHMOND VIC 3121
                  AUS

                  Mr Graham Thomas Fitzgerald &
                  Ms Helen Lorraine Sharland
                  2/237 French Street
                  TUART HILL WA 6060
                  AUS

                  Mr Graham Wilkins &
                  Mrs Emma Wilkins
                  29 Willow Glen Rd
                  KURRAJONG NSW 2758
                  AUS

                  Mr Grant Bruce Smethurst
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                  ECHUCA VIC 3564
                  AUS

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                  MOSMAN NSW 2088
                  AUS

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                  AUS
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                  Mr Gregory Herbert Lawrence &
                  Mrs Wendy Lawrence
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                  BUNGALOW QLD 4870 AUS

                  Mr Gregory James Blight &
                  Mr Stephen Maxwell Blight
                  <Gregory Blight S/F A/C>
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                  Mr Gregory John Walker & Miss Renee Eliz
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                  6 Iramoo Circuit
                  ROCKBANK VIC 3335 AUS

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                  POTTS POINT NSW 2011
                  AUS

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                  VIEWBANK VIC 3084
                  AUS

                  Mr Gregory Levvey & Mrs Bronwyn Levvey
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                  Ms Marie Joan Mitchell
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                  WINNELLIE NT 0821 AUS
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                  ROSEVILLE CHASE NSW 2069
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                  WERRINGTON COUNTY NSW 2747
                  AUS
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                  COROWA NSW 2646
                  AUS
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                  <Racovalis Super Fund A/C>
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                  GREENSBOROUGH VIC 3088 AUS
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                  AUS

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                  AUS

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                  AUS

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                  ARE
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                  AUS

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                  CHIPPENDALE NSW 2008
                  AUS
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                  Mrs Vicki E Wyand-Brooks
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                  SOUTH STRATHFIELD NSW 2136
                  AUS
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                  Mrs Judith O'Donahoo
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                  WHITFIELD QLD 4870
                  AUS
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                  BALWYN VIC 3103 AUS

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                  AUS

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                  Mrs Josephine Marion Haynes
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                  AUS
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                  AUS

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                  AUS

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                  MALVERN VIC 3144
                  AUS
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                  AUS

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                  AUS

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                  Mr Wei Yeong Ho
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                  AUS
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                  Mr Wesley Sulzberger
                  39 Tanner Dr
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                  Mr Xiao Yan Shi &
                  Mrs Juan Shi
                  4 Silver St
                  CHELTENHAM VIC 3192
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                  Mr Xiao-Yan Shi &
                  Mrs Juan Shi
                  4 Silver Street
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                  AUS

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                  AUS
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                  3 Norisha Ct
                  DANDENONG NORTH VIC 3175
                  AUS

                  Mr You Lik Chieng
                  36 Glen Iris Rd
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                  AUS

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                  DARTS CREEK QLD 4695
                  AUS

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                  6/37 Yambla Street
                  CLIFTON HILL VIC 3068
                  AUS

                  Mr Zachary Paulic
                  11/31-31 Wolsley Road
                  POINT PIPER NSW 2027
                  AUS

                  Mr Zbigniew Paul Palyza
                  55 Ruthven Street
                  BONDI JUNCTION NSW 2022
                  AUS

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                  16 Sundew Terrace
                  COOMERA QLD 4209
                  AUS

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                  6 Remington Way
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                  AUS

                  Mrs Alicia Tseng
                  B1709/2b Help Street
                  CHATSWOOD NSW 2067
                  AUS

                  Mrs Alison Mary Singh
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                  POINT COOK VIC 3030
                  AUS

                  Mrs Alison Williams
                  U 508 100 Lorimer St
                  DOCKLANDS VIC 3008
                  AUS
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                  Mrs Angela Clifton
                  10 George Street
                  EAST MAITLAND NSW 2323
                  AUS

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                  AUS

                  Mrs Anne Lynette Blakeman &
                  Mr Hayden Charles Blakeman
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                  KIANGA NSW 2546
                  AUS

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                  Mr Hayden Charles Blakeman
                  <Blakeman Inv Super Fund A/C>
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                  DONCASTER VIC 3108
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                  AUS
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                  Mrs Eleanor Irene Douglas
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                  WOOLLAHRA NSW 2025
                  AUS
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                  AUS
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                  AUS

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                  20 The Vintage
                  PICTON NSW 2571
                  AUS
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                  Nappin & Partners Pty Limited
                  <Nappin & Partners S/F A/C>
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                  TURRAMURRA NSW 2074
                  AUS

                  Navatoe Amber Joe Pty Ltd
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                  355 Stud Road
                  WANTIRNA SOUTH VIC 3152
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                  700 Bourke Street
                  DOCKLANDS VIC 3008 AUS

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                  Netwealth Investments Limited
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                  Nk Rosato Pty Ltd
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                  No Gnome Loans Pty Ltd
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                  Norino Pty Ltd
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                  C/- Rick Millar
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                  Ltd
                  <I W Brown Superannuation A/C>
                  PO Box 1454
                  MANLY NSW 1655 AUS
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                  One Thousands Times
                  Superannuation Investment P/L
                  <Onethousandtimes Super A/C>
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                  KOGARAH NSW 2217 AUS

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                  <Original Name Unit A/C>
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                  Oxford Hudson Equities Pty Ltd
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                  C/- Ips
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                  AUS

                  Penause Pty Ltd
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                  AUS
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                  Pennfield Pty Ltd
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                  Plumbspark Pty Ltd
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                  AUS
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                  Popono Pty Ltd
                  <John Shadlow Family S/F A/C>
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                  AUS

                  Poriba Pty Ltd
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                  Power Family Holdings Pty Ltd
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                  ESSENDON VIC 3040
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                  Investors Pty Ltd
                  <Prof & Soph Invest A/C>
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                  Property Strategists Pty Ltd
                  <Property Unit A/C>
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                  AUS
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                  Rathide Pty Limited
                  <Redman Retirement Fund A/C>
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                  AUS

                  RBC Investor Services
                  Australia Nominees Pty Ltd
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                  Ronatac Pty Ltd
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                  C/- Burchall Thompson & Co
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                  <Rz Family A/C>
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                  S F P Superannuation Pty Ltd
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                  RINGWOOD VIC 3134
                  AUS
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                  Shanakill Pty Ltd
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                  Share Trading Pty Ltd
                  <Shares Unit A/C>
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                  AUS
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                  Ltd
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                  AUS

                  Stagelight Investments Pty Ltd
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                  ELTHAM VIC 3095
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Case 19-11138 Document 1 Filed in USBC ND/OK on 06/03/19 Page 249 of 257



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                  Ltd
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                  YANDOIT VIC 3461 AUS
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                  AUS
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                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      AusTex Oil Limited                                                                             Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for AusTex Oil Limited in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
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 Michael J. Stone, Manager
 1250 Prospect St. Suite 200
 LaJolla, CA 93027
 Ptolemy Energy Holdings, LLC
 Michael J. Stone, Manager
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    None [Check if applicable]




 June 3, 2019                                                          /s/ Gary M. McDonald
 Date                                                                  Gary M. McDonald 5960
                                                                       Signature of Attorney or Litigant
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